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                        Exhibit A11
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                                                                                        USOO9679765B2


  (12) United States Patent                                          (10) Patent No.:     US 9,679,765 B2
         Larson, III et al.                                          (45) Date of Patent:      Jun. 13, 2017
  (54) METHOD OF FABRICATING RARE-EARTH                                          (2013.01); H03H 9/175 (2013.01); H03H
         DOPED PIEZOELECTRIC MATERAL WITH                                          9/583 (2013.01); H03H 9/587 (2013.01)
         VARIOUS AMOUNTS OF DOPANTS AND A
         SELECTED C-AXIS ORIENTATION                              (58) Field of Classification Search
                                                                          CPC ....... H04R 17/00; B06B 1/0603; H01L 41/22;
  (71) Applicant: Avago Technologies General IP                                             H01L 41/45; H01L 21/02518; C23C
                  (Singapore) Pte. Ltd., Singapore (SG)                                     14/025; C23C 14/3414; H03H3/02:
                                                                                                     H03H 9/173; H03H 9/583
  (72) Inventors: John D. Larson, III, Palo Alto, CA                      USPC ................................. 3.10/322, 348, 357, 359
                  (US); Jyrki Kaitila, Riemerling (DE);                   See application file for complete search history.
                  Stefan Bader, Fort Collins, CO (US)
  (73) Assignee: Avago Technologies General IP                    (56)                    References Cited
                  (Singapore) Pte. Ltd., Singapore (SG)
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  (*) Notice:       Subject to any disclaimer, the term of this          3,200,354 A        8, 1965 White
                    patent is extended or adjusted under 35              4.419,202 A       12/1983 Gibson
                    U.S.C. 154(b) by 387 days.                                                (Continued)
  (21) Appl. No.: 14/161,564
                                                                                     OTHER PUBLICATIONS
  (22) Filed:       Jan. 22, 2014
                                                                  NPL of list of Rare Earth Elements, Rare Element Resources.
  (65)                 Prior Publication Data                                                 (Continued)
         US 2014/O1321.17 A1        May 15, 2014
                Related U.S. Application Data                     Primary Examiner — Shawki S. Ismail
                                                                  Assistant Examiner — Bryan Gordon
  (63) Continuation-in-part of application No. 13/428,474,
         filed on Mar. 23, 2012, now Pat. No. 8,673,121, and
                         (Continued)                              (57)                       ABSTRACT

  (51) Int. Cl.                                                   A method of fabricating a rare-earth element doped piezo
         HOIL 2L/02             (2006.01)                         electric material having a first component, a second com
         C23C I4/06             (2006.01)                         ponent and the rare-earth element. The method includes:
         HO3H 3/02              (2006.01)                         providing a Substrate; initially flowing hydrogen over the
         HO3H 9/02              (2006.01)                         substrate; after the initially flowing of the hydrogen over the
         HO3H 9/58              (2006.01)                         substrate, flowing the first component to form the rare-earth
                                                                  element doped piezoelectric material over a Surface of a
                         (Continued)                              target, the target comprising the rare-earth metal in a certain
  (52) U.S. Cl.                                                   atomic percentage; and sputtering the rare-earth element
         CPC ...... HOIL 21/02518 (2013.01); C23C 14/025          doped piezoelectric material from the target on the Substrate.
                  (2013.01); C23C 14/0617 (2013.01); C23C
                   14/3414 (2013.01); H03H 3/02 (2013.01);
                     H03H 9/02015 (2013.01); H03H 9/173                           21 Claims, 21 Drawing Sheets
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                                       Fig. 4
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                        Forming a First Electrode            501
                             Over a Substrate




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                      Flowing a First Component of           S3
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                                    Fig. 9A
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                                       Fig. 9E
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                                       Fig. 9F
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                                   Fig. 9G
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                                   Fig. 9H
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                                       Fig. 91
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                                 Fig. 10A
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                                     Fig. 10E

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                                     Fig. 10G
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                                       Fig. 10H
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                                 Fig. 11A
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                                 Fig. 11B

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                                 Fig. 11C
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                                 Fig. 11E
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                                Fig. 11F
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                                 Fig. 11H
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                                                       US 9,679,765 B2
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       METHOD OF FABRICATING RARE-EARTH                                hundreds of microns, FBARs beneficially provide a com
       DOPED PIEZOELECTRIC MATERAL WITH                                paratively compact alternative to certain known resonators.
        VARIOUS AMOUNTS OF DOPANTS AND A                                  FBARs may comprise a membrane (also referred to as the
           SELECTED C-AXIS ORIENTATION                                 acoustic stack) disposed over air. Often, such a structure
                                                                       comprises the membrane Suspended over a cavity provided
             CROSS-REFERENCE TO RELATED                                in a substrate over which the membrane is suspended. Other
                    APPLICATIONS                                       FBARs may comprise the membrane formed over an acous
                                                                       tic mirror formed in the substrate. Regardless of whether the
      The present application is a continuation-in-part applica membrane is formed over air or over an acoustic mirror, the
   tion under 37 C.F.R. S1.53(b) of commonly owned U.S. 10 membrane first
                                                                                 comprises a piezoelectric layer disposed over a
                                                                          electrode, and a second electrode disposed over the
   patent application Ser. No. 12/692,108 to John D. Larson III, piezoelectric layer.
   et al., entitled “Method of Fabricating a Rare-earth doped          The piezoelectric layer comprises a crystalline structure
   piezoelectric material with Selected C-Axis Orientation.” and a polarization axis. Rare-earth element doped piezoelec
   and filed on Jan. 22, 2010. The present application is also a 15 tric materials either compress or expand upon application of
   continuation-in-part application under 37 C.F.R.S 1.53(b) of a Voltage. By convention, a rare-earth element doped piezo
   commonly owned U.S. patent application Ser. No. 13/286, electric material that compresses when a Voltage of a certain
   051 (now U.S. Pat. No. 8,796,904) to Dariusz Burak et al., polarity is applied is referred to as compression-positive
   entitled “Bulk Acoustic Resonator Comprising Piezoelectric (C) material, whereas a rare-earth element doped piezo
   Layer and Inverse Piezoelectric Layer, filed on Oct. 31, electric material that expands upon application of the Volt
   2011. The present application is also a continuation-in-part age is referred to as a compression-negative (C) material.
   application under 37 C.F.R.S 1.53(b) of commonly owned The polarization axis of C rare-earth element doped piezo
   U.S. patent application Ser. No. 13/428,474 (now U.S. Pat. electric material is antiparallel to the polarization axis of Cy
   No. 8,673,121) to John D. Larson, III et al., entitled “Method material.
   of Fabricating Piezoelectric Materials with Opposite C-Axis 25 An FBAR is a polarity-dependent device as a result of
   Orientations, filed on Mar. 23, 2012. Applicants claim polarity dependence of the rare-earth element doped piezo
   priority under 35 U.S.C. S 120 from U.S. patent application electric material that constitutes part of the FBAR. A voltage
   Ser. No. 12/692,108, and from U.S. patent application Ser. of a given polarity applied between the electrodes of the
   No. 13/286,051, and from U.S. patent application Ser. No.        FBAR will cause the thickness of the FBAR to change in a
   13/428,474. The entire disclosure of U.S. patent application 30 first direction, whereas the same Voltage of the opposite
   Ser. No. 12/692,108 and the entire disclosure of U.S. patent polarity will cause the thickness of the FBAR to change in
   application Ser. No. 13/286,051, and the entire disclosure of a second direction, opposite the first direction. (The thick
   U.S. patent application Ser. No. 13/428,474 are specifically ness of the FBAR is the dimension of the FBAR between the
   incorporated herein by reference.                                electrodes.) For example, a Voltage of the given polarity will
                                                                  35   cause the thickness of the FBAR to increase whereas a
                         BACKGROUND                                    voltage of the opposite polarity will cause the FBAR to
                                                                       decrease. Similarly, a mechanical stress applied to the FBAR
      In many electronic applications, electrical resonators are       that causes the thickness of the FBAR to change in a first
   used. For example, in many wireless communications                  direction will generate a Voltage of the given polarity
   devices, radio frequency (RF) and microwave frequency 40 between the electrodes of the FBAR, whereas a mechanical
   resonators are used as filters to improve reception and stress that causes the thickness of the FBAR to change in a
   transmission of signals. Filters typically include inductors second direction, opposite the first direction, will generate a
   and capacitors, and more recently resonators.                     voltage of the opposite polarity between the electrodes of the
      As will be appreciated, it is desirable to reduce the size of FBAR. As such, a mechanical stress applied to the FBAR
   components of electronic devices. Many known filter tech 45 that causes the thickness of the FBAR to increase will
   nologies present a barrier to overall system miniaturization. generate a Voltage of the given polarity, whereas a mechani
   With the need to reduce component size, a class of resona cal stress that causes the thickness of the FBAR to decrease
   tors based on the piezoelectric effect has emerged. In piezo will generate a Voltage of the opposite polarity.
   electric-based resonators, acoustic resonant modes are gen           The piezoelectric layer of an FBAR is often grown over
   erated in the rare-earth element doped piezoelectric material. 50 a first electrode and beneath a second electrode. The orien
   These acoustic waves are converted into electrical waves for      tation of the C-axis can be governed by the first layer formed
   use in electrical applications.                                   over the first electrode. For example, in growing scandium
      One type of piezoelectric resonator is a Bulk Acoustic doped aluminum nitride (AlScN) with a Clayer orientation,
   Wave (BAW) resonator. The BAW resonator includes an the formation of a native oxide layer over the first electrode
   acoustic stack comprising, inter alia, a layer of rare-earth 55 (e.g., Mo) is believed to cause the first layer of the piezo
   element doped piezoelectric material disposed between two electric crystal to be Al. Ultimately, the crystalline orienta
   electrodes. Acoustic waves achieve resonance across the           tion of the AlScN formed results in the piezoelectric layers
   acoustic stack, with the resonant frequency of the waves having C orientation and its attendant properties. Growth of
   being determined by the materials in the acoustic stack. One Cy piezoelectric layers (e.g., AlScN) by known methods has
   type of BAW resonator comprises a piezoelectric layer for 60 proven to be more difficult. It is believed that nitrogen and
   the rare-earth element doped piezoelectric material provided oxygen may be adsorbed at the surface of the first electrode,
   over a cavity. These resonators are often referred to as Film with the forming of a layer of Al over this adsorbed material.
   Bulk Acoustic Resonators (FBAR).                                  As such, rather than forming the desired Cy piezoelectric
      FBARs are similar in principle to bulk acoustic resonators layer, C rare-earth element doped piezoelectric material is
   Such as quartz, but are scaled down to resonate at GHZ 65 formed.
   frequencies. Because the FBARs have thicknesses on the               In certain applications, it is desirable to be able to select
   order of microns and length and width dimensions of the orientation of the rare-earth element doped piezoelectric
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   material, and to fabricate both C rare-earth element doped             What is needed, therefore, is a method of fabricating
   piezoelectric material and C rare-earth element doped rare-earth element doped piezoelectric materials that over
   piezoelectric material on the same structure. For example, in comes at least the known shortcomings described above.
   certain applications it is useful to provide a single-ended
   input to a differential output. One known resonator structure              BRIEF DESCRIPTION OF THE DRAWINGS
   having a differential output comprises coupled mode reso
   nators. Filters based on coupled mode acoustic resonators              The illustrative embodiments are best understood from
   are often referred to as coupled resonator filters (CRFs). the following detailed description when read with the
   CRFs have been investigated and implemented to provide accompanying drawing figures. It is emphasized that the
   improved passband and isolation of the transmit band and 10 various features are not necessarily drawn to Scale. In fact,
   receive band of duplexers, for example. One topology for the dimensions may be arbitrarily increased or decreased for
   CRFs comprises an upper FBAR and a lower FBAR. The clarity of discussion. Wherever applicable and practical, like
   two electrodes of one of the FBARs comprise the differential reference numerals refer to like elements.
   outputs, and one of the inputs to the lower resonator pro              FIG. 1A shows a bulk acoustic wave (BAW) resonator
   vides the single-ended input. The second electrode provides 15 fabricated in accordance with a representative embodiment.
   the ground for the device. However, while the stacked                  FIG. 1B shows a BAW resonator fabricated in accordance
   FBAR CRF shows promise from the perspective of with a representative embodiment.
   improved performance and reduced area or footprint due to              FIG. 2A shows a BAW resonator fabricated in accordance
   its vertical nature, in order to attain this structure, the          with a representative embodiment.
   orientation of the compression axes (C-axes) of individual             FIG. 2B shows a BAW resonator fabricated in accordance
   rare-earth element doped piezoelectric materials must be with a representative embodiment.
   tailored to the application. For example, it may be useful to          FIG. 3A shows a stacked film bulk acoustic wave reso
   have one piezoelectric layer with its C-axis (e.g., C.) in one nator (SBAR) fabricated in accordance with a representative
   direction, and the second piezoelectric layer to have its embodiment.
   crystalline orientation anti-parallel (e.g., C.) to the C-axis of 25 FIG. 3B shows an SBAR fabricated in accordance with a
   the first piezoelectric layer. Unfortunately, and as alluded to representative embodiment.
   above, using known methods of fabricating piezoelectric                FIG. 4 shows a simplified schematic diagram of a depo
   layers, it is difficult to select the orientation of the piezo sition system in accordance with a representative embodi
   electric crystal during fabrication, and especially on the           ment.
   same wafer.                                                       30   FIG. 5 shows a flow-chart of a method of fabricating a
      In other applications, it may be useful to provide one piezoelectric layer in accordance with a first representative
   piezoelectric layer with its C-axis (e.g., C, "piezoelectric      embodiment.
   (p) layer') in one direction, and the second piezoelectric             FIG. 6 shows a flow-chart of a method of fabricating a
   layer to have its crystalline orientation anti-parallel (e.g., C. piezoelectric layer in accordance with a second representa
   “inverse-piezoelectric (ip) layer) to the C-axis of the p-layer. 35 tive embodiment.
   Unfortunately, and as alluded to above, using certain known            FIG. 7 shows a graph of the coupling coefficient versus
   methods of fabricating piezoelectric layers, it is difficult to hydrogen flow rate during the forming of a piezoelectric
   fabricate a p-layer and ip-layer, especially on the same layer.
   wafer.                                                                 FIG. 8 is a cross-sectional view illustrating methods of
      Generally, a bulk acoustic wave (BAW) resonator has a 40 fabricating piezoelectric layers over a Substrate in accor
   layer of rare-earth element doped piezoelectric material dance with representative embodiments.
   between two conductive plates (electrodes), which may be               FIGS. 9A-9I are cross-sectional views illustrating meth
   formed on a thin membrane. The rare-earth element doped ods of fabricating piezoelectric layers over a Substrate in
   piezoelectric material may be a thin layer of various mate accordance with representative embodiments.
   rials, such as Scandium-doped aluminum nitride (AlScN), 45 FIGS. 10A-10J are cross-sectional views illustrating
   for example. Thin layers made of AlScN are advantageous methods of fabricating piezoelectric layers over a substrate
   since they generally maintain piezoelectric properties at high in accordance with representative embodiments.
   temperatures (e.g., above 400° C.). However, AlScN has a               FIGS. 11A-11H are cross-sectional views illustrating
   lower piezoelectric coefficient d than both ZnO and PZT, methods of fabricating piezoelectric layers over a substrate
   for example.                                                     50 in accordance with representative embodiments.
      An AlScN thin layer may be deposited with various
   specific crystal structures, including a wurtzite structure                          DEFINED TERMINOLOGY
   with the normal to the film oriented along the (0001), which
   consists of a hexagonal crystal structure with alternating             It is to be understood that the terminology used herein is
   layers of aluminum (Al) and Scandium (Sc), and nitrogen 55 for purposes of describing particular embodiments only, and
   (N), and a Zincblende structure, which consists of a sym is not intended to be limiting. The defined terms are in
   metric structure of Al, Sc and Natoms, for example. Due to addition to the technical and Scientific meanings of the
   the nature of the Al N and the Sc—N bonding in the defined terms as commonly understood and accepted in the
   wurtzite structure, electric field polarization is present in the technical field of the present teachings.
   AlScN crystal, resulting in the piezoelectric properties of the 60 As used in the specification and appended claims, the
   AlScN thin layer. To exploit this polarization and the cor terms 'a', an and the include both singular and plural
   responding piezoelectric effect, one must synthesize the referents, unless the context clearly dictates otherwise. Thus,
   AlScN with a specific crystal orientation. Generally, a higher for example, a device includes one device and plural
   electromechanical coupling coefficient (kt) is desirable,         devices.
   since the higher the electromechanical coupling coefficient, 65 As used in the specification and appended claims, and in
   the less material is required to provide the same piezoelec addition to their ordinary meanings, the terms substantial
   tric effect.                                                   or substantially mean to with acceptable limits or degree.
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   For example, substantially cancelled means that one               doped piezoelectric material), whereas another rare-earth
   skilled in the art would consider the cancellation to be          element doped piezoelectric material fabricated over the
   acceptable.                                                       same Substrate comprises a C polarity (also referred to as
      As used in the specification and the appended claims and type-C rare-earth element doped piezoelectric material). In
   in addition to its ordinary meaning, the term approximately       other embodiments, two or more piezoelectric layers are
   means to within an acceptable limit or amount to one having fabricated according to representative embodiments that
   ordinary skill in the art. For example, approximately the comprise type C polarity. Furthermore, in certain represen
   same means that one of ordinary skill in the art would tative embodiments the rare-earth element doped piezoelec
   consider the items being compared to be the same.                 tric material comprises AlScN, and the dopant material is
                                                                  10 Scandium (Sc). It is emphasized that this is merely illustra
                    DETAILED DESCRIPTION                             tive, and that the fabrication of other types of rare-earth
                                                                     element doped piezoelectric materials is contemplated.
      In the following detailed description, for purposes of            Various embodiments relate to providing a thin layer of
   explanation and not limitation, specific details are set forth rare-earth element doped piezoelectric material (piezoelec
   in order to provide a thorough understanding of illustrative 15 tric layer), such as AlScN, with an enhanced piezoelectric
   embodiments according to the present teachings. However, coefficient d and an enhanced electromechanical coupling
   it will be apparent to one having ordinary skill in the art coefficient kt by incorporating one or more rare-earth ele
   having had the benefit of the present disclosure that other ments into the crystal lattice of a portion of the piezoelectric
   embodiments according to the present teachings that depart layer. By incorporating specific atomic percentages of the
   from the specific details disclosed herein remain within the multiple rare-earth elements, the piezoelectric properties of
   Scope of the appended claims. Moreover, descriptions of the rare-earth element doped AlN, including piezoelectric
   well-known apparati and methods may be omitted so as to coefficient d and enhanced electromechanical effective
   not obscure the description of the illustrative embodiments. coupling coefficient kt?, are improved as compared to
   Such methods and apparati are clearly within the scope of entirely stoichiometric (undoped) AlN. Also, presence of the
   the present teachings.                                         25 undoped portion of the piezoelectric layer provides
      Generally, it is understood that the drawings and the mechanical stability, preventing bowing.
   various elements depicted therein are not drawn to scale.            In various embodiments, AlN material may be doped with
   Further, relative terms, such as “above,” “below,” “top.” Scandium (Sc), for example, creating an AlScN compound
   “bottom.” “upper and “lower are used to describe the with a predetermined atomic percentage of Sc. The Sc atom
   various elements relationships to one another, as illustrated 30 has an atomic radius that is larger than the atomic radius of
   in the accompanying drawings. It is understood that these the Al atom, resulting in a Sc-N bond length (2.25 A) that
   relative terms are intended to encompass different orienta is greater than the Al-N bond length (1.90 A). This
   tions of the device and/or elements in addition to the            difference in bond lengths causes stress in the resulting
   orientation depicted in the drawings. For example, if the AlScN material.
   device were inverted with respect to the view in the draw 35 Applications of the illustrative methods will be appreci
   ings, an element described as “above' another element, for ated by one having ordinary skill in the art. Some of these
   example, would now be below that element.                         applications include FBARs useful in transformer applica
      Certain aspects of the present teachings are relevant to tions and FBARs useful in filter applications. For example,
   components of FBAR devices, FBAR-based filters, their the method of fabrication of rare-earth element doped piezo
   materials and their methods of fabrication. Many details of 40 electric materials comprising antiparallel C-axes (e.g., Cy
   FBARs, materials thereof and their methods of fabrication         polarity and C, polarity) may be useful in the fabrication of
   may be found in one or more of the following U.S. patents film acoustic transformers, such as described in commonly
   and patent applications: U.S. Pat. No. 6,107,721, to Lakin; owned U.S. Pat. Nos. 6,987,433 and 7,091,649, to Larson,
   U.S. Pat. Nos. 5,587,620, 5,873,153 and 6,507.983 to Ruby,        III, et al. Moreover, the method of fabrication rare-earth
   et al.; U.S. patent application Ser. No. 1 1/443,954, entitled 45 element doped piezoelectric materials comprising antipar
   "Piezoelectric Resonator Structures and Electrical Filters' to    allel C-axes (e.g., Cy polarity and C. polarity) or parallel
   Richard C. Ruby, et al.; U.S. patent application Ser. No. C-axes (e.g., both C. polarity) may be useful in the fabri
   10/990,201, entitled “Thin Film Bulk Acoustic Resonator          cation of the stacked thin film bulk acoustic resonators
   with Mass Loaded Perimeter to Hongjun Feng, et al.; and (SBARs). SBARs comprise stacking two or more layers of
   U.S. patent application Ser. No. 1 1/713.726, entitled “Piezo 50 rare-earth element doped piezoelectric material with elec
   electric Resonator Structures and Electrical Filters having trodes between the piezoelectric layers and on the top and
   Frame Elements' to Jamneala, et al.; and U.S. patent appli bottom of the stack. Such SBARs are described, for example
   cation Ser. No. 11/159,753, entitled “Acoustic Resonator         in commonly owned U.S. Pat. Nos. 5,587,620 and 6,060,
   Performance Enhancement Using Alternating Frame Struc 818, to Ruby, et al.
   ture' to Richard C. Ruby, et al. The disclosures of these 55 Furthermore, the method of fabricating rare-earth element
   patents and patent applications are specifically incorporated doped piezoelectric materials comprising antiparallel C-axes
   herein by reference. It is emphasized that the components,       (e.g., Cy polarity and C. polarity) or both comprising Cy
   materials and method of fabrication described in these           polarity may be useful in CRF applications, such as
   patents and patent applications are representative and other described in commonly-owned U.S. patent application Ser.
   methods of fabrication and materials within the purview of 60 No. 12/201,641 entitled “Single Cavity Acoustic Resonators
   one of ordinary skill in the art are contemplated.               and Electrical Filters Comprising Single Cavity Acoustic
      Generally, the present teachings relate to a method of Resonators' filed on Aug. 29, 2008 to Bradley, et al.; and in
   fabricating a piezoelectric layer comprising a selected commonly owned U.S. Pat. No. 7,515,018 to Handtmann, et
   C-axis orientation (i.e., polarity). In certain embodiments a al. The disclosures of U.S. Pat. Nos. 5,587,620; 6,060,818;
   rare-earth element doped piezoelectric material fabricated 65 6,987,433; 7,091,649 and 7,515,018; and the disclosure of
   according to representative embodiments comprises a Cy U.S. patent application Ser. No. 12/201,641 are specifically
   polarity (also referred to as type-C rare-earth element incorporated herein by reference. It is emphasized that the
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   noted applications are intended merely to illustrate applica (U-238), or other low-loss metals, and are fabricated using
   tions of the methods of the present teachings, and that the a known method. The piezoelectric layer 104 is fabricated in
   application of the methods of fabricating rare-earth element accordance with the present teachings.
   doped piezoelectric materials of the present teachings are             In a representative embodiment, the FBAR100 comprises
   not limited to these illustrative applications.                     a seed layer 108 disposed over an upper surface 107 of the
      FIG. 1A shows a simplified cross-sectional view of an first electrode 103. As described more fully below, the seed
   FBAR 100 in accordance with a representative embodiment. layer 108 is illustratively Al or Al-Sc and fosters growth of
   An acoustic stack 102 is provided over a substrate 101 and rare-earth element doped piezoelectric layer 104 of type-C
   comprises a first electrode 103 disposed over the substrate AlN. In a representative embodiment, the seed layer 108 has
   101; a piezoelectric layer 104 disposed over the first elec 10 a thickness in the range of approximately 50 A to approxi
   trode 103; and a second electrode 105 disposed over the mately 1000 A over the upper surface 107. In other repre
   piezoelectric layer 104. The piezoelectric layer 104 is a
   type-C rare-earth element doped piezoelectric material, and sentative embodiments described below, the seed layer 108
   is illustratively type-C aluminum nitride (AIN). The sub type-C     is not provided over the first electrode 103. Rather, the
   strate 101 illustratively comprises single-crystal silicon (Si). 15           piezoelectric layer 104 is formed over the upper
      In accordance with representative embodiments, the surface 107 of the first electrode 103 by methods of repre
   piezoelectric layer 104 is doped with a particular atomic sentative embodiments.
   percent of a rare-earth element. In certain embodiments, the           FIG. 1B shows a simplified cross-sectional view of BAW
   doped piezoelectric material in the piezoelectric layer 104 resonator 109 (alternatively referred to as FBAR 109 herein)
   comprises doped AlN, and a number of Al atoms within the in accordance with another representative embodiment. The
   AlN crystal lattice are replaced with a rare-earth element at acoustic stack 102 is provided over the substrate 101 and
   a predetermined percentage, referred to as a “doping ele comprises the first electrode 103 disposed over the substrate
   ment.” Because the doping elements replace only Al atoms            101; the piezoelectric layer 104 disposed over the first
   (e.g., of an Al target), the percentage of nitrogenatoms in the electrode 103; and the second electrode 105 disposed over
   piezoelectric material remains substantially the same regard 25 the piezoelectric layer 104. The substrate 101 illustratively
   less of the amount of doping. When percentages of doping comprises single-crystal silicon (Si), and comprises an
   elements are discussed herein, it is in reference to the total      acoustic isolator 110 formed therein and disposed beneath
   atoms (including nitrogen) of the AlN piezoelectric material, the first electrode 103. The acoustic isolator 110 may be a
   and is referred to herein as "atomic percentage.” In accor known acoustic mirror comprising layers of alternating high
   dance with certain representative embodiments, the atomic 30 acoustic impedance material and low impedance material.
   percentage of Scandium in an aluminum nitride layer is Notably, BAW resonators comprising an acoustic mirror
   approximately 0.5% to less than approximately 10.0%. comprising layers of alternating high acoustic impedance
   More generally, the atomic percentage of Scandium in an material and low impedance material are known as Surface
   aluminum nitride layer is approximately 0.5% to approxi mounted acoustic resonators (SMRs). The piezoelectric
   mately 44% in certain embodiments. In yet other represen 35 layer 104 illustratively comprises AIN, and is a type-C
   tative embodiments, the atomic percentage of Scandium in material fabricated in accordance with the present teachings.
   an aluminum nitride layer is approximately 2.5% to less than           In a representative embodiment, the BAW resonator 109
   approximately 5.0%. So, for example, as described more comprises the seed layer 108 disposed over an upper surface
   fully below, if one of the Al targets used in the method of 107 of the first electrode 103. The seed layer 108 has a
   fabricating the piezoelectric layer 104 contains approxi 40 thickness in the range of approximately 50 A to approxi
   mately 5 percent Sc., then the Al in the piezoelectric layer mately 1000 A over the upper surface 107. In other repre
   104 has an atomic percentage of approximately 95.0%,                sentative embodiments described below, the seed layer 108
   while the Sc has an atomic percentage of approximately is not provided over the first electrode 103. Rather, the
   5.0%. The atomic consistency of the piezoelectric layer 104 type-C piezoelectric layer 104 is formed over the upper
   may then be represented as Aloo ScoosN.                          45 surface 107 of the first electrode 103 by methods of repre
      While many of the representative embodiments relate to sentative embodiments.
   scandium-doped AlN, it is noted that other rare-earth dop              FIG. 2A shows a simplified cross-sectional view of an
   ants are contemplated. Specifically, the other rare-earth FBAR200 in accordance with a representative embodiment.
   elements include yttrium (Y), lanthanum (La), cerium (Ce), The acoustic stack 102 is provided over the substrate 101
   praseodymium (Pr), neodymium (Nd), promethium (Pm), 50 and comprises the first electrode 103 disposed over the
   Samarium (Sm), europium (Eu), gadolinium (Gd), terbium substrate 101; the piezoelectric layer 104 disposed over the
   (Tb), dysprosium (Dy), holmium (Ho), erbium (Er), thulium first electrode 103; and the second electrode 105 disposed
   (Tm), ytterbium (Yb) and lutetium (Lu), as known by one of over the piezoelectric layer 104. The piezoelectric layer 104
   ordinary skill in the art. The various embodiments contem is a type-C rare-earth element doped piezoelectric material,
   plate incorporation of any one or more rare-earth elements, 55 and is illustratively type-C aluminum nitride (AIN). The
   although specific examples are discussed herein.                    substrate 101 illustratively comprises single-crystal silicon
      A cavity 106 is formed in the substrate 101 beneath the (Si).
   first electrode 103 by a known method. The first electrode             The cavity 106 is formed in the substrate 101 beneath the
   103 and the second electrode 105 may be one of a variety of first electrode 103 by a known method. The first electrode
   conductive materials, such as metals Suitable as electrodes in 60 103 and the second electrode 105 may be one of a variety of
   BAW applications. Generally, materials suitable for the first conductive materials as noted above, and are fabricated
   electrode 103 and the second electrode 105 comprise using a known method. The piezoelectric layer 104 is
   Refractory metals, Transition metals or Noble Metals. In fabricated in accordance with the present teachings.
   specific embodiments, the first and second electrodes 103.             In a representative embodiment, and unlike the FBAR
   105 illustratively comprise one or more of molybdenum 65 100, FBAR200 does not comprise the seed layer 108 over
   (Mo), aluminum (Al), tungsten (W), platinum (Pt), ruthe the upper surface 107 of the first electrode 103. Rather, the
   nium (Ru), niobium (Nb), hafnium (Hf) and uranium-238 type-C piezoelectric layer 104 is formed over the upper
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   surface 107 of the first electrode 103 by methods of repre        over an upper surface 309 of the second electrode 305. As
   sentative embodiments described below.                            described more fully below, the first and second seed layers
      FIG. 2B shows a simplified cross-sectional view of a           308, 310 are illustratively Al and foster growth of the first
   BAW resonator 201 (alternatively referred to as FBAR 201,         and second piezoelectric layers 304, 311 both of type-C
   herein) in accordance with a representative embodiment.           AlN. In a representative embodiment, the first and second
   The acoustic stack 102 is provided over the substrate 101         seed layers 308, 310 each have a thickness in the range of
   and comprises the first electrode 103 disposed over the approximately 50 A to approximately 1000 A.
   substrate 101; the piezoelectric layer 104 disposed over the          It is appreciated that the SBAR 300 of the representative
   first electrode 103; and the second electrode 105 disposed embodiment comprises an acoustic stack comprising more
   over the piezoelectric layer 104. The substrate 101 illustra 10 than one type Cy piezoelectric layer. It is emphasized that
   tively comprises single-crystal silicon (Si), and comprises other BAW resonator structures comprising an acoustic
   the acoustic isolator 110 formed therein and disposed stack comprising more than one type Cy piezoelectric layer
   beneath the first electrode 103. The acoustic isolator 110         are contemplated. For example, decoupled Stacked acoustic
   may be a known acoustic mirror comprising layers of resonators comprising more than one FBAR with an acous
   alternating high acoustic impedance material and low 15 tic decoupler disposed therebetween are contemplated. In
   impedance material. The first electrode 103 and the second such an embodiment, each of the FBARs would include a
   electrode 105 may be one of a variety of conductive mate type Cy piezoelectric layer fabricated in accordance with the
   rials as noted above, and are fabricated using a known present teachings. The present teachings contemplate form
   method. The piezoelectric layer 104 is fabricated in accor ing the piezoelectric layers with Cyaxes by providing a seed
   dance with the present teachings.                                  layer over a Surface of respective electrodes and forming the
      In a representative embodiment, and unlike FBAR 109 respective piezoelectric layer thereover.
   shown in FIG. 1B, the FBAR 201 does not comprise the seed             Furthermore, in certain BAW structures comprising an
   layer 108 over the first electrode 103. Rather, the type-C         acoustic resonator comprising more than one piezoelectric
   piezoelectric layer 104 is formed over the upper surface 107 layer, it is desirable to provide piezoelectric layers compris
   of the first electrode 103 by methods of representative 25 ing anti-parallel C-axes (e.g., one type Cy piezoelectric
   embodiments described below.                                       layer, and one type C piezoelectric layer). The present
      FIG. 3A shows a simplified cross-sectional view of as teachings also contemplate forming the piezoelectric layers
   SBAR 300 in accordance with a representative embodiment. with C axes by providing a seed layer over the surface of
   The SBAR 300 comprises a single cavity such as described an electrode, forming the type Cy piezoelectric layer over
   in commonly-owned U.S. patent application Ser. No. 30 the seed layer and forming a type C, piezoelectric layer over
   12/201,641 to Bradley, et al. The SBAR 300 comprises a another electrode. The type C piezoelectric layer is formed
   first electrode 303 disposed over a substrate 301; a first using a known method.
   piezoelectric layer 304 disposed over the first electrode 303;        FIG. 3B shows a simplified cross-sectional view of a
   and a second electrode 305 disposed over the first piezo SBAR 302 in accordance with a representative embodiment.
   electric layer 304. In the representative embodiment, the first 35 The SBAR 302 comprises a single cavity such as described
   piezoelectric layer 304 is a type-C rare-earth element doped in commonly-owned U.S. patent application Ser. No.
   piezoelectric material, and is illustratively type-C alumi         12/201,641 to Bradley, et al. The SBAR 302 comprises first
   num nitride (AIN). The substrate 301 illustratively com electrode 303 disposed over substrate 301; first piezoelectric
   prises single-crystal silicon (Si).                                layer 304 disposed over the first electrode 303; and second
      A second piezoelectric layer 311 is disposed over the 40 electrode 305 disposed over the first piezoelectric layer 304.
   second electrode 305; and a third electrode 312 is disposed In a representative embodiment, the first piezoelectric layer
   over the second piezoelectric layer 311. The second piezo 304 is a type-C rare-earth element doped piezoelectric
   electric layer 311 is a type-C rare-earth element doped material, and is illustratively type-C aluminum nitride
   piezoelectric material, and is illustratively type-C alumi (AIN). The substrate 301 illustratively comprises single
   num nitride (AIN). A cavity 306 is formed in the substrate 45 crystal silicon (Si).
   301 beneath the first electrode 303 by a known method. The            The second piezoelectric layer 311 is disposed over the
   cavity 306 provides acoustic isolation as described above.         second electrode 305; and the third electrode 312 is disposed
   Alternatively, an acoustic isolator (not shown in FIG. 3A) over the second piezoelectric layer 311. The second piezo
   Such as described above and comprising alternating layers of electric layer 311 is a type-C rare-earth element doped
   comparatively high and low acoustic impedance may be 50 piezoelectric material, and is illustratively type-C alumi
   used instead of the cavity 306.                                    num nitride (AIN). Cavity 306 is formed in the substrate 301
      The first electrode 303, the second electrode 305 and the       beneath the first electrode 303 by a known method. The
   third electrode 312 may be one of a variety of conductive cavity 306 provides acoustic isolation as described above.
   materials, such as metals suitable as electrodes in BAW            Alternatively, an acoustic isolator (not shown in FIG. 3B)
   applications. Generally, materials suitable for the first elec 55 Such as described above and comprising alternating layers of
   trode 103 and the second electrode 105 comprise Refractory comparatively high and low acoustic impedance may be
   metals, Transition metals or Noble Metals. In specific used instead of the cavity 306.
   embodiments, the first and second electrodes 103, 105               The first electrode 303, the second electrode 305 and the
   illustratively comprise one or more of molybdenum (Mo), third electrode 312 may be one of a variety of conductive
   aluminum (Al), tungsten (W), platinum (Pt), ruthenium 60 materials, such as metals suitable as electrodes in BAW
   (Ru), niobium (Nb), hafnium (Hf) and uranium-238 applications. Generally, materials suitable for the first elec
   (U-238), or other low-loss metals, and are fabricated using trode 103 and the second electrode 105 comprise Refractory
   a known method. The piezoelectric layer 104 is fabricated in metals, Transition metals or Noble Metals. In specific
   accordance with the present teachings.                        embodiments, the first and second electrodes 103, 105
      In a representative embodiment, the SBAR 300 comprises 65 illustratively comprise one or more of molybdenum (Mo),
   a first seed layer 308 disposed over an upper surface 307 of aluminum (Al), tungsten (W), platinum (Pt), ruthenium
   the first electrode 303; and a second seed layer 310 disposed (Ru), niobium (Nb), hafnium (Hf) and uranium-238
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   (U-238), or other low-loss metals, and are fabricated using       The  deposition   system  400 also comprises gas outlets 406,
   a known method. The piezoelectric layer 104 is fabricated in 407, 408, from the flow control system 402. Gas from the
   accordance with the present teachings.                            gas outlets 406, 407,408 is provided to the reaction chamber
      In a representative embodiment, and unlike SBAR 300 401. Notably, the use of mixed gases (e.g., Ar and H2) from
   shown in FIG. 3A, the SBAR 302 does not comprise either 5 a single source is also contemplated. As described more fully
   the first seed layer 308 over an upper surface 307 of the first below, these gases form atmospheres used in cleaning and
   electrode 303, or the second seed layer 310 disposed over an sputter depositing materials 411 from first target 409 and
   upper surface 309 of the second electrode 305. Rather, (the second target 410 over the substrate 101 according to
   type-C) first and second piezoelectric layers 304,311 are representative embodiments.
   formed over upper surface 307 and 309 of the first electrode 10 In forming a rare-earth element doped piezoelectric mate
   303 and the second electrode 305, respectively, by methods rial for the piezoelectric layer 104, a combined aluminum
   of representative embodiments described below.                    and Scandium target may be used. Notably, therefore, in one
      It is appreciated that the SBAR 302 of the representative representative embodiment, both the first and second targets
   embodiment comprises an acoustic stack comprising more 409, 410 are alloys of aluminum and scandium having
   than one piezoelectric layer having a Cyaxis. It is empha 15 selected percentages of aluminum and Scandium to achieve
   sized that other BAW resonator structures comprising an a desired atomic percentage Scandium doping in the doped
   acoustic stack comprising more than one type Cy piezoelec piezoelectric material of piezoelectric layer 104. In accor
   tric layer are contemplated. For example, decoupled Stacked dance with a representative embodiment, the first and sec
   acoustic resonators comprising more than one FBAR with ond targets 409, 410 are arranged concentrically and are
   an acoustic decoupler disposed there between are contem spaced apart. AC power is selectively applied to Sputter a
   plated. In such an embodiment, each of the FBARs would seed layer 108 comprising a metal (e.g., Al-Sc seed layer)
   include a type Cy piezoelectric layer fabricated in accor over the upper surface 107 of the first electrode 10. During
   dance with the present teachings. The present teachings the forming of the seed layer 108, Ar is flowed to one of the
   contemplate forming the type Cy piezoelectric layers over a gas inlets 403, 404, 405 and from one of the gas outlets 406,
   surface of respective electrodes. Furthermore, in certain 25 407; and no other gases are flowed from the other gas outlet
   BAW structures comprising an acoustic resonator compris 406, 407. As a result, in the presently described represen
   ing more than one piezoelectric layer, it is desirable to tative embodiments to form Sc-doped AlN, Ar plasma
   provide piezoelectric layers comprising anti-parallel C-axes created in the reaction chamber 401 results in the sputter
   (e.g., one type Cy piezoelectric layer, and one type C, deposition of a substantially Al Sc seed layer 108 from the
   piezoelectric layer). The present teachings also contemplate 30 first and second targets 409, 410 over the upper surface 107
   forming the piezoelectric layers with Cyaxes and forming a of the first electrode 103. Notably, the longer AC power is
   type C piezoelectric layer over another electrode. The type applied to the first and second targets, the thicker the seed
   C. piezoelectric layer is formed using a known method.            layer 108 that is formed.
      FIG. 4 shows a simplified schematic diagram of a depo             In the presently described embodiment, where both the
   sition system 400 in accordance with a representative 35 first and second targets 409, 410 are an alloy of aluminum
   embodiment. The deposition system 400 comprises compo and Scandium, the proportions of Al and Sc in the target are
   nents commercially available from Advanced Modular Sys selected to provide a scandium-doped aluminum nitride
   tems, Inc. of Santa Barbara, Calif. USA, for example. In piezoelectric layer having an atomic percentage selected to
   representative embodiments, the deposition system 400 is a achieve a desired atomic percentage doping in the doped
   sputter deposition system, many of the components and 40 piezoelectric material of piezoelectric layer 104. In certain
   dynamics of which are known to one of ordinary skill in the representative embodiments where the first and second
   art. Because many details of the deposition system 400 and targets 409, 410 are arranged concentrically, it is observed
   sputtering techniques are known, many details are not pro that the scandium from the inner concentric target (e.g., first
   vided to avoid obscuring the description of the representa target 409) is sputtered in a cone-like fashion from the inner
   tive embodiments.                                              45 target. This results in an uneven deposition of scandium over
      The deposition system 400 comprises a reaction chamber the upper surface 107 of the first electrode 103, with an
   401, which is maintained substantially at vacuum during increasing atomic percentage of Scandium being sputtered
   fabrication of rare-earth element doped piezoelectric mate towards the outer edges (e.g., greater atomic percentage with
   rials of the representative embodiments. The deposition increasing radius of Sputtered material over the upper Sur
   system 400 also comprises gas inlets 403, 404, 405 as inputs 50 face 107). As such, given the sputtering pattern realized by
   to a flow control system 402, which controls the flow of this illustrative method, in order to more evenly distribute
   selected gases provided to the gas inlets 403, 404, 405 and the Sputtered scandium, the outer concentric target (e.g.,
   the flow rates of the gases provided. A load and lock second target 410) comprises an alloy of Al-Sc with a
   chamber 413 is provided to allow for the loading of wafers Smaller atomic percentage of Scandium than that of the inner
   and then transferring them to a reaction chamber 401 55 concentric target (e.g., first target 409). So, by way of
   without breaking vacuum. The flow control system 402 illustrative example, if an atomic percentage of 9.0% Scan
   comprises valves (not shown) for selecting the gases to be dium is desired in the doped piezoelectric material of
   flowed into the reaction chamber 401, flow controllers (not piezoelectric layer 104, the inner concentric target (e.g., first
   shown) to measure and control the flow rates thereof, and a target 409) comprises an Al-Sc alloy having an atomic
   controller (not shown) comprising Suitable software for 60 percentage of Scandium of approximately 9%, whereas the
   controlling the valves. Moreover, the deposition system 400 outer concentric target (e.g., second target 410) comprises an
   may comprise an exhaust outlet 412, which has a constant Al-Sc alloy having an atomic percentage of Scandium of
   pumping speed, and control of the total pressure in the approximately 4% to approximately 5%. This will provide a
   reaction chamber 401 is provided by the changing of gas doped piezoelectric material in the piezoelectric layer 104
   flow by each flow controller independently or together.        65 having an atomic consistency of Aloo Scooo..N. Again, this is
      The flow control system 402 may comprise an interface merely an illustrative dopant and an illustrative atomic
   (not shown). Such as a graphic user interface (not shown). percentage of dopant in the piezoelectric layer. More gen
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   erally, the atomic percentage of rare-earth element (e.g., Sc)  nitride  layer of approximately  0.5% to less than approxi
   in the inner target (e.g., first target 409) is approximately mately 10.0%. More generally, the atomic percentage of
   equal to the desired resultant atomic percentage of dopant in Scandium in an aluminum nitride layer is approximately
   the result piezoelectric material and the outer target (e.g., 0.5% to approximately 40% in certain embodiments. In yet
   second target 419) is normally approximately 3 atomic other representative embodiments, the atomic percentage of
   percent to approximately 5 atomic percent less rare-earth Scandium in an aluminum nitride layer is approximately
   element than the atomic percentage of rare-earth element in 2.5% to less than approximately 5.0%.
   the inner target.                                                  As described in connection with representative embodi
      In accordance with another representative embodiment, ments below, the gas inlets 403, 404, 405 may selectively
   one of the first and second targets 409, 410, comprises an 10 provide argon (Ar), nitrogen (N) or hydrogen (H), respec
   alloy aluminum and Scandium and the other target comprises tively, or a combination thereof. The gas outlets 406, 407,
   only aluminum. In this embodiment, the target comprising 408 provide a mixture of these gases as to the reaction
   the alloy has selected percentages of aluminum and scan chamber 401. For example, in forming an Al Sc seed layer
   dium to achieve a desired atomic percentage Scandium (e.g., seed layer 108), Arplasma may be formed by the outlet
   doping in the doped piezoelectric material of piezoelectric 15 of Argas from one of the gas outlets 406, 407 in the reaction
   layer 104. In accordance with a representative embodiment, chamber 401, and results in sputter deposition of seed layer
   the first and second targets are arranged concentrically and 108 of Al-Sc from the first and second targets 409, 410 that
   are spaced apart. AC power is selectively applied to the all comprise Al—Sc over the first electrode 103. After the
   aluminum target, whereas the alloy target is initially forming of the seed layer 108, the growth of type-C
   grounded or has no voltage Supplied relative to ground. The piezoelectric layer (e.g., piezoelectric layer 104) is provided
   application of AC power to the all aluminum target sputters by selectively sputtering the first and second targets 409, 410
   a seed layer 108 comprising Al over the upper surface 107 in an ArfN atmosphere, from gas outlets 406, 407.
   of the first electrode 103. During the forming of the seed         Alternatively, in forming an Al seed layer (e.g., seed layer
   layer 108, Aris flowed to one of the gas inlets 403, 404, 405   108), Ar plasma may be formed by the outlet of Argas from
   and from one of the gas outlets 406, 407; and no other gases 25 one of the gas outlets 406, 407 in the reaction chamber 401,
   are flowed from the other gas outlet 406, 407. As a result, in and results in sputter deposition of seed layer 108 of Al from
   the presently described representative embodiments to form one of the first and second Al targets 409, 410 that comprises
   Sc-doped AlN, Ar plasma created in the reaction chamber only aluminum over the first electrode 103. After the form
   401 results in the sputter deposition of a substantially Al ing of the seed layer 108, the growth of a type-C piezo
   seed layer 108 from the first or second target 409, 410 30 electric layer (e.g., piezoelectric layer 104) is provided by
   comprising only aluminum over the upper surface 107 of the selectively sputtering the first and second targets 409,410 in
   first electrode 103. Notably, the longer AC power is applied an Ar/N atmosphere, from gas outlets 406, 407.
   to the all aluminum target, the thicker the seed layer 108 that    In another exemplary method where no seed layer is
   is formed.                                                      provided, hydrogen (H) is provided from one of the gas
      In the presently described embodiment, where one of the 35 outlets 406, 407 to provide a hydrogen atmosphere useful in
   first and second targets 409, 410 are an alloy of aluminum removing contaminants on the upper surface 107. The
   and Scandium, the proportions of Al and Sc in the alloy contaminants could include metal oxides, gases such as
   target are selected to provide a Scandium-doped aluminum H2O, N, or O on the upper surface 107, as well as pro
   nitride piezoelectric layer having an atomic percentage cessing residues such as photoresist. After the cleaning step
   selected to achieve a desired atomic percentage doping in 40 in the hydrogen atmosphere, the growth of type-C piezo
   the doped piezoelectric material of piezoelectric layer 104. electric layer (e.g., piezoelectric layer 104) is provided by
   So, by way of illustrative example, if an atomic percentage selectively sputtering the first and second targets 409, 410
   of 5.0% scandium is desired in the doped piezoelectric (e.g., Al) in an Art N2/H2 atmosphere, from gas outlets 406,
   material of piezoelectric layer 104, the inner concentric 407, 408 or by a pre-mixed source of ArtH2, and a nitrogen
   target (e.g., first target 409) comprises an Al-Sc alloy 45 SOUC.
   having an atomic percentage of Scandium of approximately           Turning to FIG. 5, a method 500 of fabricating a piezo
   5%. This will provide a doped piezoelectric material in the electric layer in accordance with a representative embodi
   piezoelectric layer 104 having an atomic consistency of ment is shown in a simplified flow-chart. The method 500 is
   Aloss ScoosN. Again, this is merely an illustrative dopant described with direct reference to the components of FIGS.
   and an illustrative atomic percentage of dopant in the 50 1A, 1B and the deposition system 400 of FIG. 4 for
   piezoelectric layer.                                            illustrative purposes. Fabrication of other FBAR structures,
      The basic principle of providing one or both of the first such as SBAR 300, using the method 500, is also contem
   and second targets 409, 410 having an alloy of a desired plated. As will become clearer as the present description
   rare-earth element at a desired atomic percentage can be continues, the method 500 provides a seed layer 108 over the
   applied to other rare-earth elements having other desired 55 first electrode 103 in the formation of type-C piezoelectric
   atomic percentages of the desired dopant. Notably, in accor layer 104. As alluded to above, the method 500 may be used
   dance with certain representative embodiments, the dopant to provide the first seed layer 308 over the first electrode 303
   is Scandium and the doped piezoelectric material of piezo and the second seed layer 310 over the second electrode 305
   electric layer 104 is aluminum nitride where the atomic of the SBAR 300 by repeating the process after forming the
   percentage of scandium in an aluminum nitride layer (piezo 60 intervening layer(s) of the SBAR 300.
   electric layer 104) is approximately 0.5% to less than             At 501, the method comprises forming a first electrode
   approximately 10.0%. As such, fabricating such a doped over a substrate. Illustratively, the first electrode 103 is
   piezoelectric layer comprises providing one or both of the formed over the substrate 101. For purposes of description
   first and second targets 409, 410 comprising an alloy of of the method 500, the first electrode 103 is formed by
   Al-Sc where the atomic percentage of Scandium in first 65 sputter-depositing the selected conductive material over the
   and/or second target 409, 410 is selected to provide an substrate 101 by a known method, although other methods
   atomic percentage of Scandium doping in an aluminum of forming the first electrode are contemplated. Notably, the
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   formation of the cavity 106 in the substrate 101 may be           107 of the first electrode 103. Notably, the longer AC power
   carried out before fabrication of the acoustic stack 102 of the   is applied between the first and second targets, the thicker
   FBAR 100, with the cavity 106 filled with a sacrificial the Al—Sc seed layer 108 that is formed.
   material (not shown) Such as phosphosilicate glass (PSG) or          In another embodiment one of the first and second targets
   other release processes such as polysilicon and Xenon dif 409, 410 is pure aluminum, and AC power is applied to the
   luoride etchant, known to one of ordinary skill in the art, all-aluminum target and the Al—Sc alloy target is initially
   during the fabrication of layers of the acoustic stack 102; and grounded or has no voltage Supplied relative to ground. This
   released after the forming of the layers of the acoustic stack results in sputtering of a purely Al seed layer from the first
   102. Alternatively, the acoustic isolator 110 is formed in the or second targets 409, 410 comprising pure aluminum
   substrate 101 before forming of the first electrode 103 of the 10 Illustratively, AlN is the rare-earth element doped piezo
   FBAR 109.                                                         electric material, and one of the first and second targets 409,
      The fabrication of the piezoelectric layer 104 begins with 410 comprise an Al Sc alloy, whereas the other of the first
   cleaning the upper surface 107 of the first electrode 103 and second targets comprises Al. Aluminum is sputtered
   before the forming of the piezoelectric layer 104. In a from the one first and second targets 409, 410 having only
   representative embodiment, this cleaning step comprises 15 Al during the negative potential half-cycle of AC power
   flowing only Ar to one of the gas inlets 403, 404, 405 and applied to the selected one of the first and second targets
   to one of the gas outlets 406, 407 to provide an Ar atmo 409, 410 having only Al and provides seed layer 108 over
   sphere in the reaction chamber 401. An RF bias is applied to the upper surface 107 of the first electrode 103. During the
   the first electrode 103 and the reaction chamber 401 is           forming of the seed layer 108, Ar is flowed to one of the gas
   maintained at ground, so that the first electrode 103 func inlets 403, 404, 405 and from one of the gas outlets 406, 407;
   tions as a cathode. An Ar plasma is formed in the reaction and no other gases are flowed from the other gas outlet 406,
   chamber 401 and bombards the upper surface 107 of the first 407. As a result, Ar plasma created in the reaction chamber
   electrode 103. Illustratively, the RF power is provided in the 401 results in the sputter deposition of a substantially pure
   range of approximately 15 W to approximately 1 kW, and aluminum seed layer from the first or second target 409, 410
   the Ar bombardment of the upper surface 107 of the first 25 comprising only aluminum and over the upper Surface 107
   electrode is maintained for a few seconds to a few minutes        of the first electrode 103. Notably, the longer AC power is
   to ensure proper removal of contaminants. Notably, during applied to the pure aluminum target (i.e., the first or second
   this cleaning step, no voltage is applied to the first and targets 409, 410 that is all aluminum), the thicker the seed
   second targets 409, 410.                                          layer 108 that is formed.
      It is believed that the comparatively high kinetic energy of 30 At 503, and after the seed layer 108 is formed, the method
   the Ar ions provides suitable bombardment of the upper 500 comprises flowing a first component of the piezoelectric
   surface 107 to remove substantially therefrom contaminants layer and sputtering the piezoelectric layer 104 over the
   such as adsorbed water, adsorbed oxide, adsorbed nitrides         substrate 101. In a representative embodiment used to form
   and native oxides formed on materials commonly used in the AlN doped with a rare-earth element, the first component
   fabrication of the first electrode 103. By substantially 35 comprises nitrogen (N) gas. The flowing of nitrogen into
   removing contaminants from the upper surface 107, the the reaction chamber 401 comprises providing nitrogen to
   formation of a comparatively pure and electropositive seed one of the gas inlets 403, 404, 405 and from one of the gas
   layer 108 (comprising Al or AlSc) is fostered. Thereafter, a outlets 406, 407, 408, while continuing the flow of Ar to
   type-C. AlN piezoelectric layer may be formed by deposi another of the gas inlets 403, 404, 405 and from the other of
   tion of AlN over the seed layer 108 as described above. 40 the gas outlets 406, 407,408. During the flowing of nitrogen,
   Furthermore, in an embodiment where the first electrode 103       AC power is supplied between the first and second target
   comprises Pt, by this cleaning step in the Ar atmosphere, it 409, 410, and the rare-earth element doped piezoelectric
   is believed that contaminants such as adsorbed water,              material is formed over the surface to the first or second
   adsorbed oxides and adsorbed nitrides are removed from the       target 409, 410, which comprises an alloy of the rare-earth
   Pt, which does not readily form native oxides.                45 element and the second component of the piezoelectric layer
      At 502, the method 500 comprises forming the seed layer 104. In a representative embodiment, the AC power has a
   108 over the upper surface 107 of the first electrode 103. In frequency in the range of approximately 20 kHz to approxi
   a representative embodiment, at this point the RF power to mately 100 kHz, and power in the range of approximately 1
   the first electrode 103 is terminated, and AC power is kW to approximately 7 kW. Illustratively, the AC power is
   applied. In an embodiment where both the first and second 50 7 kW and has a frequency of 40 kHz.
   targets 409, 410 comprise an Al Sc alloy, the AC power is           The Ar/N plasma is maintained, and is believed to sputter
   applied between the first and second targets 409, 410 and an the rare-earth element doped piezoelectric material (e.g.,
   Al-Sc (all metal) seed layer is formed.                          AlScN) from the first and/or second targets 409, 410 to the
      Illustratively, in the presently described embodiment, AlN seed layer 108 in a preferred orientation to provide type C,
   is the rare-earth element doped piezoelectric material, and 55 AlN over the seed layer 108. Beneficially, the depositing of
   first and second targets 409, 410 comprise an Al-Sc alloy. the piezoelectric layer 104 in the portion of the method is
   Al-Sc is sputtered selectively from the first and second effected without breaking vacuum conditions in the deposi
   targets 409, 410 during the negative potential half-cycle of tion system 400, and comparatively rapidly after completion
   AC power applied to the selected one of the first and second of the forming of the seed layer 108. Maintaining vacuum
   targets 409, 410. This provides seed layer 108 over the upper 60 and relatively rapidly beginning the deposition of the piezo
   surface 107 of the first electrode 103. During the forming of electric layer 104 is believed to substantially prevent adsorp
   the seed layer 108, Ar is flowed to one of the gas inlets 403, tion of oxides and nitrides or the formation of other con
   404, 405 and from one of the gas outlets 406, 407; and no taminants over the exposed surface(s) of the seed layer 108.
   other gases are flowed from the other gas outlet 406, 407. As       It is believed that because the Al seed layer 108 is
   a result, Ar plasma created in the reaction chamber 401 65 comparatively free from contaminants due to the cleaning
   results in the sputter deposition of an Al Sc seed layer from step in Ar, a Substantially electropositive Surface of Al is
   the first or second target 409, 410 and over the upper surface formed over the upper surface 107 of the first electrode 103.
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   The A1 seed layer 108 is comparatively highly reactive, and ing first and second piezoelectric layers 304, 311 is fabri
   attracts nitrogen of the Sputtered rare-earth element doped cated by forming first and second seed layers 308, 310
   piezoelectric material (e.g., AlScN). As such, in the present respectively over respective upper surfaces 307, 309 of first
   example, it is believed that AlScN is oriented with the and second electrodes 303, 305.
   nitrogen bonded to the electropositive seed layer of alumi          In certain applications, two or more piezoelectric layers
   num, and the aluminum of the AlScN not being bonded is may be included in the acoustic stack, and have opposing
   exposed (i.e., in a structure: seed layer-NA1). Sputtered AlN C-axes. For example, in an acoustic stack described in U.S.
   is then bonded to the exposed aluminum, with the nitrogen Pat. No. 7,515,018, the C-axes of the piezoelectric layers
   bonded to the exposed aluminum (i.e., in a structure: seed may be antiparallel. As can be appreciated, in a structure
   layer-N-AL-N-AL with substituted Sc per the desired stoi 10 comprising two piezoelectric layers in an acoustic stack, the
   chiometry). This sequence results in the forming of the first piezoelectric may be type-C rare-earth element doped
   crystal structure of type-C. AlScN rare-earth element doped piezoelectric material (e.g., first piezoelectric layer 304), and
   piezoelectric material, and continues until a suitable thick the second piezoelectric layer 311 may be type-C rare-earth
   ness of the type-C. AlScN (e.g., piezoelectric layer 104) is element doped piezoelectric material. In Such an embodi
   realized. In one embodiment, the AlScN layer has a thick 15 ment, the deposition system 400 and method 500 could be
   ness of approximately 12,000 A.                                   used to form the type-C piezoelectric layer by method 500,
      The flow rates of Arand N are set to control the stress of and the type-C, piezoelectric layer would be formed by a
   the resultant AlScN. Notably, a higher flow rate of Arresults known method using deposition system 400. For example,
   in tensile stress in the AlScN; a lower flow rate of Arresults    the first electrode 103 may be formed as described in 501
   in compressive stress in the AlScN. Similarly, a higher flow above; and the C piezoelectric layer may be formed by
   rate of N results in tensile stress in the AlScN; and a lower flowing the first component of the rare-earth element doped
   flow rate of N results in compressive stress in the AlScN. In piezoelectric material as described in 503 above. Notably, in
   representative embodiments, the flow rate of Ar is in the forming a C piezoelectric layer, the sequence of 502 is not
   range of approximately 6 sccm to approximately 25 sccm, performed.
   and the flow rate of N is in the range of approximately 39 25 FIG. 6 shows a flow-chart of a method 600 of fabricating
   sccm to approximately 50 sccm. Notably, the flow rates are a piezoelectric layer in accordance with a representative
   merely illustrative. More generally, the flow rates are embodiment. Many of the details of the method 600 are
   adjusted according to the Volume of the deposition chamber, common to the method 500, and may not be repeated in
   the speed of the pumps and other parameters as would be order to avoid obscuring the presently described embodi
   appreciated by one of ordinary skill in the art.               30 mentS.
      After the piezoelectric layer 104 is formed, the second          The method 600 is described with direct reference to the
   electrode 105 is formed over the piezoelectric layer 104. The components of FIGS. 2A, 2B and the deposition system 400
   second electrode 105 comprises a metal that is sputter of FIG. 4 for illustrative purposes. Fabrication of other
   deposited over the piezoelectric layer 104 by a known FBAR structures, such as SBAR302, using the method 600,
   method. Illustratively, the second electrode 105 comprises 35 is also contemplated. As will become clearer as the present
   the same material as the first electrode 103. Notably, differ description continues, the method 600 may be used to form
   ent materials may be used for the electrodes as may be type-C piezoelectric layer 104 having a rare-earth element
   beneficial to the FBAR (BAW resonator) 100.                       doped piezoelectric material over the upper surface 107 of
      After the forming of the second electrode 105, the release the first electrode 103. As alluded to above, the method 600
   of the sacrificial material to form the cavity 106 is carried 40 may be used to provide the first piezoelectric layer 304 over
   out using a suitable etchant such as HF. As should be the upper surface 307 of the first electrode 303 and the
   appreciated, if unprotected the seed layer 108 may be etched second piezoelectric layer 311 over the upper surface 309 of
   by the etchant as well. In order to prevent this from the second electrode 305 of the SBAR 302 by repeating the
   significantly deteriorating the seed layer 108, a protective process after forming the intervening layer(s) of the SBAR
   layer (not shown) is provided over and/or around the acous 45 3O2.
   tic stack 102 comprising the first electrode 103, the seed          At 601 the method comprises providing a substrate.
   layer 108, the piezoelectric layer 104 and the second elec Illustratively, the substrate formed in 601 comprises first
   trode 105. The protective layer may comprise a metal dam          electrode 103, which is formed over the substrate 101. For
   formed from the same metal as the first and second elec           purposes of description of the method 600, the first electrode
   trodes 103,105, for example, or may beformed of a material 50 103 comprises a metal that is sputter-deposited over the
   impervious to the etchant (e.g., HF). Such protective layers substrate 101 by a known method. Notably, the formation of
   are formed by known deposition, lithography and etching the cavity 106 in the substrate 101 may be carried out before
   sequences. Alternatively, a comparatively thin (e.g., 50 A) fabrication of the layers of the acoustic stack 102 of FBAR
   seed layer 108 may be provided. It is believed that a 100, with the cavity 106 filled with a sacrificial material (not
   comparatively thin seed layer will not be appreciably etched 55 shown) Such as phospho-silicate glass (PSG) during the
   by the etchant used to release the sacrificial material from fabrication of layers of the acoustic stack 102, and released
   the cavity 106. Of course, if instead of the cavity 106, the after forming the layers of the acoustic stack 102. Alterna
   acoustic isolator 110 is implemented as in FBAR 109, the tively, the acoustic isolator 110 is formed in the substrate
   release of sacrificial material and thus the passivation mate 101 before forming of the first electrode 103 of FBAR 109.
   rial would not be necessary.                                   60   At 602, the fabrication of the piezoelectric layer 104
      The FBAR 100 and BAW resonator 109 described in                begins with cleaning an upper surface 107 of the first
   connection with the method 500 comprise a single piezo electrode 103 before the forming of the piezoelectric layer
   electric layer. As noted above, the acoustic stack of certain 104. In a representative embodiment, this cleaning step
   resonator structures comprises more than one piezoelectric comprises flowing Ar and H2 to respective gas inlets 403,
   layer. It is emphasized that the method 500 can be repeated 65 404, 405 and from one of the gas outlets 406, 407, 408. An
   to form a second type-C. AlScN piezoelectric layer. For RF bias is applied to the first electrode 103 and the reaction
   example, by repeating the method 500, SBAR 300 compris chamber 401 is maintained at ground, so that the first
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   electrode 103 functions as a cathode. As in method 500, an       AlN—H compound or ScN—H, due to reactions on the
   Ar plasma is formed and bombards the upper surface 107 of        surface of the first and second targets 409, 410 between A1,
   the first electrode 103. Illustratively, the RF power is pro Sc and NHX.
   vided in the range of approximately 15 W to approximately          The greater the frequency of the AC power, the lower the
   1 kW, and the Arbombardment of the upper surface 107 of 5 deposition rate of AlScN. Accordingly, the frequency of the
   the first electrode is maintained for a few seconds to a few    AC power generally should not exceed 100 kHz. Notably, if
   minutes to ensure proper removal of contaminants. Notably, the flow of hydrogen is maintained during 603, the cleaning
   during this cleaning step, no voltage is applied to the first action of hydrogen is realized, but due to its comparatively
   and second targets 409, 410; and therefore sputtering of 10 Small atomic mass, hydrogen does not appreciably sputter
   material from first and second targets 409, 410 is insignifi AlScN At
                                                                            from the first and second targets 409, 410.
                                                                          604, rare-earth element doped piezoelectric material is
   cant. As such, and in contrast to the method 500, no seed       sputtered from the surface to the first or second target 409,
   layer (e.g., seed layer 108) is formed over the upper surface 410,    which comprises the alloy of the rare-earth element and
   107 of the first electrode 103.                                 the second component of the piezoelectric layer 104, and
      The hydrogen plasma formed in the reaction chamber 401 15 over the substrate 101. In a specific embodiment, AlScN—H
   bombards the upper surface 107 of the first electrode 103. formed on the surface to the first and/or second target 409,
   The flow of H in 402 provides ionized hydrogen (e.g., H." 410 is sputtered to the upper surface 107 of the first electrode
   or H") in the reaction chamber 401 that provides a reducing 103. The metal hydrides formed at the upper surface 107 are
   agent at the upper surface 107. The ionized hydrogen is believed to present an electronegative surface that attracts
   believed to react with many contaminants such as water, the aluminum of the AlN-H or the ScN—H, or both,
   adsorbed oxides, nitrides and native oxides that may be sputtered from the first and/or second target 409, 410.
   present on the upper surface 107, and fosters their removal Accordingly, the desired orientation (i.e., metal hydride
   to provide a comparatively clean Surface. Moreover, it is AIN-AIN-AIN or ScN-ScN-ScN) to form the crystal
   believed that the ionized hydrogen forms metal hydrides by structure of type-C. AlScN rare-earth element doped piezo
   saturating dangling bonds on the Surface of the metal of the 25 electric material is provided and 603 continues until a
   first electrode 103, and any exposed silicon surface. Fur suitable thickness of the type-C. AlScN material (e.g.,
   thermore, in an embodiment where the first electrode 103        forming piezoelectric layer 104) is realized. In one embodi
   comprises Pt, by the cleaning step with H, it is believed that ment, the AlScN layer has a thickness of approximately
   contaminants such as adsorbed water, oxides and nitrides are     12,000 A.
   believed to be removed on Pt, which does not readily form 30 It is believed that hydrogen gas molecules (H) and atoms
   native oxides. Notably, however, because no electrical (H) attach to the A1ScN on the surface of the metal of the
   potential is applied to the first and second targets 409, 410 first electrode 103. The hydrogen atoms then penetrate into
   during 602, Al is not appreciably sputtered from the first and the interior next to the Al or Sc side of the AlScN molecule
   second targets 409, 410.                                       to form an aluminum-hydride-nitride substance. The A1ScN
      At 603 the method 600 comprises flowing a first compo 35 molecules are stretched apart to accommodate the hydrogen
   nent of the piezoelectric layer 104. In a representative atoms. The physical structure of the H AlScN molecule
   embodiment used to form AlScN, the first component com may also change. Then as a result of adsorption, the
   prises nitrogen (N) gas. The flowing of nitrogen into the hydrided part of H AlScN aligns and migrates to the
   reaction chamber 401 comprises providing nitrogen to one surface of the metal hydride formed on the first electrode
   of the gas inlets 403, 404, 405 and from one of the gas 40 103, combines into hydrogen molecules H and pulls the Al
   outlets 406, 407, 408, while continuing the flow of Ar to part of AlScN toward to first electrode 103.
   another of the gas inlets 403, 404, 405 and from the other of     As noted above, the H. flow into the reaction chamber 401
   the gas outlets 406, 407, 408.                                 may be continuous during the forming of the rare-earth
      Notably, H may be provided to the same gas outlet 406, element doped piezoelectric material. As described above, it
   407, 408 that provides Ar; or a separate outlet (not shown) 45 is believed that the presence of ionized hydrogen in the
   may be provided into the reaction chamber to provide an reaction chamber provides a reducing agent that can remove
   Ar/N/H atmosphere. Alternatively, after the completion of contaminants such as oxides, nitrides and water, which can
   602, hydrogen flow may be terminated. The flow rates of Ar interfere with the forming of type-C rare-earth element
   and N are set to control the stress of the resultant AIN. As doped piezoelectric material, or can reduce the coupling
   described previously, a higher flow rate of Ar results in 50 coefficient (kt) of the rare-earth element doped piezoelec
   tensile stress in the AlN; and a lower flow rate of Arresults  tric material. In a representative embodiment, the flow rate
   in compressive stress in the AIN. Similarly, a higher flow of H during the forming of the AIN is at least approximately
   rate of N results in tensile stress in the AlN; and a lower 8 sccm. In certain embodiments, the flow rate of H during
   flow rate of N results in compressive stress in the AIN. In the forming of the AlN is as great as approximately 30 scem.
   representative embodiments, the flow rate of Ar is in the 55 Illustratively, a flow rate of H of approximately 14 sccm
   range of approximately 6 sccm to approximately 25 sccm, provides a C. AlScN rare-earth element doped piezoelectric
   and the flow rate of N is in the range of approximately 39 material with kt of approximately 7.0% to approximately
   sccm to approximately 50 sccm.                                 7.5% with an atomic percentage of Sc of approximately
      During the flowing of nitrogen, AC power is Supplied to 5.0%. The coupling coefficient kt of AlScN fabricated with
   the first and/or second target 409, 410, and the rare-earth 60 continuous flow of H at the flow rates noted provides Cy
   element doped piezoelectric material is formed over the AlScN rare-earth element doped piezoelectric material with
   surface to the first or second target 409, 410, which com kt of approximately 6.8% to approximately 7.3%. FIG. 7
   prises the alloy of the rare-earth element and the second shows the coupling coefficient versus hydrogen flow rate
   component of the piezoelectric layer 104. Moreover, NH,        during the forming of the piezoelectric layer in 603.
   compounds are believed to be formed in the reaction cham 65 After the piezoelectric layer 104 is formed, the second
   ber 401. It is believed that NH compounds formed in the electrode 105 is formed over the piezoelectric layer 104. The
   reaction chamber 401 foster the formation of a form of         second electrode 105 comprises a metal that is sputter
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                                21                                                                 22
   deposited over the piezoelectric layer 104 by a known             layer 806 is provided over the substrate 803 and may be
   method. Illustratively, the second electrode 105 comprises        non-etchable borosilicate glass (NEBSG). In general, pla
   the same material as the first electrode 103.                     narization layer 806 does not need to be present in the
      The FBAR 200 and BAW resonator 201 described in                structure (as it increases overall processing cost), but when
   connection with the method 600 comprise a single piezo present, it may serve to improve the quality of growth of
   electric layer. As noted above, the acoustic stack of certain Subsequent layers (e.g., highly textured c-axis rare-earth
   resonator structures comprises more than one piezoelectric element doped piezoelectric material), improve the perfor
   layer. It is emphasized that the method 600 may be repeated mance of the FBAR 800 through the reduction of “dead”
   to form a second type-C. AlN piezoelectric layer. For resonator (FBAR) regions and simplify the fabrication of the
   example, by repeating the method 600 in a selected 10 various layers of the FBAR 800. Additionally, as described
   sequence, SBAR 302 comprising first and second piezoelec more fully below, a barrier layer (not shown in FIG. 8) is
   tric layers 304,311, respectively, are formed over respective provided between the substrate 803 and the first electrode
   upper surfaces 307, 309 of first and second electrodes 303, 805.
   305.                                                                 A first piezoelectric layer 807 is provided over the first
      In certain applications, two or more piezoelectric layers 15 electrode 805, and comprises highly-textured c-axis rare
   may be included in the acoustic stack, and have opposing earth element doped piezoelectric material Such as alumi
   C-axes. For example, in an acoustic stack described in U.S. num nitride (AlScN). The c-axis of the first piezoelectric
   Pat. No. 7,515,018, the C-axes of the piezoelectric layers layer 807 is oriented along a first direction (e.g., parallel to
   may be antiparallel. As can be appreciated, in a structure the +z-direction in the coordinate system depicted in FIG.
   comprising two piezoelectric layers in an acoustic stack, the 1B). The first piezoelectric layer 807 may be referred to
   first piezoelectric may be type-C piezoelectric (e.g., first herein as the "p" layer, or type C piezoelectric layer. A
   and second piezoelectric layer 304), and the second piezo second piezoelectric layer 808 adjacent to the first piezo
   electric layer 311 may be type-C, piezoelectric layer com electric layer has a second c-axis oriented in a second
   prising a rare-earth element doped piezoelectric material. In direction (e.g., parallel to the -z-direction in the coordinate
   such an embodiment, the deposition system 400 would be 25 system depicted in FIG. 1B) that is substantially antiparallel
   used to form the type-C piezoelectric layer by method 600, to the first direction. The second piezoelectric layer 808
   and the type-C, piezoelectric layer would be formed by a comprises a rare-earth element doped piezoelectric material
   known method using deposition system 400.                         such as aluminum nitride (AlScN). The second piezoelectric
      If the second piezoelectric layer (e.g., second piezoelec layer 808 may be referred to herein as the “inverse-piezo
   tric layer 311) is type-C. AlScN rare-earth element doped 30 electric (ip) or Type C piezoelectric layer. In representa
   piezoelectric material, the cleaning step of method 600 tive embodiments, the first piezoelectric layer 807 has a
   would be carried out to remove contaminants from the              thickness (Z-direction in the coordinate system of FIG. 8)
   electrode over which the second piezoelectric layer is that is substantially identical to that of the second piezo
   formed (e.g., second electrode 305). If there is no interven electric layer 808.
   ing acoustic decoupling layer or intervening electrode, the 35 The first and second piezoelectric layers 807, 808 are
   cleaning step of the method 600 would be carried out to fabricated according to representative embodiments
   remove contaminants from the Surface (e.g., upper Surface described above. Many of the details of the fabrication
   309) of the second electrode 305. The forming of the second methods used to fabricate the first and second piezoelectric
   piezoelectric layer would be effected by repeating 603 of the layers 807, 808 comprising a rare-earth element doped
   method 600.                                                    40 piezoelectric material are not repeated to avoid obscuring
      In certain applications, two or more piezoelectric layers the description of the representative embodiments.
   may be included in the acoustic stack, and have opposing             The crystals of both the first piezoelectric layer 807
   C-axes. For example, in the acoustic stacks described in U.S.     (p-layer) and the second piezoelectric layer 808 (ip-layer)
   patent application Ser. No. 12/201,641 and U.S. Pat. No. grow in columns that are perpendicular to the plane of the
   7,515,018, the C-axes of the piezoelectric layers may be 45 electrodes. As such, the c-axis orientations of crystals of the
   antiparallel. As can be appreciated, in a structure comprising first piezoelectric layer 807 are substantially aligned with
   two piezoelectric layers in an acoustic stack, the first piezo one another and the c-axis orientations of crystals of the
   electric may be type-Cy (e.g., first piezoelectric layer 304),    second piezoelectric layer 808 are substantially aligned with
   and the second piezoelectric layer (e.g., second piezoelectric one anotherland are antiparallel to the c-axis orientations of
   layer 311) may be type-C. In such an embodiment, the 50 crystals of the first piezoelectric layer 807. The first piezo
   deposition system 400 would be used to form the type-C            electric layer 807 and the second piezoelectric layer 808 are
   piezoelectric layer by method 600, and the type-C, piezo typically made from the same substance (e.g., AlScN). The
   electric layer would be formed by a known method using second electrode 801 is disposed over the first piezoelectric
   deposition system 400.                                            layer 807 and over the second piezoelectric layer 808.
      FIG. 8 shows a cross-sectional view of FBAR 800 in 55             In the representative embodiment depicted in FIG. 8, the
   accordance with a representative embodiment. The FBAR first piezoelectric layer 807 and the second piezoelectric
   800 comprises a top electrode 801 (referred to below as layer 808 are disposed adjacent to each other, and in this
   second electrode 801), illustratively comprising five (5) specific embodiment, in contact with each other. As should
   sides, with a connection side 802 configured to provide the be appreciated by one of ordinary skill in the art, in certain
   electrical connection to an interconnect (not shown). The 60 applications (e.g., in certain structures described in U.S.
   interconnect provides electrical signals to the top electrode patent application Ser. No. 13/286,051 to Burak, et al. and
   801 to excite desired acoustic waves in piezoelectric layers referenced above), it is useful if not required to have the first
   of the FBAR 800.                                                  piezoelectric layer 807 and the second piezoelectric layer
      A substrate 803 comprises a cavity 804 or other acoustic 808 immediately next to and in contact with each other. In
   reflector (e.g., a distributed Bragg grating (DBR) (not 65 other applications (e.g., to provide a single-ended input to a
   shown)). A first electrode 805 is disposed over the substrate differential output), the first piezoelectric layer 807 and the
   803 and is suspended over the cavity 804. A planarization second piezoelectric layer 808 may be next to each other,
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   having another material, or air, disposed between the first      purview of one of ordinary skill in the art, having had the
   piezoelectric layer 807 and the second piezoelectric layer       benefit of review of this application. Known materials and
   808.                                                             structures, as well as certain known aspects of processing
      The overlap of the cavity 804, the first electrode 805, the used in forming such devices are generally not repeated in
   first piezoelectric layer 807, and the second electrode 801 order to avoid obscuring the description of the methods of
   defines an active region 809 of the FBAR 800. As described the representative embodiments.
   in U.S. patent application Ser. No. 13/286,051 to Burak, et         Turning first to FIG. 9A, a substrate 901 is provided and
   al., acoustic losses at the boundaries of FBAR 800 are           a barrier layer 902 is provided over the substrate 901.
   mitigated to improve mode confinement in the active region Illustratively, the substrate 901 is single-crystal silicon (Si)
   809. In particular, the width of an overlap 810 of the second 10 or other material selected for its suitability as a substrate of
   electrode 801 and the second piezoelectric layer 808 is a bulk acoustic wave (BAW) device formed thereover. The
   selected to reduce acoustic losses resulting from Scattering barrier layer 902 is, for example, borosilicate glass (BSG) or
   of acoustic energy at a termination edge 811 of the second silicon carbide (SiC) formed by known techniques. A first
   electrode 801 and away from the active region 809. Simi electrode layer 903 is formed over the barrier layer 902.
   larly, the location of the termination edge 812 of the first 15 The barrier layer 902 is necessary due to the use of
   electrode 805 is selected to reduce acoustic losses resulting hydrogen plasma and the heating of the substrate 901 during
   from scattering of acoustic energy at the termination edge the formation of type-C material described below, and in
   812.                                                             the parent application of Larson, et al. The barrier layer 902
      For simplicity of description, it is assumed that in regions is useful in preventing the formation of silicides, which can
   adjacent to termination edges 811, 812, only the imaginary result in undesirable flaking and can dissolve upon exposure
   thickness extensional (TE) mode exists. In addition, it is to hydrofluoric (HF) acid used in Subsequent processing.
   assumed that only an evanescent TE mode is predominantly Generally, the barrier layer 902 has a thickness of less than
   excited by the E-field, and that propagating TE modes and 1000 A, and more specifically has a thickness of approxi
   their affects are ignored as being insignificant. In a known mately 200 A to approximately 1000 A.
   FBAR device that does not include the p-layer/ip-layer 25 Turning to FIG. 9B, an electronegative layer 904 is
   structure of the present teachings, the solutions to the wave provided over the first electrode layer 903 in order to foster
   equation reveal that the field displacement UZ at the termi growth of type Crare-earth element doped piezoelectric
   nation edges of the lower and upper electrodes is excited at material in a selected location(s). In a representative
   a comparatively large amplitude, and the impedance discon embodiment, the first electrode layer 903 is molybdenum
   tinuity at the termination edges of the lower and upper 30 (Mo), and the electronegative layer 904 comprises molyb
   electrodes will cause a significant scattering of energy from denum oxide (“moly oxide’) having a thickness of approxi
   the excited TE modes to all other modes supported by the mately 100 A. More generally, the electronegative layer 904
   structure, thus yielding acoustic losses and reduced Q.          comprises a native oxide of the metal selected for the first
      The first electrode 805 and the second electrode 801 may electrode layer 903. Alternatively, the electronegative layer
   be one of a variety of conductive materials, such as metals 35 can be made of dielectric materials such as SiO, SiN, or
   suitable as electrodes in BAW applications. Generally, mate Al-O. Still alternatively, residual gases in the piezoelectric
   rials suitable for the first electrode 805 and the second        deposition chamber (N. or O.) could provide a sufficient
   electrode 801 comprise Refractory metals, Transition metals dielectric layer over the first electrode layer 903 to promote
   or Noble Metals. In specific embodiments, the first and growth of type-C rare-earth element doped piezoelectric
   second electrodes 805, 801 illustratively comprise one or 40 material.
   more of molybdenum (Mo), aluminum (Al), tungsten (W),               Generally, the thickness of the electronegative layer 904
   platinum (Pt), ruthenium (Ru), niobium (Nb), hafnium (Hf) is selected to ensure a suitable thickness for growth of type
   and uranium-238 (U-238), or other low-loss metals, and are C, rare-earth element doped piezoelectric material after
   fabricated using a known method. The first piezoelectric removal of Some of the electronegative layer (e.g., moly
   layer 807 is fabricated in accordance with the present 45 oxide) during preparation of the first electrode layer 903 for
   teachings.                                                       growth of type Cy rare-earth element doped piezoelectric
      FIGS. 9A-9I are cross-sectional views illustrating meth material in a Subsequent step described below.
   ods of fabricating piezoelectric layers over a Substrate in         As depicted in FIG. 9C, the electronegative layer 904 is
   accordance with representative embodiments. As described patterned, and the first electrode layer 903 is patterned to
   more fully below, in the presently described representative 50 form a first lower electrode 905 and a second lower electrode
   embodiments, the formation of adjacent type C, and type Cy 906 next to one another, but separated by a gap 907. Also,
   piezoelectric layers over a common Substrate occurs under it is noted that the electronegative layer 904 is selectively
   conditions conducive to the formation of type Cy (“Cy removed to provide a portion 908 of the second lower
   recipe’) rare-earth element doped piezoelectric material electrode 906 that is unprotected during subsequent process
   described above, with the selective use of materials and 55 ing. The electronegative layer 904 acts as a seed layer for
   processing parameters to foster the selective growth of a growth of type C, rare-earth element doped piezoelectric
   type Cy piezoelectric layer. The structures formed according material thereover, under conditions designed to foster
   to the methods of the representative embodiments can be growth of type Cy rare-earth element doped piezoelectric
   selectively implemented in one or more of a variety of BAW material.
   devices comprising piezoelectric layers having opposite 60 Turning to FIG.9D, the resultant structure of FIG.9C is
   polarity (p-layer/ip layer) formed over the same substrate provided in the piezoelectric deposition chamber, where
   and adjacent to one another.                                     hydrogen is flowed and hydrogen plasma is formed to
      Many aspects of the resultant devices are common to the activate the portion 908 for growth of type C rare-earth
   FBAR 800 described in FIG. 8 and to the BAW resonator            element doped piezoelectric material according to the rep
   devices described in the parent application to Burak, et al., 65 resentative methods described in the parent application to
   and transformers (e.g., FACT transformers) to Larson, et al.,    Larson, et al. Notably, the flow of hydrogen plasma func
   as well as other known structures and structures within the      tions as a cleaning sequence to remove oxides and other
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   contaminants that can form over portion 908, and results in          During  formation  of the type C piezoelectric layer 910
   an electropositive surface 909 at the portion 908. In a and the type C piezoelectric layer 911, a layer 912 of
   representative embodiment, the electropositive surface 909 material (e.g., AlScN) is formed over the unprepared barrier
   is a Substantially bare molybdenum Surface and provides an layer 902 in the gap 907 between the type C piezoelectric
   active growth area for forming type Cy AlN rare-earth layer 910 and the type C piezoelectric layer 911. By
   element doped piezoelectric material over the portion 908.        contrast to type C piezoelectric layer 910 and type Cy
      To foster initial growth of type C rare-earth element piezoelectric layer 911, layer 912 is generally a polycrys
   doped piezoelectric material over the portion 908, the flow talline material that exhibits little or no piezoelectric effects
   of hydrogen is initially comparatively high. Illustratively, because many facets initiate crystal growth in a variety of
   the flow rate of hydrogen is approximately 16 sccm to 10 directions. As such, layer 919 generally does not exhibit
   approximately 18 scem. After initial growth of type Cy piezoelectric properties, and can be removed.
   rare-earth element doped piezoelectric material over the             FIG.9F depicts the resultant structure after the formation
   portion 908 the flow rate of hydrogen can be reduced to a of first upper electrode 913 and second upper electrode 914
   level at which C rare-earth element doped piezoelectric over the type C piezoelectric layer 910 and the type Cy
   material will continue to grow over the portion 908, while 15 piezoelectric layer 911, respectively.
   allowing the growth of type C, rare-earth element doped              As will be appreciated by one of ordinary skill in the art,
   piezoelectric material over the electronegative layer 904 that the resultant structure depicted in FIG.9F provides the type
   remains over the first lower electrode 905. Illustratively, the C. piezoelectric layer 910 and the type C piezoelectric
   flow rate of hydrogen is reduced to approximately 6 sccm to layer 911 adjacent to one another and over the same sub
   approximately 8 sccm. The continued flow of hydrogen at strate, which can be the basis of a variety of devices. For
   the reduced level substantially prevents formation of del example, by bussing the first and second lower electrodes
   eterious silicides, oxides and other contaminants, while          905, 906 together, and bussing the first and second upper
   allowing growth of type C, rare-earth element doped piezo electrodes 913,914 and selectively connecting the first and
   electric material over the electronegative layer 904 during second lower electrodes 905, 906 to a source of electrical
   growth conditions that foster growth of type Cy rare-earth 25 power, a transformer (e.g. a FACT transformer) can be
   element doped piezoelectric material.                             provided.
      FIG. 9E depicts the resultant structure having a type C,          In other embodiments, the type C piezoelectric layer 910
   piezoelectric layer 910 formed over the electronegative layer and the type C piezoelectric layer 911 can be fabricated
   904 and the first lower electrode 905, and a type Cy immediately next to one another and in contact with one
   piezoelectric layer 911 formed over the second lower elec 30 another (i.e., without gap 907 and layer 912 between the
   trode 906. Beneficially, the type C, piezoelectric layer 910 type C, piezoelectric and type C piezoelectric layers 910,
   is a highly textured C-axis rare-earth element doped piezo 911). This structure can be fabricated through a slight
   electric material. Accordingly, the C-axis orientations of the variation in the processing sequence depicted in FIGS.
   crystals of the type C rare-earth element doped piezoelec 9A-9F of the representative embodiments described in con
   tric material are well-collimated, and as Such are parallel 35 nection therewith. Notably, after the formation of the elec
   with one another (i.e., oriented in the z-direction of the tronegative layer 904 at FIG. 9B, the method continues as
   coordinate system depicted in FIG.9E) and perpendicular to depicted in FIG.9G, in which the first electrode layer 903 is
   the plane (i.e., the x-y plane of the coordinate system not patterned as described in connection with the processing
   depicted in FIG.9E) of first lower electrode 905 over which sequence of FIG. 9C, but rather remains a single layer.
   the type C piezoelectric layer 910 is formed. Similarly, the 40 Rather, the electronegative layer 904 is patterned and
   type C piezoelectric layer 911 is a highly textured C-axis removed from one side of the first electrode layer 903 to
   rare-earth element doped piezoelectric material. Accord reveal portion 915.
   ingly, the C-axis orientations of the crystals of the type Cy        The structure depicted in FIG. 9G is provided in the
   rare-earth element doped piezoelectric material are well piezoelectric deposition chamber, and hydrogen is flowed
   collimated, and as such are parallel with one another (i.e., 45 and hydrogen plasma is formed to activate the portion 915
   oriented in the negative Z-direction of the coordinate system for growth of type Cy rare-earth element doped piezoelectric
   depicted in FIG.9E) and perpendicular to the plane (i.e., the material according to the representative methods described
   x-y plane of the coordinate system depicted in FIG. 9E) of in the parent application to Larson, et al. As described above,
   second lower electrode 906 over which type C, piezoelectric the flow of hydrogen plasma functions as a cleaning
   layer 910 is formed.                                           50 sequence to remove oxides and other contaminants that can
      The type C piezoelectric layer 910 and the type Cy form over portion 915, and results in the formation of an
   piezoelectric layer 911 are formed substantially simultane electropositive surface 916 at the portion 915. In a repre
   ously in the same chamber and under conditions conducive sentative embodiment, the electropositive surface 916 is a
   to the formation of type C, material. As noted above, the Substantially bare molybdenum Surface and provides as an
   flow rate of hydrogen is comparatively high during the 55 active growth area for forming type Cy AlN rare-earth
   formation of an initial thickness (e.g., 1000A) of type Cy element doped piezoelectric material over the portion 915.
   rare-earth element doped piezoelectric material, and after           To foster initial growth of type C rare-earth element
   the formation of the initial thickness of type C rare-earth doped piezoelectric material over the portion 915, the flow
   element doped piezoelectric material at a comparatively of hydrogen is initially comparatively high (e.g., on the
   reduced flow rate of hydrogen. Again, many of the details of 60 order of approximately 16 scem to approximately 18 sccm).
   the growth of the type C piezoelectric layer 910 and the After initial growth of type C rare-earth element doped
   type C piezoelectric layer 911 are described in the parent piezoelectric material over the portion 915 the flow rate of
   application to Larson, et al., with modifications of materials hydrogen is reduced to a level at which C rare-earth
   and processing parameters described herein to foster selec element doped piezoelectric material will continue to grow
   tive growth of type Cy rare-earth element doped piezoelec 65 over the portion 915 (e.g., approximately 6 sccm to 8 sccm),
   tric material and type C rare-earth element doped piezo while allowing the growth of type C rare-earth element
   electric material adjacent to one another.                        doped piezoelectric material over the electronegative layer
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   904 that remains over the first electrode layer 903. As noted   comprising    piezoelectric  layers having opposite polarity
   above, the continued flow of hydrogen at the reduced level (p-layer/ip layer) formed over the same Substrate and adja
   substantially prevents formation of deleterious silicides, cent to one another. Many aspects of the resultant devices
   while allowing growth of type C rare-earth element doped are common to the FBAR 800 described in connection with
   piezoelectric material over the electronegative layer 904 5 FIG. 8 and to the BAW resonator devices described in the
   during growth conditions that primarily foster growth of parent application to Burak, et al., and transformers (e.g.,
   type C rare-earth element doped piezoelectric material.         FACT transformers), as well as other known structures and
      FIG. 9H depicts the resultant structure having type C,       structures that are within the purview of one of ordinary skill
   piezoelectric layer 910 comprising a rare-earth element in the art, having had the benefit of review of this applica
   doped piezoelectric material and formed over the electro 10 tion. Known materials and structures as well as certain
   negative layer 904 and type C piezoelectric layer 911 known aspects of processing used in forming Such devices
   formed over the first electrode layer 903. The type C,          are generally not repeated in order to avoid obscuring the
   piezoelectric layer 910 and the type C piezoelectric layer description of the methods of the representative embodi
   911 are formed substantially simultaneously in the same         mentS.
   chamber and under the same growth conditions, with an 15 Turning first to FIG. 10A, a substrate 1001 is provided
   initially comparatively high flow rate of hydrogen and, after and a barrier layer 1002 is provided over the substrate.
   the initial formation of an initial thickness (e.g., less that Illustratively, the substrate 1001 is single-crystal silicon (Si)
   1000 A) of the type Cy rare-earth element doped piezoelec or other material selected for its suitability as a substrate of
   tric material, at a comparatively reduced flow rate of hydro a bulk acoustic wave (BAW) device formed thereover. A first
   gen. Again, many of the details of the growth of the type C,    electrode layer 1003 is formed over the barrier layer 1002.
   piezoelectric layer 910 and the type C piezoelectric layer The barrier layer 1002 is, for example, borosilicate glass
   911 are described above, with modifications of materials and    (BSG) or silicon carbide (SiC) formed by known techniques.
   processing parameters described herein to foster selective The barrier layer 1002 is necessary due to the use of
   growth of highly-textured type Cy rare-earth element doped hydrogen plasma and heating of the Substrate 1001 during
   piezoelectric material and highly textured type C rare-earth 25 the formation of type-C material described below, and in
   element doped piezoelectric material adjacent to one the parent application of Larson, et al. The barrier layer 1002
   another.                                                        is useful in preventing the formation of silicides, which can
      As depicted in FIG. 9H, the type C piezoelectric layer result in flaking and dissolve upon exposure to hydrofluoric
   910 and the type C piezoelectric layer 911 are immediately (HF) acid used in Subsequent processing.
   next to one another and are in contact with one another. 30        Turning to FIG. 10B, an electronegative layer 1004 is
   Next, as depicted in FIG. 9I, a second electrode 917 is provided over the first electrode layer 1003 in order to foster
   formed over the type C piezoelectric layer 910 and the type growth of type C, rare-earth element doped piezoelectric
   Cy piezoelectric layer 911.                                     material in a selected location(s). In a representative
      The structure depicted in FIG. 9I may be referred to as a embodiment, the first electrode layer 1003 is molybdenum
   “p/ip' structure Such as in the parent application to Burak, 35 (Mo), and the barrier layer comprises molybdenum oxide
   et al. The p?ip structure lends itself to improvements in (“moly oxide’) having a thickness of approximately 100 A.
   performance in FBAR devices, SBAR devices and CRF More generally, the electronegative layer 1004 comprises a
   devices, as is described in the parent application to Burak, et native oxide of the metal selected for the first electrode layer
   al. Notably, the process sequence to form the type C,           1003. Alternatively, the electronegative layer 1004 can be
   piezoelectric layer 910 and the type C piezoelectric layer 40 made of dielectric materials such as SiO, SiN, or Al-O.
   911 immediately next to one another and in contact can be Still alternatively, residual gases in the piezoelectric depo
   repeated to realize p?ip interfaces at other locations and sition chamber (N, or O.) could provide a sufficient dielec
   levels of the selected acoustic stack for the desired BAW       tric layer over the first electrode layer 1003 to promote
   device.                                                         growth of type-C rare-earth element doped piezoelectric
      Finally, it is noted that certain known components of 45 material.
   BAW resonator structures (e.g., acoustic reflectors, frame         The thickness of the electronegative layer 1004 is selected
   elements and other structures) are contemplated for inclu to ensure a suitable thickness for growth of type C, rare
   sion in the BAW resonator devices fabricated according to earth element doped piezoelectric material after removal of
   the methods of the representative embodiments. These struc some of the electronegative layer 1004 (e.g., moly oxide)
   tures are fabricated according to known methods, and their 50 during preparation of the first electrode layer 1003 for
   fabrication is integrated into the overall process flow for growth of type Cy rare-earth element doped piezoelectric
   fabricating the desired BAW resonator device including the material in a Subsequent step described below.
   methods of the representative embodiments.                         As depicted in FIG. 10C, the electronegative layer 1004
      FIGS. 10A-10J are cross-sectional views illustrating is patterned, and the first electrode layer 1003 is patterned to
   methods of fabricating piezoelectric layers over a substrate 55 form a first lower electrode 1005 and a second lower
   in accordance with representative embodiments.                  electrode 1006 next to one another, but separated by a gap
      As described more fully below, in the presently described 1007. Also, it is noted that the electronegative layer 1004 is
   representative embodiments, the formation of adjacent type selectively removed to provide a portion 1008 of the second
   C, and type Cypiezoelectric layers over a common substrate lower electrode 1006 that is unprotected during subsequent
   occurs under conditions conducive to the formation of type 60 processing. As described more fully below, the electronega
   C (“C, recipe”) rare-earth element doped piezoelectric tive layer 1004 acts as a seed layer for growth of type C,
   material described in the parent application to Larson, et al., rare-earth element doped piezoelectric material thereover,
   with the selective use of materials and processing param under conditions designed to foster growth of type Cy
   eters to foster the selective growth of type C piezoelectric rare-earth element doped piezoelectric material.
   layers. The structures formed according to the methods of 65 Turning to FIG. 10D, the resultant structure of FIG. 10C
   the representative embodiments can be selectively imple is provided in the piezoelectric deposition chamber, and
   mented in one or more of a variety of BAW devices hydrogen is flowed and hydrogen plasma formed. At this
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                                                     US 9,679,765 B2
                                29                                                            30
   stage of the method, the flow rate of hydrogen is compara     the growth of type C rare-earth element doped piezoelectric
   tively high. Illustratively, the flow rate of hydrogen is     material and type C rare-earth element doped piezoelectric
   approximately 16 sccm to approximately 18 sccm. The flow      material occurs under conditions favorable to the growth of
   of hydrogen plasma functions as a cleaning sequence to        type C rare-earth element doped piezoelectric material as
   remove oxides and other contaminants that can form over 5 described in the parent application to Larson, et al. Notably,
   portion 1008, and results in the formation of an electroposi hydrogen is flowed during the growth of the type C,
   tive surface 1009 at the portion 1008. In a representative rare-earth element doped piezoelectric material and type Cy
   embodiment, the electropositive surface 1009 is a substan rare-earth element doped piezoelectric material at this stage
   tially bare molybdenum Surface and provides an active of the process. The flow rate of the hydrogen is compara
   growth area for forming type Cy AlN rare-earth element 10 tively low (e.g., the flow rate is reduced to between approxi
   doped piezoelectric material over the portion 1008.           mately 6 sccm and 8 Scem) to maintain growth of the type
      FIG. 10E depicts the resultant structure having a type C,
   piezoelectric layer 1010 formed over the electronegative Cy   of
                                                                     rare-earth element doped piezoelectric material. Because
                                                                    the  preparation of the type Cy piezoelectric seed layer
   layer 1004 and the first lower electrode 1005, and a type Cy
   piezoelectric seed layer 1011 formed over the second lower 15 1011, type C rare-earth element doped piezoelectric mate
   electrode 1006. In accordance with a representative embodi rial is formed over the type C piezoelectric seed layer 1011,
   ment, the type C piezoelectric seed layer 1011 comprises whereas over the electronegative layer 1004, type C rare
   AlScN and fosters growth of type-C. AlScN. As described earth element doped piezoelectric material is formed.
   in the parent application to Larson, et al., the type Cy         As depicted in FIG. 10G, a type-C, piezoelectric layer
   piezoelectric seed layer 1011 has a thickness in the range of 1013 is formed over the electronegative layer 1004 and the
   approximately 50 X to approximately 1000 A over the first lower electrode 1005, and a type-C piezoelectric layer
   surface of the second lower electrode 1006.                      1014 is formed over the second lower electrode 1006. The
      The type C piezoelectric layer 1010 and the type Cy type-C, piezoelectric layer 1013 and the type-C piezoelec
   piezoelectric seed layer 1011 are formed substantially simul tric layer 1014 are formed substantially simultaneously in
   taneously in the same chamber under conditions conducive 25 the same chamber and under growth conditions conducive to
   to the growth of type Cy rare-earth element doped piezo the growth of type C rare-earth element doped piezoelectric
   electric material as described in the parent application to material. Beneficially, the type-C, piezoelectric layer 1013
   Larson, et al. The growth of type C piezoelectric layer 1010 is a highly textured C-axis rare-earth element doped piezo
   occurs with the hydrogen flow continued, albeit at a lower electric material. Accordingly, the C-axis orientations of the
   flow rate (e.g., approximately 6 sccm to 8 sccm) to ensure 30 crystals of the type C, rare-earth element doped piezoelec
   growth of the type C piezoelectric seed layer 1011 Illus tric material are well-collimated, and as Such are parallel
   tratively, the type C piezoelectric seed layer 1011 has a with one another (i.e., oriented in the z-direction of the
   thickness of approximately 500 A. Generally, the type Cy coordinate system depicted in FIG. 10G) and perpendicular
   piezoelectric seed layer 1011 has a thickness of approxi to the plane (i.e., the x-y plane of the coordinate system
   mately 50 A to approximately 1000 A. Layer 1012 is formed 35 depicted in FIG. 10G) of first lower electrode 1005 over
   in areas over the barrier layer 1002 that have not been which the type-C, piezoelectric layer 1013 is formed. Simi
   prepared to foster of growth of either type C rare-earth larly, the type-C piezoelectric layer 1014 is a highly tex
   element doped piezoelectric material or type C rare-earth tured C-axis rare-earth element doped piezoelectric material.
   element doped piezoelectric material (e.g., in gap 1007). By Accordingly, the C-axis orientations of the crystals of the
   contrast to type C piezoelectric layer 1010 and type Cy 40 type C rare-earth element doped piezoelectric material are
   piezoelectric seed layer 1011, layer 1012 is generally a well-collimated, and as such are parallel with one another
   polycrystalline material that exhibits little or no piezoelec (i.e., oriented in the -z-direction of the coordinate system
   tric effects because many facets initiate crystal growth in a depicted in FIG. 10G) and perpendicular to the plane (i.e.,
   variety of directions. As such, layer 1012 generally does not the x-y plane of the coordinate system depicted in FIG. 10G)
   exhibit piezoelectric properties, and can be removed.        45 of second lower electrode 1006 over which type-C, piezo
      The structure depicted in FIG. 10E is removed from the electric layer 1013 is formed.
   piezoelectric deposition chamber, and the type C, piezo            In a manner substantially identical to that described above
   electric layer 1010 initially formed over the electronegative in connection with FIG. 2F, first and second upper electrodes
   layer 1004 is removed using known masking and etching (not shown) can be formed over the type-C, piezoelectric
   techniques. The removal of the type C piezoelectric layer 50 layer 1013 and the type-C piezoelectric layer 1014, respec
   1010 reveals the electronegative layer 1004.                    tively. These electrodes can then be connected to an elec
      After the type C, piezoelectric layer 1010 is removed, the trical power source to provide a variety of BAW resonator
   structure in FIG. 10F is again provided in the piezoelectric devices (e.g., FACT transformers).
   deposition chamber. Next, hydrogen is flowed at a compara          The type-C, piezoelectric layer 1013 and the type-C
   tively high rate (e.g., approximately 16 sccm to approxi 55 piezoelectric layer 1014 can be provided immediately next
   mately 18 sccm) and hydrogen plasma is formed. The flow to one another and in contact with one another (i.e., without
   of hydrogen plasma functions as a cleaning sequence to gap 1007 and layer 1012 between the type-C, piezoelectric
   remove oxides and other contaminants that can form over         and type-C piezoelectric layers 1013, 1014). This structure
   portions of the electronegative layer 1004 and the type Cy can be fabricated through a slight variation in the processing
   piezoelectric seed layer 1011 during the process of removing 60 sequence depicted in FIGS. 10A-10F of the representative
   the type C piezoelectric layer 1010.                            embodiments described in connection therewith. Notably,
      After the cleaning sequence is completed, the electro after the formation of the electronegative layer 1004 at FIG.
   negative layer 1004 and the type C piezoelectric seed layer 10B, the first electrode layer 1003 is not patterned as
   1011 are exposed, and the simultaneous growth of type C,        described in connection with the processing sequence of
   rare-earth element doped piezoelectric material and type Cy 65 FIG. 10C, but rather remains as a single layer. Instead, the
   rare-earth element doped piezoelectric material adjacent to electronegative layer 1004 is patterned and removed from
   one another begins. In the presently described embodiments, one side of the first electrode layer 1003.
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                                                     US 9,679,765 B2
                                  31                                                              32
      The structure depicted in FIG. 10B is provided in the        hydrogen    is comparatively   low to maintain growth of the
   piezoelectric deposition chamber, and hydrogen is flowed type C rare-earth element doped piezoelectric material. For
   and hydrogen plasma formed. At this stage of the method, example, the flow rate is reduced to between approximately
   the flow rate of hydrogen is comparatively high. Illustra 6 sccm and 8 scem. Because of the preparation of the type
   tively, the flow rate of hydrogen is approximately 16 sccm Cy piezoelectric seed layer 1011, type C rare-earth element
   to approximately 18 sccm. The flow of hydrogen plasma doped piezoelectric material is formed over the type Cy
   functions as a cleaning sequence to remove oxides and other piezoelectric seed layer 1011, whereas over the electronega
   contaminants that can form on the first electrode layer 1003, tive layer 1004, type C, rare-earth element doped piezoelec
   and results in an electropositive surface (not shown) at the tric material is formed.
   exposed portion of the first electrode layer 1003. As 10 As depicted in FIG. 10J, a type-C, piezoelectric layer
   described above, in a representative embodiment the elec        1013 is formed over the electronegative layer 1004, and a
   tropositive Surface is a Substantially bare molybdenum Sur type-C piezoelectric layer 1014 is formed over the first
   face and provides an active growth area for forming type Cy electrode layer 1003. The type-C, piezoelectric layer 1013
   AiN piezoelectric seed layer directly on the first electrode and the type-C piezoelectric layer 1014 are disposed imme
   layer.                                                       15 diately next to and on contact with each other, and are
      The type C piezoelectric layer 1010 and the type Cy formed Substantially simultaneously in the same chamber
   piezoelectric seed layer 1011 are formed substantially simul and under the same growth conditions.
   taneously in the same chamber under conditions conducive           In a manner substantially identical to that described above
   to the growth of type Cy rare-earth element doped piezo in connection with FIG. 21, an upper electrode (not shown)
   electric material as described in the parent application to can be formed over the type-C, piezoelectric layer 1013 and
   Larson, et al. The growth of the piezoelectric layer (e.g., the type-C piezoelectric layer 1014, respectively. Again,
   AlN) occurs with the hydrogen flow continued, albeit at a the resultant structure may be referred to as a “p/ip” structure
   lower flow rate (e.g., approximately 6 scem to 8 sccm) to Such as described in the parent application to Burak, et al.
   ensure growth of the type C piezoelectric seed layer 1011. The p/ip structure lends itself to improvements in perfor
   Illustratively, the type C piezoelectric seed layer 1011 has 25 mance in FBAR devices, SBAR devices and CRF devices,
   a thickness of approximately 500 A. Generally, the type Cy as is described in the parent application to Burak, et al.
   piezoelectric seed layer 1011 has a thickness of approxi Notably, the process sequence to form the type C piezo
   mately 50 A to approximately 1000 A. Layer 1012 is formed electric layer 1010 and the type C piezoelectric seed layer
   in areas over the barrier layer 1002 that have not been 1011 immediately next to one another and in contact can be
   prepared to foster of growth of either type C rare-earth 30 repeated to realize p?ip interfaces at other locations and
   element doped piezoelectric material or type C rare-earth levels of the selected acoustic stack for the desired BAW
   element doped piezoelectric material (e.g., in gap 1007).       device.
      FIG. 10H depicts the resultant structure having type C,         It is again noted that certain known components of BAW
   piezoelectric layer 1010 formed over the electronegative resonator structures (e.g., acoustic reflectors, frame elements
   layer 1004 and the type C piezoelectric seed layer 1011 35 and other structures) are contemplated for inclusion in the
   formed over the first electrode layer 1003.                     BAW resonator devices fabricated according to the methods
      The structure depicted in FIG. 10H is removed from the of the representative embodiments. These structures are
   piezoelectric deposition chamber, and the type C piezo fabricated according to known methods, and their fabrica
   electric layer 1010 initially formed over the electronegative tion is integrated into the overall process flow for fabricating
   layer 1004 is removed using known masking and etching 40 the desired BAW resonator device including the methods of
   techniques. The removal of the type C piezoelectric layer the representative embodiments.
   1010 reveals the electronegative layer 1004. The resultant         FIGS. 11A-11H are cross-sectional views illustrating
   structure is depicted in FIG. 10I.                              methods of fabricating piezoelectric layers over a substrate
      The structure depicted in FIG. 10I is returned to the in accordance with representative embodiments.
   piezoelectric deposition chamber and hydrogen is flowed 45 As described more fully below, in the presently described
   and hydrogen plasma formed. At this stage of the method, representative embodiments, the formation of adjacent type
   the flow rate of hydrogen is again comparatively high. C and type Cypiezoelectric layers over a common substrate
   Illustratively, the flow rate of hydrogen is approximately 16 occurs in conditions conducive to the formation of type C,
   sccm to approximately 18 scem. The flow of hydrogen (“C, recipe") described in the parent application to Larson,
   plasma functions as a cleaning sequence to remove oxides 50 et al., with the selective use of a type Cy piezoelectric seed
   and other contaminants that can form on the first electrode     layer and processing parameters selected to foster growth of
   layer 1003 and on the type C piezoelectric seed layer 1011 both type Cy rare-earth element doped piezoelectric material
   during the removal of the type C piezoelectric layer 1010. and type Cy rare-earth element doped piezoelectric material.
      After the cleaning step is completed, the simultaneous          The structures formed according to the methods of the
   growth of type Cr rare-earth element doped piezoelectric 55 representative embodiments can be selectively implemented
   material and type C rare-earth element doped piezoelectric in one or more of a variety of BAW devices comprising
   material adjacent to one another is carried out. In the piezoelectric layers having opposite polarity (p-layer/ip
   presently described embodiments, the growth of highly layer) formed over the same Substrate and adjacent to one
   textured type C rare-earth element doped piezoelectric another. Many aspects of the resultant devices are common
   material and highly textured type Cy rare-earth element 60 to the FBAR 800 described in FIG. 8 and to the BAW
   doped piezoelectric material occurs under conditions favor resonator devices described in the parent application to
   able to the growth of type C, rare-earth element doped Burak, et al., and transformers (e.g., FACT transformers), as
   piezoelectric material as described in the parent application well as other known structures and structures that are within
   to Larson, et al. Notably, hydrogen is flowed during the the purview of one of ordinary skill in the art, having had the
   growth of the type C rare-earth element doped piezoelectric 65 benefit of review of this application. Known materials and
   material and type Cy rare-earth element doped piezoelectric structures, as well as certain known aspects of processing
   material at this stage of the process. The flow rate of the used in forming such devices are generally not repeated in
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                                                       US 9,679,765 B2
                                  33                                                               34
   order to avoid obscuring the description of the methods of portion 1105, and the growth of type C, AlScN occurs over
   the representative embodiments.                                   the first lower electrode 1106. A layer 1112 of material (e.g.,
      Turning first to FIG. 11A, a substrate 1101 is provided and AlScN) is formed over the unprepared barrier layer 1102
   a barrier layer 1102 is provided over the substrate. Illustra during the growth sequence of the type C piezoelectric
   tively, the substrate 1101 is single-crystal silicon (Si) or layer 1110 and the type C piezoelectric layer 1111. In
   other material selected for its suitability as a substrate of a contrast to type C piezoelectric layer 1110 and type Cy
   bulk acoustic wave (BAW) device formed thereover. The piezoelectric layer 1111, layer 1112 is generally a polycrys
   barrier layer 1102 is, for example, borosilicate glass (BSG) talline material that exhibits little or no piezoelectric effects
   or silicon carbide (SiC) formed by known techniques. The because many facets initiate crystal growth in a variety of
   barrier layer 1102 is necessary due to the use of hydrogen 10 directions. As such, layer 1112 generally does not exhibit
   plasma and heating of the substrate 1101 during the forma piezoelectric properties, and can be removed.
   tion of type-Cy material described below, and in the parent          The process continues under conditions conducive to the
   application of Larson, et al. The barrier layer 1102 is useful growth of type C rare-earth element doped piezoelectric
   in preventing the formation of silicides, which can result in material as described above. The growth of the rare-earth
   flaking and dissolve upon exposure to hydrofluoric (HF) 15 element doped piezoelectric material (e.g., AlScN) occurs
   acid used in Subsequent processing. A first electrode layer with the hydrogen flow continued, albeit at a lower flow rate
   1103 is formed over the barrier layer.                            (e.g., approximately 6 scem to approximately 8 Scem) to
      Turning to FIG. 11B, a type C piezoelectric seed layer ensure growth of the type C piezoelectric layer 1111.
   1104 is provided over the first electrode layer 1103 in order        Beneficially, the type C piezoelectric layer 1110 is a
   to foster growth of type Cy rare-earth element doped piezo highly textured C-axis rare-earth element doped piezoelec
   electric material in a selected location(s). In accordance with tric material. Accordingly, the C-axis orientations of the
   a representative embodiment, the type Cy piezoelectric seed crystals of the type C rare-earth element doped piezoelec
   layer 1104 is aluminum (Al) and fosters growth of piezo tric material are well-collimated, and as Such are parallel
   electric layer of type-C. AlScN. It is noted that the selection with one another (i.e., oriented in the z-direction of the
   of Al as the type C piezoelectric seed layer 1104 is merely 25 coordinate system depicted in FIG. 11F) and perpendicular
   illustrative. Alternatively, the type C piezoelectric seed to the plane (i.e., the x-y plane of the coordinate system
   layer 1104 may be molybdenum (Mo), tungsten (W), plati depicted in FIG. 11F) of first lower electrode 1106 over
   num (Pt), ruthenium (Ru), niobium (Nb), hafnium (Hf) or which the type C piezoelectric layer 1110 is formed. Simi
   uranium-2108 (U-2108). As described above and in the larly, the type C piezoelectric layer 1111 is a highly textured
   parent application to Larson, et al., the type C piezoelectric 30 C-axis rare-earth element doped piezoelectric material.
   seed layer 1104 has a thickness in the range of approxi Accordingly, the C-axis orientations of the crystals of the
   mately 50 A to approximately 1000 A over the surface of the type C rare-earth element doped piezoelectric material are
   first electrode layer 1103.                                       well-collimated, and as such are parallel with one another
      As depicted in FIG. 11C, the type C piezoelectric seed (i.e., oriented in the -z-direction of the coordinate system
   layer 1104 is patterned to form a portion 05 over the first 35 depicted in FIG. 11F) and perpendicular to the plane (i.e., the
   electrode layer 1103.                                             x-y plane of the coordinate system depicted in FIG. 11F) of
      As depicted in FIG. 11D, the first electrode layer 1103 is second lower electrode 1107 over which type C piezoelec
   patterned to form a first lower electrode 1106 and a second tric layer 1110 is formed.
   lower electrode 1107 next to one another, but separated by           After formation of the type C piezoelectric layer 1110
   a gap 1108.                                                    40 over the first lower electrode 1106, and a type C piezo
      As depicted in FIG. 11E, the resultant structure of FIG. electric layer 1111 over the second lower electrode 1107.
   11D is provided in the piezoelectric deposition chamber, first and second upper electrodes (not shown) can be formed
   hydrogen is flowed at a comparatively high rate (e.g., over the type C, piezoelectric layer 1110 and the type Cy
   approximately 16 sccm to approximately 18 Scem) and piezoelectric layer 1111, respectively. These electrodes can
   hydrogen plasma is formed. The flow of hydrogen plasma 45 then be connected to an electrical power source to provide
   functions as a cleaning sequence to remove oxides and other a variety of BAW resonator devices (e.g., FACT transform
   contaminants that can form over portion 1105 of the type Cy ers).
   piezoelectric seed layer 1104 and over the first lower elec          The type C piezoelectric layer 1110 and the type Cy
   trode 1106 during the process of patterning the type Cy piezoelectric layer 1111 can be provided immediately next to
   piezoelectric seed layer 1104 and first lower electrode 1106. 50 one another and in contact with one another (i.e., without
   After the cleaning sequence is completed, the flow rate of gap 1108 and layer 1112 between the type C, and type Cy
   hydrogen is reduced, and hydrogen plasma activates the piezoelectric layers 1110, 1111). This structure can be fab
   portion 1105 of the type C piezoelectric seed layer 1104 ricated through a variation in the processing sequence
   creating an electropositive surface 1109 for growth of type depicted in FIGS. 11A-11F of the representative embodi
   Cy rare-earth element doped piezoelectric material accord 55 ments described in connection therewith. Notably, after the
   ing to the representative methods described in the parent formation of the type C piezoelectric seed layer 1104 at
   application to Larson, et al.                                     FIG. 11B, the first electrode layer 1103 is not patterned as
      The structure depicted in FIG. 11E remains in the piezo described in connection with the processing sequence of
   electric deposition chamber after the cleaning sequence with FIG. 11D, but rather remains as a single layer. Instead, the
   no vacuum break. As depicted in FIG. 11F, the method 60 type C piezoelectric seed layer 1104 is patterned and
   continues under conditions conducive to the formation of          removed from one side of the first electrode layer 1103, as
   type C (“C, recipe") described in the parent application to depicted in FIG. 11G.
   Larson, et al. Notably a type C piezoelectric layer 1110 is          The structure depicted in FIG. 11G is provided in the
   formed over the first lower electrode 1106 and a type Cy piezoelectric deposition chamber, hydrogen is flowed at a
   piezoelectric layer 1111 is formed over the portion 1105. In 65 comparatively high rate (e.g., approximately 16 sccm to
   a representative embodiment, the growth of type C. AlScN approximately 18 sccm) and hydrogen plasma is formed.
   occurs over the type C piezoelectric seed layer 1104 at The flow of hydrogen plasma functions as a cleaning
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                                                        US 9,679,765 B2
                                35                                                                36
   sequence to remove oxides and other contaminants that can               piezoelectric material having a compression-negative
   form over portion 1105 of the type C piezoelectric seed                 (C) polarity, wherein the electropositive seed layer
   layer 1104 and over the first electrode layer 1103 during the           fosters growth of the piezoelectric layer having the
   process of patterning the type Cy piezoelectric seed layer              compression-negative (C) polarity; and
   1104.                                                                 a second electrode disposed over the rare-earth element
      After the cleaning sequence is completed, the flow rate of           doped piezoelectric material.
   hydrogen is reduced, and hydrogen plasma activates the            2. A BAW resonator as claimed in claim 1, wherein the
   portion 1105 of the type C piezoelectric seed layer 1104 for rare-earth element doped piezoelectric material comprises a
   growth of type C rare-earth element doped piezoelectric first component and a second component.
   material. Next, growth of the highly textured type C, 10 3. A BAW resonator as claimed in claim 2, wherein the
   rare-earth element doped piezoelectric material and highly
   textured type Cy rare-earth element doped piezoelectric rare-earth         element is scandium (Sc), the first component is
                                                                   nitrogen (N), and the second component is aluminum (Al).
   material is effected under conditions conducive to the
   growth of type C, rare-earth element doped piezoelectric          4. A bulk acoustic wave (BAW) resonator structure,
   material, as described in the parent application to Larson. 15 comprising:
   Notably, the growth of the highly textured type C, rare-earth     a first electrode disposed over a substrate;
   element doped piezoelectric material and highly textured          a first non-ferroelectric piezoelectric layer disposed over
   type Cy rare-earth element doped piezoelectric material              the first electrode, the first non-ferroelectric piezoelec
   occurs with the hydrogen flow continued at a comparatively           tric layer having a first c-axis oriented along a first
   low flow rate (e.g., approximately 6 sccm to 8 sccm) to              direction, and comprising a rare-earth element doped
   maintain growth of the type Cy rare-earth element doped              non-ferroelectric piezoelectric material;
   piezoelectric material. As depicted in FIG. 11H, the type C,      a second electrode disposed over the first non-ferroelec
   piezoelectric layer 1110 is formed immediately next to and           tric piezoelectric layer;
   in contact with type C piezoelectric layer 1111, with both        a second non-ferroelectric piezoelectric layer disposed
   type C piezoelectric layer 1110 and type Cy piezoelectric 25         over the first electrode, the second non-ferroelectric
   layer 1111 being formed over the first electrode layer 1103.         piezoelectric layer being adjacent to, and in direct
      Although not depicted in FIG. 11H, a second electrode             contact with, the first non-ferroelectric piezoelectric
   layer is provided over the type C, piezoelectric layer 1110          layer, wherein the second non-ferroelectric piezoelec
   and the type C piezoelectric layer 1111.                             tric layer has a second c-axis oriented in a second
      The structure depicted in FIG. 11H may be referred to as 30       direction that is substantially antiparallel to the first
   a “p/ip” structure Such as in the parent application to Burak,       direction; and
   et al. The p?ip structure lends itself to improvements in         an acoustic reflector disposed in the substrate.
   performance in FBAR devices, SBAR devices and CRF                 5. A BAW resonator structure as claimed in claim 4,
   devices, as is described in the parent application to Burak, et wherein the second non-ferroelectric piezoelectric layer
   al. Notably, the process sequence to form the type C, 35 comprises the rare-earth element doped non-ferroelectric
   piezoelectric layer 1110 and the type C piezoelectric layer piezoelectric material.
   1111 immediately next to one another and in contact with          6. A BAW resonator structure as claimed in claim 5,
   one another can be repeated to realize p?ip interfaces at other wherein the second non-ferroelectric piezoelectric layer has
   locations and levels of the selected acoustic stack for the    a piezoelectric coupling coefficient (ess) that is substan
   desired BAW device.                                         40 tially equal in magnitude but opposite in sign to a piezo
      It is again noted that certain known components of BAW electric coupling coefficient (ess) of the first non-ferroelec
   resonator structures (e.g., acoustic reflectors, frame elements tric piezoelectric layer.
   and other structures) are contemplated for inclusion in the           7. A BAW resonator structure as claimed in claim 5,
   BAW resonator devices fabricated according to the methods wherein the rare-earth element doped non-ferroelectric
   of the representative embodiments. These structures are 45 material comprises Scandium doped aluminum nitride
   fabricated according to known methods, and their fabrica (AlScN).
   tion is integrated into the overall process flow for fabricating      8. A bulk acoustic wave (BAW) resonator structure,
   the desired BAW resonator device including the methods of comprising:
   the representative embodiments.                                       a first electrode disposed over a substrate;
      In accordance with illustrative embodiments, methods of 50 a cavity beneath the first electrode:
   fabricating rare-earth element doped piezoelectric materials          a first non-ferroelectric piezoelectric layer disposed over
   and acoustic resonators for various applications such as                 the first electrode, the first non-electric piezoelectric
   electrical filters are described. One of ordinary skill in the art       layer comprising a rare-earth element doped non-fer
   appreciates that many variations that are in accordance with             roelectric piezoelectric material, and having a first
   the present teachings are possible and remain within the 55              c-axis oriented along a first direction;
   Scope of the appended claims. These and other variations              a second electrode disposed over the first non-ferroelec
   would become clear to one of ordinary skill in the art after             tric piezoelectric layer, wherein an active region of the
   inspection of the specification, drawings and claims herein.             BAW resonator structure comprises an overlap of the
   The invention therefore is not to be restricted except within            first electrode and the second electrode with the cavity;
   the spirit and scope of the appended claims.                       60    and
      I claim:                                                           a second non-ferroelectric piezoelectric layer disposed
      1. A BAW resonator, comprising:                                       over the first electrode, the second non-ferroelectric
      a first electrode disposed over a substrate;                          piezoelectric layer being adjacent to, and in direct
      an electropositive seed layer comprising aluminum and                 contact with, the first non-ferroelectric piezoelectric
         Scandium (Al Sc), and disposed over the Substrate; 65              layer, the second non-ferroelectric piezoelectric layer
      a piezoelectric layer disposed over the electropositive               having a second c-axis oriented in a second direction
         seed layer and comprising a rare-earth element doped               that is substantially antiparallel to the first direction,
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                                                   US 9,679,765 B2
                               37                                                             38
       wherein the second electrode overlaps the second non        15. A BAW resonator as claimed in claim 2, wherein a
       ferroelectric piezoelectric layer; and                    thickness wherein a thickness of the electropositive seed
     an acoustic reflector disposed in the Substrate.            layer is in a range of approximately 50 A to approximately
                                                                 1000 A.
     9. A BAW resonator structure as claimed in claim 8,               16. A BAW resonator as claimed in claim 7, wherein
   wherein the first non-ferroelectric piezoelectric layer com atomic        percentage of Scandium in the Scandium doped
   prises the rare-earth element doped non-ferroelectric piezo aluminum nitride (AlScN) is approximately 0.5% to
   electric material, or the second non-ferroelectric piezoelec approximately 44%.
   tric layer comprises the rare-earth element doped non               17. A BAW resonator as claimed in claim 7, wherein
   ferroelectric piezoelectric material, or both.                 10 atomic percentage of Scandium in the Scandium doped
      10. A BAW resonator structure as claimed in claim 9,           aluminum nitride (AlScN) is approximately 2.5% to
   wherein the second non-ferroelectric piezoelectric layer has approximately 5%.
   a piezoelectric coupling coefficient (ess) that is substan          18. A BAW resonator as claimed in claim 7, wherein
   tially equal in magnitude but opposite in sign of a piezo atomic percentage of Scandium in the Scandium doped
                                                                     aluminum nitride (AlScN) is approximately 0.5% to less
   electric coupling coefficient (ess) of the first non-ferroelec 15 than
   tric piezoelectric layer.                                              approximately 10.0%.
                                                                       19. A BAW resonator as claimed in claim 11, wherein
      11. A BAW resonator structure as claimed in claim 9,           atomic percentage of Scandium in the Scandium doped
   wherein the rare-earth element doped non-ferroelectric aluminum nitride (AlScN) is approximately 0.5% to
   piezoelectric material comprises Scandium doped aluminum approximately 44%.
   nitride (AIScN).                                                    20. A BAW resonator as claimed in claim 11, wherein
      12. A BAW resonator as claimed in claim 1, wherein the         atomic percentage of Scandium in the Scandium doped
   electropositive seed layer is comparatively pure.                 aluminum nitride (AlScN) is approximately 2.5% to
      13. A BAW resonator as claimed in claim 1, wherein the         approximately 5%.
   electropositive seed layer is disposed directly on an upper         21. A BAW resonator as claimed in claim 11, wherein
   surface of the first electrode.                                25 atomic percentage of Scandium in the Scandium doped

      14. A BAW resonator as claimed in claim 1, wherein a           aluminum nitride (AlScN) is approximately 0.5% to less
   thickness of the electropositive seed layer is in a range of than approximately 10.0%.
   approximately 50 A to approximately 1000 A.                                        k   k   k    k   k
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                        Exhibit A12
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                        Exhibit A13
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                        Exhibit A14
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458
458                                                                                                  JOURNAL OF
                                                                                                     JOURNAL OF MICROELECTROMECHANICAL
                                                                                                                MICROELECTROMECHANICAL SYSTEMS,
                                                                                                                                       SYSTEMS, VOL.
                                                                                                                                                VOL. 24,
                                                                                                                                                     24, NO.
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                                                                                                                                                             2, APRIL
                                                                                                                                                                APRIL 2015
                                                                                                                                                                      2015




       Capacitive-Piezoelectric Transducers
       Capacitive-Piezoelectric Transducers for
                                             for High-Q
                                                 High-Q
               Micromechanical AlN
               Micromechanical   AIN Resonators
                                      Resonators
                                 Li-Wen Hung,
                                 Li-Wen Hung, Student
                                              Student Member,
                                                      Member, IEEE, and Clark
                                                              IEEE, and Clark T.-C.
                                                                              T.-C. Nguyen,
                                                                                    Nguyen, Fellow,
                                                                                            Fellow, IEEE
                                                                                                    IEEE


   Abstract—A              capacitive-piezoelectric
   Abstract— A capacitive-piezoelectric                                (also
                                                                       (also         known
                                                                                    known            as,
                                                                                                     as,     Such advanced
                                                                                                            Such       advanced hardware    hardware in      in turn
                                                                                                                                                                   turn drivedrive aa needneed for     for highhigh fre- fre-
capacitive-piezo)
capacitive-piezo)           transducer
                            transducer              that
                                                    that      combines
                                                              combines           the
                                                                                 the       strengths
                                                                                           strengths        quency resonators
                                                                                                            quency          resonators with      with simultaneous
                                                                                                                                                           simultaneous high       high Q           (e.g., >10
                                                                                                                                                                                              Q (e.g.,          >10000   000
of capacitive
of    capacitive and    and piezoelectric
                                  piezoelectric mechanismsmechanisms             to achieve
                                                                                 to     achieve a       a
                                                                                                             at 11 GHz)
                                                                                                            at        GHz) and      and low  low impedance
                                                                                                                                                      impedance (e.g.,      (e.g., <200)
                                                                                                                                                                                       <200Q) as          as building
                                                                                                                                                                                                                building
combination of
combination         of electromechanical
                         electromechanical coupling      coupling and    and Q  Q higher
                                                                                     higher than  than
otherwise attainable
otherwise      attainable by   by either
                                     either mechanism
                                                mechanism separately,
                                                                   separately, has    has allowed
                                                                                             allowed        blocks for
                                                                                                            blocks        for narrow-band
                                                                                                                                 narrow-band filters     filters with
                                                                                                                                                                    with percent
                                                                                                                                                                              percent bandwidths
                                                                                                                                                                                            bandwidths on           on thethe
demonstration of
demonstration           of aa 1.2-GHz
                                  1.2-GHz contour-mode
                                                  contour-mode aluminum    aluminum nitride   nitride       order of
                                                                                                            order       of 0.1%
                                                                                                                              0.1% or      or less.
                                                                                                                                                 less. In In brief,
                                                                                                                                                               brief, high  high Q    Q is is needed
                                                                                                                                                                                                 needed for      for low low
(AIN) ring
(AlN)     ring resonator
                 resonator with    with Q   OQ >  > 3000
                                                      3000 on   on par
                                                                     par withwith the  the highest
                                                                                              highest       filter insertion
                                                                                                            filter    insertion loss;     loss; and and low low impedance
                                                                                                                                                                     impedance (or       (or more more precisely,
                                                                                                                                                                                                              precisely,
measured d3q-transduced
measured         d 31 -transduced AlN-only   AlN-only piezoelectric
                                                                piezoelectric resonatorsresonators           sufficient electromechanical
                                                                                                            sufficient          electromechanical coupling)       coupling) for     for proper
                                                                                                                                                                                           proper termination
                                                                                                                                                                                                          termination
past 1
past    1 GHz,
            GHz, and and a   a 50-MHz
                                  50-MHz disk     disk array
                                                          array with with an   an even
                                                                                     even higher
                                                                                               higher
                                                                                                            of the
                                                                                                            of    the filter
                                                                                                                          filter withwith minimal
                                                                                                                                               minimal passband
                                                                                                                                                              passband distortiondistortion [4].     [4]. Here,
                                                                                                                                                                                                              Here, the   the
Q >
Q    > 12 12000.       Here, the
              000. Here,           the key key innovation
                                                    innovation is       is toto separate
                                                                                   separate the     the
piezoelectric resonator
piezoelectric       resonator from    from its  its metal
                                                      metal electrodes
                                                                 electrodes by     by tiny
                                                                                         tiny gapsgaps
                                                                                                            electromechanical coupling
                                                                                                            electromechanical                   coupling of     of aa given
                                                                                                                                                                         given resonator
                                                                                                                                                                                    resonator is       is commonly
                                                                                                                                                                                                            commonly
to eliminate
to  eliminate metalmetal material
                             material and     and metal-to-piezoelectric
                                                      metal-to-piezoelectric interface     interface        gauged by
                                                                                                            gauged          by some some functionfunction of     of the the ratio
                                                                                                                                                                               ratio of  of its  its motional-to-
                                                                                                                                                                                                         motional-to-
losses thought
losses     thought to    to limit
                               limit thin-film
                                          thin-film piezoelectric
                                                            piezoelectric resonatorresonator Q,       Q,     static transducer
                                                                                                            static     transducer capacitancecapacitance (C            x /Co ). For
                                                                                                                                                                  (C,/C,).         For example,
                                                                                                                                                                                          example, the        the popu-
                                                                                                                                                                                                                     popu-
while also
while    also maintaining
                maintaining high     high electric
                                              electric fieldfield strength
                                                                   strength to     to preserve
                                                                                        preserve a      a   lar gauge
                                                                                                            lar    gauge for     for electromechanical
                                                                                                                                        electromechanical coupling         coupling kk?e2f f is        is essentially
                                                                                                                                                                                                            essentially
strong piezoelectric
strong     piezoelectric effect.
                               effect. While
                                           While Q    Q increases,
                                                           increases, electromechanical
                                                                           electromechanical                equal to
                                                                                                            equal        to (C      x /Co ) for
                                                                                                                                (C,/C,)           for low low values
                                                                                                                                                                   values [5].   [5]. In In practical
                                                                                                                                                                                                practical terms,    terms,
coupling decreases,
coupling      decreases, but    but the the Kk,k2eff ·- QQ product
                                                              product can   can still
                                                                                    still increase
                                                                                            increase
overall. More
overall.    More importantly,
                     importantly, use      use of oF the
                                                      the capacitive-piezo
                                                            capacitive-piezo transducer transducer
                                                                                                            aa 0.1%-bandwidth,
                                                                                                                0.1%-bandwidth, 0.5dB-ripple,     0.5dB-ripple, 3-resonator3-resonator ChebyshevChebyshev filter       filter
allows a
allows     a designer
               designer to   to trade
                                   trade electromechanical
                                              electromechanical coupling      coupling for     for Q, QO,   requires
                                                                                                            requires aa minimum  minimum (C              x /Co ) ∼
                                                                                                                                                     (Cy/C,)        ~ 0.25%
                                                                                                                                                                          0.25% to    to maintain
                                                                                                                                                                                           maintain passband   passband
providing a
providing       a very
                   very useful
                            useful methodmethod to     to tailor
                                                             tailor Q  QO and
                                                                            and coupling
                                                                                    coupling for    for     distortion less
                                                                                                            distortion           less thanthan 0.5dB0.5dB over   over the  the designed
                                                                                                                                                                                  designed 0.5dB     0.5dB ripple. ripple.
narrowband radio
narrowband          radio frequency
                              frequency (RF)      (RF) channel-selecting
                                                           channel-selecting filters     filters forfor     A two-resonator
                                                                                                            A    two-resonator version       version requires
                                                                                                                                                           requires only   only 0.15%.
                                                                                                                                                                                    0.15%.
which Q
which      Q trumps
                trumps coupling.
                              coupling. This     This capacitive-piezo
                                                           capacitive-piezo transducer  transducer               Fortunately, the
                                                                                                                Fortunately,             the (C       x /Co ) requirement
                                                                                                                                                  (C,/C,)         requirement shrinks    shrinks with     with band- band-
concept does
concept      does notnot require
                           require dc-biasdc-bias voltages
                                                       voltages and  and allows
                                                                             allows for         much
                                                                                          for much
thicker electrodes
thicker      electrodes that  that reduce
                                       reduce series series resistance
                                                                resistance withoutwithout mass   mass
                                                                                                            width. So
                                                                                                            width.       So an  an RF RF channel-selecting
                                                                                                                                              channel-selecting filter        filter with
                                                                                                                                                                                       with aa percent
                                                                                                                                                                                                     percent band-   band-
loading the
loading     the resonant
                 resonant structure.
                                 structure. The    The latter
                                                          latter isis especially
                                                                       especially important
                                                                                         important          width of
                                                                                                            width        of only
                                                                                                                               only 0.1%  0.1% requires
                                                                                                                                                     requires aa (C           x /Co ) 30
                                                                                                                                                                          (C,/Cy,)       30 ×     x smaller
                                                                                                                                                                                                        smaller than    than
as resonators
as  resonators and   and their
                            their supports
                                       supports continue
                                                       continue to    to scale
                                                                           scale toward
                                                                                     toward even  even      required
                                                                                                            required for      for the the 3%  3% bandwidth
                                                                                                                                                      bandwidth filters    filters used
                                                                                                                                                                                      used in     in conventional
                                                                                                                                                                                                        conventional
higher frequencies.
higher     frequencies.                                                               [2013-0395]
                                                                                      [2013-0395]           band-select            communication front-ends.
                                                                                                            band-select communication                          front-ends. In        In this
                                                                                                                                                                                         this respect,
                                                                                                                                                                                                   respect, for    for RF RF
   Index    Terms— Micromechanical
   Index Terms—       Micromechanical resonator,
                                         resonator, quality
                                                     quality factor,
                                                             factor, small
                                                                     small                                  channel-selection, Q
                                                                                                            channel-selection,                  Q isis generally
                                                                                                                                                         generally the     the more
                                                                                                                                                                                 more difficult
                                                                                                                                                                                           difficult of      of the
                                                                                                                                                                                                                  the twotwo
gap, filter,
gap,    filter, oscillator,
                 oscillator, electromechanical
                              electromechanical coupling,
                                                   coupling, equivalent
                                                               equivalent                                    attributes to
                                                                                                            attributes          to satisfy.
                                                                                                                                      satisfy. Note  Note that that the  the needed
                                                                                                                                                                                needed Q       Q is   is aa function
                                                                                                                                                                                                                function
circuit, self-alignment,
circuit,   self-alignment, aluminum
                             aluminum nitride.
                                        nitride.                                                            of frequency.
                                                                                                            of    frequency. In         In particular,
                                                                                                                                              particular, aa 1-MHz     1-MHz bandwidth
                                                                                                                                                                                     bandwidth is          is 0.1%
                                                                                                                                                                                                                 0.1% at    at
                                                                                                            11 GHz,
                                                                                                                GHz, for    for which
                                                                                                                                   which aa Q       Q >  > 10,000
                                                                                                                                                             10,000 is     is desired
                                                                                                                                                                               desired for    for less
                                                                                                                                                                                                     less thanthan 2dB  2dB
                                    I. IINTRODUCTION
                                    I.   NTRODUCTION
                                                                                                            of insertion
                                                                                                            of   insertion loss    loss in  in a a two-resonator
                                                                                                                                                    two-resonator filter;     filter; but
                                                                                                                                                                                        but at  at 433
                                                                                                                                                                                                     433 MHz, MHz, it’s   it’s
       HE EVER-INCREASING
             EVER-INCREASING appetite      appetite for
                                                      for wireless
                                                           wireless inter-
                                                                      inter-
T      HE
       connectivity continues
       connectivity
shifting communication
shifting
                        continues to
           communication modalities,
                                     to drive
                                         drive research
                                modalities, such
                                                 research on
                                               such as
                                                            on paradigm-
                                                                 paradigm-
                                                     as software-defined
                                                         software-defined
                                                                                                            0.23%, for
                                                                                                            0.23%,
                                                                                                                 Up till
                                                                                                                Up
                                                                                                            operated at
                                                                                                            operated
                                                                                                                           for which
                                                                                                                        till now,
                                                                                                                                  which aa Q
                                                                                                                                now, no
                                                                                                                              at room
                                                                                                                                                   Q around
                                                                                                                                           no sputtered
                                                                                                                                                        around 4,000
                                                                                                                                                  sputtered thin-film
                                                                                                                                   room temperature
                                                                                                                                                                      4,000 wouldwould be
                                                                                                                                                                   thin-film piezoelectric
                                                                                                                                               temperature published published so
                                                                                                                                                                                                    sufficient.
                                                                                                                                                                                             be sufficient.
                                                                                                                                                                                    piezoelectric resonator
                                                                                                                                                                                       so farfar possesses
                                                                                                                                                                                                              resonator
                                                                                                                                                                                                    possesses suf-       suf-
and/or cognitive
and/or    cognitive radio
                        radio [1],
                                [1], both
                                      both expected
                                             expected to to enable
                                                             enable more
                                                                       more                                 ficient Q
                                                                                                            ficient       Q to to realize
                                                                                                                                    realize aa 0.1%  0.1% bandwidth
                                                                                                                                                              bandwidth RF         RF channel-select
                                                                                                                                                                                         channel-select filter         filter
flexible, higher
flexible,   higher volume
                     volume communications.
                               communications. Practical
                                                     Practical realization
                                                                realization                                 with insertion
                                                                                                            with      insertion loss    loss commensurate
                                                                                                                                                  commensurate with          with the the needs
                                                                                                                                                                                             needs of      of wireless
                                                                                                                                                                                                                 wireless
of such
of  such radios     with reasonable
           radios with     reasonable power
                                         power consumption,
                                                 consumption, however,
                                                                  however,                                  front-ends. Capacitive-gap
                                                                                                            front-ends.           Capacitive-gap transduced   transduced resonators,
                                                                                                                                                                                   resonators, on        on thethe other
                                                                                                                                                                                                                      other
could benefit
could   benefit greatly
                   greatly from
                             from more
                                    more advanced
                                            advanced hardware
                                                        hardware capable
                                                                    capable                                 hand, do
                                                                                                            hand,      do possess
                                                                                                                              possess sufficient
                                                                                                                                              sufficient Q     Q at  at the
                                                                                                                                                                          the needed
                                                                                                                                                                                needed frequencies,
                                                                                                                                                                                              frequencies, with        with
of realizing
of   realizing radio
                  radio frequency
                          frequency (RF)(RF) channel-selecting
                                                channel-selecting front-
                                                                      front-                                 Q’s greater
                                                                                                             Q’s     greater than   than 40,00040,000 already
                                                                                                                                                            already demonstrated
                                                                                                                                                                            demonstrated at           at 3  3 GHz
                                                                                                                                                                                                                GHz by     by
ends [2]
ends    [2] and/or
              and/or frequency
                        frequency gating
                                      gating spectrum
                                               spectrum analyzers
                                                            analyzers [3].
                                                                         [3].                               polydiamond
                                                                                                            polydiamond ring          ring resonators
                                                                                                                                               resonators [6].    [6]. Unfortunately,
                                                                                                                                                                         Unfortunately, capacitive-gap
                                                                                                                                                                                                    capacitive-gap
                                                                                                            resonators
                                                                                                            resonators suffer    suffer in   in the
                                                                                                                                                  the transducer
                                                                                                                                                        transducer coupling coupling department,
                                                                                                                                                                                            department, as           as the
                                                                                                                                                                                                                          the
  Manuscript received
  Manuscript received December
                      December 22,
                               22, 2013;
                                   2013; revised
                                         revised June
                                                 June 17,
                                                      17, 2014;
                                                          2014; accepted
                                                                accepted
June   19, 2014.
June 19,    2014. Date
                     Date ofof publication
                                publication July
                                              July 16,
                                                     16, 2014;
                                                           2014; date
                                                                  date of
                                                                        of current
                                                                            current version
                                                                                     version                (C   x /Co )’s so
                                                                                                             (Cy/Cy)’s          so far
                                                                                                                                     far demonstrated
                                                                                                                                            demonstrated at         at GHz
                                                                                                                                                                         GHz frequencies
                                                                                                                                                                                  frequencies are        are farfar short
                                                                                                                                                                                                                      short
March 31,
March    31, 2015.
              2015. This
                     This work
                            work was
                                  was supported
                                        supported byby the
                                                         the Defense
                                                             Defense Advanced
                                                                       Advanced Research
                                                                                   Research                 of the
                                                                                                            of    the requirement
                                                                                                                         requirement when         when aa tuning
                                                                                                                                                               tuning inductor
                                                                                                                                                                             inductor is    is notnot available
                                                                                                                                                                                                          available to      to
Projects Agency
Projects   Agency (DARPA)
                      (DARPA) Chip-Scale-Spectrum
                                  Chip-Scale-Spectrum Analyzers
                                                              Analyzers Program.
                                                                          Program. Subject
                                                                                     Subject                remove
                                                                                                            remove shunt    shunt capacitance
                                                                                                                                       capacitance C         C,,o , asas was
                                                                                                                                                                           was donedone in   in [7].
                                                                                                                                                                                                   [7].
Editor G.
Editor   G. Piazza.
             Piazza.
   L.-W. Hung
  L.-W.    Hung waswas with
                         with the
                               the Department
                                    Department of of Electrical
                                                       Electrical and
                                                                   and Engineering
                                                                        Engineering Com-
                                                                                       Com-                      To achieve
                                                                                                                To     achieve simultaneous
                                                                                                                                       simultaneous high       high Q     Q and
                                                                                                                                                                              and strong
                                                                                                                                                                                      strong (C         x /Co ), either
                                                                                                                                                                                                   (C,/C,),          either
puter Sciences,
puter   Sciences, University
                     University of of California
                                       California atat Berkeley,
                                                         Berkeley, Berkeley,
                                                                     Berkeley, CACA 94720
                                                                                      94720                 the (C
                                                                                                            the          x /Co )’s of
                                                                                                                    (C,/C,)’s            of capacitive-gap
                                                                                                                                                capacitive-gap transduced  transduced resonatorsresonators must        must
USA. She
USA.    She is
             is now
                now with
                      with IBM
                             IBM T.T. J.
                                       J. Watson,
                                          Watson, Yorktown
                                                    Yorktown Heights,
                                                                 Heights, NYNY 10598
                                                                                 10598 USA
                                                                                         USA                be     enhanced, or
                                                                                                            be enhanced,               or thethe Q’s Q’s of of piezoelectric
                                                                                                                                                                  piezoelectric resonatorsresonators must       must be    be
(e-mail: lhung@us.ibm.com).
(e-mail:   lThung@us.ibm.com).
  C. T.-C.
  C.   T.-C. Nguyen
               Nguyen is  is with
                              with the
                                     the Department
                                           Department of  of Electrical
                                                              Electrical Engineering
                                                                           Engineering andand               raised.
                                                                                                            raised. The    The former
                                                                                                                                    former approachapproach is      is presently
                                                                                                                                                                          presently being  being exploredexplored by       by
Computer Sciences,
Computer     Sciences, University
                         University of  of California
                                           California at
                                                       at Berkeley,
                                                           Berkeley, Berkeley,
                                                                       Berkeley, CA
                                                                                  CA 94720
                                                                                       94720                 shrinking electrode-to-resonator
                                                                                                            shrinking           electrode-to-resonator gap                gap spacings,
                                                                                                                                                                                  spacings, such     such as     as done
                                                                                                                                                                                                                       done
USA (e-mail:
USA    (e-mail: ctnguyen@eecs.berkeley.edu).
                  ctnguyen@eecs.berkeley.edu).                                                              in [8]
                                                                                                            in     [8] and and [9].  [9]. So   So far,far, there
                                                                                                                                                             there has    has beenbeen some   some success  success at      at
  Color versions
  Color    versions ofof one
                           one or
                                or more
                                    more of of the
                                                the figures
                                                    figures inin this
                                                                  this paper
                                                                        paper are
                                                                               are available
                                                                                    available
online at
online   at http://ieeexplore.ieee.org.
            http://ieeexplore.ieee.org.                                                                     60-MHz, at
                                                                                                            60-MHz,            at which
                                                                                                                                    which aa wine-glass
                                                                                                                                                     wine-glass disk      disk resonator
                                                                                                                                                                                  resonator using     using partial-
                                                                                                                                                                                                                  partial-
  Digital Object
  Digital   Object Identifier
                     Identifier 10.1109/JMEMS.2014.2332991
                                  10.1109/JMEMS.2014.2332991                                                filled ALD
                                                                                                            filled    ALD gaps    gaps with with spacings
                                                                                                                                                     spacings equivalent
                                                                                                                                                                      equivalent to     to 37.6
                                                                                                                                                                                              37.6 nm   nm achieved
                                                                                                                                                                                                                achieved
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HUNG AND
HUNG AND NGUYEN:
         NGUYEN: CAPACITIVE-PIEZOELECTRIC
                 CAPACITIVE-PIEZOELECTRIC TRANSDUCERS
                                          TRANSDUCERS FOR
                                                      FOR HIGH-
                                                          HIGH-QQ MICROMECHANICAL
                                                                  MICROMECHANICAL AlN
                                                                                  AIN RESONATORS
                                                                                      RESONATORS                                                                                                            459
                                                                                                                                                                                                            459



        Mode Shape Outline—.                                                              y                     Pursuant to
                                                                                                                Pursuant        to increasing
                                                                                                                                      increasing the       the Q   Q ofof piezoelectric
                                                                                                                                                                             piezoelectric resonators
                                                                                                                                                                                                  resonators
                                               (7)               "I. Output            , a. x               without the
                                                                                                            without         the need need for     for multiple
                                                                                                                                                           multiple resonator                 materials or
                                                                                                                                                                            resonator materials                or
           Input Electrode                                            Electrode                             overmoding, this
                                                                                                            overmoding,          this workwork borrows
                                                                                                                                                    borrows from   from workwork on  on BVA
                                                                                                                                                                                          BVA resonators
                                                                                                                                                                                                  resonators
                                                                                                            in the
                                                                                                            in  the 1970’s
                                                                                                                       1970’s [18] [18] and and simply
                                                                                                                                                    simply separates
                                                                                                                                                                 separates piezoelectric
                                                                                                                                                                                 piezoelectric contour-
                                                                                                                                                                                                    contour-
                                                                                                            mode AlN
                                                                                                            mode      AIN resonators
                                                                                                                              resonators from      from their
                                                                                                                                                            their electrodes
                                                                                                                                                                     electrodes by    by tiny
                                                                                                                                                                                           tiny submicron
                                                                                                                                                                                                  submicron
                                                                                                            gaps, as
                                                                                                            gaps,    as shown
                                                                                                                          shown in   in Fig.
                                                                                                                                           Fig. 1, 1, which
                                                                                                                                                       which compares
                                                                                                                                                                  compares the    the new
                                                                                                                                                                                        new device
                                                                                                                                                                                               device in in (b)
                                                                                                                                                                                                             (b)
                                                                                                            with aa conventional
                                                                                                            with        conventional version    version in    in (a).
                                                                                                                                                                   (a). InIn doing
                                                                                                                                                                              doing so,  so, the
                                                                                                                                                                                               the resulting
                                                                                                                                                                                                    resulting

                                         4        Separate electrodes from
                                                     the resonating body
                                     (3) Induced Charge on Electrodes
                                                                                                            capacitive-piezoelectric (or
                                                                                                            capacitive-piezoelectric
                                                                                                            eliminates metal
                                                                                                            eliminates        metal material
                                                                                                                                          material and
                                                                                                                                                        (or “capacitive-piezo”)
                                                                                                                                                                 ‘“‘capacitive-piezo”) transducer
                                                                                                                                                          and metal-to-piezoelectric
                                                                                                                                                                 metal-to-piezoelectric interface
                                                                                                                                                                                                  transducer
                                                                                                                                                                                                    interface
                                                                                                            losses thought
                                                                                                            losses      thought to     to limit
                                                                                                                                             limit thin-film
                                                                                                                                                       thin-film piezoelectric
                                                                                                                                                                       piezoelectric resonatorresonator Q,    Q,
  (1) Reverse Piezoelectric Effect                            (2) Piezoelectric Effect                      while also
                                                                                                            while      also maintaining
                                                                                                                                maintaining high       high electric
                                                                                                                                                                 electric fieldfield strength
                                                                                                                                                                                        strength through
                                                                                                                                                                                                      through
                     Thicker
                         icker El Electrode                   Sees
                                                                                                            the piezoelectric
                                                                                                            the    piezoelectric material  material to     to preserve
                                                                                                                                                                preserve aa strong strong piezoelectric
                                                                                                                                                                                               piezoelectric
                                                                                ooeee|                      effect. In
                                                                                                            effect.     In essence,
                                                                                                                              essence, this     this capacitive-piezo
                                                                                                                                                         capacitive-piezo transducer transducer merges merges
                                                                                                Tout
                                                                                                            the strengths
                                                                                                            the    strengths of    of capacitive
                                                                                                                                          capacitive and     and piezoelectric             mechanisms to
                                                                                                                                                                     piezoelectric mechanisms                  to
                                                                                                            achieve aa combination
                                                                                                            achieve            combination of           of electromechanical
                                                                                                                                                              electromechanical coupling     coupling and   and
                                                             [FP0000000000)                            )    Q higher
                                                                                                            Q     higher than  than otherwise
                                                                                                                                          otherwise attainable
                                                                                                                                                             attainable by            either mechanism
                                                                                                                                                                               by either         mechanism
                     Thicker Electrode
                                                                                                            separately.
                                                                                                            separately.
    No Electrode             Thick Electrode for                  Friction-Free Interface                       In addition,
                                                                                                                In   addition, this   this capacitive-piezo
                                                                                                                                               capacitive-piezo transducer  transducer conceptconcept does does
       Strain                Low Electrical Loss                   w/ No Mass Loading                       not require
                                                                                                            not    require dc-bias
                                                                                                                                 dc-bias voltages voltages and    and allows
                                                                                                                                                                          allows for  for much
                                                                                                                                                                                             much thicker
                                                                                                                                                                                                       thicker
                                                                                                            electrodes that
                                                                                                            electrodes        that reduce
                                                                                                                                      reduce series series resistance
                                                                                                                                                               resistance withoutwithout mass mass loading
                                                                                                                                                                                                      loading
Fig. 1.
Fig.  1. (a)
           (a) Conventional
               Conventional piezoelectric
                                piezoelectric transducers
                                               transducers employing
                                                             employing electrodes
                                                                           electrodes that
                                                                                       that
directly contact
directly  contact the
                    the piezoelectric
                          piezoelectric resonator
                                          resonator structure
                                                      structure (i.e.,
                                                                 (i.e., AlN
                                                                         AIN film);
                                                                                film); and
                                                                                       and                  the resonant
                                                                                                            the    resonant structure.
                                                                                                                                  structure. The      The latter
                                                                                                                                                              latter is is especially
                                                                                                                                                                             especially important
                                                                                                                                                                                               important as    as
(b) working
(b)  working principal
                principal ofof aa capacitive-piezo
                                   capacitive-piezo resonator
                                                      resonator for
                                                                  for which
                                                                       which electrodes
                                                                                electrodes                  resonators
                                                                                                            resonators and    and their
                                                                                                                                      their supports
                                                                                                                                                 supports continue
                                                                                                                                                                continue to     to scale
                                                                                                                                                                                    scale towards
                                                                                                                                                                                              towards eveneven
are separated
are  separated from
                 from the
                       the piezoelectric
                            piezoelectric structure
                                            structure via
                                                       via tiny
                                                           tiny air
                                                                air gaps.
                                                                     gaps.                                  higher frequencies.
                                                                                                            higher     frequencies. In        In this
                                                                                                                                                   this work,
                                                                                                                                                          work, use  use ofof capacitive-piezo
                                                                                                                                                                               capacitive-piezo trans-   trans-
                                                                                                            ducers yields
                                                                                                            ducers       yields aa 1.2-GHz1.2-GHz contour-mode
                                                                                                                                                           contour-mode AlN        AIN ring ring resonator
                                                                                                                                                                                                   resonator
aa simultaneous
    simultaneous Q        Q ofof 73,000
                                  73,000 and  and motional
                                                      motional resistance
                                                                       resistance of          130 ,
                                                                                         of 130       €,    with aa motional
                                                                                                            with       motional resistance
                                                                                                                                         resistance of          889 
                                                                                                                                                           of 889      Q andand aa Q  Q =3,073
                                                                                                                                                                                          =3,073 [19] [19] on on
with aa (C
with           x /Co ) of
            (Cy/C,)      of 0.39%
                              0.39% [9].[9]. However,
                                                However, similar   similar Q   Q andand (C      x /Co )
                                                                                            (Cy/C,)         par    with the
                                                                                                            par with       the best
                                                                                                                                  best amongamong other   other reported
                                                                                                                                                                    reported d     d3;-transduced
                                                                                                                                                                                    31 -transduced non-   non-
marks are
marks       are yet
                  yet toto be
                            be demonstrated
                                  demonstrated at         at GHzGHz frequencies,
                                                                         frequencies, where    where        overmoded AlN-only
                                                                                                            overmoded          AIN-only piezoelectric
                                                                                                                                                  piezoelectric resonators
                                                                                                                                                                       resonators at     at this
                                                                                                                                                                                             this frequency
                                                                                                                                                                                                  frequency
 shrinking resonator
shrinking       resonator sizes  sizes reduce
                                        reduce the    the total
                                                             total coupling
                                                                      coupling afforded
                                                                                     afforded by      by    [16], [17].
                                                                                                            [16],     [17]. Moreover,
                                                                                                                                Moreover, aa 50-MHz      50-MHz disk     disk array
                                                                                                                                                                                  array posts
                                                                                                                                                                                            posts an an even
                                                                                                                                                                                                          even
capacitive-gap transducers,
capacitive-gap          transducers, making making it       it more
                                                                more difficult
                                                                          difficult to  to achieve
                                                                                             achieve        higher Q
                                                                                                            higher     Q =12,748
                                                                                                                            =12,748 [20],    [20], which
                                                                                                                                                      which is   is presently
                                                                                                                                                                     presently the  the highest
                                                                                                                                                                                          highest reported
                                                                                                                                                                                                    reported
 sufficiently large
sufficiently        large (C     x /Co ).
                             (C,/C,).                                                                       among sputtered
                                                                                                            among        sputtered AlN-only
                                                                                                                                          AIN-only resonators,
                                                                                                                                                            resonators, albeit albeit at at VHF.
                                                                                                                                                                                             VHF.
     On the
     On     the micro-scale
                  micro-scale piezoelectric
                                      piezoelectric side,      side, some some of  of the the more
                                                                                                 more           After presenting
                                                                                                                After      presenting the        the logic
                                                                                                                                                         logic and  and mechanism
                                                                                                                                                                            mechanism behind    behind this this
 successful efforts
successful         efforts to  to raise
                                    raise Q   Q borrow
                                                     borrow from    from HBARHBAR technol-  technol-        approach in
                                                                                                            approach         in Sections
                                                                                                                                   Sections II-III,  II-III, Sections
                                                                                                                                                                 Sections IV-V   IV-V then then detail
                                                                                                                                                                                                   detail an  an
 ogy, employing
ogy,      employing more    more complicated
                                      complicated fabrication  fabrication processes
                                                                                   processes to        to   analytical model
                                                                                                            analytical       model for     for this
                                                                                                                                                  this capacitive-piezo
                                                                                                                                                          capacitive-piezo transduced transduced device device
 combine readily
combine         readily micromachinable
                              micromachinable piezoelectrics,  piezoelectrics, like       like alu-alu-     and compare
                                                                                                            and    compare it      it toto that
                                                                                                                                             that of of conventional
                                                                                                                                                           conventional piezoelectric
                                                                                                                                                                                 piezoelectric devices.
                                                                                                                                                                                                     devices.
 minum nitride
minum         nitride (AlN),
                           (AIN), with with higherhigher Q       Q materials,
                                                                       materials, like    like sap-sap-     Section VI
                                                                                                            Section       VI thenthen presents
                                                                                                                                            presents the    the complete
                                                                                                                                                                    complete fabrication
                                                                                                                                                                                    fabrication process
                                                                                                                                                                                                      process
phire
phire [10], [10], silicon
                      silicon carbide
                                   carbide [11],  [11], [12]  [12] or   or quartz
                                                                             quartz [13],   [13], to   to   flow used
                                                                                                            flow    used to   to achieve
                                                                                                                                   achieve actual  actual devices,
                                                                                                                                                              devices, and   and Section
                                                                                                                                                                                    Section VII  VII finally
                                                                                                                                                                                                        finally
 achieve overall
achieve        overall higherhigher Q     Q by           either operating
                                                 by either             operating in       in over-
                                                                                                 over-      summarizes experimentally
                                                                                                            summarizes            experimentally measured      measured results  results verifying
                                                                                                                                                                                              verifying the  the
 tone modes;
tone       modes;        or retaining
                         or     retaining traditional
                                                  traditional contour   contour or       or lamb-
                                                                                                lamb-       performance           enhancements afforded
                                                                                                            performance enhancements                         afforded by    by this
                                                                                                                                                                                 this method.
                                                                                                                                                                                        method.
 wave modes
wave       modes and   and benefitting
                               benefitting from    from an    an energy-sharing
                                                                     energy-sharing based       based
 Q-boosting, much
 Q-boosting,          much like like that
                                       that of  of [14],
                                                      [14], to  to achieve
                                                                      achieve Q’s   Q’s as   as high
                                                                                                  high
                                                                                                                    II. M
                                                                                                                    II. METAL  ELECTRODE-INDUCED
                                                                                                                          ETAL E                    DEGRADATION
                                                                                                                                 LECTRODE -I NDUCED D EGRADATION
 as 5,510
as    5,510 at at 2.9
                    2.9 GHz
                          GHz [11],[11], [15].
                                           [15]. Values
                                                      Values like   like this,
                                                                           this, however,
                                                                                   however, are      are
 still short
still   short ofof the
                     the 30,000
                           30,000 needed
                                      needed for    for RF
                                                         RF channel-selection
                                                                 channel-selection at          at this
                                                                                                    this        As mentioned,
                                                                                                                As   mentioned, polysilicon           resonators routinely
                                                                                                                                      polysilicon resonators          routinely achieve
                                                                                                                                                                                    achieve the the
 frequency. They
frequency.        They alsoalso come
                                   come at at the
                                                the price
                                                       price of   of smaller
                                                                      smaller (C        x /Co ), and
                                                                                   (C,/C,),         and      Q >
                                                                                                             Q    > 10,000
                                                                                                                      10,000 needed
                                                                                                                                needed for for RF
                                                                                                                                                RF channel-selection
                                                                                                                                                      channel-selection and    and frequency
                                                                                                                                                                                      frequency
 for the
for    the case
             case of of HBAR’s
                         HBAR’s and    and LOBAR’s,
                                              LOBAR’s, multiple     multiple modes,
                                                                                  modes, many   many        gating spectrum
                                                                                                            gating     spectrum analyzers,
                                                                                                                                    analyzers, but but dodo so
                                                                                                                                                             so with
                                                                                                                                                                  with higher
                                                                                                                                                                         higher than-desired
                                                                                                                                                                                   than-desired
 of which
of    which mustmust be  be removed
                              removed by     by aa second
                                                       second wider-band
                                                                      wider-band filter   filter that
                                                                                                   that     impedances. To
                                                                                                            impedances.        To date,
                                                                                                                                     date, the
                                                                                                                                             the measured
                                                                                                                                                   measured Q’s    Q’s ofof polysilicon
                                                                                                                                                                             polysilicon res-  res-
 inevitably adds
inevitably        adds cost
                          cost andand insertion
                                        insertion loss.  loss.                                              onators are
                                                                                                            onators      are onon the
                                                                                                                                    the order
                                                                                                                                           order of of 2020 times
                                                                                                                                                              times larger
                                                                                                                                                                        larger than
                                                                                                                                                                                  than that
                                                                                                                                                                                          that ofof
     Thus, non-overmoded
     Thus,      non-overmoded AlN-only    AlN-only realizationsrealizations are      are still
                                                                                             still of  of   sputtered AlN
                                                                                                            sputtered      AIN resonators
                                                                                                                                  resonators withwith attached
                                                                                                                                                          attached electrodes
                                                                                                                                                                       electrodes at  at similar
                                                                                                                                                                                           similar
 great interest.
great      interest. For For AlN-only
                                 AlN-only resonators,
                                                   resonators, efforts   efforts to   to raise
                                                                                            raise Q    Q    frequencies. Interestingly,
                                                                                                            frequencies.      Interestingly, thisthis defies
                                                                                                                                                        defies thethe expectation
                                                                                                                                                                       expectation of   of mate-
                                                                                                                                                                                            mate-
 while retaining
while                    sufficient (C
          retaining sufficient              x /Co ) have
                                        (C,/C,)         have included
                                                                  included careful
                                                                                 careful anchor
                                                                                              anchor        rial   loss theory
                                                                                                            rial loss     theory [21]–[23],
                                                                                                                                     [21]-[23], whichwhich predicts        that the
                                                                                                                                                               predicts that      the phonon-
                                                                                                                                                                                        phonon-
 design and
design       and electrode
                     electrode engineering,
                                    engineering, where      where electrodes
                                                                         electrodes attachedattached        phonon      interaction-constrained ff ·- Q
                                                                                                            phonon interaction-constrained                    Q product
                                                                                                                                                                  product of of AlN
                                                                                                                                                                                 AIN material
                                                                                                                                                                                         material
 to the piezoelectric resonator structure have been
to   the   piezoelectric        resonator        structure         have     been thinned
                                                                                     thinned and    and     should only be about two times lower than that of
                                                                                                            should      only   be   about    two    times    lower     than   that   of silicon,
                                                                                                                                                                                          silicon,
patterned to
patterned        to reduce        loading as
                      reduce loading           as much
                                                     much as     as possible.
                                                                      possible. The   The use  use of  of   with aa theoretically
                                                                                                            with        theoretically expected
                                                                                                                                           expected Q    Q onon thethe order
                                                                                                                                                                         order ofof 25,000
                                                                                                                                                                                      25,000 at   at
 alternative electrode
alternative        electrode materials
                                  materials has    has also
                                                         also been been explored
                                                                            explored [16],   [16], as  as   11 GHz
                                                                                                               GHz [24].
                                                                                                                       [24]. Indeed,
                                                                                                                              Indeed, while
                                                                                                                                          while measured
                                                                                                                                                  measured Q’s   Q’s for
                                                                                                                                                                       for polysilicon       (e.g.,
                                                                                                                                                                            polysilicon (e.g.,
 has altering
has     altering resonator
                     resonator geometry
                                    geometry [17].    [17]. Although
                                                                Although these   these methods
                                                                                           methods           0 =
                                                                                                             Q   = 161,
                                                                                                                     161,000
                                                                                                                           000 atat 61.9
                                                                                                                                    61.9 MHzMHz [25])
                                                                                                                                                   [25]) oror single-crystal
                                                                                                                                                               single-crystal silicon
                                                                                                                                                                                  silicon (e.g.,
                                                                                                                                                                                             (e.g.,
 do increase
do     increase mechanical
                      mechanical Q,      Q, they they stillstill suffer
                                                                     suffer fromfrom interface
                                                                                           interface             =
                                                                                                             Q = 77,000 at 85.9MHz [26]) resonators have approached
                                                                                                             Q       77,   000   at  85.9MHz       [26])    resonators      have    approached
 losses, and the increased resistance in thinned electrodes also
losses,      and    the  increased       resistance          in   thinned      electrodes          also     theoretical prediction,
                                                                                                            theoretical      prediction, those
                                                                                                                                             those forfor attached-electrode
                                                                                                                                                            attached-electrode AlN     AIN res-res-
 decreases electrical
decreases        electrical Q.    Q. So
                                      So far,
                                            far, demonstrated
                                                     demonstrated Qs          Qs areare still
                                                                                           still less
                                                                                                   less     onators demonstrated
                                                                                                            onators      demonstrated so      so far
                                                                                                                                                  far fall
                                                                                                                                                        fall far
                                                                                                                                                               far behind
                                                                                                                                                                     behind it.it. This
                                                                                                                                                                                     This large
                                                                                                                                                                                             large
 than 4,000
than     4,000 [16],[16], [17].
                            [17].                                                                           deviation is
                                                                                                            deviation      is unlikely
                                                                                                                              unlikely due  due to
                                                                                                                                                 to the
                                                                                                                                                      the difference
                                                                                                                                                            difference between
                                                                                                                                                                           between material
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460
460                                                                                                         JOURNAL OF
                                                                                                            JOURNAL OF MICROELECTROMECHANICAL
                                                                                                                       MICROELECTROMECHANICAL SYSTEMS,
                                                                                                                                              SYSTEMS, VOL.
                                                                                                                                                       VOL. 24,
                                                                                                                                                            24, NO.
                                                                                                                                                                NO. 2,
                                                                                                                                                                    2, APRIL
                                                                                                                                                                       APRIL 2015
                                                                                                                                                                             2015



 properties of
properties          of single-crystal
                         single-crystal AlN         AIN used  used for for theory
                                                                             theory and  and sputtered
                                                                                                 sputtered         support loss
                                                                                                                   support    loss dictates
                                                                                                                                     dictates very
                                                                                                                                                very small
                                                                                                                                                        small support
                                                                                                                                                                support cross-sections,
                                                                                                                                                                             cross-sections, which
                                                                                                                                                                                                 which
 AIN used
AlN       used in   in measurement,
                          measurement, given          given the    the fact
                                                                         fact that
                                                                                 that thethe measured
                                                                                                 measured          in turn
                                                                                                                   in turn mandates
                                                                                                                             mandates smallsmall interconnect
                                                                                                                                                   interconnect cross-sections,
                                                                                                                                                                      cross-sections, raising
                                                                                                                                                                                           raising the
                                                                                                                                                                                                     the
 Q of
 Q   of aa thickness-mode
              thickness-mode FBAR            FBAR constructed
                                                           constructed of       of epitaxial
                                                                                     epitaxial single-
                                                                                                     single-       electrical resistance
                                                                                                                   electrical    resistance in in series
                                                                                                                                                    series with
                                                                                                                                                             with thethe device.
                                                                                                                                                                           device. This
                                                                                                                                                                                      This increased
                                                                                                                                                                                             increased
 crystal AlN
crystal       AIN deposited
                        deposited at        at 1200–1300
                                                  1200-1300 °C         °C viavia MOCVD
                                                                                    MOCVD (Metal     (Metal        series resistance
                                                                                                                   series  resistance can can then
                                                                                                                                                then load
                                                                                                                                                        load the
                                                                                                                                                              the Q Q of of the
                                                                                                                                                                             the resonator
                                                                                                                                                                                  resonator system,
                                                                                                                                                                                               system,
Organic
Organic Chemical Chemical Vapor      Vapor Deposition)
                                                    Deposition) on         on aa SiC SiC waferwafer [27]  [27]     setting aa Q
                                                                                                                   setting       Q ceiling
                                                                                                                                    ceiling that
                                                                                                                                              that depends
                                                                                                                                                       depends heavily
                                                                                                                                                                   heavily on  on the
                                                                                                                                                                                    the conductivity
                                                                                                                                                                                         conductivity
 is essentially
is    essentially the      the same same Q∼1,000 Q~1,000 as          as measured
                                                                          measured for       for FBARs
                                                                                                    FBARs          of the
                                                                                                                   of   the interconnect
                                                                                                                              interconnect material.
                                                                                                                                                 material. ThisThis is  is where
                                                                                                                                                                             where the the use
                                                                                                                                                                                             use ofof aa
 constructed of
constructed            of sputtered
                            sputtered AlN.      AIN.                                                               semiconductor material
                                                                                                                   semiconductor        material for for conductive
                                                                                                                                                          conductive leads leads rather
                                                                                                                                                                                   rather than
                                                                                                                                                                                           than metal
                                                                                                                                                                                                 metal
    Results like
    Results         like this
                            this suggest
                                      suggest that   that sputtered
                                                               sputtered AlN   AIN material
                                                                                        material itself itself     can compromise
                                                                                                                   can   compromise performance.
                                                                                                                                           performance.
 might not
might        not be  be thethe principal
                                   principal culprit  culprit among  among Q-limiting
                                                                                 Q-limiting losses,  losses,          In the
                                                                                                                      In  the end,
                                                                                                                               end, metal
                                                                                                                                       metal interconnect
                                                                                                                                              interconnect is    is still
                                                                                                                                                                     still much
                                                                                                                                                                            much preferred,
                                                                                                                                                                                     preferred, and
                                                                                                                                                                                                  and a a
but     rather the
but rather           the metal
                            metal electrodes
                                         electrodes or         or thethe electrode-to-resonator
                                                                           electrode-to-resonator                  solution to
                                                                                                                   solution    to the
                                                                                                                                   the above
                                                                                                                                         above that
                                                                                                                                                  that mitigates
                                                                                                                                                         mitigates the the mechanical
                                                                                                                                                                             mechanical Q     Q losses
                                                                                                                                                                                                 losses
 interface strain
interface          strain might might be       be moremore responsible
                                                                   responsible [28].    [28]. In   In fact,
                                                                                                         fact,     of metal
                                                                                                                   of  metal interconnects
                                                                                                                                 interconnects while  while retaining
                                                                                                                                                              retaining their their high
                                                                                                                                                                                      high electrical
                                                                                                                                                                                             electrical
 experimental data
experimental             data shows
                                  shows that   that as as the
                                                            the thickness
                                                                   thickness of    of aa piezoelectric
                                                                                          piezoelectric            conductivity is
                                                                                                                   conductivity      is most
                                                                                                                                         most desirable.
                                                                                                                                                desirable.
resonator’s
resonator’s electrode electrode increases,
                                         increases, both      both the the resonance
                                                                             resonance frequencyfrequency
 and Q
and     Q of of the
                  the resonator
                         resonator drop     drop due  due to  to mass
                                                                   mass loading
                                                                            loading and  and electrode
                                                                                                 electrode                       III. T
                                                                                                                                 III. THE  CAPACITIVE-PIEZO
                                                                                                                                        HE C                   TRANSDUCER
                                                                                                                                             APACITIVE -P IEZO T RANSDUCER
 loss, respectively
loss,     respectively [29].      [29]. Electrode-derived
                                             Electrode-derived energy         energy loss  loss perhaps
                                                                                                    perhaps           From the
                                                                                                                      From       the above
                                                                                                                                        above discussion,
                                                                                                                                                     discussion, it        it seems
                                                                                                                                                                                seems that   that Q  Q degradation
                                                                                                                                                                                                            degradation
 also contributes
also     contributes to        to the
                                    the lower
                                           lower Q’s    Q’s measured
                                                                measured for     for d d3-transduced
                                                                                         31 -transduced            is difficult
                                                                                                                   is  difficult to   to avoid
                                                                                                                                           avoid as    as long
                                                                                                                                                             long as    as the
                                                                                                                                                                             the electrode
                                                                                                                                                                                      electrode is     is inin physical
                                                                                                                                                                                                                 physical
 AIN resonators,
AlN      resonators, where     where electrodes
                                            electrodes often     often cover
                                                                          cover maximum-strain
                                                                                    maximum-strain                 contact with
                                                                                                                   contact     with the the piezoelectric
                                                                                                                                               piezoelectric structure   structure (which (which generates
                                                                                                                                                                                                       generates loss    loss
 locations, versus
locations,         versus those those for   for d  d33-transduced             thickness-mode res-
                                                     33 -transduced thickness-mode                        res-     through strain
                                                                                                                   through       strain coupling)
                                                                                                                                             coupling) and        and as   as long
                                                                                                                                                                                 long as    as the
                                                                                                                                                                                                 the piezoelectric
                                                                                                                                                                                                          piezoelectric
 onators, for
onators,        for which
                      which electrodes
                                   electrodes are       are placed
                                                                placed veryvery close
                                                                                    close to  to the
                                                                                                   the anti-
                                                                                                         anti-     structure governs
                                                                                                                   structure     governs the   the sizesize andand thickness
                                                                                                                                                                      thickness of       of the
                                                                                                                                                                                             the electrode
                                                                                                                                                                                                   electrode (which (which
 nodes of
nodes       of the
                 the acoustic
                        acoustic standingstanding waves.   waves. Despite
                                                                        Despite theirtheir lower
                                                                                              lower Q’s, Q’s,      governs electrical
                                                                                                                   governs      electrical loss).loss). Interestingly,
                                                                                                                                                            Interestingly, all       all ofof these
                                                                                                                                                                                               these issues
                                                                                                                                                                                                          issues can can be be
ddsi-transduced
   31 -transduced resonators  resonators are        are arguably
                                                            arguably more    more attractive
                                                                                       attractive than   than      circumvented by
                                                                                                                   circumvented           by mechanically
                                                                                                                                               mechanically decoupling   decoupling the       the electrodes
                                                                                                                                                                                                    electrodes from    from
dds3,    since their
   33 , since       their frequencies
                               frequencies are        are set  set byby CAD-definable
                                                                          CAD-definable lateral       lateral      the resonating
                                                                                                                   the  resonating body,   body, i.e., i.e., by by simply
                                                                                                                                                                      simply separating
                                                                                                                                                                                    separating the     the electrodes
                                                                                                                                                                                                              electrodes
 dimensions, so
dimensions,             so are are moremore suitable
                                                   suitable for     for on-chip
                                                                          on-chip integration
                                                                                        integration of       of    from the
                                                                                                                   from     the vibrating
                                                                                                                                   vibrating structurestructure so      so that
                                                                                                                                                                              that they they areare no   no longer
                                                                                                                                                                                                               longer in    in
 multiple frequencies.
multiple         frequencies.                                                                                      contact, as
                                                                                                                   contact,     as shown
                                                                                                                                     shown in     in Fig.
                                                                                                                                                       Fig. 1(b).1(b). TheThe resulting
                                                                                                                                                                                   resulting capacitive-piezo
                                                                                                                                                                                                   capacitive-piezo
    Whether aa resonator
    Whether              resonator uses    uses d    d3;31 oror d d33,
                                                                    33 , both    share the
                                                                         both share        the common
                                                                                                  common           transducer should
                                                                                                                   transducer       should not   not only
                                                                                                                                                        only raise
                                                                                                                                                                 raise thethe Q  Q of  of the
                                                                                                                                                                                           the piezoelectric
                                                                                                                                                                                                piezoelectric film,     film,
problem
problem that      that Q    Q degrades
                                  degrades as         as dimensions
                                                             dimensions scale      scale to   to achieve
                                                                                                    achieve        but should
                                                                                                                   but  should also also allow
                                                                                                                                            allow much  much thicker
                                                                                                                                                                   thicker (hence(hence much  much less  less resistive)
                                                                                                                                                                                                                resistive)
 larger coupling
larger      coupling and/or   and/or higherhigher frequencies.
                                                         frequencies. In       In particular,
                                                                                    particular, while  while       electrodes without
                                                                                                                   electrodes        without the     the electrode
                                                                                                                                                            electrode mechanicalmechanical loss      loss and and mass mass
aa piezoelectric
    piezoelectric structure    structure can      can be   be scaled
                                                                  scaled down,down, its   its electrode
                                                                                                 electrode         loading penalties
                                                                                                                   loading      penalties that   that would
                                                                                                                                                         would otherwise
                                                                                                                                                                       otherwise result   result if if thethe electrode
                                                                                                                                                                                                                electrode
 thickness often
thickness          often cannotcannot scale   scale as   as aggressively,
                                                                aggressively, since   since doing doing so   so    makes contact
                                                                                                                   makes       contact Of    Of course,
                                                                                                                                                     course, the     the smaller
                                                                                                                                                                             smaller series  series resistance
                                                                                                                                                                                                         resistance of      of
 increases electrical
increases         electrical loss    loss derived
                                               derived from    from increased
                                                                        increased electrode
                                                                                         electrode and     and     thicker electrodes
                                                                                                                   thicker     electrodes should  should also   also further
                                                                                                                                                                         further increase
                                                                                                                                                                                       increase the  the Q.  Q.
 interconnect electrical
interconnect            electrical resistance.
                                           resistance.                                                                The working
                                                                                                                      The     working principal
                                                                                                                                             principal of      of this
                                                                                                                                                                    this capacitive-piezo
                                                                                                                                                                            capacitive-piezo transducer   transducer is      is
    Plenty of
    Plenty        of researchers
                        researchers have        have recognized
                                                           recognized the      the adverse
                                                                                      adverse effectseffects       similar to
                                                                                                                   similar     to that
                                                                                                                                   that of of aa conventional
                                                                                                                                                     conventional piezoelectric
                                                                                                                                                                             piezoelectric resonator:
                                                                                                                                                                                                    resonator:
 of metal
of   metal electrodes
                 electrodes on        on thethe Q’s Q’s of  of attached-electrode
                                                                  attached-electrode thin-film    thin-film           1) At
                                                                                                                      1)   At thethe input
                                                                                                                                        input port,port, voltage
                                                                                                                                                            voltage applied applied across across two two electrodes
                                                                                                                                                                                                              electrodes
 piezoelectric resonators
piezoelectric             resonators and          and have  have soughtsought to    to remedy
                                                                                          remedy this     this             generates an
                                                                                                                           generates         an electric
                                                                                                                                                    electric field field across
                                                                                                                                                                             across the    the piezoelectric
                                                                                                                                                                                                 piezoelectric res-      res-
problem
problem via      via aa variety
                            variety of     of approaches
                                                 approaches that       that span
                                                                              span fromfrom reducing
                                                                                                  reducing                 onator that
                                                                                                                           onator        that induces
                                                                                                                                                 induces mechanical
                                                                                                                                                                  mechanical strain      strain viavia the the reverse-
                                                                                                                                                                                                                  reverse-
 electrode roughness
electrode         roughness [30],      [30], to   to optimizing
                                                       optimizing the      the electrode
                                                                                  electrode material
                                                                                                   material                piezoelectric
                                                                                                                           piezoelectric effect.    effect.
 [16], [31],
[16],        [31], to    to carefully
                                 carefully balancing  balancing the        the AlN-to-electrode
                                                                                   AIN-to-electrode                   2) If
                                                                                                                      2)   If thethe frequency
                                                                                                                                         frequency of        of thethe input
                                                                                                                                                                           input voltagevoltage equals
                                                                                                                                                                                                     equals that   that of  of
 thickness ratio
thickness          ratio [32], [32], to   to use use of   of Bragg
                                                                Bragg reflection
                                                                            reflection to     to prevent
                                                                                                    prevent                aa mode,
                                                                                                                                mode, the   the resonator
                                                                                                                                                   resonator structure structure begins  begins to  to vibrate
                                                                                                                                                                                                           vibrate with with
 energy loss
energy         loss [33].
                        [33]. Unfortunately,
                                  Unfortunately, none            none of  of the
                                                                               the above
                                                                                      above methodsmethods                  significant amplitude
                                                                                                                           significant         amplitude at        at both
                                                                                                                                                                        both its  its input
                                                                                                                                                                                        input andand output
                                                                                                                                                                                                          output ports,
                                                                                                                                                                                                                      ports,
raises
raises the   the Q’s  Q’s of    of on-chip
                                       on-chip piezoelectric
                                                         piezoelectric resonatorsresonators to       to the the            generating mechanical
                                                                                                                           generating          mechanical strain      strain at  at both
                                                                                                                                                                                       both locations.
                                                                                                                                                                                               locations.
 values needed
values       needed for     for RF RF channel-selection
                                           channel-selection and            and frequency
                                                                                   frequency gating   gating          3) At
                                                                                                                      3)   At thethe output
                                                                                                                                        output port,port, the the mechanical
                                                                                                                                                                     mechanical strain     strain induces
                                                                                                                                                                                                    induces electri-
                                                                                                                                                                                                                   electri-
 spectrum analysis.
spectrum          analysis.                                                                                                cal displacement
                                                                                                                           cal    displacement current     current D,     Dz viavia the the piezoelectric
                                                                                                                                                                                              piezoelectric effect.  effect.
    If the
    If   the metal
                 metal is    is the
                                  the problem,
                                         problem, then       then one one plausible
                                                                             plausible solutionsolution is    is      4) The
                                                                                                                      4)   The equivalent
                                                                                                                                   equivalent bonded   bonded surface surface charges
                                                                                                                                                                                    charges on    on thethe piezoelec-
                                                                                                                                                                                                              piezoelec-
 to just
to   just remove
             remove the     the metal,
                                    metal, or     or atat least
                                                            least remove
                                                                      remove losseslosses associated
                                                                                               associated                  tric surfaces
                                                                                                                           tric    surfaces in     in turn
                                                                                                                                                        turn induce
                                                                                                                                                                 induce chargescharges of     of opposite
                                                                                                                                                                                                  opposite sign    sign on on
 with the
with      the metal-to-piezoelectric
                  metal-to-piezoelectric interface.           interface. With  With this this in  in mind,
                                                                                                       mind,               the electrodes
                                                                                                                           the    electrodes across   across the   the gap.
                                                                                                                                                                          gap.
 the researchers
the     researchers of        of [34][34] used used undoped
                                                         undoped single-crystal
                                                                          single-crystal AlGaAs    AlGaAs             As mentioned,
                                                                                                                      As   mentioned, although although not      not aa well-known
                                                                                                                                                                           well-known technique,technique, the      the use
                                                                                                                                                                                                                          use
 deposited via
deposited          via MOCVD
                           MOCVD at             at 580580 °C    °C as as the
                                                                           the piezoelectric
                                                                                  piezoelectric res-      res-     of contactless
                                                                                                                   of contactless electrodes
                                                                                                                                          electrodes on      on piezoelectric
                                                                                                                                                                   piezoelectric resonatorsresonators is     is not
                                                                                                                                                                                                                 not new,
                                                                                                                                                                                                                        new,
 onator material
onator        material and     and AlGaAs
                                        AlGaAs doped     doped with   with Si  Si (AlGaAs:Si)
                                                                                    (AlGaAs:Si) for         for    having been
                                                                                                                   having      been demonstrated
                                                                                                                                         demonstrated on            on 5- 5- and and 10-MHz
                                                                                                                                                                                          10-MHz macroscopic
                                                                                                                                                                                                           macroscopic
 its electrodes,
its    electrodes, not       not onlyonly replacing
                                                replacing the       the metals
                                                                          metals conventionally
                                                                                       conventionally              quartz crystal
                                                                                                                   quartz    crystal resonators,
                                                                                                                                          resonators, called  called BVA  BVA resonators,
                                                                                                                                                                                     resonators, as      as far
                                                                                                                                                                                                             far back
                                                                                                                                                                                                                   back as  as
 used in
used       in piezoelectric
                 piezoelectric resonators, resonators, but        but essentially
                                                                         essentially eliminating
                                                                                             eliminating           1976 [18]. Since the piezoelectric-to-electrode thickness ratio
                                                                                                                   1976    [18].     Since      the    piezoelectric-to-electrode                     thickness         ratio
 material differences at the resonator-to-electrode interface,
material          differences            at     the     resonator-to-electrode                   interface,        of these
                                                                                                                   of  these devices
                                                                                                                                  devices was    was on   on the the order
                                                                                                                                                                         order of    of 100μm-to-100nm,
                                                                                                                                                                                           100xm-to-100nm, or               or
 thereby eliminating
thereby         eliminating the       the associated
                                              associated interface interface losses.
                                                                                  losses. All  All ofof this
                                                                                                          this     1000, separating the electrode from the piezoelectric did
                                                                                                                   1000,    separating         the    electrode          from      the    piezoelectric          did little
                                                                                                                                                                                                                        little
 led to a demonstrated Q of 25,390 at 21.77 MHz, much
led     to    a   demonstrated                 Q     of     25,390        at   21.77      MHz,         much        to increase
                                                                                                                   to  increase the   the Q  Q of of thethe device.
                                                                                                                                                                device. It    It did,
                                                                                                                                                                                   did, however,
                                                                                                                                                                                           however, allow   allow for  for a  a
 higher than
higher       than thosethose typically
                                  typically exhibitedexhibited by      by piezoelectric
                                                                            piezoelectric contour   contour        more stable device against drift, since it eliminates electrode-
                                                                                                                   more    stable      device       against       drift,     since      it  eliminates        electrode-
 mode resonators with attached electrodes in this frequency
mode        resonators           with        attached          electrodes         in   this     frequency          to-resonator stress
                                                                                                                   to-resonator        stress variations
                                                                                                                                                  variations over    over timetime [35].[35]. This
                                                                                                                                                                                                This was  was thethe main
                                                                                                                                                                                                                       main
range.        However, there
range. However,                  there is     is some
                                                    some question
                                                                question of     of whether
                                                                                     whether or      or notnot     reason
                                                                                                                   reason for for investigating
                                                                                                                                    investigating such       such devices
                                                                                                                                                                       devices in     in the
                                                                                                                                                                                           the past.
                                                                                                                                                                                                 past.
 such aa Q
such           Q cancan be  be retained
                                   retained at      at much
                                                          much higher higher UHF  UHF frequencies.
                                                                                            frequencies.              For the
                                                                                                                      For     the present
                                                                                                                                    present micromechanical
                                                                                                                                                   micromechanical resonators,       resonators, on       on the
                                                                                                                                                                                                               the other
                                                                                                                                                                                                                       other
 In particular,
In    particular, at      at GHzGHz RF     RF frequencies,
                                                   frequencies, the       the need
                                                                                 need to   to minimize
                                                                                                 minimize          hand, the
                                                                                                                   hand,     the piezo-electric-to-electrode
                                                                                                                                    piezo-electric-to-electrode thickness             thickness ratio  ratio is  is much
  Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 85 of 148 PageID #: 1610
HUNG AND
HUNG AND NGUYEN:
         NGUYEN: CAPACITIVE-PIEZOELECTRIC
                 CAPACITIVE-PIEZOELECTRIC TRANSDUCERS
                                          TRANSDUCERS FOR
                                                      FOR HIGH-
                                                          HIGH-QQ MICROMECHANICAL
                                                                  MICROMECHANICAL AlN
                                                                                  AIN RESONATORS
                                                                                      RESONATORS                                                                                                461
                                                                                                                                                                                                461




                                                                                                  (s}


                                                                   (b)
                                     mp,       1k,   ©
      PN                    Norive         n             oo   Nsense: AT
                                                                      1
                                                                                                           0         ————=——
                                                                                                               0       50    100                     150          200          250           300
                                                                                                                             Gap Spacing (d,=d,=d) (nm)

                                                                                                Fig. 3.
                                                                                                Fig.   3. Plot
                                                                                                             Plot ofof αa versus
                                                                                                                           versus capacitive-piezo
                                                                                                                                     capacitive-piezo electrode-to-resonator
                                                                                                                                                          electrode-to-resonator gap  gap spacing
                                                                                                                                                                                            spacing
Fig. 2.
Fig.  2. Equivalent
           Equivalent electrical
                       electrical circuit
                                   circuit at
                                            at (a)
                                                (a) input
                                                     input and
                                                             and (b)
                                                                  (b) output,
                                                                      output, modeling
                                                                               modeling the
                                                                                          the   (on each
                                                                                                (on  each side)
                                                                                                             side) according
                                                                                                                     according to  to (4)
                                                                                                                                      (4) for
                                                                                                                                           for three
                                                                                                                                               three common
                                                                                                                                                     common piezoelectric
                                                                                                                                                                 piezoelectric materials.
                                                                                                                                                                                 materials. Here,
                                                                                                                                                                                               Here,
effect of
effect  of electrode-to-resonator
           electrode-to-resonator gapgap spacing
                                          spacing on  on the
                                                          the electromechanical
                                                               electromechanical coupling
                                                                                   coupling     the induced
                                                                                                the   induced electric
                                                                                                                  electric field
                                                                                                                             field within
                                                                                                                                     within aa piezoelectric
                                                                                                                                                piezoelectric film
                                                                                                                                                                film decreases
                                                                                                                                                                       decreases byby aa factor
                                                                                                                                                                                           factor of
                                                                                                                                                                                                   of
coefficient. (c)
coefficient.  (c) Same
                  Same circuit
                         circuit but
                                  but with
                                       with the
                                              the capacitive-piezo
                                                    capacitive-piezo resonator
                                                                         resonator replaced
                                                                                    replaced    α
                                                                                                o when
                                                                                                   when air  air gaps
                                                                                                                  gaps d di1 and
                                                                                                                               and d dy2 are
                                                                                                                                          are introduced
                                                                                                                                               introduced between
                                                                                                                                                             between the the electrodes
                                                                                                                                                                              electrodes andand the
                                                                                                                                                                                                  the
by its
by  its transformer-based
        transformer-based equivalent
                             equivalent electrical
                                           electrical circuit.
                                                         circuit.                               resonator structure.
                                                                                                resonator      structure. TheThe equivalent
                                                                                                                                     equivalent electromechanical
                                                                                                                                                   electromechanical coupling
                                                                                                                                                                           coupling coefficients
                                                                                                                                                                                       coefficients
                                                                                                and static
                                                                                                and    static capacitance
                                                                                                                capacitance over over both
                                                                                                                                        both input
                                                                                                                                               input and
                                                                                                                                                      and output
                                                                                                                                                            output ports
                                                                                                                                                                     ports are
                                                                                                                                                                            are linear
                                                                                                                                                                                 linear functions
                                                                                                                                                                                          functions
                                                                                                of α,
                                                                                                of  a, and
                                                                                                         and therefore
                                                                                                               therefore functions
                                                                                                                            functions of  of gap
                                                                                                                                              gap spacing.
                                                                                                                                                   spacing.

smaller, on
smaller,    on the
                 the order
                       order of of 10.
                                     10. Thus,
                                           Thus, thethe case
                                                          case forfor using
                                                                        using aa
capacitive-piezo transducer to increase Q is much stronger
capacitive-piezo      transducer      to  increase     Q   is  much    stronger
                                                                                                piezoelectric stress
                                                                                                piezoelectric    stress constant
                                                                                                                        constant ee3;31 (e 31 ∼ 0.7
                                                                                                                                        (e31~       C/m? 2 for
                                                                                                                                                0.7 C/m    for sputtered
                                                                                                                                                               sputtered
on the
on   the micro-scale.
          micro-scale. In  In addition,
                                addition, thethe ease
                                                   ease with
                                                          with which
                                                                  which small
                                                                            small
                                                                                                AIN) [36]
                                                                                                AlN)   [36] andand the
                                                                                                                    the electric
                                                                                                                         electric field
                                                                                                                                  field established
                                                                                                                                          established within
                                                                                                                                                       within the
                                                                                                                                                                the AlN
                                                                                                                                                                    AIN
electrode-to-resonator gaps can be achieved via MEMS tech-
electrode-to-resonator       gaps   can    be  achieved     via  MEMS       tech-
                                                                                                film ξSas,
                                                                                                film          or
                                                                                                       Al N , or
nologies further
nologies    further encourages
                      encourages the  the use
                                           use ofof contactless
                                                     contactless electrodes.
                                                                    electrodes.
In effect,
In  effect, capacitive-piezo
              capacitive-piezo transducers
                                    transducers stand stand toto improve
                                                                  improve the  the                                                    TT,r =   31 ξ Al N
                                                                                                                                           = ee31aIN                                            2)
                                                                                                                                                                                                (2)
Q and
Q   and drift
           drift stability
                  stability ofof micro-scale
                                   micro-scale thin-film
                                                    thin-film piezoelectric
                                                                  piezoelectric
resonators,     while maintaining
resonators, while       maintaining fabrication
                                          fabrication costcost only
                                                                 only slightly
                                                                         slightly                  The gap-AlN-gap
                                                                                                   The    gap-AIN-gap stack  stack essentially
                                                                                                                                    essentially comprises
                                                                                                                                                     comprises threethree capaci-
                                                                                                                                                                              capaci-
higher than
higher   than the
                the already
                     already low
                               low cost
                                      cost of
                                            of capacitive-gap
                                                capacitive-gap transduced
                                                                    transduced                  tors in
                                                                                                tors  in series,
                                                                                                          series, as
                                                                                                                  as shown
                                                                                                                     shown in    in Fig.
                                                                                                                                    Fig. 2(a),
                                                                                                                                            2(a), for   which ξ£4;y
                                                                                                                                                   for which              takes the
                                                                                                                                                                   Al N takes      the
resonators    that presently
resonators that     presently dominate
                                 dominate the the MEMS
                                                   MEMS timingtiming industry.
                                                                       industry.                form
                                                                                                form
                                                                                                                      vVinin        _ v Vinin ]
                                                                                                     ξCaN
                                                                                                        Al N == H +ε d              =          ·αa =
                                                                                                                                                   = ξCAIN   drT otal
                                                                                                                                                        Al N,d    pa=0=0 ·" α
                                                                                                                                                                            &      (3)
                                                                                                                                                                                   (3)
                      IV. T
                      IV. TRANSDUCER  MODELING
                            RANSDUCER M ODELING                                                                          z T ot al Bh HH
                                                                                                                 H + &zdrotal

   Equivalent electrical
   Equivalent      electrical circuit
                                 circuit models
                                           models for   for conventional
                                                              conventional AlN AIN              where ε¢;z (∼9)
                                                                                                where       (~9) is
                                                                                                                  is the
                                                                                                                      the relative    permittivity along
                                                                                                                            relative permittivity       along the
                                                                                                                                                                the c-axis
                                                                                                                                                                      c-axis ofof
contour-mode resonators
contour-mode        resonators withwith contacting
                                          contacting electrodes,
                                                            electrodes, such
                                                                           such asas            the AlN
                                                                                                the AIN material;
                                                                                                          material; H  H is
                                                                                                                          is its
                                                                                                                              its thickness;
                                                                                                                                  thickness; d drs;      is the
                                                                                                                                                 T ot al is the total
                                                                                                                                                                 total air-gap
                                                                                                                                                                         air-gap
described in
described   in [36],
                  [36], are
                         are abundant
                               abundant in  in the
                                                the literature.
                                                      literature. InIn particular,
                                                                        particular,             spacing between
                                                                                                spacing   between the the electrodes
                                                                                                                            electrodes (d   T ot al =
                                                                                                                                          (drorqi    = d di1 +
                                                                                                                                                             + d  2 ); and
                                                                                                                                                                d2);    and (as
                                                                                                                                                                              (as
values for
values  for the
              the LCR
                    LCR circuit
                           circuit based
                                     based on on actual
                                                   actual values
                                                             values ofof dynamic
                                                                          dynamic               will be
                                                                                                will     seen) α
                                                                                                     be seen)   a is
                                                                                                                   is aa function
                                                                                                                         function gauging
                                                                                                                                     gauging the the degree
                                                                                                                                                       degree toto which
                                                                                                                                                                    which the the
mass, stiffness,
mass,   stiffness, and and damping,
                              damping, with  with location-dependent
                                                     location-dependent for-    for-            coupling coefficient
                                                                                                coupling   coefficient degrades
                                                                                                                         degrades withwith increasing
                                                                                                                                             increasing air air gap
                                                                                                                                                                gap spacing:
                                                                                                                                                                       spacing:
mulations, are
mulations,     are well
                      well covered
                              covered [36].
                                          [36]. Thus,
                                                   Thus, the  the focus
                                                                   focus of of the
                                                                                 the
present
is on
is  on how
          approach to
present approach
        how its
                         to modeling
                             modeling the
                its electrode-to-resonator
                                           the capacitive-piezo
                      electrode-to-resonator air
                                                 capacitive-piezo resonator
                                                      air gaps
                                                                         resonator
                                                            gaps influence
                                                                   influence the the
                                                                                                                                  α=
                                                                                                                                  “=       H +
                                                                                                                                               H
                                                                                                                                               ε
                                                                                                                                           H+ ed,
                                                                                                                                                   ul
                                                                                                                                                 z dT otal
                                                                                                                                                                                                *)
                                                                                                                                                                                                (4)

electromechanical coupling
electromechanical         coupling coefficients
                                      coefficients that  that gauge
                                                               gauge transducer
                                                                        transducer              From (4),
                                                                                                From     (4), α a is
                                                                                                                   is less
                                                                                                                       less than
                                                                                                                               than unity,
                                                                                                                                         unity, andand α« =   = 11 forfor conventional
                                                                                                                                                                            conventional
efficiency at
efficiency   at the
                  the drive
                       drive and
                               and sense
                                     sense ports.
                                              ports.                                            attached-electrode AlN
                                                                                                attached-electrode         AIN resonators,
                                                                                                                                  resonators, for    for which
                                                                                                                                                          which d      T ot al =
                                                                                                                                                                     dr,:q;     = 0.
                                                                                                                                                                                   0. Fig.
                                                                                                                                                                                       Fig. 3 3
                                                                                                plots α
                                                                                                plots  a against
                                                                                                           against gap
                                                                                                                     gap spacing
                                                                                                                            spacing d     d (assumed
                                                                                                                                             (assumed the   the same
                                                                                                                                                                  same on  on both
                                                                                                                                                                               both sides)
                                                                                                                                                                                       sides)
A. Drive Electromechanical
A. Drive                   Coupling
         Electromechanical Coupling                                                             for aa 1.5μm-thick
                                                                                                for     1.5um-thick resonator
                                                                                                                           resonator structure
                                                                                                                                             structure in  in various
                                                                                                                                                                various piezoelectric
                                                                                                                                                                            piezoelectric
   The electromechanical
   The  electromechanical coupling
                            coupling coefficient
                                       coefficient at
                                                    at the
                                                       the input
                                                           input (or
                                                                 (or                            materials. To
                                                                                                materials.     To maximize
                                                                                                                   maximize the    the electric
                                                                                                                                           electric field
                                                                                                                                                      field inin the    AIN, α
                                                                                                                                                                  the AlN,       a must
                                                                                                                                                                                    must be be
drive) port,
drive) port, indicated
             indicated in
                       in Fig.
                          Fig. 2(c),
                                2(c), is
                                      is defined
                                         defined as
                                                  as                                            maximized, which
                                                                                                maximized,       which calls
                                                                                                                           calls for
                                                                                                                                   for either
                                                                                                                                           either small
                                                                                                                                                    small gaps
                                                                                                                                                             gaps or or aa piezoelectric
                                                                                                                                                                            piezoelectric
                                                                                                material with
                                                                                                material     with low
                                                                                                                    low permittivity.
                                                                                                                           permittivity.
                                     A    F(  j ω)
                                          F(jo)                                           1
                               ηNDrive
                                 Drive = Vin Go)                                        (1)
                                                                                        (1)        When the
                                                                                                   When      the frequency
                                                                                                                  frequency of    of thethe input
                                                                                                                                              input voltage
                                                                                                                                                      voltage matches
                                                                                                                                                                   matches one   one ofof the
                                                                                                                                                                                           the
                                         Vin ( j ω)                                             structure’s mode
                                                                                                structure’s     mode frequencies,
                                                                                                                         frequencies, the     the lateral
                                                                                                                                                    lateral force
                                                                                                                                                               force associated
                                                                                                                                                                        associated with  with
where F(
where    F (jw)j ω) isis the
                          the force
                                force generated
                                       generated in   in the
                                                          the piezoelectric
                                                               piezoelectric mater-
                                                                                 mater-         the induced
                                                                                                the   induced stress
                                                                                                                  stress T  7,r excites
                                                                                                                                 excites the   the resonator
                                                                                                                                                     resonator into  into lateral-mode
                                                                                                                                                                             lateral-mode
ial and
ial  and V Vj,in ((jw)
                   j ω) isis the
                              the input
                                   input voltage
                                          voltage across
                                                       across the
                                                                the top
                                                                     top and
                                                                          and bottom
                                                                                bottom          vibration in
                                                                                                vibration     in the
                                                                                                                  the associated
                                                                                                                        associated mode     mode shape.
                                                                                                                                                     shape. The The dashed
                                                                                                                                                                        dashed lineslines inin
electrodes. Here,
electrodes.       Here, a   a sinusoidal
                               sinusoidal input
                                             input isis assumed
                                                         assumed throughout
                                                                     throughout this this       Fig. 1(a) depict the intended high frequency second radial-
                                                                                                Fig.   1(a)    depict    the   intended         high    frequency         second      radial-
               η
analysis. 7pripe
analysis.        Drive models how efficiently the electrical domain
                           models     how    efficiently     the  electrical   domain           contour mode
                                                                                                contour     mode shape
                                                                                                                     shape targeted
                                                                                                                               targeted in    in this
                                                                                                                                                  this work,
                                                                                                                                                         work, in  in which
                                                                                                                                                                       which the  the inner
                                                                                                                                                                                        inner
voltage input
voltage     input is   is transduced
                            transduced into into aa mechanical
                                                      mechanical domain domain force
                                                                                   force        and outer edges of the ring contract and expand, respectively,
                                                                                                and   outer    edges    of  the   ring      contract    and    expand,       respectively,
that drives the piezoelectric layer into resonance vibration.
that  drives      the   piezoelectric      layer   into    resonance     vibration.             in aa motion
                                                                                                in     motion reminiscent
                                                                                                                   reminiscent of       of breathing,
                                                                                                                                             breathing, much much like  like thethe device
                                                                                                                                                                                      device
    Under normal
   Under      normal operation,
                           operation, aa voltage
                                            voltage applied
                                                       applied across
                                                                  across the
                                                                           the top
                                                                               top and
                                                                                     and        of [37]. Note that for this particular mode shape, there
                                                                                                of  [37].    Note     that   for    this     particular      mode       shape,      there is is
bottom electrodes induces a z-directed electric field that in turn
bottom     electrodes        induces   a  z-directed      electric  field  that in  turn        ideally no
                                                                                                ideally    no strain,
                                                                                                                strain, stress,
                                                                                                                          stress, or   or displacement
                                                                                                                                            displacement associated
                                                                                                                                                                 associated with   with thethe
generates an
generates       an rr-directed        mechanical strain
                        -directed mechanical            strain S S,r and
                                                                      and associated
                                                                            associated          angular component.
                                                                                                angular     component.
stress T
stress   7,r onon the
                    the AlNAIN film
                                  film via
                                        via the
                                              the reverse
                                                   reverse piezoelectric
                                                               piezoelectric effect.
                                                                                 effect.           The resulting
                                                                                                   The    resulting modalmodal force force can  can bebe written
                                                                                                                                                            written as   as the
                                                                                                                                                                              the product
                                                                                                                                                                                    product
The magnitude
The    magnitude of      of induced
                              induced stress
                                         stress T 7,r equals
                                                        equals the
                                                                 the product
                                                                       product of of the
                                                                                      the       of the
                                                                                                of  the induced
                                                                                                          induced stress
                                                                                                                       stress T  7,,r , the
                                                                                                                                          the cross-sectional
                                                                                                                                                cross-sectional area    area normal
                                                                                                                                                                                 normal to
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462                                                                                  JOURNAL OF
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                                                                                                                                             2, APRIL
                                                                                                                                                APRIL 2015
                                                                                                                                                      2015




  Input Electrode                Input Electrode                                                            1                       AIN
                                         Gap
                                                                                                                |       (e3=0.7 C/m?, £=9)
                                                                                                         0.8               7           550
                                                                                                    £ ve                                  (e5,=0.58 C/m2, £=10)
                                                                                                    BY                                                    PZT
                                                                                                    & 04                                        (e3~7.2 C/m?, £=1000)
                                        Output                                                      3
                                     Electrodes         h                                                0.2 +
      AIN Ring

                                     |
                                                         Poly-Si Ring                                       0       -                 T                      T
      w/ Thickness = H
                                                         w/ Thickness = H                                       0                   100                   200                    300
                                                                                                                            Gap Spacing (d;=d;=d) (nm)
Fig. 4.
Fig.  4. Electrode
          Electrode arrangements
                     arrangements for
                                    for (a)
                                        (a) the
                                             the capacitive-piezo
                                                 capacitive-piezo AlN
                                                                  AIN ring
                                                                        ring resonator
                                                                              resonator
and (b)
and   (b) the
          the capacitive-gap
              capacitive-gap poly-Si
                              poly-Si ring
                                        ring resonator
                                              resonator discussed
                                                         discussed in
                                                                   in the
                                                                       the text
                                                                            text and
                                                                                 and to
                                                                                      to   Fig. 5.
                                                                                           Fig.  5.   Simulated plot
                                                                                                      Simulated      plot of
                                                                                                                          of the    effective α
                                                                                                                              the effective     a ·- ee371   versus electrode-to-resonator
                                                                                                                                                        31 versus     electrode-to-resonator
be  compared in
be compared     in Fig.
                   Fig. 7.
                        7. Both
                           Both devices
                                 devices operate
                                            operate in
                                                     in the
                                                        the same
                                                             same radial
                                                                  radial mode
                                                                          mode shape
                                                                                  shape    gap spacing,
                                                                                           gap  spacing, showing
                                                                                                           showing aa clear
                                                                                                                          clear decrease
                                                                                                                                  decrease with
                                                                                                                                              with increasing
                                                                                                                                                       increasing gap gap spacing.
                                                                                                                                                                           spacing. The
                                                                                                                                                                                     The gap
                                                                                                                                                                                           gap
at 1.2GHz.
at  1.2GHz.                                                                                spacing affects
                                                                                           spacing   affects thethe coupling
                                                                                                                    coupling of of PZT
                                                                                                                                    PZT thethe most
                                                                                                                                                most due   due to
                                                                                                                                                                to its
                                                                                                                                                                   its much
                                                                                                                                                                        much larger
                                                                                                                                                                               larger relative
                                                                                                                                                                                      relative
                                                                                           permittivity ε&,.r .
                                                                                           permittivity


the stress
the         (Hr ·- dθ
     stress (Hr     df),), and
                           and the
                                the normalized
                                      normalized mode mode shape   (r ),
                                                           shape ®(r),
integrated over
integrated  over the
                  the electrode
                        electrode coverage
                                    coverage area:
                                                area:                                      larger ee3;31 than
                                                                                           larger          than AlNAIN and and ZnO,
                                                                                                                                  ZnO, its its capacitive-piezo
                                                                                                                                                 capacitive-piezo coupling
                                                                                                                                                                        coupling
                       πT  Roe
                               Roe                                                         is weaker
                                                                                           is  weaker at  at most
                                                                                                              most gapgap spacings
                                                                                                                            spacings due  due toto its
                                                                                                                                                    its much
                                                                                                                                                        much higher
                                                                                                                                                                 higher relative
                                                                                                                                                                          relative
               F =
               F  = / /              r (H r ·-dO)®(r)dr
                                   TT.(Hr     dθ ) (r )dr                                  permittivity.
                                                                                           permittivity.
                            00    Rie
                                  Rie                                                          The electrode
                                                                                               The   electrode geometry
                                                                                                                   geometry and   and configuration          affects η#pyipe
                                                                                                                                         configuration affects         Drive viavia
                                                Roe
                                                 Roe
                                                                                           the last
                                                                                           the   last term
                                                                                                       term in in (9).
                                                                                                                   (9). Given
                                                                                                                         Given the  the same
                                                                                                                                          same electrode
                                                                                                                                                  electrode areaarea and
                                                                                                                                                                      and static
                                                                                                                                                                             static
                      =
                      = (π)
                        (x) · (Tr H ) -·
                              -(TI,H)                       (r )dr
                                                        rr®(r)dr                   (5)
                                                                                   (5)
                                                 Rie                                       capacitance, the
                                                                                           capacitance,       the coupling        coefficient η#p,iy.
                                                                                                                    coupling coefficient             Drive isis maximized
                                                                                                                                                                 maximized by    by
                                                 Rie
                                                                                           placing      electrodes over
                                                                                           placing electrodes           over locations
                                                                                                                                locations that that experience
                                                                                                                                                       experience maximum
                                                                                                                                                                      maximum
where R;.,
where          and R,.
         Rie , and        are the
                     Roe are   the inner
                                    inner and
                                            and outer
                                                  outer radius
                                                          radius of
                                                                  of the
                                                                       the
                                                                                           strain. In
                                                                                           strain.   In aa conventional
                                                                                                             conventional piezoelectric
                                                                                                                                piezoelectric resonator
                                                                                                                                                     resonator with
                                                                                                                                                                  with contact-
                                                                                                                                                                         contact-
electrode, respectively,
electrode,   respectively, as
                            as indicated
                               indicated inin Fig.
                                               Fig. 4(a),
                                                     4(a), and     (r ) is
                                                            and ®@(r)    is
                                                                                           ing electrodes,
                                                                                           ing   electrodes, this this degrades
                                                                                                                         degrades the   the Q,Q, since
                                                                                                                                                   since itit dissipates
                                                                                                                                                               dissipates more
                                                                                                                                                                             more
the normalized
the normalized modemode shape,
                          shape, given
                                  given by
                                         by
                                                                                           energy via
                                                                                           energy      via larger
                                                                                                             larger strain
                                                                                                                       strain at at the
                                                                                                                                      the electrode/resonator
                                                                                                                                            electrode/resonator interface
                                                                                                                                                                        interface
                                               ϕ(r
                                               p(r) )                                      and larger
                                                                                           and    larger strain
                                                                                                            strain coupled
                                                                                                                     coupled to   to the
                                                                                                                                      the electrodes.
                                                                                                                                            electrodes. Clearly,
                                                                                                                                                             Clearly, the
                                                                                                                                                                        the non-
                                                                                                                                                                              non-
                             (r ) =
                           O(r)   =  Rr                                           (6)
                                                                                   (6)
                                      Roe
                                         Rieie ϕ(R r )dr
                                               ¢(Ry)dr
                                                                                           contacting electrodes
                                                                                           contacting       electrodes of  of aa capacitive-piezo
                                                                                                                                   capacitive-piezo transducer
                                                                                                                                                           transducer obviate
                                                                                                                                                                          obviate
                                         R
                                                                                           this problem,
                                                                                           this   problem, providing
                                                                                                                providing aa majormajor advantage.
                                                                                                                                            advantage.
 where ϕ(r
where     ¢(r) ) is is the
                        the mode
                              mode shapeshape of of aa ring       vibrating in
                                                           ring vibrating    in its
                                                                                  its
221dnd contour
       contour modemode (anti-symmetric
                             (anti-symmetric mode),mode), normalized
                                                                normalized toto the
                                                                                 the
 maximum value
maximum                  (i.e. ϕ(r
                value (i.e.     ¢(r) ) <=
                                       <= 11 for
                                               for any
                                                    any rr in  in the
                                                                  the domain
                                                                       domain and
                                                                                and        B. Sense Electromechanical
                                                                                           B. Sense Electromechanical Coupling
                                                                                                                      Coupling
ϕ(r
 @(r) ) =
        = 11 at
              at the
                   the largest
                        largest displacement
                                  displacement point).point).                                   The equivalent
                                                                                                The   equivalent circuitcircuit of
                                                                                                                                 of Fig.
                                                                                                                                     Fig. 22 converts
                                                                                                                                              converts the the (across
                                                                                                                                                                (across variable)
                                                                                                                                                                          variable)
     Using (2)-(4),
     Using   (2)-(4), thethe distributed
                               distributed stress
                                              stress T  7,r takes
                                                             takes the
                                                                    the form
                                                                        form                force generated
                                                                                           force     generated by      by the
                                                                                                                            the electric
                                                                                                                                  electric field
                                                                                                                                              field atat the
                                                                                                                                                           the input
                                                                                                                                                                 input port
                                                                                                                                                                         port toto aa
                                                           V:       
                                                             Vin                            (through variable)
                                                                                           (through      variable) velocity
                                                                                                                          velocity viavia the
                                                                                                                                            the series
                                                                                                                                                  series LCR        circuit taking
                                                                                                                                                            LCR circuit       taking
              TT,r == E   P Sr =
                       EpS,     =e31      Al N =
                                   e31 EEan     = ee3131 ( ·o)     α             ©)
                                                                                 (7)
                                                              H                             on values
                                                                                           on     values of  of mass
                                                                                                                 mass m      m,,     compliance (1/k
                                                                                                                                m , compliance               m ), and
                                                                                                                                                        (1/k,),     and damping
                                                                                                                                                                          damping
                                                                                           ccm,   With expressions
                                                                                             m , with    expressions for     for element
                                                                                                                                   element values
                                                                                                                                               values provided
                                                                                                                                                         provided in   in previous
                                                                                                                                                                          previous
where E
where     EpP is
               is the
                   the Young’s
                         Young’s modulus
                                     modulus of of the
                                                    the resonator
                                                         resonator material,
                                                                     material,
                                                                                            literature [38].
                                                                                           literature     [38]. TheThe ensuing
                                                                                                                            ensuing displacement
                                                                                                                                         displacement (velocity)
                                                                                                                                                              (velocity) is is then
                                                                                                                                                                                then
and V
and  Vj,in is
            is the
               the amplitude
                     amplitude of of the
                                       the sinusoidal
                                            sinusoidal input.
                                                         input.
                                                                                            converted to
                                                                                           converted       to charge
                                                                                                               charge (current)
                                                                                                                             (current) by by the
                                                                                                                                               the electromechanical
                                                                                                                                                     electromechanical cou-     cou-
   Plugging (7)
   Plugging      (7) into
                       into (5)
                             (5) and
                                  and further
                                         further into
                                                  into (1),
                                                         (1), yields
                                                               yields for
                                                                       for the
                                                                            the
                                                                                           pling     coefficient at
                                                                                           pling coefficient            at the
                                                                                                                            the output
                                                                                                                                  output (or(or sense)
                                                                                                                                                   sense) port,
                                                                                                                                                              port, indicated
                                                                                                                                                                      indicated in in
modal force
modal     force FF andand η7np,iye,
                             Drive  , respectively:
                                      respectively:
                                                                                            Fig. 2(c),
                                                                                           Fig.    2(c), which
                                                                                                          which takes  takes the
                                                                                                                               the form
                                                                                                                                    form
                                                 Roe      Roe
                                                                                                                                                   
                      F =
                      F  =o α ·eV
                                e31 · Vin ·xf π        rro (r )dr
                                                            (r)dr           (8)
                                                                            (8)                                                                    [ DD.dA
                                                                                                                                                         zd A
                                                        RRieie                                                  HSonse       =   Q  P ( j ω) _ AA
                                                                                                                                  Op(jw)                                        (10)
                                             Roe                                                               η Sense =                      =                                (10)
               torive = ave                 [roar                                   ©)                                 MET         Uo)              U(j)
                                              Roe
                                                                                                                                   U ( j ω)         U  ( j ω)
               η Drive = α · e31 · π           r (r )dr                            (9)
                                             R Ricie                                       where Q
                                                                                           where     QpP is is the
                                                                                                                the total
                                                                                                                      total charge
                                                                                                                              charge induced
                                                                                                                                        induced via   via the
                                                                                                                                                            the piezoelectric
                                                                                                                                                                  piezoelectric
        (9), η
From (9),
From           nprive
                 Drive is is proportional
                             proportional to   to both         and α,
                                                   both ee3;31 and    a, the
                                                                           the latter
                                                                                 latter    effect at
                                                                                           effect   at the
                                                                                                        the output
                                                                                                               output port,
                                                                                                                         port, equal
                                                                                                                                 equal to to the
                                                                                                                                               the displacement
                                                                                                                                                     displacement current current
of which
of  which is  is inin turn
                       turn aa function
                                 function of  of the    permittivity ε¢,.z . Thus,
                                                  the permittivity              Thus,      (charge/area) D
                                                                                           (charge/area)      D, z integrated
                                                                                                                   integrated over
                                                                                                                                 over the
                                                                                                                                        the electrode
                                                                                                                                              electrode area;area; and
                                                                                                                                                                    and U U ((jw)
                                                                                                                                                                               j ω)
piezoelectric       materials with
piezoelectric materials            with simultaneous
                                           simultaneous high high ee3;31 andand lowlow     is the maximum displacement amplitude. #gense
                                                                                           is the  maximum          displacement       amplitude.       η Sense models how
                                                                                                                                                                  models      how
permittivity are most suitable when attempting to maximize
permittivity      are   most   suitable      when    attempting      to   maximize         efficiently the
                                                                                           efficiently    the mechanical
                                                                                                                mechanical domain
                                                                                                                                domain velocity
                                                                                                                                            velocity transduces
                                                                                                                                                          transduces into into anan
the electromechanical
the  electromechanical coupling  coupling coefficient
                                               coefficient of  of aa capacitive-
                                                                        capacitive-        electrical domain output current.
                                                                                           electrical   domain       output    current.
piezo transduced device. For comparison, Fig. 5
piezo    transduced        device.     For   comparison,       Fig.    5 plots
                                                                          plots the the       Since the
                                                                                              Since    the LCRLCR is  is aa resonant
                                                                                                                             resonant circuit,
                                                                                                                                          circuit, appreciable
                                                                                                                                                       appreciable velocity
                                                                                                                                                                         velocity
(a+ e371)
(α·  e    )
       31 product against total gap spacing dr
            product      against     total  gap  spacing     d T ot al for various
                                                                        for   various      results only when the input drive signal is at or
                                                                                           results  only    when    the   input  drive   signal    is  at or near
                                                                                                                                                              near resonance.
                                                                                                                                                                     resonance.
piezoelectric       materials. As
piezoelectric materials.            As expected,
                                          expected, small
                                                        small gapgap spacing
                                                                         spacing is   is   Once resonance
                                                                                           Once    resonance vibration
                                                                                                                    vibration ensues,
                                                                                                                                  ensues, symmetry
                                                                                                                                              symmetry of       of the
                                                                                                                                                                    the second
                                                                                                                                                                          second
preferred to maintain a high coupling coefficient. On the
preferred    to   maintain    a  high    coupling    coefficient.     On   the other
                                                                                 other     contour mode shape mimics the drive-side velocity profile
                                                                                           contour    mode      shape    mimics     the   drive-side      velocity     profile at at
hand, note
hand,   note that
                that aa large
                         large ee3;31 does
                                      does not
                                             not guarantee
                                                  guarantee aa large
                                                                   large coupling
                                                                           coupling        the sense
                                                                                           the  sense side,
                                                                                                         side, thereby
                                                                                                                 thereby duplicating
                                                                                                                             duplicating the  the strain.
                                                                                                                                                    strain. TheThe sense
                                                                                                                                                                     sense side
                                                                                                                                                                              side
coefficient. As
coefficient.      As shown
                        shown in   in Fig.
                                        Fig. 5,
                                              5, even
                                                  even though
                                                           though PZT  PZT has has aa      strain then
                                                                                           strain  then polarizes
                                                                                                           polarizes the the AlN
                                                                                                                              AIN film
                                                                                                                                     film via
                                                                                                                                            via the
                                                                                                                                                  the piezoelectric
                                                                                                                                                        piezoelectric effect.
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HUNG AND
HUNG AND NGUYEN:
         NGUYEN: CAPACITIVE-PIEZOELECTRIC
                 CAPACITIVE-PIEZOELECTRIC TRANSDUCERS
                                          TRANSDUCERS FOR
                                                      FOR HIGH-
                                                          HIGH-QQ MICROMECHANICAL
                                                                  MICROMECHANICAL AlN
                                                                                  AIN RESONATORS
                                                                                      RESONATORS                                                                                           463
                                                                                                                                                                                           463



Assuming only
Assuming    only radial
                   radial mechanical
                           mechanical displacement,
                                          displacement, the  the resulting
                                                                 resulting
electric displacement
electric displacement (charge
                          (charge per
                                   per area)
                                        area) takes
                                                 takes the
                                                         the form
                                                             form
                                                          
                                             ∂u
                                             ou, r    uUyr
             D    =  e
             D; z = e315,S        =  e
                            Sense = e3]
                       31 r,Sense      31          +
                                                   + I.               (11)
                                                                      (11)
                                              ∂r
                                              or        r
where u
where   u,r (r
            (r, , j ω)
                    jw) is
                        is the
                            the time-varying
                                time-varying radial
                                                 radial mechanical
                                                         mechanical displace-
                                                                       displace-
ment as a function of position r. u(r,
ment   as  a  function       of position r . u r (r , j ω)
                                                      jw) can
                                                           can be
                                                               be decomposed
                                                                   decomposed
into the
into  the product
            product of     of aa time-varying
                                  time-varying function
                                                   function U  U ((jw)
                                                                   j ω) and
                                                                        and the
                                                                              the
stationary mode shape ¢(r)
stationary    mode       shape    φ(r )

                        uu(r,
                          r (r, jo)
                                j ω) = U(jw)p(r)
                                     = U ( j ω)φ(r )                           12)
                                                                               (12)

   Integration of
  Integration    of DD, z over
                          over the
                               the electrode
                                   electrode area
                                             area yields
                                                  yields the
                                                         the total
                                                             total
induced charge,
induced   charge, Q OpP
                                                                                        Fig. 6.
                                                                                        Fig.    6.       Equivalent circuit
                                                                                                         Equivalent      circuit transformations
                                                                                                                                   transformations used  used toto study
                                                                                                                                                                     study the the effect
                                                                                                                                                                                     effect ofof
                      πm Roe
                           Roe
                                                                                        electrode-to-resonator gaps
                                                                                        electrode-to-resonator          gaps on on the
                                                                                                                                    the series
                                                                                                                                         series and
                                                                                                                                                 and parallel
                                                                                                                                                       parallel resonance
                                                                                                                                                                  resonance frequencies
                                                                                                                                                                                  frequencies
            0rP =
            Q   = [        [     Dz r dr dθ
                                 Dardrao                                                and on
                                                                                        and    on thethe equivalent
                                                                                                           equivalent coupling
                                                                                                                          coupling coefficient.
                                                                                                                                       coefficient. (a)(a) Four-terminal
                                                                                                                                                            Four-terminal model  model of  of aa
                                                                                        conventional two-port
                                                                                        conventional       two-port piezoelectric
                                                                                                                        piezoelectric resonator       (with no
                                                                                                                                         resonator (with      no air
                                                                                                                                                                  air gaps)
                                                                                                                                                                        gaps) under
                                                                                                                                                                                under aa one-
                                                                                                                                                                                           one-
                      00 Rie
                         Rie                                                            port measurement
                                                                                        port   measurement scheme, scheme, withwith terminals
                                                                                                                                      terminals 1-2
                                                                                                                                                  1-2 connected
                                                                                                                                                        connected and  and 3-4
                                                                                                                                                                             3-4 connected.
                                                                                                                                                                                   connected.
                                  Roe
                                 Roe                                                  (b) BVD
                                                                                        (b)  BVD modelmodel of of (a),
                                                                                                                   (a), enclosed
                                                                                                                         enclosed by by the
                                                                                                                                         the dash
                                                                                                                                              dash lines,
                                                                                                                                                    lines, with
                                                                                                                                                            with two
                                                                                                                                                                   two series
                                                                                                                                                                          series capacitors,
                                                                                                                                                                                   capacitors,
                                        ∂φ(r )
                      rentiGoy | (v PO
                  = πe31U ( j ω)      r
                                         ∂r
                                               + φ(r ) dr  pe ))ar             (13)
                                                                               (13)
                                                                                        Cg)g1 and
                                                                                        C
                                                                                        of the
                                                                                        of
                                                                                               and C  Cg,
                                                                                            the resonator.
                                                                                                             representing air
                                                                                                        g2 , representing
                                                                                                   resonator. (c)
                                                                                                                (c) Equivalent
                                                                                                                               air gaps
                                                                                                                     Equivalent BVD
                                                                                                                                   gaps inserted
                                                                                                                                          inserted into
                                                                                                                                    BVD model
                                                                                                                                            model of
                                                                                                                                                     into both
                                                                                                                                                    of (b)
                                                                                                                                                           both input
                                                                                                                                                        (b) with
                                                                                                                                                                  input and
                                                                                                                                                             with C
                                                                                                                                                                           and output
                                                                                                                                                                    Cg;g1 and
                                                                                                                                                                           and C
                                                                                                                                                                                 output ports
                                                                                                                                                                                          ports
                                                                                                                                                                                 Cgg2 lumped
                                                                                                                                                                                       lumped
                                      Rie
                                      Rie                                               into the
                                                                                        into   the resonator
                                                                                                     resonator branch.
                                                                                                                  branch.

Plugging (13)
Plugging   (13) into
                into (10)
                      (10) finally
                            finally yields
                                     yields the
                                            the expression  for η
                                                expression for  #7sense
                                                                  Sense
for the
for the case
         case where
               where there
                       there isis no
                                  no gap
                                      gap between
                                           between the
                                                     the piezoelectric
                                                         piezoelectric                  where cc¢,,m is
                                                                                        where        is the
                                                                                                        the mechanical
                                                                                                            mechanical damping,
                                                                                                                       damping, defined
                                                                                                                                defined as
                                                                                                                                        as
resonator   and its
resonator and   its electrodes:
                    electrodes:
                                                                                                                                          ωo m m
                                Roe                                                                                         cm =                                                      (18)
                                                                                                                                                                                         (18)
                                       o¢(r)
                                       ∂φ(r  )                                                                                              Q
         ηNSense,NoGap
           Sense,NoGap =
                       = πe  31 | (oe
                         T €31       r
                                         ∂r
                                               + φ(r ) drpy ar                 (14)
                                                                               (14)
                                                                                        where ω
                                                                                        where     w,o isis the
                                                                                                             the radian
                                                                                                                   radian resonance
                                                                                                                               resonance frequency,
                                                                                                                                                frequency, and   and m  m,,m the
                                                                                                                                                                               the
                                      Rie
                                      Rie
                                                                                        effective mass
                                                                                        effective    mass representing
                                                                                                              representing the      the inductor
                                                                                                                                         inductor value
                                                                                                                                                     value inin Fig.
                                                                                                                                                                  Fig. 2(c).
                                                                                                                                                                         2(c).
   Correct modeling
   Correct    modeling of    of the
                                  the actual
                                         actual current
                                                  current delivered
                                                            delivered to to the
                                                                             the           From (9)
                                                                                           From     (9) and
                                                                                                         and (16),
                                                                                                                (16), the
                                                                                                                       the drive
                                                                                                                              drive and and sense
                                                                                                                                             sense coupling
                                                                                                                                                     coupling coefficients
                                                                                                                                                                   coefficients
output when
output   when electrodes
                 electrodes are  are separated
                                        separated from
                                                     from the
                                                            the piezoelectric
                                                                 piezoelectric          for aa capacitive-piezo
                                                                                        for      capacitive-piezo resonator
                                                                                                                          resonator are     are smaller
                                                                                                                                                 smaller by            factor α
                                                                                                                                                             by aa factor        a
requires  that the
requires that   the impedance
                      impedance of      of the
                                            the gaps
                                                 gaps bebe included.
                                                           included. To To this
                                                                            this        than those
                                                                                        than   those ofof anan equivalently-sized
                                                                                                                 equivalently-sized conventional
                                                                                                                                              conventional piezoelectric
                                                                                                                                                                 piezoelectric
end, the
end,  the output
          output isis first
                       first modeled
                               modeled by   by aa current
                                                  current source,
                                                           source, asas shown
                                                                         shown          device using
                                                                                        device    using contacting
                                                                                                             contacting electrodes.
                                                                                                                              electrodes. However,
                                                                                                                                                However, this  this does
                                                                                                                                                                       does notnot
in Fig.
in  Fig. 2(b),
          2(b), where
                  where outputoutput current
                                         current ii,p isis merely
                                                           merely the the time
                                                                           time         necessarily mean
                                                                                        necessarily      mean that that its
                                                                                                                         its port-to-port
                                                                                                                                 port-to-port motional
                                                                                                                                                   motional resistance
                                                                                                                                                                 resistance is   is
derivative of
derivative  of Q       or ii,p =
                Qp,P , or       = ωQ wQ p.    Taking the
                                          P . Taking   the ideal
                                                            ideal case
                                                                   case where
                                                                         where          smaller. In
                                                                                        smaller.     In fact,
                                                                                                          fact, according
                                                                                                                  according to       to (17)
                                                                                                                                         (17) and
                                                                                                                                                and (18),
                                                                                                                                                       (18), itit isis possible
                                                                                                                                                                        possible
the load
the  load impedance
          impedance (R    (Ry|L | || (1/(sC
                                     (1/(sCL))    is zero,
                                             L )) is zero, i.e.,
                                                           i.e., the
                                                                 the output
                                                                      output isis       for the
                                                                                        for  the motional
                                                                                                   motional resistance
                                                                                                                  resistance of      of aa capacitive-piezo
                                                                                                                                            capacitive-piezo transduced
                                                                                                                                                                     transduced
grounded, yields
grounded,    yields for
                      for output
                            output current:
                                       current:                                         device to
                                                                                        device    to be      lower than
                                                                                                       be lower       than that that of of aa conventional
                                                                                                                                               conventional counterpart
                                                                                                                                                                   counterpart
                    Z p2                           H
                                                   H
                                                                                        with contacting
                                                                                        with   contacting electrodes
                                                                                                               electrodes if     if the
                                                                                                                                     the reduction
                                                                                                                                          reduction in  in loss
                                                                                                                                                           loss provided
                                                                                                                                                                  provided by   by
                    Zp               .
iI o =i
     =i p ·                       ≈ i PP ·                      =i
                                                                = p ·ooα                electrode separation
                                                                                        electrode     separation raises
                                                                                                                      raises its  its QQ over
                                                                                                                                           over the
                                                                                                                                                 the conventional
                                                                                                                                                      conventional device device
   or Zot   Z    +       +
                   Zoog21 + Zens
                   Z        Z                +ε
                                           H+e
                                           H    z (da21 +d
                                                  (d       22 )
                                                        +dy)       7
              p2              g22
                                                                                        by aa factor
                                                                                        by     factor larger       than α
                                                                                                         larger than      a2.2 .
                                                                      (15)
                                                                      (15)

where Z,,
where           Zg1,
         Z p2 , Z       and Zg;
                  g21 , and          are the
                               Zg22 are    the static
                                                static piezoelectric
                                                       piezoelectric material
                                                                       material                  V. M
                                                                                                 V. MOTIONAL-TO-STATIC      CAPACITANCE
                                                                                                      OTIONAL - TO -S TATIC C            RATIO
                                                                                                                              APACITANCE R ATIO
and gap
and  gap impedances,
           impedances, respectively,
                              respectively, associated
                                                 associated with
                                                             with the
                                                                    the capaci-
                                                                         capaci-
tors in
tors in Fig.
         Fig. 2(b).
                2(b). AsAs shown,
                              shown, gaps
                                        gaps modify
                                                modify the
                                                         the effective
                                                              effective output
                                                                          output             As mentioned
                                                                                             As    mentioned in       in Section
                                                                                                                           Section I,   I, the
                                                                                                                                             the motional-to-static
                                                                                                                                                    motional-to-static capac-  capac-
current by
current   by thethe now
                     now familiar         factor α,
                              familiar factor       a, yielding
                                                       yielding anan effective
                                                                       effective        itance ratio
                                                                                        itance      ratio (C      x /Co ) provides
                                                                                                               (C,/C,)       provides aa measuremeasure of    of thethe maximum
                                                                                                                                                                          maximum
coupling factor
coupling    factor given
                     given by  by                                                       distortion-free filter
                                                                                        distortion-free          filter bandwidth
                                                                                                                         bandwidth achievable
                                                                                                                                          achievable by         resonators using
                                                                                                                                                            by resonators        using
                                     Roe                                             aa given
                                                                                            given input/output
                                                                                                      input/output (I/O)   (I/O) transducer
                                                                                                                                     transducer type.  type. Perhaps
                                                                                                                                                               Perhaps the  the sim-
                                                                                                                                                                                  sim-
                                       Roe
                                                 ∂φ(r )                                 plest
                                                                                        plest way way to    to determine
                                                                                                                 determine this    this ratio
                                                                                                                                          ratio for for the
                                                                                                                                                          the capacitive-piezo
                                                                                                                                                                 capacitive-piezo
        ηsame     =  α
          Sense =a exo   · e 31 · π  |         r
                                             (v 20       +  φ(r
                                                   ∂r 1 ge ))ar
                                                                )  dr        (16)
                                                                            (16)
                                                                                        transducer is
                                                                                        transducer         is to
                                                                                                               to first
                                                                                                                   first generate
                                                                                                                          generate aa classic
                                                                                                                                           classic Butterworth
                                                                                                                                                        Butterworth Van   Van Dyke
                                                                                                                                                                                 Dyke
                                      Rie
                                                                                         (BVD) equivalent
                                                                                        (BVD)        equivalent circuitcircuit modeling
                                                                                                                                  modeling the    the impedance
                                                                                                                                                        impedance of    of aa single
                                                                                                                                                                                single
where η
where   75ense
         Sense is1s shown
                     shown in  in Fig.
                                   Fig. 2(c)
                                         2(c) with
                                               with C Cy;o2 equal
                                                             equal to  to the
                                                                          the series
                                                                               series
                                                                                        one of
                                                                                        one     of itsits ports,
                                                                                                             ports, with
                                                                                                                       with all all other
                                                                                                                                      other ports         grounded, using
                                                                                                                                                ports grounded,           using the the
combination of
combination      of CC2,     Cg21,
                        p2 , C        and C
                               g21 , and    Cg2o.
                                              g22 .
                                                                                        transformations shown
                                                                                        transformations             shown in   in Fig.
                                                                                                                                    Fig. 6. 6. Here,
                                                                                                                                                Here, two  two capacitors,
                                                                                                                                                                  capacitors, C    Cg1g1
   Similar  to η
   Similar to      Drive , η
                 #pripe,    HSense
                              Sense is1S proportional
                                         proportional to              and α.
                                                           to ee3;31 and    a. From
                                                                               From
                                                                                         (= C
                                                                                        (=       g11 +
                                                                                               Cg11     + C     g21 ) and
                                                                                                             Cg21)      and C    g2 (= C
                                                                                                                              Cgo(=           g12 +
                                                                                                                                           Cg12     + C   g22 ), model
                                                                                                                                                        Cg22),     model the the air-
                                                                                                                                                                                   air-
the equivalent
the  equivalent circuit,
                    circuit, thethe input
                                     input port-to-output
                                              port-to-output port   port motional
                                                                           motional
                                                                                        gaps in
                                                                                        gaps     in series
                                                                                                      series withwith thethe input/output
                                                                                                                               input/output ports,  ports, cf.
                                                                                                                                                             cf. Fig.
                                                                                                                                                                  Fig. 2;2; and
                                                                                                                                                                             and thethe
resistance
resistance of  of the
                    the resonator
                           resonator can  can therefore
                                                  therefore be   be determined
                                                                        determined
                                                                                        capacitor C
                                                                                        capacitor        Cp,p (=(= C Cp1p1 ++ C   p2 ) in
                                                                                                                               Cp2)     in shunt
                                                                                                                                             shunt with
                                                                                                                                                      with thethe motional
                                                                                                                                                                    motional LCR  LCR
according to
according    to
                                                                                        models the
                                                                                        models        the static
                                                                                                              static capacitance
                                                                                                                       capacitance of     of thethe piezoelectric          structure.
                                                                                                                                                       piezoelectric structure.
                               Cm
                                         cm                                    (17)     CCg1g1 and
                                                                                                and C   Cgg2 cancan bebe absorbed
                                                                                                                            absorbed into into the the resonator
                                                                                                                                                         resonator branches
                                                                                                                                                                       branches to    to
                            Rm =                                               (17)
                                 ηNSensell
                                    Sense ηDrive
                                            Drive                                       form an
                                                                                        form     an equivalent
                                                                                                       equivalent circuit,
                                                                                                                         circuit, shown
                                                                                                                                     shown in   in Fig.
                                                                                                                                                     Fig. 6(c),
                                                                                                                                                            6(c), with
                                                                                                                                                                    with modified
                                                                                                                                                                            modified
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464                                                                                                    JOURNAL OF
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                                                                                                                                                                  APRIL 2015
                                                                                                                                                                        2015




                          a="                                                                                capacitive-gap alone.
                                                                                                            capacitive-gap             alone. The  The simulations
                                                                                                                                                          simulations employ  employ AlN   AIN rings
                                                                                                                                                                                                   rings for  for
              100 — [RIN == C.                                                                               the d
                                                                                                            the    d3;31 piezoelectric-based
                                                                                                                          piezoelectric-based transducers, transducers, and    and aa polysilicon
                                                                                                                                                                                        polysilicon ring    ring
                 iL . ==T                                                                                    for the
                                                                                                                  the capacitive-gap
                                                                                                                         capacitive-gap transducedtransduced one,   one, shown
                                                                                                                                                                            shown in  in Fig.
                                                                                                                                                                                          Fig. 4(b).
                                                                                                                                                                                                 4(b). Each
                                                                                                                                                                                                          Each
                                                                     me                   oot


                       ——      i                                     Pi ezoeleptric
                                                                                 tri            Ji          for
               101+       Capacitive-Piezoelectric                                                          ring,     regardless of
                                                                                                            ring, regardless             of material,
                                                                                                                                              material, has  has anan inner
                                                                                                                                                                        inner radius
                                                                                                                                                                                  radius andand thickness
                                                                                                                                                                                                   thickness
                    143                                                                          ]           of 25.6μm
                                                                                                            of   25.6um and      and 1.5μm,
                                                                                                                                         1.5um, respectively;
                                                                                                                                                     respectively; but     but differing
                                                                                                                                                                                 differing ringring widths
                                                                                                                                                                                                       widths
                                                                                                             of 5μm
                                                                                                            of    Sum for    for AlN AIN and  and 4.3μm
                                                                                                                                                      4.3um for    for polysilicon,
                                                                                                                                                                         polysilicon, both   both chosen
                                                                                                                                                                                                       chosen
      x       orl                                                                                            to achieve
                                                                                                            to    achieve aa 1.2-GHz  1.2-GHz resonance
                                                                                                                                                     resonance frequency
                                                                                                                                                                       frequency using  using the the samesame
      So     001                                                                                1
                                                                                                            22"nd radial-contour
                                                                                                                    radial-contour mode       mode shape,
                                                                                                                                                        shape, neglecting
                                                                                                                                                                    neglecting the   the effects
                                                                                                                                                                                           effects of  of DC DC
                                                                                                            bias-induced
                                                                                                            bias-induced electrical electrical spring
                                                                                                                                                    spring softening
                                                                                                                                                               softening inherent
                                                                                                                                                                               inherent to  to capacitive-
                                                                                                                                                                                                capacitive-
            0.001                                                                                            gap transduced
                                                                                                            gap     transduced resonators.
                                                                                                                                         resonators. In    In addition,
                                                                                                                                                                addition, the   the electrodes
                                                                                                                                                                                     electrodes for    for thethe
                                                                                                            polysilicon
                                                                                                            polysilicon resonator resonator are    are assumed
                                                                                                                                                         assumed to      to bebe placed
                                                                                                                                                                                    placed bothboth inside
                                                                                                                                                                                                        inside
           0.0001                                                                                J           and outside
                                                                                                            and     outside the   the ring,
                                                                                                                                        ring, similar
                                                                                                                                                 similar to  to [37].
                                                                                                                                                                 [37]. As As expected,
                                                                                                                                                                               expected, the  the (C     x /Co )
                                                                                                                                                                                                     (Cy/C,)
       0.00001                                                                                   J           of the
                                                                                                            of   the capacitive-piezo
                                                                                                                        capacitive-piezo transducer transducer depends
                                                                                                                                                                     depends on    on gap
                                                                                                                                                                                        gap spacing,
                                                                                                                                                                                              spacing, but   but
                     0          50             100             150                            250            not as
                                                                                                            not    as strongly
                                                                                                                        strongly as    as one
                                                                                                                                            one might
                                                                                                                                                  might think,
                                                                                                                                                            think, mainly
                                                                                                                                                                      mainly because
                                                                                                                                                                                  because C   C,o drops
                                                                                                                                                                                                    drops by   by
                                     Gap Spacing        (d=d=d)        (nm)                                  the same
                                                                                                            the    same ratioratio α  a asas the
                                                                                                                                              the electromechanical
                                                                                                                                                    electromechanical coupling    coupling coefficients
                                                                                                                                                                                               coefficients
                                                                                                             when the
                                                                                                            when        the gapgap spacing
                                                                                                                                       spacing increases.
                                                                                                                                                    increases. Even  Even so,  so, aa capacitive-piezo
                                                                                                                                                                                        capacitive-piezo
Fig. 7.
Fig.   7.     Comparison of
              Comparison       of (C  x /C o ) of
                                   (Cx/C,)     of capacitive-gap
                                                   capacitive-gap with   with V  VpP ofof 5V
                                                                                          5V toto 30V,
                                                                                                    30V,
piezoelectric,
piezoelectric, and  and capacitive-piezo
                          capacitive-piezo transducers
                                                transducers as   as aa function
                                                                        function of  of gap
                                                                                         gap spacing,
                                                                                              spacing,       transducer with
                                                                                                            transducer          with aa 200  200 nm nm gapgap spacing
                                                                                                                                                                 spacing achieves
                                                                                                                                                                              achieves aa (C        x /Co ) of
                                                                                                                                                                                                (C,/C,)         of
all for
all  for 1.2-GHz
           1.2-GHz designs.
                        designs. Capacitive-piezo
                                    Capacitive-piezo transducers
                                                             transducers equipped
                                                                              equipped withwith small
                                                                                                  small      0.4%, for
                                                                                                            0.4%,        for which
                                                                                                                               which aa capacitive-gap
                                                                                                                                               capacitive-gap (alone)  (alone) transducer
                                                                                                                                                                                    transducer with  with dc   dc
gaps maintain
gaps     maintain highhigh (C   x /C o ), although
                             (Cx/C,),     although lower
                                                       lower thanthan piezoelectric
                                                                        piezoelectric ones,ones, with
                                                                                                    with    bias
                                                                                                            bias of  of 15V15V (V  (VpP =   = 15V)
                                                                                                                                                15V) would
                                                                                                                                                         would require
                                                                                                                                                                     require aa much much smaller
                                                                                                                                                                                              smaller gap    gap
both    orders of
both orders      of magnitude
                      magnitude higher
                                    higher than
                                             than that
                                                    that ofof capacitive-gap
                                                               capacitive-gap transducers
                                                                                    transducers withwith
gaps greater
gaps    greater than
                   than 30nm.
                          30nm. At At V VpP =30V,
                                             =30V, the the capacitive-gap
                                                             capacitive-gap transducer
                                                                                  transducer attains
                                                                                                 attains     spacing of
                                                                                                            spacing        of 16 16 nm.
                                                                                                                                      nm. ThisThis relaxed
                                                                                                                                                      relaxed gap  gap spacing
                                                                                                                                                                          spacing constitutes
                                                                                                                                                                                      constitutes aa dis-   dis-
larger (C
larger       x /C o ) than
          (Cy/C,)     than the
                            the piezoelectric
                                 piezoelectric ones
                                                  ones when
                                                          when itsits gap
                                                                      gap isis scaled
                                                                                scaled below
                                                                                         below 17nm.
                                                                                                 17nm.       tinct advantage
                                                                                                            tinct    advantage of       of capacitive-piezo
                                                                                                                                            capacitive-piezo transducers
                                                                                                                                                                      transducers over   over capacitive-
                                                                                                                                                                                                capacitive-
                                                                                                             gap ones.
                                                                                                            gap     ones.
                                                                                                                It should
                                                                                                                It    should be    be noted
                                                                                                                                         noted that that if if gap
                                                                                                                                                                gap spacing
                                                                                                                                                                       spacing had   had no no limit,
                                                                                                                                                                                                  limit, the  the
component values
component values                                                                                             capacitive-gap transducer
                                                                                                            capacitive-gap             transducer can    can actually
                                                                                                                                                                 actually outperform
                                                                                                                                                                              outperform all     all others,
                                                                                                                                                                                                       others,
                                            2
                               Co g + C+Cp\>
                               C                                                                             with aa (C
                                                                                                            with              x /Co ) that
                                                                                                                          (Cy/C,)        that bests      even the
                                                                                                                                                bests even        the conventional
                                                                                                                                                                        conventional piezoelectric
                                                                                                                                                                                             piezoelectric
                Lo
                Lx == LLnm · (222)        p       = L
                                                  =   Lym · a2
                                                             α −2
                                    cs
                                    Cg
                                                                                                     19)
                                                                                                     (19)    device when
                                                                                                            device        when the  the gap gap isis scaled
                                                                                                                                                       scaled below
                                                                                                                                                                  below 17nm 17nm with with V  VpP =  = 30V.
                                                                                                                                                                                                           30V.
                                                                                                            For practical
                                                                                                            For                    applications, however,
                                                                                                                   practical applications,               however, the   the utility
                                                                                                                                                                              utility ofof this
                                                                                                                                                                                            this approach
                                                                                                                                                                                                   approach
                                                 Cc?2
                                                 Cg                                                          must be   be weighed
                                                                                                                            weighed against against any any yield
                                                                                                                                                               yield loss
                                                                                                                                                                       loss resulting
                                                                                                                                                                               resulting fromfrom the the useuse
                Cxx =
                C   =Cn-
                      Cm ·                          £                                                       must
                               (C
                               (Ceg +    C p )(C g +
                                      +Cp)(Ce         + CCp,p +
                                                              + C  m)
                                                                 Cp)                                         of such
                                                                                                            of   such aa small small gap.gap.
                                  (C    +
                                  (Ceg + Cp)p
                                           C   )       2
                    = Cm ·                             · α2                                          (20)
                                                                                                     (20)
                             (Cgg +
                             (C    + C Cpp ++ CCi)m )                                                       A. kKZe2f ff and
                                                                                                            A.           and Effect of Load
                                                                                                                             Effect of      Capacitance C
                                                                                                                                       Load Capacitance Cp,L
                                           2
                R,  =  Ro
                               Ce g ++ CCp)
                               C
                             (5°)                 =Ry Rm ·a? α −2
                                          p
                R x = Rm ·                       =                                                   21)
                                                                                                     (21)       Although aa capacitive-piezo
                                                                                                                Although              capacitive-piezo resonator’sresonator’s (C         x /Co ) does
                                                                                                                                                                                    (C,/C,)         does get get
                                    C
                                    Ceg                                                                     worse as its electrode-to-resonator gap increases, the degra-
                                                                                                            worse      as   its   electrode-to-resonator                gap    increases,         the   degra-
where C
where  C,g is
            is the
                the total
                    total capacitance
                          capacitance contributed
                                      contributed by
                                                  by the
                                                     the air
                                                         air gaps
                                                             gaps                                           dation rate
                                                                                                            dation     rate is  is tempered
                                                                                                                                      tempered by       by thethe fact
                                                                                                                                                                    fact that
                                                                                                                                                                           that C  C,o also
                                                                                                                                                                                          also decreases
                                                                                                                                                                                                   decreases
on both
on both sides:
         sides:                                                                                             alongside C
                                                                                                            alongside        Cy,x , albeit
                                                                                                                                      albeit moremore slowly.
                                                                                                                                                           slowly. This,
                                                                                                                                                                       This, however,
                                                                                                                                                                                however, is      is the
                                                                                                                                                                                                     the case
                                                                                                                                                                                                           case
                                                                                                            only if
                                                                                                            only    if the
                                                                                                                        the device
                                                                                                                               device capacitance
                                                                                                                                             capacitance dominates
                                                                                                                                                                 dominates over  over the the shunt
                                                                                                                                                                                                  shunt load
                                                                                                                                                                                                           load
         Cyg =
         C     = (C1       C g2 // (Cq1
                    C g1 ·C2)         C g1 ++ CC2)g2 =  = CCyg1 | C
                                                                  Ceag2        (22)
                                                                               (22)
                                                                                                            (i.e., parasitic)
                                                                                                            (i.e.,  parasitic) capacitance
                                                                                                                                       capacitance C         CyL from
                                                                                                                                                                  from interconnects
                                                                                                                                                                           interconnects and       and bond
                                                                                                                                                                                                          bond
and where
and   where the the fact
                     fact that
                           that C    g /(C g +
                                  C¢/(Cy     + C Cp)p ) == αa has
                                                                has been
                                                                      been used.
                                                                              used.                         pads,     shown in
                                                                                                            pads, shown             in Fig.
                                                                                                                                          Fig. 2. 2. Since
                                                                                                                                                        Since C   C,o will
                                                                                                                                                                        will be be smaller
                                                                                                                                                                                      smaller than   than thethe
From (21),
From    (21), thethe addition
                      addition of  of air
                                        air gaps
                                             gaps increases
                                                     increases the the motional
                                                                         motional                           original C
                                                                                                            original      C,p of  of thethe device,
                                                                                                                                                device, it   it will
                                                                                                                                                                 will bebe much
                                                                                                                                                                              much less less likely
                                                                                                                                                                                                  likely that
                                                                                                                                                                                                            that
                    −2 . This matches (17) with the recognition that
resistance
resistance byby α  a2.   This matches (17) with the recognition that                                        it will
                                                                                                            it  will dominate
                                                                                                                       dominate over      over C   Cy,L , so
                                                                                                                                                           so aa formulation
                                                                                                                                                                   formulation that   that includes
                                                                                                                                                                                               includes the  the
the equivalent
the  equivalent electromechanical
                    electromechanical coupling
                                             coupling coefficients
                                                           coefficients at at both
                                                                               both                         effect of
                                                                                                            effect    of C CyL is is ofof interest.
                                                                                                                                            interest.
input and
input  and output
              output ports      each include
                        ports each      include degradation
                                                   degradation ratiosratios equal
                                                                             equal                              Since practical
                                                                                                                Since    practical ladder  ladder filter
                                                                                                                                                      filter design
                                                                                                                                                               design using
                                                                                                                                                                         using electrically
                                                                                                                                                                                  electrically coupledcoupled
to α.
to a.                                                                                                       piezoelectric         resonators often
                                                                                                            piezoelectric resonators                 often entails
                                                                                                                                                               entails superimposing
                                                                                                                                                                          superimposing the        the series
                                                                                                                                                                                                         series
   Since the
   Since   the effective
                 effective static
                             static capacitance
                                      capacitance at   at the
                                                          the port
                                                               port isis given
                                                                         given byby                         and parallel
                                                                                                            and    parallel resonances
                                                                                                                                  resonances of        of resonators
                                                                                                                                                             resonators used  used in  in thethe ladder,
                                                                                                                                                                                                    ladder, aa
                                                                                                            useful way
                                                                                                            useful     way to    to gauge
                                                                                                                                        gauge the   the electromechanical
                                                                                                                                                            electromechanical coupling    coupling of     of aa
                     Co=(Cp-Cq)/(Cp+
                     C                      Cy)g =
                       o = C p · Cg / C p + C    =C,lIC,
                                                   C p ||C g                                         (23)
                                                                                                     (23)
                                                                                                            given resonator
                                                                                                            given     resonator is       is via
                                                                                                                                              via the
                                                                                                                                                    the separation
                                                                                                                                                            separation between
                                                                                                                                                                            between its     its series
                                                                                                                                                                                                  series andand
the motional-to-static
the motional-to-static capacitance
                        capacitance ratio becomes
                                    ratio becomes                                                           parallel
                                                                                                            parallel resonances.
                                                                                                                         resonances. Here,     Here, larger
                                                                                                                                                          larger separation
                                                                                                                                                                    separation indicates
                                                                                                                                                                                     indicates stronger
                                                                                                                                                                                                      stronger
            C      C            C         ~ C
                                                                                                            coupling. Since
                                                                                                            coupling.       Since the   the introduction
                                                                                                                                              introduction of      of air
                                                                                                                                                                       air gap
                                                                                                                                                                            gap capacitors
                                                                                                                                                                                  capacitors in      in series
                                                                                                                                                                                                         series
                                                 ·aα                                                 (24)
            Cxx    Cim .        Ceg          Cim
                 =     ·                  ≈                                                          (24)   with the
                                                                                                            with     the static
                                                                                                                            static piezoelectric
                                                                                                                                         piezoelectric material material capacitance
                                                                                                                                                                              capacitance normally  normally
            Co,o
            C      CCpp C  g + C p + Cm
                          Co+Cp+Cyu          Cpp
                                             C
                                                                                                            reduces      coupling, it
                                                                                                            reduces coupling,              it should
                                                                                                                                               should also also reduce
                                                                                                                                                                  reduce the the separation
                                                                                                                                                                                  separation between between
where the
where    the last
              last form
                    form holds
                           holds for
                                  for the
                                       the usual
                                            usual case
                                                   case when
                                                          when C C,,m  « CCp.p .                           series and
                                                                                                            series    and parallel
                                                                                                                              parallel resonance
                                                                                                                                             resonance frequencies.
                                                                                                                                                               frequencies.
As expected, (Cx/C,)
As    expected,    (C  /C   )
                      x o approaches the conventional (i.e., con-
                              approaches     the  conventional     (i.e., con-                                  To quantify
                                                                                                                To   quantify this,   this, use
                                                                                                                                              use of of Fig.
                                                                                                                                                          Fig. 6(b)
                                                                                                                                                                 6(b) in in the
                                                                                                                                                                             the circuit
                                                                                                                                                                                   circuit of   of Fig.
                                                                                                                                                                                                    Fig. 1(b)
                                                                                                                                                                                                           1(b)
tacting electrodes)
tacting   electrodes) value
                         value of
                                of (C  m /C p ) when
                                    (C,,/C),)   when C  Cgg 
                                                            > (C(Cpp ++ C   m ),
                                                                          Cy),                              yields for
                                                                                                            yields    for thethe series
                                                                                                                                     series resonance            frequency of
                                                                                                                                                resonance frequency              of the
                                                                                                                                                                                      the device
                                                                                                                                                                                             device
i.e., when the gap spacing is very small.
i.e.,  when   the   gap  spacing   is very   small.                                                                                                                     
    Fig. 7
    Fig.  7 compares
             compares simulated
                            simulated plots
                                         plots ofof (C  x /Co ) versus
                                                     (Cy/C,)    versus gap gap                                                                                          
                                                                                                                                                                                     Cm
spacing d
spacing     d forfor 1.2-GHz
                       1.2-GHz ringring resonators
                                          resonators using
                                                         using three
                                                                  three dif-
                                                                           dif-                                                             1           1            1  1 + C p +C g
                                                                                                                                fs =                           =
ferent transducer
ferent   transducer types:
                        types: piezoelectric,
                                 piezoelectric, capacitive-piezo,
                                                    capacitive-piezo, and  and                                                             2π L x C x               2π          L m Cm
  Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 89 of 148 PageID #: 1614
HUNG AND
HUNG AND NGUYEN:
         NGUYEN: CAPACITIVE-PIEZOELECTRIC
                 CAPACITIVE-PIEZOELECTRIC TRANSDUCERS
                                          TRANSDUCERS FOR
                                                      FOR HIGH-
                                                          HIGH-QQ MICROMECHANICAL
                                                                  MICROMECHANICAL AlN
                                                                                  AIN RESONATORS
                                                                                      RESONATORS                                                                                             465
                                                                                                                                                                                             465



                                             Cim
                                             C                                              on attached-electrode
                                                                                            on    attached-electrode devices,     devices, while while α    a is  is 0.45
                                                                                                                                                                        0.45 forfor aa gap gap
                     = f nom ·.
                     = Jnom            1+
                                        + EE                                       ( 25 )
                                                                                   (25)
                                          C,
                                          C p + Cg
                                              +  Cg
                                                                                            size of
                                                                                            size    of 100  100 nm nm andand cancan be      increased to
                                                                                                                                       be increased          to 0.625
                                                                                                                                                                   0.625 withwith 50  50 nm nm
                                                                                            gap spacing,
                                                                                            gap     spacing, as     as shown
                                                                                                                        shown in   in Fig.
                                                                                                                                        Fig. 3.3. Note
                                                                                                                                                   Note that that losses
                                                                                                                                                                      losses associated
                                                                                                                                                                                 associated
   where
   where                                                                                    with electrodes
                                                                                            with     electrodes are    are eliminated
                                                                                                                             eliminated regardless
                                                                                                                                               regardless of      of whether
                                                                                                                                                                       whether the   the gap
                                                                                                                                                                                           gap
                                                                                            size is
                                                                                            size     is 100 100 nm,nm, 50 50 nm,nm, or  or smaller,
                                                                                                                                             smaller, as   as longlong as  as there
                                                                                                                                                                                there is  is aa
                            fofmnom
                                "Om
                                    = 2π
                                    =
                                      on
                                          1
                                         LC
                                         L m Cm
                                                    1
                                                                                   (26)
                                                                                   (26)     gap. Thus,
                                                                                            gap.    Thus, capacitive-piezo
                                                                                                                 capacitive-piezo transducers
                                                                                                                                          transducers are     are likely
                                                                                                                                                                     likely toto raise
                                                                                                                                                                                   raise thethe
                                                                                            Zep
                                                                                            (k 2
                                                                                               ef f     ·
                                                                                                        -    Q)
                                                                                                             Q)     product.
                                                                                                                    product.      Furthermore,
                                                                                                                                  Furthermore,          very
                                                                                                                                                        very       small
                                                                                                                                                                   small      gaps
                                                                                                                                                                              gaps      might
                                                                                                                                                                                        might
Note that
Note    that (25)
                (25) increases
                      increases as    as the
                                           the air
                                                 air gap
                                                       gap spacings
                                                             spacings increase.
                                                                          increase.         actually enable
                                                                                            actually        enable higher
                                                                                                                      higher coupling
                                                                                                                                 coupling than than attainable
                                                                                                                                                       attainable by     by an
                                                                                                                                                                             an attached-
                                                                                                                                                                                  attached-
This upward
This  upward frequency
                  frequency shiftshift derives
                                        derives from
                                                   from the
                                                          the reactance
                                                               reactance change
                                                                             change         electrode device
                                                                                            electrode         device when
                                                                                                                        when one  one considers
                                                                                                                                         considers that that separating
                                                                                                                                                                 separating the   the metal
                                                                                                                                                                                        metal
introduced by
introduced      by the
                    the air
                          air gaps
                                gaps [39]
                                        [39] and
                                               and should
                                                      should notnot bebe confused
                                                                          confused          from the
                                                                                            from      the piezoelectric
                                                                                                             piezoelectric eliminates
                                                                                                                                 eliminates strainstrain sharing
                                                                                                                                                            sharing between
                                                                                                                                                                          between metal metal
with the
with   the upward
              upward frequency
                          frequency shift shift caused
                                                  caused by  by elimination
                                                                   elimination of  of       and piezoelectric,
                                                                                            and     piezoelectric, allowing allowing more  more strain
                                                                                                                                                    strain in   in thethe piezoelectric,
                                                                                                                                                                            piezoelectric,
electrode mass
electrode     mass loading
                      loading when when electrodes
                                            electrodes are  are separated
                                                                  separated from
                                                                               from         hence stronger
                                                                                            hence       stronger coupling.
                                                                                                                      coupling.
the piezoelectric
the  piezoelectric material.
                       material. When When considering
                                               considering the   the parallel
                                                                      parallel res-
                                                                                 res-           At the
                                                                                                At     the veryvery least,
                                                                                                                       least, useuse of of the
                                                                                                                                             the capacitive-piezo
                                                                                                                                                   capacitive-piezo transducer  transducer
onance frequency,
onance      frequency, the the air-gap
                                 air-gap capacitor
                                             capacitor C   Cyg is
                                                                is essentially
                                                                    essentially in in       allows aa designer
                                                                                            allows             designer to   to trade
                                                                                                                                  trade electromechanical
                                                                                                                                            electromechanical coupling      coupling for     for
series with
series   with thethe load
                     load capacitance
                              capacitance C    Cr.L . Given
                                                       Given this,
                                                               this, the
                                                                       the parallel
                                                                            parallel        (Q—a trade-off
                                                                                            Q—a        trade-off that  that can
                                                                                                                              can greatly
                                                                                                                                     greatly widen
                                                                                                                                                 widen the  the filter
                                                                                                                                                                    filter design
                                                                                                                                                                            design spacespace
resonance      frequency takes
resonance frequency           takes the
                                      the form
                                            form                                            for aa given
                                                                                            for       given technology.
                                                                                                                 technology. For   For example,
                                                                                                                                          example, smallsmall percent
                                                                                                                                                                    percent bandwidth
                                                                                                                                                                                bandwidth
                                                                                           filters that
                                                                                                       that require
                                                                                                                require high
                                                                                                                           high Q   Q resonators         generally do     do not
                                                                                                                                                                               not require
                                                                                                                                                                                      require
                                                                                           filters                                     resonators generally
               1+          Cm
          11  1+                                                                           large coupling,
                                                                                                       coupling, i.e.,  i.e., the
                                                                                                                                the smaller
                                                                                                                                       smaller the  the bandwidth,
                                                                                                                                                           bandwidth, the       the higher
                                                                                                                                                                                       higher
                            Cm

                        p +C g ||C L
                      Cp+CeliCL
                      C                                          Cm                         large
  fp =                                =    nom ·*
                                                                   Cn
                                      =f f nom       1+                         (27)
         2n
         2π           Ly,Cn
                      L m Cm
                                                      1+
                                                          Cpp +
                                                          C    + CC4lICL
                                                                     g ||C L
                                                                                (27)        the needed
                                                                                            the     needed Q,       Q, but
                                                                                                                         but thethe more
                                                                                                                                       more modest
                                                                                                                                                 modest the    the needed
                                                                                                                                                                        needed electro-
                                                                                                                                                                                     electro-
                                                                                            mechanical coupling.
                                                                                            mechanical            coupling. Thus,
                                                                                                                                Thus, given
                                                                                                                                          given that
                                                                                                                                                   that piezoelectric
                                                                                                                                                          piezoelectric resonators
                                                                                                                                                                                 resonators
which also
which    also increases
               increases with
                            with increasing
                                  increasing air
                                              air gap
                                                  gap spacing,
                                                       spacing, but  but not not            generally possess
                                                                                            generally         possess ample
                                                                                                                          ample coupling,
                                                                                                                                     coupling, but but insufficient
                                                                                                                                                          insufficient Q,     Q, even
                                                                                                                                                                                   even if  if aa
as fast
as  fast as
          as (25).
              (25). Thus,
                     Thus, thethe separation
                                  separation between
                                               between thethe series
                                                                series and  and             capacitive-piezo transducer
                                                                                            capacitive-piezo            transducer only  only provides
                                                                                                                                                provides aa tradingtrading of  of coupling
                                                                                                                                                                                   coupling
parallel   resonance frequency
parallel resonance       frequency decreases
                                      decreases with
                                                  with increasing
                                                         increasing gap     gap             for Q,
                                                                                            for   Q, this this trade-off
                                                                                                                 trade-off could
                                                                                                                              could be  be instrumental
                                                                                                                                            instrumental to        to making
                                                                                                                                                                        making possible
                                                                                                                                                                                    possible
spacing.
spacing.                                                                                    the tiny
                                                                                            the    tiny percent
                                                                                                             percent bandwidth
                                                                                                                          bandwidth filters filters needed
                                                                                                                                                       needed for     for RFRF channel-
                                                                                                                                                                                   channel-
   With expressions
   With     expressions for for the
                                 the series
                                      series and
                                               and parallel
                                                    parallel resonance
                                                                resonance                   selecting front-end
                                                                                            selecting        front-end filters
                                                                                                                            filters and
                                                                                                                                      and all
                                                                                                                                            all their
                                                                                                                                                 their associated
                                                                                                                                                         associated benefits             [40].
                                                                                                                                                                            benefits [40].
frequencies, the
frequencies,    the electromechanical
                     electromechanical coupling      factor kk?e2f 4f can
                                           coupling factor            can be  be
                                                                       2
found. In
found.   In particular,
             particular, the
                          the most
                               most recent
                                     recent IEEE
                                             IEEE definition
                                                   definition of of kk?erff f is
                                                                               is
                                                                                                                               VI. F
                                                                                                                               VI. FABRICATION
                                                                                                                                    ABRICATION

                                          fyf p −
                                                =If s
                                              2       2
                                 kopp =
                                 ke2f f =     F—=                                  (28)
                                                                                   (28)         AIN resonators
                                                                                                AlN       resonators employing
                                                                                                                             employing capacitive-piezo
                                                                                                                                                    capacitive-piezo transducerstransducers
                                                f pp2                                       were fabricated
                                                                                            were        fabricated using   using the    the 5-mask,
                                                                                                                                                 5-mask, CMOS-temperature-
                                                                                                                                                                   CMOS-temperature-
                                                                                            compliant process
                                                                                            compliant                      summarized in
                                                                                                              process summarized                  in Fig.
                                                                                                                                                       Fig. 8, 8, where
                                                                                                                                                                    where eacheach column
                                                                                                                                                                                       column
Plugging (25)
Plugging (25) and
              and (27)
                  (27) into
                       into (28)
                            (28) and
                                 and rearranging
                                     rearranging yields
                                                 yields
                                                                                            corresponds to
                                                                                            corresponds          to cross-sections
                                                                                                                      cross-sections along     along different
                                                                                                                                                           different portions
                                                                                                                                                                           portions of   of thethe
2                         Ceg
                          C         CCeg         C p +Cm
                                                 Cp+Cn          (29)                        coupled ring
                                                                                            coupled                resonator array
                                                                                                           ring resonator            array at   at thethe toptop of  of the
                                                                                                                                                                          the figure.
                                                                                                                                                                                figure. The  The
ke2f f = k 2f f,d=0 ·
       =k2                     ·          ·                     (29)
  eff ~ eeff.d=0"     C g¢+Cp
                          +C p Ce+Cy
                                 C g +C L Cpt
                                            C p +C g ||C
                                                 CellCL+CL +C m                             process
                                                                                            process beginsbegins with with blanket
                                                                                                                                blanket depositions
                                                                                                                                              depositions of         of 250
                                                                                                                                                                          250 nm nm silicon
                                                                                                                                                                                        silicon
                                                                                            oxide and
                                                                                            oxide     and 200200 nm nm silicon
                                                                                                                          silicon nitride
                                                                                                                                      nitride overover 6”  6” high-resistance
                                                                                                                                                                high-resistance wafers  wafers
where kk?e2f f,d=0
where           _o is
                    is the
                         the effective
                               effective electromechanical
                                            electromechanical coupling
                                                                    coupling
                                                                                            to serve
                                                                                            to   serve as   as isolation
                                                                                                                 isolation layers.
                                                                                                                                 layers. A    A lift-off
                                                                                                                                                    lift-off process
                                                                                                                                                                 process then then follows
                                                                                                                                                                                       follows
coefficient when
coefficient   when electrodes
                      electrodes are are attached
                                          attached toto the
                                                          the piezoelectric
                                                               piezoelectric
                                                                                            to delineate
                                                                                            to   delineate interconnect
                                                                                                                 interconnect and      and bottom            electrodes composed
                                                                                                                                              bottom electrodes               composed of       of
material, i.e.,
material,  i.e., without
                 without gaps,
                            gaps, so
                                   so with
                                       with C Cyg equal
                                                  equal toto infinity.
                                                             infinity. When
                                                                       When
                                                                                             subsequent 30
                                                                                            subsequent          30 nm-thick
                                                                                                                     nm-thick Al       Al andand 60   60 nm-thick
                                                                                                                                                            nm-thick Ni     Ni evaporated
                                                                                                                                                                                 evaporated
the load
the  load capacitance
          capacitance C   Cy,L is
                               is minimized
                                  minimized such such that
                                                       that CC;L « C Cg,g , the
                                                                             the
                                                                                            films, to
                                                                                            films,     to yield
                                                                                                             yield thethe cross-section
                                                                                                                             cross-section in         in Fig.
                                                                                                                                                           Fig. 8(a).8(a). The
                                                                                                                                                                             The Ni  Ni layer
                                                                                                                                                                                           layer
last two
last  two terms
          terms inin (29)
                      (29) become
                             become unity,
                                        unity, and
                                                and
                                                                                            will later
                                                                                            will    later serve
                                                                                                             serve first
                                                                                                                     first asas an an etch
                                                                                                                                        etch stop
                                                                                                                                                stop whenwhen removing
                                                                                                                                                                    removing sacrificial
                                                                                                                                                                                   sacrificial
                                     Cg                                                     molybdenum in
                                                                                            molybdenum             in thethe stem
                                                                                                                                stem anchoranchor trenches;
                                                                                                                                                         trenches; and    and second,
                                                                                                                                                                                 second, as     as
               ef f = ke2f f,d=0 · crc, = ke2f f,d=0 · α
                2
             kkerr  =kirrao                                                        (30)
                                   Cg + C p                                                 aa seed
                                                                                                seed layer
                                                                                                         layer for for electroplating
                                                                                                                          electroplating nickel     nickel stem stem anchor
                                                                                                                                                                          anchor material
                                                                                                                                                                                      material
   From (29)
   From      (29) and
                   and (30),
                          (30), it
                                 it is
                                     is desirable
                                        desirable to  to minimize
                                                           minimize loadload capac-
                                                                               capac-       through these
                                                                                            through        these veryvery trenches.
                                                                                                                              trenches. The      The lift-off
                                                                                                                                                          lift-off process           employs
                                                                                                                                                                        process employs
itance to ensure the condition Cp
itance     to  ensure    the   condition      C        CC,g holds so that k
                                                              holds   so   that      2
                                                                                  k2eoff    I-line photoresist
                                                                                            I-line    photoresist atop   atop lift-off
                                                                                                                                  lift-off resist
                                                                                                                                              resist 3A  3A (LOR3A,
                                                                                                                                                                (LOR3A, MicroChem
                                                                                                                                                                               MicroChem
                                                 L                                     ff
                                                                                            Corp., Newton,
                                                                                            Corp.,      Newton, MA)   MA) [41], [41], to  to realize
                                                                                                                                              realize fine  fine Al/Ni
                                                                                                                                                                    Al/Ni features
                                                                                                                                                                              features with with
differs from
differs             2
           from kk?e f f,d=0
                           _o only
                               only by        factor α.
                                       by aa factor     a. However,
                                                             However, thisthis might
                                                                                might
                                                                                             smooth edges
                                                                                            smooth       edges critical
                                                                                                                   critical forfor goodgood sputtered
                                                                                                                                               sputtered AlN     AIN quality.
                                                                                                                                                                         quality. Fig.
                                                                                                                                                                                     Fig. 9(a)
                                                                                                                                                                                            9(a)
be  difficult to
be difficult    to do
                   do ifif the
                            the resonator
                                resonator size size is
                                                     is small.
                                                          small. For
                                                                  For cases
                                                                       cases where
                                                                                where
                                                                                             shows the
                                                                                            shows       the lift-off
                                                                                                               lift-off photoresist
                                                                                                                           photoresist edge    edge cross-section
                                                                                                                                                          cross-section after   after metal
                                                                                                                                                                                          metal
CrL is
C     is large
           large and
                  and smaller
                          smaller gapsgaps areare not
                                                   not practical,
                                                           practical, arraying
                                                                        arraying of    of
                                                                                            evaporation and
                                                                                            evaporation          and before
                                                                                                                        before lift-off,
                                                                                                                                      lift-off, where
                                                                                                                                                    where the    the concave
                                                                                                                                                                        concave sidewall
                                                                                                                                                                                      sidewall
devices, as
devices,     as done
                done in in [25]
                            [25] and
                                   and [7],
                                         [7], can
                                               can effectively
                                                    effectively raise
                                                                    raise the
                                                                            the value
                                                                                 value
                                                                                            of the photoresist effectively separates the metal
                                                                                            of    the    photoresist        effectively          separates         the    metal traces
                                                                                                                                                                                    traces to   to
of C
of  Cg.g .
                                                                                            remain
                                                                                            remain and   and metals
                                                                                                                metals to  to be
                                                                                                                               be removed
                                                                                                                                     removed by       by photoresist
                                                                                                                                                           photoresist removal.
                                                                                                                                                                             removal. The    The
                                                                                            rather
                                                                                            rather thinthin interconnect
                                                                                                               interconnect and      and bottom
                                                                                                                                            bottom electrodes
                                                                                                                                                          electrodes reduce reduce surface
                                                                                                                                                                                       surface
B. Coupling
B. Coupling Versus
            Versus Q
                   Q Trade-Off
                     Trade-Off                                                              topography, which serves two purposes: it improves step
                                                                                            topography,           which      serves        two       purposes:         it   improves         step
   Whether or
   Whether     or not
                   not C CpL  « C  Cg,g , introduction
                                            introduction of  of capacitive-
                                                                 capacitive-                coverage of
                                                                                            coverage        of the
                                                                                                                 the thin
                                                                                                                       thin sacrificial
                                                                                                                               sacrificial Mo    Mo to   to bebe deposited
                                                                                                                                                                    deposited next;next; and  and
piezo transducers will most likely reduce the effective electro-
piezo  transducers   will   most  likely    reduce   the  effective  electro-               perhaps
                                                                                            perhaps more  more importantly,
                                                                                                                    importantly, it      it helps
                                                                                                                                             helps to   to avoid
                                                                                                                                                             avoid poor poor AlN
                                                                                                                                                                               AIN quality
                                                                                                                                                                                        quality
mechanical coupling
mechanical      coupling coefficient,
                            coefficient, essentially
                                              essentially trading
                                                             trading itit for
                                                                           for              near the
                                                                                            near     the edges
                                                                                                           edges of  of the
                                                                                                                          the bottom
                                                                                                                                 bottom electrodes.
                                                                                                                                              electrodes. If       If thicker
                                                                                                                                                                       thicker electrodes
                                                                                                                                                                                  electrodes
higher Q.
higher   Q. The
             The good
                    good news
                            news is is that
                                         that the
                                                the trade
                                                     trade isis not
                                                                not one-to-
                                                                      one-to-                are desired
                                                                                            are    desired for   for lower
                                                                                                                        lower interconnect
                                                                                                                                    interconnect resistance,                  planarization
                                                                                                                                                           resistance, planarization
one. Specifically,
one.  Specifically, theoretical
                      theoretical prediction
                                     prediction setssets the
                                                          the QQ ceiling
                                                                  ceiling ofof               steps, e.g.,
                                                                                            steps,     e.g., using
                                                                                                                using chemical
                                                                                                                          chemical mechanical
                                                                                                                                           mechanical polishing polishing (CMP) (CMP) can     can
AIN resonators
AlN   resonators tenten toto twenty
                              twenty timestimes higher
                                                   higher than
                                                            than measured
                                                                   measured                 be incorporated.
                                                                                            be
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466
466                                                                                                           JOURNAL OF
                                                                                                              JOURNAL OF MICROELECTROMECHANICAL
                                                                                                                         MICROELECTROMECHANICAL SYSTEMS,
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                                                                                                                                                              24, NO.
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                                                                                                                                                                      2, APRIL
                                                                                                                                                                         APRIL 2015
                                                                                                                                                                               2015



       Aluminum         Top         No Electrode Over                     Central Stem




                                                             Sa
           Electrode                  Coupling         Beam
                                                                                                                                                                                        Mo
                                                                                    rd


          n-Quarter-Wavelength                       Ring            Bottom Electrode
                Support Beam                                         and Interconnect

              SiN                                               Ni


 A                     a                                                                                 -
                                                       (a)




                                                Al




                                                       ©

                                                        Remaining




 FE                                             ssw | 1
                                 =                             oc



                                                       (d)
                                                                                                                                          Bottom Al                               Top Al                                     Ni
                                                                                                                                          Electrodes                            Electrodes                                Anchor


                                                                                                                                I                           [PAAR
                                                               Mo                                                                                 \,        —                      Air Gaps




                                                       (©                                                                                                                      0

Fig. 8.
Fig.  8. Fabrication
             Fabrication processprocess flow flow forfor capacitive-piezo
                                                           capacitive-piezo AlN      AIN resonators
                                                                                            resonators with  with electroplated
                                                                                                                   electroplated Ni   Ni anchors
                                                                                                                                            anchors and and MoMo sacrificial
                                                                                                                                                                    sacrificial material
                                                                                                                                                                                   material dry dry released
                                                                                                                                                                                                      released in  in XeF
                                                                                                                                                                                                                        XeF,.2 . Each
                                                                                                                                                                                                                                  Each
column corresponds
column      corresponds to      to one
                                     one cross-section
                                            cross-section depicteddepicted in   in the
                                                                                     the top
                                                                                           top ring
                                                                                                 ring resonator
                                                                                                        resonator array.
                                                                                                                      array. Cross-section
                                                                                                                                Cross-section A:    A: areas
                                                                                                                                                          areas without
                                                                                                                                                                   without top top electrodes,
                                                                                                                                                                                     electrodes, such such as as coupling
                                                                                                                                                                                                                  coupling beam   beam
of resonator
of  resonator arrays
                  arrays and  and filters,
                                      filters, and
                                                 and part
                                                        part of of wine-glass
                                                                      wine-glass disk disk resonators;
                                                                                             resonators; cross-section
                                                                                                               cross-section B:  B: areas
                                                                                                                                      areas with
                                                                                                                                               with toptop electrodes;
                                                                                                                                                             electrodes; cross-section
                                                                                                                                                                              cross-section C:    C: anchors.
                                                                                                                                                                                                       anchors. (continued
                                                                                                                                                                                                                    (continued on     on
next column).
next   column). (a)  (a) Deposit
                           Deposit 250nm 250nm oxide oxide andand 200nm200nm nitride
                                                                                 nitride on on high
                                                                                                 high resistive
                                                                                                         resistive wafers
                                                                                                                     wafers as as isolation
                                                                                                                                   isolation layers,
                                                                                                                                                 layers, followed
                                                                                                                                                           followed by        lift-off patterning
                                                                                                                                                                          by lift-off    patterning of  of 20nm
                                                                                                                                                                                                            20nm Al/60nm
                                                                                                                                                                                                                       Al/60nm Ni.   Ni.
(b) Sputter
(b)  Sputter sacrificial
                sacrificial Mo   Mo and  and pattern
                                                pattern viavia wetwet etch.
                                                                         etch. (c)
                                                                                 (c) Sputter
                                                                                       Sputter thethe following
                                                                                                        following films
                                                                                                                      films inin sequence:
                                                                                                                                  sequence: AlN,  AIN, Mo,Mo, Al,Al, Mo,
                                                                                                                                                                       Mo, andand PECVD
                                                                                                                                                                                    PECVD oxide. oxide. (d)(d) Pattern
                                                                                                                                                                                                                Pattern oxide oxide as as
hard mask
hard   mask to to dry
                   dry etch
                          etch Mo/Al/Mo/AlN.
                                  Mo/Al/Mo/AIN. The         The etchetch stops
                                                                            stops onon either
                                                                                         either the
                                                                                                  the first
                                                                                                       first sacrificial
                                                                                                              sacrificial Mo
                                                                                                                           Mo layer
                                                                                                                                  layer oror the
                                                                                                                                              the nitride
                                                                                                                                                   nitride isolation
                                                                                                                                                              isolation layer.
                                                                                                                                                                           layer. (e)
                                                                                                                                                                                    (e) Sputter
                                                                                                                                                                                          Sputter 2020 nmnm Mo Mo to to electrically
                                                                                                                                                                                                                          electrically
connect the
connect     the entire
                 entire wafer
                            wafer for  for electroplating.
                                            electroplating. (f)      (f) Etch
                                                                         Etch away
                                                                                 away Mo  Mo within
                                                                                                within the the anchor
                                                                                                                anchor trenches
                                                                                                                          trenches to  to expose
                                                                                                                                            expose thethe underneath
                                                                                                                                                            underneath Ni    Ni layer
                                                                                                                                                                                  layer as as seed
                                                                                                                                                                                              seed layer
                                                                                                                                                                                                      layer for
                                                                                                                                                                                                              for electroplating.
                                                                                                                                                                                                                    electroplating.
(g) Electroplate
(g)  Electroplate Ni    Ni from
                             from the  the bottom
                                             bottom to   to fill
                                                             fill the
                                                                    the trenches,
                                                                          trenches, using
                                                                                        using Ni Ni onon the
                                                                                                           the interconnect
                                                                                                                interconnect layerlayer as as seed
                                                                                                                                               seed layer.
                                                                                                                                                      layer. TheThe toptop view
                                                                                                                                                                            view of of the
                                                                                                                                                                                         the anchor
                                                                                                                                                                                              anchor after
                                                                                                                                                                                                         after this
                                                                                                                                                                                                                 this step
                                                                                                                                                                                                                         step can
                                                                                                                                                                                                                                can bebe
seen in
seen   in Fig.
           Fig. 10(a).
                 10(a). (h) (h) Pattern
                                  Pattern and  and remove
                                                     remove thin  thin Mo,
                                                                         Mo, thethe remaining
                                                                                      remaining oxideoxide mask,
                                                                                                              mask, andand the
                                                                                                                            the top
                                                                                                                                  top AlAl electrodes
                                                                                                                                             electrodes fromfrom thethe coupling
                                                                                                                                                                          coupling beamsbeams andand the
                                                                                                                                                                                                       the areas
                                                                                                                                                                                                            areas of of wine-glass
                                                                                                                                                                                                                           wine-glass
disks without
disks    without toptop electrodes.
                           electrodes. (i)    (i) Pattern
                                                   Pattern PR  PR to  to cover
                                                                          cover exposed
                                                                                   exposed nitride/oxide
                                                                                                nitride/oxide layers.
                                                                                                                   layers. Remove
                                                                                                                             Remove thin  thin MoMo layer
                                                                                                                                                       layer andand the
                                                                                                                                                                      the remaining
                                                                                                                                                                            remaining oxide oxide layer
                                                                                                                                                                                                    layer on on devices
                                                                                                                                                                                                                  devices via  via dry
                                                                                                                                                                                                                                     dry
etch. The
etch.   The etch
              etch stops
                     stops on  on the
                                    the barrier
                                          barrier Mo Mo layer
                                                            layer or  or on
                                                                          on AlN
                                                                              AIN where
                                                                                      where thethe remaining
                                                                                                     remaining oxideoxide has
                                                                                                                            has been
                                                                                                                                  been removed
                                                                                                                                          removed in   in the
                                                                                                                                                           the previous
                                                                                                                                                                 previous step.
                                                                                                                                                                              step. (j)
                                                                                                                                                                                      (j) Dry
                                                                                                                                                                                           Dry release
                                                                                                                                                                                                release devices
                                                                                                                                                                                                           devices in   in XeF
                                                                                                                                                                                                                             XeF/Ny
                                                                                                                                                                                                                                  2 /N2
mixed gases;
mixed     gases; remove
                   remove PR.    PR.



   After bottom
   After    bottom electrode
                       electrode formation,
                                    formation, 250    250 nm nm Mo  Mo is is then
                                                                              then                                     orientation of
                                                                                                                       orientation    of the
                                                                                                                                          the Mo
                                                                                                                                               Mo surface
                                                                                                                                                    surface plane
                                                                                                                                                               plane toto one
                                                                                                                                                                          one more
                                                                                                                                                                                more suitable
                                                                                                                                                                                        suitable for
                                                                                                                                                                                                   for
sputtered at
sputtered    at 200
                200 °C°C to
                          to serve
                              serve as
                                     as the
                                         the sacrificial
                                               sacrificial layer
                                                             layer that
                                                                     that defines
                                                                           defines                                     growth of
                                                                                                                       growth    of the
                                                                                                                                    the desired
                                                                                                                                         desired (002)
                                                                                                                                                   (002) AlN.
                                                                                                                                                          AIN. TheThe amount
                                                                                                                                                                       amount of of pre-sputtering
                                                                                                                                                                                    pre-sputtering
the bottom
the  bottom electrode-to-resonator
                electrode-to-resonator spacing. spacing. Sputtered
                                                             Sputtered Mo   Mo is is                                   must be
                                                                                                                       must   be adjusted
                                                                                                                                  adjusted carefully,
                                                                                                                                             carefully, since
                                                                                                                                                          since excessive
                                                                                                                                                                  excessive sputter
                                                                                                                                                                              sputter etching
                                                                                                                                                                                        etching can
                                                                                                                                                                                                  can
used instead
used   instead of of more
                      more common
                               common sacrificial
                                            sacrificial materials,
                                                           materials, suchsuch asas                                    also roughen
                                                                                                                       also  roughen thethe surface
                                                                                                                                              surface enough
                                                                                                                                                        enough to  to degrade
                                                                                                                                                                      degrade AlN
                                                                                                                                                                                AIN quality.
                                                                                                                                                                                       quality.
oxide, silicon,
oxide,   silicon, or
                   or germanium,
                       germanium, to   to attain
                                           attain better
                                                    better c-axis
                                                             c-axis orientation
                                                                      orientation                                         To further
                                                                                                                          To    further improve
                                                                                                                                           improve AlN AIN quality,
                                                                                                                                                               quality, the
                                                                                                                                                                          the Mo
                                                                                                                                                                               Mo is  is patterned
                                                                                                                                                                                           patterned
of the
of the sputtered
        sputtered AlNAIN film.
                            film. Here,
                                  Here, aa slight
                                             slight in-situ
                                                      in-situ sputter
                                                                sputter etch
                                                                          etch via
                                                                                via                                    via aa phosphoric
                                                                                                                       via     phosphoric acid/acetic
                                                                                                                                               acid/acetic acid/nitric
                                                                                                                                                              acid/nitric acid-based
                                                                                                                                                                            acid-based wet wet etch
                                                                                                                                                                                                 etch
argon immediately
argon   immediately before
                         before MoMo sputtering
                                        sputtering seems
                                                       seems to  to improve
                                                                    improve the the                                    into patches
                                                                                                                       into             underlying each
                                                                                                                             patches underlying        each individual
                                                                                                                                                              individual device,
                                                                                                                                                                            device, asas shown
                                                                                                                                                                                           shown in
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HUNG AND
HUNG AND NGUYEN:
         NGUYEN: CAPACITIVE-PIEZOELECTRIC
                 CAPACITIVE-PIEZOELECTRIC TRANSDUCERS
                                          TRANSDUCERS FOR
                                                      FOR HIGH-
                                                          HIGH-QQ MICROMECHANICAL
                                                                  MICROMECHANICAL AlN
                                                                                  AIN RESONATORS
                                                                                      RESONATORS                                                                                                                                   467
                                                                                                                                                                                                                                   467



                                                                              Bottom
       She,                                                                 Electrode         |                                                                                                  Device 2

                                                                               Va

   Metal to Be
    Removed                                                                         Electric Access
                                                                                        LN i -R[e]]
                                                                                         [S{[-Ye1 1oTe I}



                                                                                            . Anchoring
                                                                                                 Point                 Fig. 10.
                                                                                                                       Fig.   10.      (a) Optical
                                                                                                                                       (a)  Optical photo
                                                                                                                                                      photo ofof aa 500-MHz
                                                                                                                                                                    500-MHz ringring resonator    after step
                                                                                                                                                                                      resonator after   step (g)
                                                                                                                                                                                                              (g) in
                                                                                                                                                                                                                  in
                                                                                                                       Fig. 8,
                                                                                                                       Fig.  8, showing
                                                                                                                                 showing the the electroplated
                                                                                                                                                  electroplated nickel
                                                                                                                                                                  nickel anchor
                                                                                                                                                                          anchor at
                                                                                                                                                                                  at the
                                                                                                                                                                                     the center
                                                                                                                                                                                          center with
                                                                                                                                                                                                 with PR
                                                                                                                                                                                                       PR covering
                                                                                                                                                                                                           covering
                                                                                                                       everything else.
                                                                                                                       everything      else. (b)
                                                                                                                                              (b) Devices
                                                                                                                                                  Devices after
                                                                                                                                                            after step
                                                                                                                                                                   step (h),
                                                                                                                                                                        (h), showing
                                                                                                                                                                             showing thethe Mo
                                                                                                                                                                                             Mo patches
                                                                                                                                                                                                 patches patterned
                                                                                                                                                                                                          patterned
                                                                                                                       in step
                                                                                                                       in  step (b).
                                                                                                                                  (b).
Fig. 9.
Fig. 9. (a)
          (a) Cross
              Cross sectional
                      sectional SEM
                                  SEM showing
                                        showing the  the double-layer
                                                         double-layer lift-off
                                                                        lift-off process    that
                                                                                  process that
ensures smooth
ensures  smooth metal
                   metal trace
                           trace edges
                                  edges in
                                         in (b).
                                            (b). (c)
                                                  (c) Bottom
                                                       Bottom electrode
                                                                electrode and
                                                                            and interconnect
                                                                                 interconnect
                                                                                                                       to those
                                                                                                                       to  those formed
                                                                                                                                      formed by      by meremere film film deposition
                                                                                                                                                                               deposition over     over viasvias [43],
                                                                                                                                                                                                                     [43], [44],
                                                                                                                                                                                                                               [44],
configuration for
configuration    for aa ring
                         ring resonator,
                               resonator, showing
                                            showing the  the “landing
                                                              “landing pad”
                                                                        pad” forfor electrical
                                                                                     electrical
contact to
contact  to the
             the eventual
                  eventual anchor
                             anchor atat the
                                         the very
                                               very center.
                                                      center.                                                          since they
                                                                                                                       since     they are  are solid
                                                                                                                                                  solid and  and makemake right right angles
                                                                                                                                                                                          angles to   to the
                                                                                                                                                                                                           the structure
                                                                                                                                                                                                                   structure at      at
                                                                                                                       both the
                                                                                                                       both    the toptop and and bottom
                                                                                                                                                      bottom edges.  edges. Thus,Thus, they  they present
                                                                                                                                                                                                     present more   more ideal ideal
                                                                                                                       fully symmetric
                                                                                                                       fully   symmetric boundary   boundary conditions,
                                                                                                                                                                       conditions, which   which helps helps to   to minimize
                                                                                                                                                                                                                      minimize
 the overhead
the      overhead layout    layout view    view of    of Fig.
                                                            Fig. 10(b),
                                                                      10(b), where  where 5μm-wide
                                                                                                 5um-wide              energy loss
                                                                                                                       energy       loss to  to the
                                                                                                                                                  the substrate
                                                                                                                                                         substrate through  through the   the anchors.
                                                                                                                                                                                                 anchors.
 streets devoid
streets        devoid of      of Mo  Mo separate
                                               separate the     the Mo   Mo patches,
                                                                                   patches, i.e.,    i.e., Mo  Mo         In contrast
                                                                                                                          In     contrast to      to thethe process
                                                                                                                                                                process of      of [42],
                                                                                                                                                                                       [42], where
                                                                                                                                                                                                 where peg    peg filling
                                                                                                                                                                                                                       filling is     is
still     covers >99%
 still covers           >99% of       of the  the entire
                                                      entire wafer wafer area.  area. Such Such pattern-
                                                                                                       pattern-        achieved by
                                                                                                                       achieved         by depositing
                                                                                                                                               depositing polysiliconpolysilicon (at       (at aa highhigh temperature)
                                                                                                                                                                                                                temperature)
 ing helps
ing     helps to     to prevent
                          prevent excessiveexcessive tensile  tensile stressstress (>500MPa)
                                                                                         (>500MPa) in             in   using aa ‘top-down’
                                                                                                                       using           ‘top-down’ LPCVD       LPCVD approach,  approach, the       the present
                                                                                                                                                                                                          present process process
reactively
reactively sputtered sputtered AlN,     AIN, which  which tends   tends to    to occur
                                                                                    occur when  when it      it isis   generates the
                                                                                                                       generates         the peg peg at   at aa muchmuch lower lower CMOS-compatible
                                                                                                                                                                                           CMOS-compatible tem-                 tem-
 sputtered directly
sputtered          directly over   over blanket
                                             blanket Mo     Mo covering
                                                                    covering the       the entire
                                                                                             entire wafer.wafer.       perature by
                                                                                                                       perature        by electroplating
                                                                                                                                               electroplating Ni            Ni intointo the the peg peg hole hole opening,
                                                                                                                                                                                                                        opening,
When
When the      the Mo  Mo is    is patterned
                                     patterned as        as in in Fig.
                                                                     Fig. 10(b), 10(b), AlN  AIN can    can be   be    from the
                                                                                                                       from      the bottom-up.
                                                                                                                                         bottom-up. To          To prepare
                                                                                                                                                                        prepare the    the wafer
                                                                                                                                                                                               wafer for   for electroplat-
                                                                                                                                                                                                                   electroplat-
 sputtered over
sputtered           over it    it with
                                    with low    low stress
                                                         stress (<    (< ±20MPa)
                                                                               £20MPa) and          and high high      ing, 20nm
                                                                                                                       ing,    20nm Mo     Mo is   is sputtered
                                                                                                                                                         sputtered to      to electrically
                                                                                                                                                                                electrically connect connect the     the whole
                                                                                                                                                                                                                             whole
FWHM
FWHM (∼1.7°     (~1.7°).).                                                                                             wafer by
                                                                                                                       wafer      by connecting
                                                                                                                                         connecting the         the individual
                                                                                                                                                                        individual Mo      Mo patches
                                                                                                                                                                                                   patches (Fig.   (Fig. 8(e)).
                                                                                                                                                                                                                              8(e)).
     Before actual
     Before        actual AlN    AIN deposition,
                                           deposition, several   several dummy  dummy runs     runs in   in ourour     This sputtering
                                                                                                                       This     sputtering is        is performed
                                                                                                                                                           performed at         at aa lower
                                                                                                                                                                                          lower chamber
                                                                                                                                                                                                      chamber pressure  pressure
 university tool
university            tool served
                                served to      to dialdial in in the the pressure
                                                                              pressure and      and powerpower         (3 mTorr)
                                                                                                                       (3  mTorr) to       to prevent
                                                                                                                                                prevent sidewall sidewall coverage,
                                                                                                                                                                                 coverage, which    which is     is necessary
                                                                                                                                                                                                                      necessary
 of sputter
of     sputter deposition
                       deposition to          to insure
                                                     insure aa vertical vertical strain  strain gradient
                                                                                                      gradient         to ensure
                                                                                                                       to  ensure nickel nickel is    is electroplated
                                                                                                                                                           electroplated upward     upward from    from the  the seedseed layerlayer
 small enough
small       enough to      to prevent
                                prevent bending bending of     of structures
                                                                     structures into     into electrodes.
                                                                                                 electrodes.           to fill
                                                                                                                       to  fill thethe trench
                                                                                                                                          trench withoutwithout voids.   voids. AfterAfter patterning
                                                                                                                                                                                                patterning thick    thick pho- pho-
With
With properproper dialing,
                         dialing, bending-free
                                        bending-free AlN-only    AlN-only films       films were
                                                                                               were easiereasier       toresist, Mo
                                                                                                                       toresist,      Mo withinwithin the    the trenches
                                                                                                                                                                    trenches is      is dry
                                                                                                                                                                                          dry etched
                                                                                                                                                                                                  etched to    to expose
                                                                                                                                                                                                                     expose Ni      Ni
 to attain
to   attain thanthan filmsfilms withwith attached
                                               attached electrodes.
                                                              electrodes. A          A production
                                                                                         production tool      tool     on interconnects
                                                                                                                       on   interconnects (Fig.       (Fig. 8(f))8(f)) and and thethe Ni Ni anchor
                                                                                                                                                                                              anchor is    is electroplated
                                                                                                                                                                                                                electroplated
 dedicated to
dedicated           to oneone process
                                  process recipe  recipe would would likely likely not   not require
                                                                                                require the     the    from the
                                                                                                                       from     the underlying
                                                                                                                                       underlying Ni          Ni seed
                                                                                                                                                                    seed layerlayer using
                                                                                                                                                                                        using aa solution
                                                                                                                                                                                                       solution of     of nickel
                                                                                                                                                                                                                             nickel
 dummy runs
dummy           runs needed
                          needed to     to dial-in
                                              dial-in the  the tool,
                                                                   tool, here.
                                                                             here.                                     sulfamate at
                                                                                                                       sulfamate         at 6060 °C °C to  to yield
                                                                                                                                                                yield the  the cross-section
                                                                                                                                                                                  cross-section of       of Fig.
                                                                                                                                                                                                               Fig. 8(g)8(g) and  and
     After sputtering
     After      sputtering the      the 1.5-μm
                                            1.5-um AlN     AIN resonator
                                                                     resonator structural
                                                                                        structural mate-  mate-        optical photo
                                                                                                                       optical      photo of    of Fig.
                                                                                                                                                     Fig. 10(a).
                                                                                                                                                               10(a).
rial,     several layers
rial, several           layers are   are sputtered
                                             sputtered in      in sequence:
                                                                     sequence: 250       250 nm  nm Mo   Mo as   as       Another lithography
                                                                                                                          Another           lithography and        and etch etch stepstep is  is used
                                                                                                                                                                                                   used to   to (1)(1) remove
                                                                                                                                                                                                                          remove
aa second
     second sacrificial
                   sacrificial layer   layer between
                                                   between the      the resonator
                                                                            resonator and      and the  the toptop     oxide/Mo/Al from
                                                                                                                       oxide/Mo/Al             from the   the coupling
                                                                                                                                                                 coupling beams   beams of     of any
                                                                                                                                                                                                    any resonator
                                                                                                                                                                                                            resonator array   array
 electrode, 400
electrode,          400 nm   nm Al   Al as   as thethe toptop electrode,
                                                                  electrode, 20        20 nmnm Mo    Mo as   as aa     or filter
                                                                                                                       or  filter in  in order
                                                                                                                                            order to    to electrically
                                                                                                                                                              electrically isolate  isolate the  the input
                                                                                                                                                                                                        input and   and output
                                                                                                                                                                                                                            output
 barrier layer
barrier       layer between
                         between Al        Al and and the the last
                                                                 last layer,
                                                                         layer, which which is         1.2 μm
                                                                                                  is 1.2       ym      ports, and
                                                                                                                       ports,     and (2) (2) toto pattern
                                                                                                                                                     pattern the    the top top electrode
                                                                                                                                                                                  electrode of      of some
                                                                                                                                                                                                        some of     of the
                                                                                                                                                                                                                         the diskdisk
 PECVD oxide
PECVD            oxide deposited
                             deposited at         at 300
                                                       300 °C  °C to  to serve
                                                                            serve as    as anan etch
                                                                                                   etch hard hard      resonators to
                                                                                                                       resonators          to allow
                                                                                                                                                 allow excitation
                                                                                                                                                             excitation of       of wine-glass
                                                                                                                                                                                       wine-glass modes.   modes. At       At thisthis
 mask. At
mask.        At this
                   this point,
                            point, the   the cross-section
                                                 cross-section is         is as as in in Fig.
                                                                                          Fig. 8(c).8(c). The The      point, the
                                                                                                                       point,     the cross-section
                                                                                                                                         cross-section is          is asas inin Fig.
                                                                                                                                                                                  Fig. 8  8 (h).
                                                                                                                                                                                              (h).
 20nm of
20nm        of MoMo between
                        between Al       Al and and oxide
                                                        oxide is  is essential
                                                                      essential for     for two
                                                                                              two reasons.
                                                                                                      reasons.            After aa simple
                                                                                                                          After           simple lithography
                                                                                                                                                        lithography step       step to  to cover
                                                                                                                                                                                             cover the  the exposed
                                                                                                                                                                                                                exposed iso-      iso-
First,
First, it  it prevents
               prevents Al       Al from
                                       from reacting
                                                   reacting with  with PECVDPECVD oxide      oxide duringduring        lation oxide/nitride
                                                                                                                       lation     oxide/nitride layers     layers with  with photoresist,
                                                                                                                                                                                 photoresist, the      the thin
                                                                                                                                                                                                              thin Mo Mo layer layer
 deposition. Second,
deposition.            Second, it      it serves
                                            serves as    as anan etch
                                                                    etch stop  stop whenwhen removing
                                                                                                   removing            and the
                                                                                                                       and   the remaining
                                                                                                                                     remaining oxide     oxide mask mask atop  atop the the structures
                                                                                                                                                                                               structures are    are removed
                                                                                                                                                                                                                        removed
 the remaining
the    remaining oxide      oxide mask  mask before before release.
                                                                 release.                                              by dry
                                                                                                                       by   dry etching
                                                                                                                                   etching (cf.   (cf. Fig.
                                                                                                                                                          Fig. 8(i)).
                                                                                                                                                                   8(i)). This
                                                                                                                                                                             This step,
                                                                                                                                                                                      step, similar
                                                                                                                                                                                                similar to   to the
                                                                                                                                                                                                                  the drydry etchetch
     The oxide
     The      oxide mask   mask is    is then
                                            then patterned
                                                       patterned to      to delineate
                                                                                delineate suspended
                                                                                                 suspended             in step
                                                                                                                       in  step (d),(d), requires
                                                                                                                                             requires that    that Mo Mo and  and Al  Al be be drydry etched
                                                                                                                                                                                                         etched one    one afterafter
 AIN structures
AlN       structures (resonators
                             (resonators and        and coupling
                                                           coupling links),  links), top  top electrodes,
                                                                                                 electrodes,           the other,
                                                                                                                       the   other, and   and thisthis is  is done
                                                                                                                                                                done using using Cl   Cly-based          chemistries with
                                                                                                                                                                                          2 -based chemistries                  with
 and stem
and      stem anchor
                   anchor openings,
                                 openings, all       all atat once.
                                                                once. This This is    is achieved
                                                                                          achieved via      via aa     varying amounts
                                                                                                                       varying       amounts of        of added
                                                                                                                                                            added O      O,2 that
                                                                                                                                                                               that alter
                                                                                                                                                                                        alter etch
                                                                                                                                                                                                 etch selectivities.
                                                                                                                                                                                                         selectivities.
 CF4/CHF3
CF    4 /CHF3 RIE     RIE etchetch that that stops
                                                 stops on   on thethe 20nm
                                                                         20nm Mo      Mo barrier
                                                                                            barrier layer, layer,         The device
                                                                                                                          The       device is     is released
                                                                                                                                                        released by      by etching
                                                                                                                                                                                etching away   away all   all Mo Mo using using aa
 followed by
followed          by drydry etchetch of  of the
                                              the Mo/Al/Mo/AlN
                                                     Mo/Al/Mo/AIN film              film stack
                                                                                            stack without
                                                                                                       without         XeF>/Ny
                                                                                                                       XeF   2 /N2 mixedmixed gas.    gas. AfterAfter the   the sacrificial
                                                                                                                                                                                   sacrificial Mo     Mo is   is completely
                                                                                                                                                                                                                    completely
breaking vacuum, to yield the cross-sections of Fig.
breaking           vacuum,           to     yield       the    cross-sections               of    Fig. 8(d).8(d).      etched, both
                                                                                                                       etched,       both the  the toptop electrode
                                                                                                                                                               electrode and     and the the AlNAIN ring ring are  are entirely
                                                                                                                                                                                                                          entirely
 The multi-layer
The      multi-layer etch       etch process
                                          process stops  stops on   on the the first
                                                                                   first MoMo layerlayer and   and     separate from one another and both are supported via
                                                                                                                       separate       from       one      another        and     both     are    supported           via thethe Ni  Ni
 on the
on    the nitride
             nitride isolation
                           isolation layer  layer in   in places
                                                           places where where Mo      Mo waswas removed
                                                                                                     removed           anchor, as shown in the far right cross-section of Fig. 8(j).
                                                                                                                       anchor,       as    shown         in    the     far    right     cross-section            of   Fig.       8(j).
 in the
in    the previous
             previous step.   step.                                                                                    Here, XeF
                                                                                                                       Here,      XeF, 2 etches
                                                                                                                                              etches Mo     Mo fast  fast andand does does not  not attack
                                                                                                                                                                                                       attack Al,   Al, Ni, Ni, or   or
     Track (c)
     Track       (c) inin Fig.
                            Fig. 8  8 depicts
                                        depicts formation
                                                       formation of      of thethe all-important
                                                                                      all-important peg        peg     AIN. It
                                                                                                                       AlN.     It is
                                                                                                                                    is found
                                                                                                                                        found that   that dehydration
                                                                                                                                                              dehydration baking     baking (120  (120 °C  °C forfor 20 20 min.)
                                                                                                                                                                                                                              min.)
 anchor used in this technology. Similar to the stems of [42],
anchor        used       in   this    technology.             Similar         to   the    stems        of   [42],      significantly improves
                                                                                                                       significantly           improves the       the etchetch selectivity
                                                                                                                                                                                   selectivity of     of MoMo over  over oxideoxide
 this peg
this     peg comprises
                  comprises aa hole         hole filled
                                                      filled withwith aa strong  strong (conductive)
                                                                                              (conductive)             and nitride.
                                                                                                                       and    nitride.
 material that
material          that adheres
                           adheres well     well to   to both
                                                            both the  the substrate
                                                                               substrate and    and to   to the the       Fig. 8(j)
                                                                                                                          Fig.       8(j) also also emphasizes
                                                                                                                                                          emphasizes aa major           major advantage
                                                                                                                                                                                                     advantage of         of this this
 sidewalls of
sidewalls          of thethe stem
                                stem hole. hole. Anchors
                                                      Anchors of       of this
                                                                            this type type areare superior
                                                                                                      superior         capacitive-piezo technology:
                                                                                                                       capacitive-piezo              technology: Separation  Separation of       of electrodes
                                                                                                                                                                                                      electrodes and      and the
      Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 92 of 148 PageID #: 1617
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468                                                                                                     JOURNAL OF
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                                                                                                                                                                   APRIL 2015
                                                                                                                                                                         2015



                         Al Top                                                                                SEM images
                                                                                                               SEM       images of     of different
                                                                                                                                              different partsparts of   of the the samesame ringring resonator
                                                                                                                                                                                                        resonator
                       Electrode                                                                               delineating the
                                                                                                               delineating        the gaps
                                                                                                                                         gaps between
                                                                                                                                                  between the    the top/bottom
                                                                                                                                                                        top/bottom electrode electrode andand thethe
                                                                                                               resonator.
                                                                                                               resonator. For   For thesethese devices,
                                                                                                                                                    devices, to    to reduce
                                                                                                                                                                         reduce electrode
                                                                                                                                                                                       electrode resistance,
                                                                                                                                                                                                      resistance,
                                                                                                               400
                                                                                                               400 nm nm thick
                                                                                                                            thick Al  Al is  is used
                                                                                                                                                 used as as the
                                                                                                                                                              the top top electrode—something
                                                                                                                                                                             electrode—something that           that
                                                                                                               otherwise would
                                                                                                               otherwise        would not     not be be permissible
                                                                                                                                                          permissible in          in aa conventional
                                                                                                                                                                                           conventional AlN    AIN
                                                                                                               resonator,
                                                                                                               resonator, sincesince its  its attached
                                                                                                                                                attached electrode
                                                                                                                                                             electrode would    would significantly
                                                                                                                                                                                            significantly massmass
                                                                                                               load the
                                                                                                               load    the resonant
                                                                                                                             resonant structure.
                                                                                                                                               structure.
                                                                                                                   Although Al
                                                                                                                   Although        Al offers
                                                                                                                                          offers highhigh conductance
                                                                                                                                                             conductance as          as anan electrode
                                                                                                                                                                                               electrode mate-
                                                                                                                                                                                                            mate-
                                                                                                               rial,   which is
                                                                                                               rial, which         is good,
                                                                                                                                        good, its   its use
                                                                                                                                                         use does does come  come with  with several
                                                                                                                                                                                                 several disad-
                                                                                                                                                                                                            disad-
                                                                                                               vantages that
                                                                                                               vantages       that might
                                                                                                                                      might outweigh
                                                                                                                                                  outweigh its      its conductivity
                                                                                                                                                                          conductivity advantages.
                                                                                                                                                                                                advantages. In    In
                                                                                                               particular,
                                                                                                               particular, (1)  (1) thethe RIE RIE that
                                                                                                                                                      that defines
                                                                                                                                                             defines AlN    AIN nitride
                                                                                                                                                                                     nitride structures
                                                                                                                                                                                                structures alsoalso
                                                                                                               undercuts the
                                                                                                               undercuts       the Al Al toptop electrode—a
                                                                                                                                                   electrode—a problem    problem that    that becomes
                                                                                                                                                                                                becomes more  more
                                                                                                               serious as
                                                                                                               serious    as the
                                                                                                                               the Al Al electrodes
                                                                                                                                            electrodes get   get thicker
                                                                                                                                                                    thicker (to   (to further
                                                                                                                                                                                        further reduce
                                                                                                                                                                                                   reduce series
                                                                                                                                                                                                             series
                                                                                                               resistance),
                                                                                                               resistance), since  since this this provides
                                                                                                                                                      provides aa wider   wider lateral
                                                                                                                                                                                      lateral diffusion
                                                                                                                                                                                                 diffusion pathpath
                                                                                                               for etchants
                                                                                                               for    etchants to    to undercut
                                                                                                                                           undercut Al;    Al; (2) (2) Al  Al is is highly
                                                                                                                                                                                       highly reactive
                                                                                                                                                                                                  reactive withwith
Fig. 11.
Fig. 11.         Fabricated 1.2-GHz
                 Fabricated 1.2-GHz capacitive-piezo
                                    capacitive-piezo AlN
                                                     AIN ring
                                                         ring resonator.
                                                              resonator.
                                                                                                               other materials,
                                                                                                               other    materials, causing  causing problems
                                                                                                                                                         problems at        at thethe interface
                                                                                                                                                                                         interface of  of Al-Mo
                                                                                                                                                                                                           Al-Mo
                                                                                                               and Al-PECVD
                                                                                                               and     AI-PECVD oxide       oxide even even at  at lowlow process
                                                                                                                                                                              process temperature;
                                                                                                                                                                                             temperature; and   and
                                       Suspended Top                                                           (3) Al
                                                                                                               (3)   Al sets
                                                                                                                         sets thethe upper
                                                                                                                                        upper limitlimit onon process
                                                                                                                                                                 process temperature
                                                                                                                                                                                temperature if      if an
                                                                                                                                                                                                        an anneal
                                                                                                                                                                                                           anneal
                                           ectrode
                                                                                                               is desired
                                                                                                               is   desired to  to release
                                                                                                                                      release stress,stress, e.g.,
                                                                                                                                                                 e.g., in  in the
                                                                                                                                                                                the electroplated
                                                                                                                                                                                        electroplated nickelnickel
                                                                                                               anchor. Fortunately,
                                                                                                               anchor.     Fortunately, alternative
                                                                                                                                                  alternative material
                                                                                                                                                                     material sets   sets areare available
                                                                                                                                                                                                  available thatthat
                                                                                                               allow aa process
                                                                                                               allow                         technology like
                                                                                                                            process technology                   like thatthat described,
                                                                                                                                                                                   described, but   but without
                                                                                                                                                                                                          without
                                                                                                               the use
                                                                                                               the    use ofof Al.Al. For For example,
                                                                                                                                                  example, one     one option
                                                                                                                                                                            option might  might employ
                                                                                                                                                                                                    employ Mo   Mo
                            Suspended Top                                   ‘Suspended                         as the
                                                                                                               as  the electrode
                                                                                                                         electrode material,
                                                                                                                                          material, oxideoxide as    as the
                                                                                                                                                                          the sacrificial
                                                                                                                                                                                 sacrificial material,
                                                                                                                                                                                                 material, withwith
                                   Electrode           "1
                                                                           Top Electrode
                                                                                                               the final
                                                                                                               the   final release
                                                                                                                             release done  done via  via HFHF vapor.
                                                                                                                                                                  vapor.
        af   I        ane         WF     ~e


 *      NGapsir,
  v
        \a            | AIN Ring                                                                                                       VII. E
                                                                                                                                       VII. EXPERIMENTAL  RESULTS
                                                                                                                                              XPERIMENTAL R ESULTS
        \
                                                                                                                   To gauge
                                                                                                                   To  gauge the
                                                                                                                               the efficacy
                                                                                                                                    efficacy ofof the
                                                                                                                                                  the capacitive-piezo
                                                                                                                                                       capacitive-piezo transducer
                                                                                                                                                                              transducer at  at
         eee                                                                                                   both high
                                                                                                               both  high and
                                                                                                                           and low
                                                                                                                                 low frequencies,
                                                                                                                                      frequencies, layout
                                                                                                                                                      layout for
                                                                                                                                                              for the
                                                                                                                                                                   the described
                                                                                                                                                                         described process
                                                                                                                                                                                      process
                                                                                                                flow included
                                                                                                               flow   included aa 1.2-GHz
                                                                                                                                    1.2-GHz contour-mode
                                                                                                                                                contour-mode spoke-supported
                                                                                                                                                                  spoke-supported ring    ring
      Interconnects
                                                                         Electrode                             resonator, like
                                                                                                               resonator,   like that
                                                                                                                                  that of
                                                                                                                                        of [37],
                                                                                                                                            [37], but
                                                                                                                                                   but this
                                                                                                                                                        this time
                                                                                                                                                              time in in AlN;
                                                                                                                                                                           AIN; asas well
                                                                                                                                                                                      well as
                                                                                                                                                                                            as
      Electroplated
        NiAnchor            /r¢                                           AIN Ring —>                          aa 50-MHz
                                                                                                                   50-MHz two-resonator
                                                                                                                              two-resonator array-composite
                                                                                                                                                 array-composite [7],   [7], [14],
                                                                                                                                                                              [14], [25]
                                                                                                                                                                                      [25] of
                                                                                                                                                                                            of
                  Le
                                                                                                                wine-glass disks.
                                                                                                               wine-glass    disks. Measured
                                                                                                                                      Measured results      for each
                                                                                                                                                   results for   each of  of these
                                                                                                                                                                             these are
                                                                                                                                                                                     are now
                                                                                                                                                                                          now
                                                                                                               presented.
                                                                                                               presented.

                                                                                                               A. 1.2-GHz Contour-Mode
                                                                                                               A. 1.2-GHz Contour-Mode Ring
                                                                                                                                       Ring Resonator
                                                                                                                                            Resonator
                  <«— AIN Ring                                                                                    As shown
                                                                                                                  As     shown in      in the
                                                                                                                                           the SEMSEM of    of Fig.
                                                                                                                                                                  Fig. 11,11, thethe width
                                                                                                                                                                                       width neededneeded to     to
                                              Suspended               Suspended Top                            achieve aa resonance
                                                                                                               achieve                         frequency of
                                                                                                                               resonance frequency               of ∼1.2-GHz
                                                                                                                                                                     ~1.2-GHz via     via aa 1.5μm-thick
                                                                                                                                                                                               1.5 um-thick
                              Bottom Top Electrode                       Electrode
                        Electrode                                                                              AIN ring
                                                                                                               AlN     ring is   is 5μm.
                                                                                                                                      Sum. The The 25.6μm
                                                                                                                                                        25.6um inner  inner radius
                                                                                                                                                                                radius of   of the
                                                                                                                                                                                                 the ringring is is
                                                                                                               chosen to
                                                                                                               chosen       to allow
                                                                                                                                   allow for for quarter-wavelength
                                                                                                                                                    quarter-wavelength supports      supports that   that null
                                                                                                                                                                                                             null
                                                                                                               energy losses
                                                                                                               energy      losses to    to the
                                                                                                                                            the anchor.
                                                                                                                                                   anchor. Due   Due to  to aa need
                                                                                                                                                                                  need to  to enlarge
                                                                                                                                                                                                enlarge the    the
                                                                                                               small center
                                                                                                               small    center disk  disk byby 1.5μm
                                                                                                                                                  1.5um in   in radius
                                                                                                                                                                  radius in in order
                                                                                                                                                                                 order to to allow
                                                                                                                                                                                              allow proper
                                                                                                                                                                                                         proper
                                                                                                               lithography for
                                                                                                               lithography         for stem
                                                                                                                                         stem electroplating,
                                                                                                                                                 electroplating, the    the supports
                                                                                                                                                                              supports for  for this
                                                                                                                                                                                                  this device
                                                                                                                                                                                                          device
Fig. 12.
Fig.    12.      SEM images
                 SEM     images at   at different
                                         different parts
                                                       parts ofof the
                                                                   the same
                                                                        same resonator
                                                                                 resonator confirming
                                                                                              confirming
that the
that   the entire
             entire top
                      top electrode
                            electrode and and the
                                                the AlN
                                                     AIN ring      resonator are
                                                             ring resonator     are suspended
                                                                                     suspended via via the
                                                                                                        the    actually ended
                                                                                                               actually       ended up   up being
                                                                                                                                              being shorter
                                                                                                                                                         shorter thanthan desired,
                                                                                                                                                                             desired, and  and as  as will
                                                                                                                                                                                                        will be be
electroplated nickel
electroplated       nickel anchor
                              anchor at at the
                                            the center.
                                                 center. (a)
                                                           (a) Edge
                                                                Edge ofof the
                                                                           the ring
                                                                                ring over
                                                                                      over interconnect
                                                                                            interconnect       seen, this
                                                                                                               seen,    this impacts
                                                                                                                                impacts the  the attainable
                                                                                                                                                    attainable Q     Q ofof this
                                                                                                                                                                              this device.
                                                                                                                                                                                     device.
to the
to  the center
          center stem
                   stem andand top
                                top electrodes.
                                      electrodes. (b) (b) Gap
                                                           Gap between
                                                                 between top top electrode
                                                                                  electrode and
                                                                                              and ring
                                                                                                    ring at
                                                                                                          at      Fig. 13
                                                                                                                  Fig.     13 presents
                                                                                                                                 presents the  the measured
                                                                                                                                                      measured frequency
                                                                                                                                                                      frequency responseresponse charac-charac-
its inner
its  inner edge
              edge near
                      near aa support
                               support attachment
                                           attachment point.point. (c)
                                                                    (c) Gap
                                                                         Gap between
                                                                               between top top electrode
                                                                                                electrode
at ring
at  ring at at its
                its inner
                    inner edge.
                             edge. (d)(d) Center
                                            Center stemstem anchor.
                                                               anchor. (e)
                                                                         (e) Top
                                                                              Top electrode
                                                                                    electrode on on right
                                                                                                      right    teristics for
                                                                                                               teristics     for the
                                                                                                                                   the AlN
                                                                                                                                         AIN ring
                                                                                                                                                ring resonator
                                                                                                                                                        resonator of   of Fig.
                                                                                                                                                                           Fig. 11,11, showing
                                                                                                                                                                                         showing aa series series
side. (f)
side.    (f) Top
              Top electrode
                     electrode on  on left
                                        left side.
                                               side. (g)
                                                       (g) Ring
                                                            Ring edge
                                                                    edge showing
                                                                            showing top top and
                                                                                             and bottom
                                                                                                  bottom       resonance         frequency fy;fs =
                                                                                                               resonance frequency                      = 1.23GHz,
                                                                                                                                                            1.23GHz, Q       Q =  = 3,3,073,
                                                                                                                                                                                          073, andand R,   Rx =  =
electrode-to-ring gaps.
electrode-to-ring         gaps.                                                                                889Q at
                                                                                                               889      at 3mTorr.
                                                                                                                              3mTorr. Both  Both the the input
                                                                                                                                                           input and and output
                                                                                                                                                                            output are are DCDC (not (not AC)AC)
                                                                                                               grounded via
                                                                                                               grounded         via bias-tee’s
                                                                                                                                      bias-tee’s to  to avoid
                                                                                                                                                          avoid electrostatic
                                                                                                                                                                    electrostatic forcesforces thatthat might
                                                                                                                                                                                                           might
AIN structure
AlN    structure eliminate
                    eliminate thethe Al-AlN-Al
                                      AI-AIN-Al trimorph
                                                      trimorph that
                                                                 that other-
                                                                        other-                                 pull the top and bottom electrodes together and into the
                                                                                                               pull  the     top    and    bottom       electrodes      together       and    into    the AlNAIN
wise ensues in conventional piezoelectric resonators, thereby
wise   ensues    in  conventional     piezoelectric     resonators,   thereby                                  resonator. Although
                                                                                                               resonator.       Although the    the measured
                                                                                                                                                      measured Q      Q isis still
                                                                                                                                                                              still less
                                                                                                                                                                                     less than
                                                                                                                                                                                            than predicted
                                                                                                                                                                                                     predicted
avoiding issues
avoiding     issues commonly
                      commonly associated
                                     associated with
                                                   with bimorph
                                                           bimorph andand tri-
                                                                           tri-                                by material
                                                                                                               by  material loss   loss theory,
                                                                                                                                          theory, it  it is
                                                                                                                                                         is still
                                                                                                                                                             still higher
                                                                                                                                                                    higher thanthan that
                                                                                                                                                                                       that ofof the
                                                                                                                                                                                                  the major-
                                                                                                                                                                                                         major-
morph films,
morph     films, such
                    such asas warping,
                                warping, stress
                                            stress relaxation,
                                                      relaxation, and
                                                                   and film
                                                                          film                                 ity of measured attached-electrode contour-mode AlN
                                                                                                               ity  of     measured         attached-electrode             contour-mode             AIN res-  res-
delamination.
delamination.                                                                                                  onators at
                                                                                                               onators      at similar
                                                                                                                                 similar frequencies
                                                                                                                                            frequencies [45]–[47],
                                                                                                                                                                [45]-[47], although
                                                                                                                                                                                 although not   not allall [16].
                                                                                                                                                                                                            [16].
   Fig. 11
   Fig.    11 presents
                presents the the wide-view
                                   wide-view SEM  SEM of   of aa completed
                                                                  completed                                       The measured
                                                                                                                  The      measured series   series and  and parallel
                                                                                                                                                                 parallel resonance
                                                                                                                                                                               resonance frequencies
                                                                                                                                                                                                 frequencies
                                                                                                                              2
1.2-GHz contour-mode
1.2-GHz       contour-mode ee31-capacitive-piezo-transduced
                                  31 -capacitive-piezo-transduced         ring
                                                                          ring                                 yield aa kk2ss
                                                                                                               yield          ef f  of
                                                                                                                                    of   0.9%.
                                                                                                                                         0.9%.     Interestingly,
                                                                                                                                                   Interestingly,        this
                                                                                                                                                                         this   is considerably
                                                                                                                                                                                is  considerably larger    larger
resonator    similar to
resonator similar      to the
                          the one
                               one depicted
                                    depicted inin Fig.
                                                   Fig. 1.
                                                         1. Fig.
                                                            Fig. 12
                                                                 12 presents
                                                                     presents                                  than the
                                                                                                               than   the predicted
                                                                                                                             predicted value value of  of 0.3%
                                                                                                                                                           0.3% using
                                                                                                                                                                    using thethe theory
                                                                                                                                                                                   theory of  of Section
                                                                                                                                                                                                   Section V,
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HUNG AND
HUNG AND NGUYEN:
         NGUYEN: CAPACITIVE-PIEZOELECTRIC
                 CAPACITIVE-PIEZOELECTRIC TRANSDUCERS
                                          TRANSDUCERS FOR
                                                      FOR HIGH-
                                                          HIGH-QQ MICROMECHANICAL
                                                                  MICROMECHANICAL AlN
                                                                                  AIN RESONATORS
                                                                                      RESONATORS                                                                                                                469
                                                                                                                                                                                                                469




                                                     Measured Data            Simulated Parameters
                                                                                   with Q=3,073                                                                                 Measured Data
                                                    Freq.=1.23 GHz
                                                                                                                                                                                Freq. =1.0 GHz
(dB)



       230 |                                            Q=3,073
                                                                                                                                                                                   Q=1,055




                                                                                                              (dB)
       35 -                  :                      (R,* Rp) =889 Q
                                                                                                                                                                                (R+Rp) = 2 KQ
Transmission




                                                                                                                                          Measurement




                                                                                                              Transmission
         IS
         o




                                                                                                                                                 |




                                                                                                                             A
                                                                                                                             o
                                                                                                                             45                            ;
                                                                                                                                          Simulation
       -65                                                                                                                   -50              Ca
             1205          1215     1225     1235      1245    1255
                                  Frequency (GHz)
                                                                                                                             -55             =       T             T     T        -   =        1



Fig. 13.
Fig.  13. Measured
            Measured frequency
                         frequency characteristic
                                       characteristic for
                                                        for aa 1.2-GHz
                                                               1.2-GHz AlN
                                                                         AIN ring  resonator
                                                                             ring resonator                                        0.99       0.995            1       1.005   1.01         1.015
with dimensions
with   dimensions as  as shown
                          shown in in Fig.
                                      Fig. 1111 together
                                                 together with
                                                           with aa simulation
                                                                   simulation (dotted
                                                                               (dotted line)
                                                                                         line)                                                           Frequency (GHz)
using the
using   the circuit
             circuit of
                     of Fig.
                         Fig. 6(c)
                               6(c) with
                                     with the
                                            the predicted
                                                 predicted element
                                                             element values
                                                                      values in
                                                                             in the
                                                                                the table
                                                                                     table toto
the right
the         equivalent circuit
     right equivalent     circuit of
                                   of Fig.
                                       Fig. 6(c).
                                             6(c).                                                       Fig. 15.
                                                                                                         Fig.  15.  Measured frequency
                                                                                                                    Measured   frequency characteristic
                                                                                                                                           characteristic for
                                                                                                                                                          for the
                                                                                                                                                               the resonator
                                                                                                                                                                   resonator in
                                                                                                                                                                             in Fig.
                                                                                                                                                                                Fig. 14
                                                                                                                                                                                     14
                                                                                                         confirming suppression
                                                                                                         confirming suppression of
                                                                                                                                of the
                                                                                                                                   the parallel
                                                                                                                                       parallel resonance
                                                                                                                                                 resonance peak.
                                                                                                                                                            peak.
               x       1 : Input Signal      Gnd.                            Top Electrode               shown in
                                                                                                         shown       in Fig.Fig. 15, 15, exhibits
                                                                                                                                             exhibits less   less feedthrough
                                                                                                                                                                       feedthrough than       than seen seen in   in
                                                                                                         single-electrode devices, with parallel resonance suppressed
                                                                                                         single-electrode            devices,        with       parallel        resonance         suppressed
                                                                  AIN                    AIN Ring
                                                              [ofeYT]1(:14                               as expected
                                                                                                         as    expected for      for aa two-port
                                                                                                                                              two-port device.  device. However, However, the      the Q     Q is  is
                                             N2                 Bottom             | —         Etch      lower for
                                                                                                         lower     for this
                                                                                                                          this mechanical
                                                                                                                                  mechanical circuit   circuit than  than for  for aa single
                                                                                                                                                                                         single resonator,
                                                                                                                                                                                                    resonator,
                                                                                             RCH IE]]
                                           Coupler             Electrode          L§
                                                                                 Fwy §
                                                                                                         which might
                                                                                                         which      might be     be caused
                                                                                                                                      caused by     by etch
                                                                                                                                                          etch residuals
                                                                                                                                                                    residuals atop    atop the the coupling
                                                                                                                                                                                                      coupling
                                                                                                         beam formed
                                                                                                         beam      formed after   after dry dry etching
                                                                                                                                                    etching the    the top top electrode,
                                                                                                                                                                                   electrode, as    as shown
                                                                                                                                                                                                           shown
                                                                                                         in Fig.
                                                                                                         in  Fig. 14(b).
                                                                                                                     14(b).
                                                                                                            Unfortunately, these
                                                                                                            Unfortunately,              these 1.2-GHz1.2-GHz capacitive-piezo
                                                                                                                                                                        -capacitive-piezo contour-    contour-
                   )    Output Signal                                                                    mode ring
                                                                                                         mode      ring resonator
                                                                                                                            resonator probablyprobably still   still do do notnot reveal
                                                                                                                                                                                     reveal the the intrinsic
                                                                                                                                                                                                       intrinsic
                                                                                                         material Q
                                                                                                         material       Q of  of AlN.
                                                                                                                                   AIN. In    In particular,
                                                                                                                                                   particular, although although the     the measured
                                                                                                                                                                                               measured Q         Q
Fig. 14.
Fig.  14. (a)
            (a) SEM
                 SEM ofof aa capacitive-piezo
                             capacitive-piezo ring
                                                ring resonator
                                                      resonator array    with λ/2
                                                                  array with   4/2 coupler;
                                                                                   coupler;              of 3,073
                                                                                                         of   3,073 is    is already
                                                                                                                                already higher higher than  than many  many previously
                                                                                                                                                                                   previously reported reported
and (b)
and   (b) top-view
          top-view zoom-in
                      zoom-in SEMSEM showing
                                        showing howhow the
                                                         the electrode
                                                              electrode isis removed
                                                                             removed over
                                                                                       over
                                                                                                         AlN-only piezoelectric
                                                                                                         AlN-only         piezoelectric rings,     rings, it  it isis likely
                                                                                                                                                                         likely that that anchor
                                                                                                                                                                                             anchor losses,
                                                                                                                                                                                                          losses,
the coupler
the  coupler toto electrically
                  electrically isolate
                                 isolate the
                                         the output
                                             output from
                                                      from the
                                                             the input.
                                                                  input.
                                                                                                         not material
                                                                                                         not   material losses, losses, have have the  the strongest
                                                                                                                                                               strongest role     role in in dictating
                                                                                                                                                                                               dictating the    the
which with
which      with somesome reduction
                             reduction in     in device
                                                   device width width to to match
                                                                             match the the series
                                                                                             series      QO. As
                                                                                                         Q.   As mentioned,
                                                                                                                    mentioned, the       the original
                                                                                                                                                original layoutlayout for   for thethe spoke-supported
                                                                                                                                                                                          spoke-supported
resonance frequency,
resonance        frequency, yields yields the  the equivalent
                                                     equivalent circuitcircuit elements
                                                                                  elements and  and      ring was
                                                                                                         ring    was overly
                                                                                                                         overly aggressive
                                                                                                                                      aggressive in      in thatthat it  it did
                                                                                                                                                                             did not not have
                                                                                                                                                                                            have sufficient
                                                                                                                                                                                                     sufficient
simulated plot
simulated        plot also
                        also presented
                                presented in     in Fig.
                                                      Fig. 13. 13. Smaller-than-expected
                                                                    Smaller-than-expected                overlap of
                                                                                                         overlap      of the
                                                                                                                           the center
                                                                                                                                  center disk disk around
                                                                                                                                                      around the     the center
                                                                                                                                                                            center stem stem hole,
                                                                                                                                                                                                hole, whichwhich
electrode-to-resonator gap
electrode-to-resonator                gap spacings
                                              spacings can     can easily
                                                                     easily be be responsible
                                                                                     responsible         made lithography
                                                                                                         made      lithography around    around the    the stemstem hole   hole (for(for steps
                                                                                                                                                                                            steps involved
                                                                                                                                                                                                      involved
for the
for   the discrepancy.
              discrepancy. To        To lend
                                           lend somesome insight,insight, if if one
                                                                                  one assumes
                                                                                         assumes         with stem-filling)
                                                                                                         with     stem-filling) very    very difficult.
                                                                                                                                                  difficult. As   As aa consequence,
                                                                                                                                                                             consequence, the        the maskmask
the kks.
the     2
              4—o      Of
                       of   AIN
                            AlN       with
                                      with     no
                                               no     electrode
                                                      electrode        gaps
                                                                       gaps    is
                                                                               is    1.8%,
                                                                                    1.8%,      then
                                                                                               then      for this
                                                                                                         for  this portion
                                                                                                                      portion had   had to to bebe changed
                                                                                                                                                     changed mid-process
                                                                                                                                                                      mid-process to        to increase
                                                                                                                                                                                                increase the    the
        e f f,d=0
simple application
simple      application of      of (30)
                                      (30) with
                                              with (4) (4) yields
                                                               yields an an actual
                                                                             actual total
                                                                                        total gap
                                                                                                gap      radius of
                                                                                                         radius     of the
                                                                                                                         the center
                                                                                                                                 center disk.disk. Although
                                                                                                                                                      Although this       this facilitated
                                                                                                                                                                                  facilitated stem  stem hole hole
spacing of
spacing      of 167nm,
                   167nm, meaning
                                meaning the     the toptop and and bottom
                                                                     bottom gapsgaps could
                                                                                         could be be     lithography to
                                                                                                         lithography         to the
                                                                                                                                  the point
                                                                                                                                       point of   of making
                                                                                                                                                      making the      the process          possible, it
                                                                                                                                                                             process possible,             it also
                                                                                                                                                                                                              also
84nm each.
84nm      each. This This veryvery smallsmall value
                                                  value is    is possible,
                                                                  possible, butbut somewhat
                                                                                       somewhat          shifted the
                                                                                                         shifted     the lengths
                                                                                                                            lengths of   of thethe spoke
                                                                                                                                                     spoke support
                                                                                                                                                                 support beams  beams so    so that
                                                                                                                                                                                                that they
                                                                                                                                                                                                        they no  no
surprising given
surprising        given the the process
                                   process flow   flow of   of Section
                                                                 Section VI. VI. It It might
                                                                                        might be  be     longer were
                                                                                                         longer      were quarter-wavelength.
                                                                                                                                quarter-wavelength. As              As detailed
                                                                                                                                                                            detailed in    in [6],
                                                                                                                                                                                                [6], without
                                                                                                                                                                                                        without
that the
that   the k     2 4—o of
              kgs.            Of   the
                                   the     AIN
                                           AlN     is
                                                   is    higher
                                                         higher      than
                                                                     than    1.8%,
                                                                            1.8%,       which
                                                                                        which     as
                                                                                                  as     quarter-wavelength supports,
                                                                                                         quarter-wavelength                supports, spoke-supported
                                                                                                                                                             spoke-supported ring            ring resonator
                                                                                                                                                                                                     resonator
                e f f,d=0
mentioned previously
mentioned          previously is       is plausible
                                            plausible when    when metalmetal is  is no
                                                                                      no longer
                                                                                            longer       Q’s suffer
                                                                                                         Q’s    suffer greatly.
                                                                                                                            greatly.
attached to
attached       to AlN,
                    AIN, so  so nono longer
                                         longer constrains
                                                    constrains its    its motion,
                                                                           motion, allowing
                                                                                         allowing           It should
                                                                                                            It   should be    be noted
                                                                                                                                   noted that  that designs
                                                                                                                                                      designs featuring
                                                                                                                                                                      featuring notchednotched beam-to-
                                                                                                                                                                                                     beam-to-
for aa higher
for      higher starting
                      starting (gapless)
                                     (gapless) kker.    2
                                                              4—o    than
                                                                     than   so
                                                                            so    far
                                                                                  far   exhibited
                                                                                        exhibited        ring attachments
                                                                                                         ring   attachments were      were also also included
                                                                                                                                                       included on       on the
                                                                                                                                                                              the ring
                                                                                                                                                                                     ring layouts.
                                                                                                                                                                                             layouts. TheseThese
                                                        e f f.d=0
by   devices with
by devices          with actual
                             actual attached
                                          attached electrodes.
                                                          electrodes. Whether
                                                                            Whether due    due to  to    designs, first
                                                                                                         designs,      first used
                                                                                                                                used in in [37],
                                                                                                                                             [37], attempt
                                                                                                                                                      attempt to      to attach
                                                                                                                                                                           attach the the support
                                                                                                                                                                                             support beams beams
smaller gaps
smaller      gaps or  or higher
                          higher starting
                                       starting kkes. 2 J—o» , the  the   measured
                                                                          measured        (Cy/C,)
                                                                                         (C  x /C o  )   at the
                                                                                                         at  the ring
                                                                                                                   ring nodal
                                                                                                                            nodal circle,
                                                                                                                                      circle, whichwhich ideally
                                                                                                                                                               ideally does  does not not move
                                                                                                                                                                                             move radially,
                                                                                                                                                                                                       radially,
                                                      e f f,d=0
is only
is only slightly
            slightly lowerlower thanthan thatthat ofof conventional
                                                         conventional AlN     AIN resonators
                                                                                      resonators         so ideally
                                                                                                         so   ideally would would send send no    no energy
                                                                                                                                                        energy to      to the
                                                                                                                                                                            the anchors
                                                                                                                                                                                    anchors whether
                                                                                                                                                                                                 whether or       or
with contacting
with    contacting electrodes,
                           electrodes, and     and is  is actually
                                                             actually higher
                                                                          higher thanthan some.
                                                                                             some.       not the
                                                                                                         not   the spoke
                                                                                                                     spoke support
                                                                                                                                 support beams  beams were were quarter-wavelength.
                                                                                                                                                                       quarter-wavelength. Unfor-         Unfor-
Whatever
Whatever the     the case,
                       case, it it is
                                    is sufficient
                                         sufficient for  for GHzGHz narrow-band
                                                                        narrow-band filters.filters.     tunately, multiple
                                                                                                         tunately,      multiple reflective
                                                                                                                                         reflective metal  metal layers layers of    of (i.e.,
                                                                                                                                                                                          (i.e., aluminum
                                                                                                                                                                                                   aluminum
                                                                                                         electrodes, nickel
                                                                                                         electrodes,         nickel anchors,
                                                                                                                                         anchors, and    and molybdenum
                                                                                                                                                                  molybdenum sacrificial)  sacrificial) and    and
                                                                                                         heavy undercutting
                                                                                                         heavy      undercutting of         of the
                                                                                                                                                 the toptop metal
                                                                                                                                                                metal layer layer in   in the
                                                                                                                                                                                            the fabrication
                                                                                                                                                                                                  fabrication
B. Two-Ring Array-Composite
B. Two-Ring Array-Composite
                                                                                                         process significantly
                                                                                                         process      significantly complicated
                                                                                                                                             complicated lithography,lithography, making   making it     it diffi-
                                                                                                                                                                                                             diffi-
   To evaluate
   To   evaluate the
                   the efficacy
                         efficacy of  of building     mechanical circuits
                                          building mechanical          circuits                          cult to
                                                                                                         cult   to produce
                                                                                                                    produce the     the ring
                                                                                                                                          ring notches
                                                                                                                                                   notches needed needed for     for supports
                                                                                                                                                                                       supports to    to attach
                                                                                                                                                                                                           attach
using capacitive-piezo transducers, two-ring mechanically
using    capacitive-piezo       transducers,     two-ring       mechanically                             at the
                                                                                                         at  the nodal
                                                                                                                   nodal circle.
                                                                                                                               circle.
half-wavelength coupled
half-wavelength      coupled array-composites
                                  array-composites [7], [7], one
                                                               one ofof which
                                                                         which
is shown
is  shown inin Fig.
                Fig. 14,
                       14, were
                             were also
                                     also fabricated
                                           fabricated andand tested.
                                                                tested. Here,
                                                                          Here,
the top electrode over the coupling beam is removed to
the   top  electrode     over    the   coupling    beam      is  removed       to                        C. 50
                                                                                                         C. 50 MHz
                                                                                                               MHz Two-Wine-Glass
                                                                                                                   Two-Wine-Glass Disk
                                                                                                                                  Disk Array-Composite
                                                                                                                                       Array-Composite
electrically isolate
electrically   isolate thethe output
                                 output from
                                           from the
                                                  the input.
                                                         input. TheThe mea-mea-                             Fortunately, other
                                                                                                            Fortunately, other structures
                                                                                                                               structures capable
                                                                                                                                           capable of
                                                                                                                                                   of obviating
                                                                                                                                                       obviating the
                                                                                                                                                                  the need
                                                                                                                                                                       need
sured frequency
sured   frequency response
                      response from from input
                                            input ring
                                                    ring to to output
                                                                 output ring,
                                                                           ring,                         for quarter-wavelength
                                                                                                         for  quarter-wavelength supports
                                                                                                                                   supports were
                                                                                                                                              were also
                                                                                                                                                   also included
                                                                                                                                                          included inin the
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470
470                                                                                               JOURNAL OF
                                                                                                  JOURNAL OF MICROELECTROMECHANICAL
                                                                                                             MICROELECTROMECHANICAL SYSTEMS,
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                                                                                                                                                          2, APRIL
                                                                                                                                                             APRIL 2015
                                                                                                                                                                   2015



   Original           Vibrating       Nodal                                                                                        Network Analyzer
                                                      Vibrating
    Edges                              Line                                                                                        LA           |5e8
                                                        Edges                       Quasi-Nodal
                                                                                       Points
                                                                                   Ea
                                                                                   HIN                                                             OO
                                                                               ¥




      @)                                               (b)                t
Fig. 16.
Fig.  16. (a)
           (a) Mode
               Mode shape
                        shape ofof the
                                   the contour-mode
                                        contour-mode ring
                                                        ring resonator
                                                              resonator shown
                                                                         shown inin Fig.
                                                                                    Fig. 11
                                                                                         11
and measured
and  measured in in Fig.
                    Fig. 13.
                          13. (b)
                               (b) Wine-glass
                                   Wine-glass mode
                                                 mode shape
                                                        shape with
                                                               with convenient
                                                                     convenient access
                                                                                  access to
                                                                                         to
the quasi-nodal
the  quasi-nodal points
                   points onon the
                                the edge
                                     edge of
                                           of the
                                              the disk
                                                   disk resonator,
                                                        resonator, facilitating
                                                                    facilitating reduction
                                                                                 reduction
of anchor
of  anchor loss
            loss to
                  to reveal
                     reveal the
                              the material
                                   material Q Q of
                                                 of sputtered
                                                     sputtered AlN.
                                                                AIN.
                                  Electroplated
                                   Ni Anchors




                                  —
                      re



               Gaps      NiAI Bottom          2     AIN Non-Conductive             Support
                           Electrode                   Coupling Beam                Beam
                                                                                                                                              Cross-Section A-A’ in (c)
Fig. 17.
Fig.  17.    An array-composite
             An   array-composite ofof two
                                        two AlN
                                             AIN disks
                                                   disks employing
                                                          employing capacitive-piezo
                                                                      capacitive-piezo                                              de’                                             =
transducers with
transducers    with non-contacting
                     non-contacting electrodes,
                                      electrodes, drawn
                                                    drawn with
                                                            with exaggerated
                                                                  exaggerated vertical
                                                                                vertical                                                  ;                           rat
gaps. The
gaps.   The top
              top electrodes
                   electrodes are
                               are patterned
                                   patterned for
                                               for wine-glass
                                                    wine-glass mode
                                                                 mode resonance,
                                                                        resonance, forfor                                                                                        aa
                                                                                                                                                                                    >
                                                                                                                                                                                            :

which quasi-nodal
which    quasi-nodal points
                       points can
                              can be
                                   be accessed
                                       accessed onon the
                                                      the edges,
                                                          edges, as
                                                                  as shown.
                                                                     shown.



layout. In
layout.     In particular,
                  particular, structures
                                   structures designeddesigned to     to resonate
                                                                           resonate in     in thethe
wine-glass mode
wine-glass         mode shape,shape, in    in which
                                                 which the    the diskdisk expands
                                                                               expands and      and
contracts in
contracts       in opposite
                     opposite directions
                                   directions along   along orthogonal
                                                                 orthogonal axes,  axes, have have
nodal lines
nodal     lines shown
                   shown in   in Fig.
                                   Fig. 16(b)
                                            16(b) thatthat areare accessible
                                                                     accessible at    at points
                                                                                           points        Fig. 18.
                                                                                                         Fig.   18. (a)
                                                                                                                      (a) Fabricated
                                                                                                                           Fabricated AlN
                                                                                                                                        AIN disk
                                                                                                                                              disk resonator
                                                                                                                                                    resonator array
                                                                                                                                                               array and
                                                                                                                                                                      and the
                                                                                                                                                                           the measurement
                                                                                                                                                                                measurement setup setup
                                                                                                         that yields
                                                                                                         that  yields the
                                                                                                                        the measured
                                                                                                                             measured frequency
                                                                                                                                        frequency spectra
                                                                                                                                                     spectra in
                                                                                                                                                             in Fig.
                                                                                                                                                                 Fig. 20.
                                                                                                                                                                       20. (b),
                                                                                                                                                                           (b), (c)
                                                                                                                                                                                 (c) Zoom-in
                                                                                                                                                                                      Zoom-in views
                                                                                                                                                                                                 views
along the
along    the disk
               disk edge,
                       edge, obviating
                               obviating the    the need
                                                      need for for the
                                                                    the notches
                                                                          notches required
                                                                                       required          on the
                                                                                                         on  the anchor
                                                                                                                   anchor before     and after
                                                                                                                             before and   after XeF
                                                                                                                                                  XeF,2 dry
                                                                                                                                                         dry release,
                                                                                                                                                             release, respectively.
                                                                                                                                                                        respectively. (d)(d) Zoom-in
                                                                                                                                                                                              Zoom-in
by   the previous
by the     previous contour-mode
                           contour-mode ring       ring resonator
                                                           resonator and    and facilitating
                                                                                   facilitating          on the
                                                                                                         on  the suspended
                                                                                                                   suspended structure
                                                                                                                                structure and
                                                                                                                                           and electrodes,
                                                                                                                                                 electrodes, clearly
                                                                                                                                                              clearly showing
                                                                                                                                                                        showing thethe gaps.
                                                                                                                                                                                        gaps.
achievement of
achievement          of aa Q-optimized
                             Q-optimized design     design that that cancan better
                                                                               better expose
                                                                                          expose
the intrinsic
the   intrinsic material
                    material Q    Q of of AlN.
                                            AIN.                                                         AIN coupling
                                                                                                         AlN    coupling beam  beam that  that blocks       feedthrough current,
                                                                                                                                                 blocks feedthrough              current, thereby
                                                                                                                                                                                              thereby
   It should
   It  should be   be mentioned
                        mentioned that   that the
                                                the wine-glass
                                                       wine-glass mode   mode shapeshape used used       greatly facilitating
                                                                                                         greatly    facilitating evaluation
                                                                                                                                     evaluation of    of piezoelectric
                                                                                                                                                          piezoelectric wine-glass
                                                                                                                                                                                wine-glass disks.disks.
here that
here   that facilitates
               facilitates Q-optimization
                               Q-optimization also       also generates
                                                                 generates longitudinal
                                                                                 longitudinal               Fig. 18
                                                                                                            Fig.    18 presents
                                                                                                                         presents the  the set-up
                                                                                                                                              set-up used
                                                                                                                                                        used to  to measure
                                                                                                                                                                       measure the  the frequency
                                                                                                                                                                                           frequency
and shear
and    shear strains
                  strains thatthat areare out-of-phase,
                                              out-of-phase, thereby   thereby makingmaking it       it   characteristics for
                                                                                                         characteristics       for two-disk
                                                                                                                                     two-disk array-composites
                                                                                                                                                   array-composites in         in (a),
                                                                                                                                                                                   (a), along
                                                                                                                                                                                         along withwith
difficult to
difficult    to excite
                  excite and and sense
                                    sense the the mode
                                                     mode using using the the piezoelectric
                                                                                piezoelectric            several SEMs
                                                                                                         several    SEMs showing
                                                                                                                              showing the    the details
                                                                                                                                                  details of of various
                                                                                                                                                                  various parts
                                                                                                                                                                              parts ofof the
                                                                                                                                                                                          the device
                                                                                                                                                                                                device
effect. Thus,
effect.     Thus, although
                       although the   the devices
                                              devices of     of this
                                                                   this work
                                                                           work are  are goodgood        in the
                                                                                                         in  the remaining
                                                                                                                   remaining figure figure parts.
                                                                                                                                               parts. Here,
                                                                                                                                                        Here, the   the bottom
                                                                                                                                                                          bottom electrodes
                                                                                                                                                                                     electrodes of    of
vehicles for
vehicles      for tapping
                    tapping the the Q   Q of of sputtered
                                                 sputtered AlN,    AIN, theythey areare not
                                                                                          not so  so     both resonators
                                                                                                         both    resonators are   are grounded,
                                                                                                                                          grounded, while  while an   an AC AC input
                                                                                                                                                                                  input signal
                                                                                                                                                                                            signal is  is
suitable for
suitable      for attaining
                     attaining low  low impedance.
                                            impedance. This      This alsoalso means
                                                                                  means that   that      applied to
                                                                                                         applied     to the
                                                                                                                          the top
                                                                                                                               top electrode
                                                                                                                                      electrode of   of the
                                                                                                                                                          the left
                                                                                                                                                                 left device
                                                                                                                                                                         device andand thethe output
                                                                                                                                                                                                output
their output
their   output currents
                    currents are are small
                                       small and  and notnot easily
                                                                easily measured
                                                                           measured in      in the
                                                                                                 the     taken from
                                                                                                         taken     from thatthat ofof thethe right.       Again, although
                                                                                                                                                right. Again,           although they  they sustain
                                                                                                                                                                                               sustain
presence of
presence       of feedthrough
                    feedthrough signals.signals.                                                         small AC
                                                                                                         small     AC signals,
                                                                                                                          signals, the  the input
                                                                                                                                               input andand output
                                                                                                                                                                output electrodes
                                                                                                                                                                             electrodes are  are DC DC
   Like the
   Like     the ring
                  ring device
                          device of  of Fig.
                                          Fig. 14, 14, these
                                                         these devices
                                                                   devices employ
                                                                                employ half-  half-      grounded to
                                                                                                         grounded       to prevent
                                                                                                                            prevent largelarge electrostatic
                                                                                                                                                  electrostatic forces forces from
                                                                                                                                                                                 from pulling
                                                                                                                                                                                         pulling the the
wavelength coupled
wavelength          coupled arrays
                                 arrays [25]  [25] of  of disks,
                                                            disks, suchsuch as  as shown
                                                                                     shown in      in    top electrodes
                                                                                                         top   electrodes into into contact
                                                                                                                                       contact withwith thethe AlN AIN disks.
                                                                                                                                                                           disks.
Fig. 17.
Fig.    17. Here,
              Here, uniform
                         uniform bottombottom and    and patterned
                                                             patterned top   top electrodes
                                                                                    electrodes              After XeF
                                                                                                            After     XeF; 2 release
                                                                                                                               release of   of devices,
                                                                                                                                                 devices, the  the following
                                                                                                                                                                      following cleaning
                                                                                                                                                                                      cleaning and  and
are spaced
are  spaced 260nm 260nm from from the the top
                                            top and and underside,
                                                          underside, respectively,
                                                                            respectively, of      of     annealing steps
                                                                                                         annealing        steps were
                                                                                                                                  were taken,taken, each
                                                                                                                                                       each of    of which
                                                                                                                                                                        which noticeably
                                                                                                                                                                                  noticeably and    and
each AlN
each    AIN disk.disk. TheThe top
                                top electrodes
                                       electrodes make    make electrical
                                                                    electrical contact
                                                                                    contact to    to     successively raised
                                                                                                         successively        raised thethe Q’sQ’s ofof the
                                                                                                                                                         the devices
                                                                                                                                                               devices [20]: [20]:
substrate interconnects
substrate      interconnects throughthrough vias  vias at at the
                                                              the anchors.
                                                                    anchors. As   As detailed
                                                                                        detailed            1) Remove
                                                                                                            1)    Remove the   the photoresist
                                                                                                                                     photoresist that  that protects
                                                                                                                                                               protects nitride/oxide
                                                                                                                                                                             nitride/oxide isola-isola-
in [25],
in   [25], half-wavelength
               half-wavelength coupling    coupling effectively
                                                            effectively converts
                                                                               converts this    this              tion during
                                                                                                                 tion    during release.
                                                                                                                                    release.
device into a single composite device where constituent res-
device     into    a  single    composite           device      where      constituent         res-         2) O
                                                                                                            2)    O 2 plasma,
                                                                                                                        plasma, then then dip dip inin EKC-270
                                                                                                                                                        EKC-270 and        and perform
                                                                                                                                                                                 perform critical
                                                                                                                                                                                               critical
onators vibrate
onators      vibrate together
                          together at    at one
                                              one mode mode frequency,
                                                                  frequency, with   with little
                                                                                              little             point drying.
                                                                                                                 point     drying.
or no reduction in the overall Q of this mechanical circuit
or  no    reduction        in  the    overall        Q   of   this    mechanical          circuit           3) Anneal
                                                                                                            3)    Anneal for  for 30
                                                                                                                                   30 minutes
                                                                                                                                         minutes in   in N Np/H,
                                                                                                                                                              2 /H2 at  at 500
                                                                                                                                                                            500 °C.
                                                                                                                                                                                  °C.
relative to
relative     to that
                   that of of aa stand-alone
                                     stand-alone device.   device. The   The use use of  of twotwo          Fig. 20(a) presents frequency characteristics for
                                                                                                            Fig.    20(a)     presents       frequency        characteristics         for two-disk
                                                                                                                                                                                            two-disk
devices in this mechanical circuit makes available two ports for
devices     in   this  mechanical         circuit     makes      available      two    ports     for     array composite resonators employing various support beam
                                                                                                         array    composite       resonators         employing           various    support      beam
interrogation: an
interrogation:         an input
                            input port
                                     port to to drive
                                                  drive the the device
                                                                  device and  and an an output
                                                                                          output         widths (cf.
                                                                                                         widths     (cf. Fig.
                                                                                                                           Fig. 19)19) measured
                                                                                                                                           measured under under 3      3 mTorr
                                                                                                                                                                           mTorr vacuum
                                                                                                                                                                                     vacuum after  after
port to
port   to sense
            sense its its motion,
                           motion, both           separated by
                                         both separated            by aa non-conductive
                                                                            non-conductive               the above
                                                                                                         the   above steps.
                                                                                                                          steps. Here,
                                                                                                                                   Here, resonators
                                                                                                                                              resonators with   with support
                                                                                                                                                                          support beam
                                                                                                                                                                                     beam widths
     Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 95 of 148 PageID #: 1620
HUNG AND
HUNG AND NGUYEN:
         NGUYEN: CAPACITIVE-PIEZOELECTRIC
                 CAPACITIVE-PIEZOELECTRIC TRANSDUCERS
                                          TRANSDUCERS FOR
                                                      FOR HIGH-
                                                          HIGH-QQ MICROMECHANICAL
                                                                  MICROMECHANICAL AlN
                                                                                  AIN RESONATORS
                                                                                      RESONATORS                                                                                                               471
                                                                                                                                                                                                               471



                  Top                                   Top             Bottom
                                                                                                                                     VIII. C
                                                                                                                                     VIII. CONCLUSIONS
                                                                                                                                             ONCLUSIONS
 Electrode                          44            Electrode            Electrode
                                                                                                     The described
                                                                                                     The      described demonstration
                                                                                                                                    demonstration of            of aa 1.2-GHz
                                                                                                                                                                           1.2-GHz contour-mode
                                                                                                                                                                                            contour-mode
                                                                                                 AIN ring
                                                                                                 AlN      ring resonator
                                                                                                                     resonator with      with aa motional
                                                                                                                                                       motional resistanceresistance R,       Rx =    = 889889Q
                                                                                                 and a
                                                                                                 and     a Q  QO =   = 3,  3,073,         together with
                                                                                                                                073, together               with that that of   of a  a 50-MHz
                                                                                                                                                                                          50-MHz wine-     wine-
                                                                                                 glass disk
                                                                                                 glass     disk with   with Q      Q as as high
                                                                                                                                              high as    as 12,478,
                                                                                                                                                                12,478, confirm confirm the    the efficacy
                                                                                                                                                                                                        efficacy
                                                                                                 of capacitive-piezo
                                                                                                 of   capacitive-piezo transducers     transducers in         in raising
                                                                                                                                                                  raising the    the Q’s Q’s of of thin-film
                                                                                                                                                                                                      thin-film
Fig. 19.
Fig.  19. Zoom-in
            Zoom-in SEMs
                    SEMs of of the
                               the support
                                    support beams
                                              beams used
                                                    used in
                                                         in this
                                                            this work
                                                                 work with
                                                                      with various
                                                                           various               piezoelectric
                                                                                                 piezoelectric resonators. resonators. Indeed,   Indeed, the    the Q  Q of  of 12,478
                                                                                                                                                                                  12,478 is    is soso farfar the
                                                                                                                                                                                                                the
widths:  (a) 11 μm;
widths: (a)     um; (b) 1.5 μm;
                    (b) 1.5  um; (c)   2 μm.
                                   (c) 2  pum.
                                                                                                 highest measured
                                                                                                 highest       measured for         for any
                                                                                                                                          any other
                                                                                                                                                  other d     d3i-transduced
                                                                                                                                                                31 -transduced AlN-only   AIN-only thin-     thin-
                                                                                                 film piezoelectric
                                                                                                 film     piezoelectric resonator.   resonator. Even      Even so,  so, therethere is   is evidence
                                                                                                                                                                                             evidence that     that
                                                                                                 it does
                                                                                                 it  does not  not represent
                                                                                                                       represent aa Q         Q ceiling,
                                                                                                                                                    ceiling, since since anchoranchor loss   loss seems
                                                                                                                                                                                                     seems to     to
                                                                                                 still plague
                                                                                                 still  plague the     the measured
                                                                                                                              measured devices.  devices. Improvements
                                                                                                                                                                 Improvements in            in fabrication,
                                                                                                                                                                                                 fabrication,
                                                                                                 perhaps         including the
                                                                                                 perhaps including                   the useuse of  of alternative
                                                                                                                                                          alternative materialsmaterials for    for anchors
                                                                                                                                                                                                        anchors
                                                                                                 and sacrificial
                                                                                                 and     sacrificial layers     layers to    to reduce
                                                                                                                                                   reduce the     the losses
                                                                                                                                                                           losses associated
                                                                                                                                                                                         associated with      with
                                                                                                 anchors and
                                                                                                 anchors         and etch etch residuals,
                                                                                                                                    residuals, may    may renderrender even   even higher
                                                                                                                                                                                        higher Q’s.  Q’s.
                                                                                                     Of course,
                                                                                                     Of    course, Q          Q is is not
                                                                                                                                        not the the onlyonly important
                                                                                                                                                                  important metric.    metric. As    As men- men-
                                                                                                 tioned earlier,
                                                                                                 tioned       earlier, for     for thethe target
                                                                                                                                              target RF    RF channel-selecting
                                                                                                                                                                  channel-selecting front-end        front-end
                                                                                                 application [2],
                                                                                                 application            [2], coupling
                                                                                                                                coupling (C            x /Co ) is
                                                                                                                                                  (C,/C,)         is equally
                                                                                                                                                                       equally important,
                                                                                                                                                                                       important, as       as are
                                                                                                                                                                                                                are
                                                                                                 aging stability,
                                                                                                 aging      stability, thermal thermal stability,
                                                                                                                                               stability, fabrication
                                                                                                                                                                fabrication tolerances,
                                                                                                                                                                                      tolerances, on/off   on/off
                                                                                                 switchability, dynamic
                                                                                                 switchability,              dynamic range,     range, and    and numerous
                                                                                                                                                                      numerous other        other difficult
                                                                                                                                                                                                        difficult
                                                                                                 barriers.
                                                                                                 barriers. From    From aa drift     drift standpoint,
                                                                                                                                               standpoint, the       the described
                                                                                                                                                                               described capacitive-
                                                                                                                                                                                                  capacitive-
                             50.7                50.9              51.1                          piezo     devices should
                                                                                                 piezo devices               should perform
                                                                                                                                          perform well,    well, if if BVABVA resonators
                                                                                                                                                                                    resonators are       are any
                                                                                                                                                                                                               any
                                                                                                 indication. But
                                                                                                 indication.           But keeping
                                                                                                                                keeping the      the focus
                                                                                                                                                         focus on    on the the mostmost fundamental
                                                                                                                                                                                               fundamental
                                                 Frequency (MHz)                                 of the
                                                                                                 of   the issues,
                                                                                                            issues, Q        Q andand (C       x /Co ), one
                                                                                                                                          (C,/C,),           one might
                                                                                                                                                                    might ask    ask how how capacitive-
                                                                                                                                                                                                  capacitive-
                                                                                                 piezo      resonators measure
                                                                                                 piezo resonators                   measure up       up against
                                                                                                                                                            against other  other micromechanical
                                                                                                                                                                                       micromechanical
Fig. 20.
Fig. 20. Measured
            Measured frequency
                         frequency characteristics
                                     characteristics for
                                                       for the
                                                           the resonators
                                                                resonators ofof Fig.
                                                                                Fig. 18
                                                                                      18 with
                                                                                         with
various support
various   support beam
                     beam widths
                            widths after
                                     after post-release    clean and
                                           post-release clean      and anneal
                                                                        anneal procedures.
                                                                                 procedures.     resonator          technologies in
                                                                                                 resonator technologies                        in this
                                                                                                                                                     this application
                                                                                                                                                              application space.     space. To    To answer
                                                                                                                                                                                                         answer
That resonators
That  resonators withwith thinner
                          thinner support
                                   support beams
                                             beams attain
                                                     attain the
                                                             the highest
                                                                  highest QQ indicates
                                                                               indicates that
                                                                                          that   this, Fig.
                                                                                                 this,   Fig. 21   21 presents
                                                                                                                         presents plots   plots of   of needed
                                                                                                                                                          needed Q       Q andand coupling
                                                                                                                                                                                      coupling (C           x /Co )
                                                                                                                                                                                                       (Cx/C,)
anchor loss
anchor   loss still
               still dominates
                      dominates the
                                  the Q,
                                       Q, even
                                           even for
                                                 for these
                                                      these wine-glass
                                                              wine-glass disks.
                                                                           disks.                versus frequency
                                                                                                 versus       frequency for         for aa sensible
                                                                                                                                               sensible RF      RF channel-select
                                                                                                                                                                       channel-select frequency     frequency
                                                                                                 allocation scheme.
                                                                                                 allocation           scheme. Here,      Here, legacy legacy 30-kHz 30-kHz bandwidth  bandwidth chan-       chan-
                                              BW = 30kHz
                                                                                                 nels span the 10-100 MHz range, 500-kHz channels
                                                                                                 nels     span        the      10-100         MHz          range,       500-kHz            channels span      span
                                                                 BW       =500kHz   BW = 1MHz
                                                                                                  100-1000 MHz,
                                                                                                 100-1000            MHz, and       and 1-MHz
                                                                                                                                            1-MHz channels   channels span      span 1-3  1-3 GHz.GHz. The     The
                                                                                                 curves denoting
                                                                                                 curves      denoting the        the needed
                                                                                                                                       needed Q       Q andand (C      x /Co ) values
                                                                                                                                                                   (C,/C,)          values are  are forfor two-
                                                                                                                                                                                                              two-
                                                                                                 resonator
                                                                                                 resonator ChebyshevChebyshev filters      filters with with 2    2 dBdB of    of insertion
                                                                                                                                                                                    insertion loss    loss and and
                                                                                                 less than 0.5 dB of passband distortion. As expected, needed                                            needed
 Needed Quality




                                                                                                 less   than       0.5     dB      of   passband           distortion.          As    expected,
                                                                                                  Q’s rise
                                                                                                        rise and  and needed
                                                                                                                           needed (C           x /Co )’s shrink
                                                                                                                                          (C,/C,)’s            shrink as    as frequency
                                                                                                                                                                                 frequency increases increases
                      Factor, Q




                                                                                                 Q’s
                                                                                                 within aa given
                                                                                                 within          given range. range. To   To support
                                                                                                                                                support RF      RF channel-selection,
                                                                                                                                                                      channel-selection, aa given           given
                                                                                                 resonator
                                                                                                 resonator must     must exceed exceed both    both the   the needed
                                                                                                                                                                 needed Q        Q and and the the (C       x /Co )
                                                                                                                                                                                                       (C,/C,)
                                                                                                 curves at
                                                                                                 curves       at its
                                                                                                                   its frequency.
                                                                                                                          frequency.
                                                                                                     From Fig.
                                                                                                     From       Fig. 21,  21, thethe 1.2-GHz
                                                                                                                                        1.2-GHz capacitive-piezo
                                                                                                                                                         capacitive-piezo resonator      resonator of     of this
                                                                                                                                                                                                               this
                                                                                                 work, perhaps
                                                                                                 work,     perhaps encumberedencumbered by           by anchor
                                                                                                                                                           anchor loss, loss, still
                                                                                                                                                                                  still does
                                                                                                                                                                                          does not not satisfy
                                                                                                                                                                                                          satisfy
                                                                                                 the needs
                                                                                                 the   needs of      of RF RF channel-selection,
                                                                                                                                   channel-selection, as             as it it lacks
                                                                                                                                                                                lacks the  the needed
                                                                                                                                                                                                  needed Q.      Q.
          Needed Coupling,




                                                                                                 The 635-MHz
                                                                                                 The    635-MHz quartz-MEMS    quartz-MEMS device          device of    of [48]
                                                                                                                                                                              [48] comes
                                                                                                                                                                                       comes close, close, but  but
                                                                                                 does not
                                                                                                 does     not quite
                                                                                                                  quite satisfy
                                                                                                                              satisfy the the needed
                                                                                                                                                  needed (C         x /Co ) value.
                                                                                                                                                                (C,/C,)          value. In   In fact,
                                                                                                                                                                                                  fact, of of the
                                                                                                                                                                                                                the
                                                                                                 twelve resonators
                                                                                                 twelve      resonators plotted     plotted only  only threethree simultaneously
                                                                                                                                                                     simultaneously satisfy        satisfy the  the
                                                                                                 stated Q
                                                                                                 stated      Q and and (C   (C,/C,)/C
                                                                                                                                 x o     )  criteria:
                                                                                                                                            criteria:        Two
                                                                                                                                                             Two     capacitive-gap
                                                                                                                                                                     capacitive-gap               transduced
                                                                                                                                                                                                  transduced
                                                                                                 devices in
                                                                                                 devices        in the
                                                                                                                     the below
                                                                                                                             below 100    100 MHz MHz regime  regime [9],   [9], [49];
                                                                                                                                                                                    [49]; and and one one veryvery
                                         10                    100              1000
                                                                                                 recent       capacitive-piezo disk
                                                                                                 recent capacitive-piezo                        disk device
                                                                                                                                                          device at     at 300 300 MHz MHz [50].   [50]. This This
                                                         Center Frequency [MHz]
                                                                                                 new capacitive-piezo
                                                                                                 new     capacitive-piezo device           device uses   uses aa different
                                                                                                                                                                      different fabrication
                                                                                                                                                                                         fabrication flow     flow
 Fig. 21.
Fig.   21.     Plot of
               Plot  of needed
                        needed Q  Q and
                                      and coupling
                                           coupling (C    x /C o ) versus
                                                       (Cx/C,)     versus frequency
                                                                           frequency forfor      to achieve
                                                                                                 to   achieve improved improved anchors,   anchors, confirming
                                                                                                                                                             confirming that        that anchor
                                                                                                                                                                                             anchor losses losses
aa sensible
    sensible RF
              RF channel-select
                   channel-select frequency
                                    frequency allocation
                                                 allocation scheme
                                                              scheme with
                                                                        with data
                                                                              data points
                                                                                   points
 indicating marks
indicating   marks achieved
                     achieved by
                               by various
                                   various (cited)
                                            (cited) micromechanical
                                                    micromechanical resonator
                                                                         resonator types.
                                                                                    types.
                                                                                                 constrain Q
                                                                                                 constrain          Q in in thethe present
                                                                                                                                      present devices.
                                                                                                                                                    devices. In     In addition,
                                                                                                                                                                          addition, another another recent recent
                                                                                                 lamb-wave capacitive-piezo
                                                                                                 lamb-wave              capacitive-piezo device          device exhibits
                                                                                                                                                                      exhibits aa Qof        Qof 5,0195,019 at    at
                                                                                                 941 MHz
                                                                                                 941     MHz [51],    [51], showing
                                                                                                                                  showing best     best in   in class
                                                                                                                                                                  class performance
                                                                                                                                                                              performance at           at UHF,
                                                                                                                                                                                                            UHEF,
of 2μm,
of  2um, 1.5μm,
             1.5um, andand 1μm,
                              1um, exhibit
                                       exhibit Q’s
                                                 Q’s ofof 7,076,
                                                           7,076, 10,218,
                                                                    10,218, andand               although still
                                                                                                 although          still not not meeting
                                                                                                                                     meeting the     the difficult
                                                                                                                                                             difficult Q      Q requirement
                                                                                                                                                                                   requirement at         at this
                                                                                                                                                                                                               this
12,748, respectively, the last of which is the highest Q
12,748,    respectively,     the  last   of  which   is  the  highest    Q so
                                                                            so far
                                                                                far              frequency. These
                                                                                                 frequency.           These recent recent devices
                                                                                                                                               devices further further confirm
                                                                                                                                                                            confirm the     the Q  Q benefits
                                                                                                                                                                                                        benefits
measured for
measured      for sputtered
                   sputtered thin-film
                                 thin-film AlN AIN resonators.
                                                     resonators. TheThe rise
                                                                           rise in
                                                                                 in              and potential
                                                                                                 and    potential of        of capacitive-piezo
                                                                                                                                  capacitive-piezo resonator     resonator technology.
                                                                                                                                                                                    technology.
Q with
Q   with shrinking
            shrinking support
                          support beam
                                     beam widthwidth suggests
                                                        suggests that
                                                                    that anchor
                                                                           anchor
loss still
loss  still plays
             plays anan important
                          important role role in
                                               in determining
                                                   determining Q   Q forfor these
                                                                             these                                                  ACKNOWLEDGEMENTS
                                                                                                                                    A CKNOWLEDGEMENTS
wine-glass devices.
wine-glass     devices. Indeed,
                           Indeed, it it is
                                          is probable
                                             probable that
                                                         that the
                                                               the Q
                                                                   Q ofof 12,748
                                                                           12,748                  The
                                                                                                   The    authors
                                                                                                          authors would
                                                                                                                  would     like
                                                                                                                            like  to
                                                                                                                                  to  thank
                                                                                                                                      thank    the
                                                                                                                                               the    Berkeley
                                                                                                                                                      Berkeley
measured here
measured      here is
                    is still
                        still shy
                              shy ofof the
                                         the intrinsic
                                              intrinsic limit.
                                                          limit.                                 Microlab/Nanolab staff
                                                                                                 Microlab/Nanolab staff and
                                                                                                                        and members,
                                                                                                                            members, especially
                                                                                                                                     especially Dr.
                                                                                                                                                 Dr. X.
                                                                                                                                                     X. Meng,
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               Bannon III,  III, J.J. R.
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                                                                                                                    California      at Berkeley,
                                                                                                                                        Berkeley, where
                                                                                                                                                      where he   he isis currently
                                                                                                                                                                          currently aa Professor
                                                                                                                                                                                             Professor and    and thethe Co-Director
                                                                                                                                                                                                                           Co-Director
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                                                                                                                    of   the Berkeley
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                                                                                                                                                                  Actuator Center.
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[50] R.
[50] R. A. A. Schneider
                 Schneider and     and C. C. T.-C.
                                                T.-C. Nguyen,
                                                         Nguyen, “On/off  “On/off switchable
                                                                                       switchable high-Q
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                                        Mech. Syst.        (MEMS), San      San Francisco,
                                                                                   Francisco, CA, CA, USA,USA,      technologies, optomechanical
                                                                                                                    technologies,        optomechanical devices,  devices, RF   RF communication
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                                                                                                                                                                 technology. In      In 2001,
                                                                                                                                                                                          2001, he  he founded
                                                                                                                                                                                                          founded Discera,
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[51] T.-T.
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              Yen, A.  A. P. P. Pisano,
                                  Pisano, and  and C. C. T.-C.
                                                           T.-C. Nguyen,
                                                                      Nguyen, “High-Q
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[52] M.
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                                   T.-C. Nguyen,
                                            Nguyen, “A    “A passband-corrected
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     channel-select          micromechanical disk        disk filter,”
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                                                               2014, pp.  pp. 601–606.
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                                Li-Wen
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                                wan University,
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                                                      University of  of Michigan,
                                                                         Michigan, Ann   Ann Arbor,
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                                                                                                                       Dr.    Nguyen received
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                                                                                                                                                                                             2006, and   and together
                                                                                                                                                                                                                 together with  with his his
                                MI, USA,
                                MI,   USA, in in 2006;
                                                   2006; and
                                                           and the
                                                                 the Ph.D.
                                                                      Ph.D. degree
                                                                              degree in  in electrical
                                                                                             electrical             students, has
                                                                                                                    students,     has garnered
                                                                                                                                         garnered moremore than than 10  10 Best
                                                                                                                                                                             Best PaperPaper Awards
                                                                                                                                                                                                 Awards from    from IEEEIEEE confer-
                                                                                                                                                                                                                                  confer-
                                engineering and
                                engineering       and computer
                                                        computer science
                                                                      science fromfrom the
                                                                                         the Univer-
                                                                                                Univer-             ences and
                                                                                                                    ences     and journals        focused on
                                                                                                                                     journals focused           on frequency
                                                                                                                                                                      frequency control control and  and MEMS.
                                                                                                                                                                                                             MEMS. From     From 2007 2007
                                sity of
                                sity  of California
                                          California at   at Berkeley,
                                                              Berkeley, Berkeley,
                                                                            Berkeley, CA,  CA, USA,
                                                                                                  USA,              to 2009,
                                                                                                                    to   2009, he  he served
                                                                                                                                         served as  as a a Distinguished
                                                                                                                                                              Distinguished Lecturer Lecturer of     of thethe IEEE
                                                                                                                                                                                                                  IEEE Solid-State
                                                                                                                                                                                                                             Solid-State
                                in 2011.
                                in  2011. While
                                             While at   at Berkeley,
                                                            Berkeley, she she received
                                                                                 received multiple
                                                                                               multiple             Circuits Society.
                                                                                                                    Circuits     Society. He   He waswas the the Technical
                                                                                                                                                                   Technical Program Program Chair   Chair of   of the
                                                                                                                                                                                                                     the 2010
                                                                                                                                                                                                                            2010 IEEEIEEE
                                poster   and presentation
                                poster and                         awards from
                                                 presentation awards          from the the Berkeley
                                                                                              Berkeley              International Frequency
                                                                                                                    International       Frequency Control Control Symposium,
                                                                                                                                                                       Symposium, and        and the the Co-General
                                                                                                                                                                                                            Co-General Chair    Chair of  of
                                Sensor and
                                Sensor     and Actuator
                                                   Actuator Center,
                                                                Center, and and thethe Gold
                                                                                         Gold PrizePrize            the 2011
                                                                                                                    the   2011 Combined
                                                                                                                                  Combined IEEE    IEEE International
                                                                                                                                                             International Frequency
                                                                                                                                                                                  Frequency Control  Control Symposium,
                                                                                                                                                                                                                   Symposium, and       and
TSMC Outstanding
TSMC      Outstanding Student
                          Student Research
                                     Research AwardAward in  in 2010.
                                                                 2010. Shortly
                                                                         Shortly after
                                                                                     after receiving
                                                                                             receiving              the European
                                                                                                                    the  European Frequency
                                                                                                                                        Frequency and   and Time
                                                                                                                                                               Time Forum.
                                                                                                                                                                        Forum. From From 2008 2008 to  to 2013,
                                                                                                                                                                                                            2013, he he served
                                                                                                                                                                                                                          served as  as the
                                                                                                                                                                                                                                         the
the Ph.D.
the  Ph.D. degree
               degree in
                       in 2011,
                           2011, she
                                   she joined       Invensense, San
                                        joined Invensense,          San Jose,
                                                                           Jose, CA,CA, USA,
                                                                                           USA, as  as aa           Vice President
                                                                                                                    Vice    President of   of Frequency
                                                                                                                                               Frequency ControlControl in   in the
                                                                                                                                                                                  the IEEE
                                                                                                                                                                                         IEEE Ultrasonics,
                                                                                                                                                                                                  Ultrasonics, Ferroelectrics,
                                                                                                                                                                                                                       Ferroelectrics,
Research Engineer,
Research      Engineer, where
                         where she
                                 she explored
                                      explored RF-based
                                                    RF-based products.
                                                                  products. In In 2012,
                                                                                   2012, sheshe joined
                                                                                                 joined             and Frequency
                                                                                                                    and    Frequency ControlControl Society,
                                                                                                                                                         Society, and  and is is currently
                                                                                                                                                                                   currently the   the President-Elect
                                                                                                                                                                                                          President-Elect of       of thethe
IBM T.
IBM    T. J.J. Watson
               Watson Research
                        Research Center,
                                     Center, Yorktown
                                                Yorktown Heights,
                                                               Heights, NY,NY, USA,
                                                                                  USA, where
                                                                                           where she  she           same society.
                                                                                                                    same
is currently
is currently involved
                 involved inin research
                               research on on sensors
                                                sensors and and 3-D
                                                                  3-D packaging.
                                                                        packaging.
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                        Exhibit A15
   Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 99 of 148 PageID #: 1624
IEEE Transactions
IEEE TRANSACTIONS on
                  ON Ultrasonics,
                     ULTRASONICS, Ferroelectrics,
                                  FERROELECTRICS, and
                                                  AND Frequency CONTROL, , vol.
                                                      FREQUENCY Control    VOL. 61,
                                                                                61, no.
                                                                                    NO. 5, MAY 2014
                                                                                        5, May 2014                                                                                                             849
                                                                                                                                                                                                                849




      A
      A Negative-Capacitance
        Negative-Capacitance Equivalent
                                Equivalent Circuit
                                            Circuit
       Model
       Model for
              for Parallel-Plate
                  Parallel-Plate Capacitive-Gap-
                                 Capacitive-(Gap-
       Transduced
       Transduced Micromechanical
                    Micromechanical Resonators
                                      Resonators
                Mehmet
                Mehmet Akgul,
                       Akgul, Student
                              Student Member,
                                      Member, IEEE,
                                                IEEE, Lingqi
                                                       Lingqi Wu,
                                                              Wu, Student
                                                                   Student Member,
                                                                           Member, IEEE,
                                                                                   IEEE, Zeying
                                                                                         Zeying Ren,
                                                                                                Ren,
                                      and
                                       and Clark
                                           Clark T.-C.
                                                  T.-C. Nguyen,
                                                        Nguyen, Fellow,
                                                                 Fellow, IEEE
                                                                         IEEE

    Abstract—A
    Abstract—A            small-signal
                          small-signal equivalent
                                              equivalent circuit circuit for for parallel-
                                                                                     parallel-       resonators lack
                                                                                                     resonators             lack sufficient
                                                                                                                                      sufficient location  location dependence
                                                                                                                                                                            dependence [12],         [12], [13],
                                                                                                                                                                                                               [13],
plate
plate capacitive-gap-transduced
        capacitive-gap-transduced micromechanical micromechanical resonators resonators is      is   and
                                                                                                      and one  one is  is curiously
                                                                                                                             curiously asymmetricasymmetric in           in thatthat it   it models
                                                                                                                                                                                               models volt-  volt-
introduced
introduced that  that employs
                           employs negative
                                        negative capacitance
                                                        capacitance to     to model
                                                                                 model the   the
dependence
dependence of     of resonance
                        resonance frequency
                                        frequency on      on electrical
                                                                electrical stiffness
                                                                                stiffness in   in
                                                                                                     age-to-force
                                                                                                      age-to-force and        and velocity-to-current
                                                                                                                                       velocity-to-current coupling           coupling via     via different
                                                                                                                                                                                                       different
a
a way
   way that
          that facilitates
                  facilitates circuit
                                   circuit analysis,
                                               analysis, that that better
                                                                       better elucidates
                                                                                  elucidates         coupling coefficients
                                                                                                     coupling           coefficients [12].      [12]. NoneNone of    of these
                                                                                                                                                                           these models,
                                                                                                                                                                                       models, or      or those
                                                                                                                                                                                                            those
the
the mechanisms
     mechanisms behind    behind certain
                                     certain potentially
                                                  potentially puzzling
                                                                    puzzling measured
                                                                                   measured          of [14]
                                                                                                     of     [14] and
                                                                                                                   and [15], [15], allow
                                                                                                                                       allow sufficient
                                                                                                                                                    sufficient visualization
                                                                                                                                                                       visualization for         for insight-
                                                                                                                                                                                                        insight-
phenomena,
phenomena, and    and thatthat inspires
                                  inspires circuit
                                              circuit topologies
                                                          topologies that that maximize
                                                                                   maximize          ful
                                                                                                     ful circuit
                                                                                                             circuit design,
                                                                                                                           design, to      to thethe pointpoint wherewhere they     they actually
                                                                                                                                                                                              actually hide    hide
performance
performance in      in specific
                         specific applications.
                                     applications. For     For this
                                                                  this work,
                                                                         work, a    a micro-
                                                                                        micro-       important
                                                                                                     important aspects      aspects of        of capacitive-gap-transduced
                                                                                                                                                     capacitive-gap-transduced device                      device
mechanical
mechanical disk  disk resonator
                           resonator serves
                                          serves as    as the
                                                           the vehicle
                                                                  vehicle with with whichwhich
to
to derive
    derive thethe equivalent
                      equivalent circuits
                                       circuits for  for both
                                                           both radial-contour
                                                                    radial-contour and      and
                                                                                                     behavior
                                                                                                     behavior in        in circuit
                                                                                                                              circuit networks.
                                                                                                                                             networks. Because   Because circuit     circuit design
                                                                                                                                                                                                 design and     and
wine-glass
wine-glass modes,
                modes, which which are are then
                                              then usedused in in circuit
                                                                    circuit simulations
                                                                               simulations           analysis
                                                                                                      analysis is     is largely
                                                                                                                           largely a      a skill
                                                                                                                                               skill of  of recognition,
                                                                                                                                                              recognition, insufficient insufficient visu-   visu-
(via simulation)
(via   simulation) to     to match
                              match measurements
                                         measurements on         on actual
                                                                       actual fabricated
                                                                                  fabricated         alization
                                                                                                      alization is      is aa significant
                                                                                                                                  significant shortcomingshortcoming for            for anyany equivalent
                                                                                                                                                                                                   equivalent
devices.
devices. TheThe new  new circuit
                             circuit model
                                         model not   not only
                                                            only correctly
                                                                     correctly predicts
                                                                                     predicts        circuit.
                                                                                                     circuit.
the
the dependence
     dependence of       of electrical
                             electrical stiffness
                                            stiffness on  on the
                                                               the impedances
                                                                      impedances load-    load-            Take,
                                                                                                           Take, for   for example,
                                                                                                                              example, the       the small-signal
                                                                                                                                                         small-signal dynamic     dynamic equivalent
                                                                                                                                                                                                   equivalent
ing
ing the
      the input
            input and  and output
                              output electrodes
                                          electrodes of     of parallel-plate
                                                                 parallel-plate capac-  capac-
itive-gap-transduced
itive-gap-transduced micromechanical
                                 micromechanical device,    device, but  but does
                                                                                does so   so inin
                                                                                                     circuit of
                                                                                                     circuit       of Fig.
                                                                                                                        Fig. 11 [13],[13], [14],
                                                                                                                                               [14], [16] [16] that
                                                                                                                                                                 that models
                                                                                                                                                                           models the     the disk
                                                                                                                                                                                                 disk micro-
                                                                                                                                                                                                          micro-
a
a visually
   visually intuitive
               intuitive way  way thatthat identifies
                                              identifies current
                                                              current drivedrive as  as most
                                                                                          most       mechanical resonator
                                                                                                     mechanical             resonator depicted   depicted in      in Figs.
                                                                                                                                                                       Figs. 2(a)  2(a) and and 2(b)2(b) when
                                                                                                                                                                                                            when
appropriate
appropriate for   for applications
                         applications that that must must be be stable
                                                                  stable against
                                                                            against envi- envi-      operating in
                                                                                                     operating            in itsits radial-contour
                                                                                                                                       radial-contour mode,          mode, cf.      cf. Fig.
                                                                                                                                                                                          Fig. 2(d).
                                                                                                                                                                                                   2(d). This This
ronmental
ronmental perturbations,
                perturbations, such     such as  as acceleration
                                                      acceleration or     or power
                                                                               power sup-  sup-      particular
                                                                                                     particular circuit   circuit has   has been been used  used successfully
                                                                                                                                                                     successfully in         in various
                                                                                                                                                                                                  various in-     in-
ply
ply variations.
      variations. Measurements
                        Measurements on         on fabricated
                                                       fabricated devices
                                                                        devices confirm
                                                                                      confirm        carnations
                                                                                                     carnations to         to design
                                                                                                                                design micromechanical
                                                                                                                                              micromechanical resonator          resonator oscillators
                                                                                                                                                                                                    oscillators
predictions
predictions by   by the the new
                              new model
                                      model of    of upup toto 4×4X improvement
                                                                        improvement in         in
frequency
frequency stability
               stability against
                              against dc-bias
                                          dc-bias voltage
                                                        voltage variations
                                                                    variations for   for con-
                                                                                           con-
                                                                                                      [15] and
                                                                                                     [15]      and even even much  much more   more complex complex filters   filters [14],[14], [16].
                                                                                                                                                                                                     [16]. It It is is
tour-mode
tour-mode disk  disk resonators
                        resonators as   as the
                                             the resistance
                                                    resistance loading
                                                                    loading their
                                                                                their ports
                                                                                          ports      perhaps
                                                                                                     perhaps the      the bestbest to  to date
                                                                                                                                             date for  for mechanical
                                                                                                                                                              mechanical circuit      circuit design,
                                                                                                                                                                                                  design, be-    be-
increases.
increases. By By enhancing
                    enhancing circuitcircuit visualization,
                                                visualization, this   this circuit
                                                                            circuit model
                                                                                        model        cause
                                                                                                     cause it    it captures
                                                                                                                      captures the      the full full flexibility
                                                                                                                                                         flexibility of      of inputs
                                                                                                                                                                                  inputs and   and outputs
                                                                                                                                                                                                        outputs
makes
makes more
         more obvious
                  obvious the   the circuit
                                      circuit design
                                                 design procedures
                                                             procedures and    and topolo-
                                                                                       topolo-       for
                                                                                                     for any any capacitive-gap-transduced
                                                                                                                     capacitive-gap-transduced micromechanical              micromechanical reso-            reso-
gies
gies most
      most beneficial
              beneficial for   for certain
                                    certain mechanical
                                                mechanical circuits,
                                                                   circuits, e.g.,
                                                                                 e.g., filters
                                                                                         filters     nator
                                                                                                     nator by    by using
                                                                                                                        using transformers
                                                                                                                                    transformers to           to couple
                                                                                                                                                                    couple locationlocation dependent
                                                                                                                                                                                                   dependent
and
and oscillators.
      oscillators.
                                                                                                     electrical
                                                                                                     electrical and      and mechanical
                                                                                                                                  mechanical input        input energyenergy to      to the
                                                                                                                                                                                          the mechanical
                                                                                                                                                                                                 mechanical
                                                                                                     response
                                                                                                     response of        of thethe structure,
                                                                                                                                      structure, and        and vice vice versa.
                                                                                                                                                                               versa. It    It also
                                                                                                                                                                                                 also conve-
                                                                                                                                                                                                          conve-
                                                                                                     niently
                                                                                                     niently uses   uses actualactual valuesvalues of      of dynamic
                                                                                                                                                                dynamic mass,      mass, inverse
                                                                                                                                                                                               inverse stiff- stiff-
                                 I.
                                 I. Introduction
                                    INTRODUCTION
                                                                                                     ness,
                                                                                                     ness, and  and damping,
                                                                                                                         damping, as         as values
                                                                                                                                                   values for   for its its core
                                                                                                                                                                               core motional
                                                                                                                                                                                         motional induc-  induc-
                                                                                                     tance
                                                                                                     tance l[,,x, motional
                                                                                                                       motional capacitance
                                                                                                                                          capacitance cc,,x, and         and motional
                                                                                                                                                                                  motional resistance
                                                                                                                                                                                                    resistance

P  arallel-plate capacitive
Piraner-rrare
   spread
   spread use
(MEMS)
            use in
(MEMS) industry,
                 in the
                       capacitive transducers

         industry, where
                                   transducers enjoy
                     the microelectromechanical
                                                enjoy wide-
                                                        wide-
                           microelectromechanical systems
                    where they
                             they are
                                  are employed
                                       employed in
                                                     systems
                                                 in applica-
                                                     applica-
                                                                                                     rr,.x. The
                                                                                                             The motional
                                                                                                     performance
                                                                                                     performance of
                                                                                                                     motional resistance
                                                                                                                               of the
                                                                                                                                         resistance rr,x further
                                                                                                                                     the device,
                                                                                                                                             device, where   where a
                                                                                                                                                                    further captures
                                                                                                                                                                          a noise
                                                                                                                                                                                    captures the
                                                                                                                                                                               noise force
                                                                                                                                                                                                     the noise
                                                                                                                                                                                          force generator
                                                                                                                                                                                                             noise
                                                                                                                                                                                                     generator
                                                                                                     with
                                                                                                     with value value 4kTr  4kTr,x placed
                                                                                                                                        placed in      in series
                                                                                                                                                            series with with rr,x fully fully models
                                                                                                                                                                                                 models the     the
tions ranging
tions    ranging from  from accelerometers
                              accelerometers [1],  [1], [2],
                                                          [2], toto gyroscopes
                                                                    gyroscopes
                                                                                                     thermal
                                                                                                     thermal noise.   noise.
[3], [4]
[3],  [4] and
           and other
                   other resonant
                           resonant sensors
                                         sensors [5],
                                                   [5], [6],
                                                          [6], to
                                                                to RF
                                                                    RF MEMS
                                                                         MEMS
                                                                                                           This
                                                                                                           This circuit,
                                                                                                                     circuit, however,
                                                                                                                                    however, has        has faults.
                                                                                                                                                               faults. In     In particular,
                                                                                                                                                                                    particular, it      it mod-
                                                                                                                                                                                                            mod-
switches [7],
switches      [7], [8],
                     [8], to
                          to vibrating
                               vibrating RF  RF MEMS
                                                  MEMS resonators
                                                                resonators [9].
                                                                              [9].
                                                                                                     els the
                                                                                                     els    the influence
                                                                                                                   influence of       of electrical
                                                                                                                                           electrical stiffness
                                                                                                                                                              stiffness [17]    [17] on on the
                                                                                                                                                                                             the resonance
                                                                                                                                                                                                    resonance
The
The last
       last ofof these
                   these often
                           often employ
                                   employ relatively
                                              relatively largelarge circuits
                                                                     circuits ofof
                                                                                                     frequency
                                                                                                     frequency of         of the
                                                                                                                               the device
                                                                                                                                       device via    via the the arrow
                                                                                                                                                                    arrow through through the    the capaci-
                                                                                                                                                                                                         capaci-
resonant
resonant MEMS MEMS devicesdevices [10][10] coupled
                                            coupled electrically
                                                         electrically or or me-
                                                                             me-
                                                                                                     tor c¢,x (which
                                                                                                     tor          (which indicatesindicates this     this capacitor
                                                                                                                                                              capacitor is         is tunable)
                                                                                                                                                                                        tunable) and     and by   by
chanically
chanically at    at very
                      very specific
                             specific locations,
                                         locations, andand require
                                                               require models
                                                                         models
                                                                                                     setting
                                                                                                     setting the    the value
                                                                                                                            value of    of c¢,x equal
                                                                                                                                                    equal to   to 1/(k1/(k,m −      — kk.),
                                                                                                                                                                                          e), where
                                                                                                                                                                                                where kky,m is      is
for
for such
     such devices
              devices thatthat are
                                 are accurate,
                                       accurate, scalable,
                                                    scalable, location-de-
                                                                   location-de-
                                                                                                     the
                                                                                                     the mechanical
                                                                                                              mechanical stiffness  stiffness and     and k£,e is  is the
                                                                                                                                                                       the voltage-tunable
                                                                                                                                                                                voltage-tunable elec-         elec-
pendent,
pendent, and  and amenable
                     amenable to   to simulation
                                       simulation via  via established
                                                             established soft-
                                                                            soft-
                                                                                                     trical
                                                                                                     trical stiffness.
                                                                                                                 stiffness. Although
                                                                                                                                   Although this       this method
                                                                                                                                                               method for       for capturing
                                                                                                                                                                                       capturing electri-electri-
ware, such
ware,    such as as SPICE
                      SPICE [11].
                                [11].
                                                                                                     cal
                                                                                                     cal stiffness
                                                                                                             stiffness adequately
                                                                                                                             adequately predicts     predicts the    the frequency,
                                                                                                                                                                              frequency, it       it does
                                                                                                                                                                                                       does not not
    Unfortunately,
    Unfortunately, several several of of the
                                          the classic
                                               classic equivalent
                                                           equivalent circuit
                                                                          circuit
                                                                                                     convey
                                                                                                     convey clearly clearly to    to aa circuit
                                                                                                                                           circuit designer
                                                                                                                                                          designer the     the impact
                                                                                                                                                                                   impact of    of electrical
                                                                                                                                                                                                      electrical
models
models for   for capacitive-gap-transduced
                     capacitive-gap-transduced micromechanical
                                                            micromechanical
                                                                                                     stiffness
                                                                                                     stiffness on     on the the overall
                                                                                                                                     overall circuitcircuit performance.
                                                                                                                                                                  performance. Modeling      Modeling the       the
                                                                                                     electrical
                                                                                                     electrical stiffnessstiffness in     in this
                                                                                                                                                this way,way, in   in fact,
                                                                                                                                                                        fact, hides hides some some impor-impor-
                                                                                                     tant
                                                                                                     tant capacitive-gap-transduced
                                                                                                               capacitive-gap-transduced resonator                   resonator behaviors behaviors when     when
  Manuscript
  Manuscript received
               received July
                         July 30,
                              30, 2013;
                                  2013; accepted
                                         accepted February
                                                     February 7,7, 2014.
                                                                   2014.                             emplaced
                                                                                                     emplaced into        into certain
                                                                                                                                    certain circuits.
                                                                                                                                                    circuits. This    This model  model also   also encour-
                                                                                                                                                                                                        encour-
  The
  The authors
       authors are
                 are with
                     with the
                           the Department
                                Department of of Electrical
                                                  Electrical Engineering
                                                              Engineering and and                    ages
                                                                                                      ages designers
                                                                                                               designers to       to dismiss
                                                                                                                                        dismiss the     the impact
                                                                                                                                                               impact of       of electrical
                                                                                                                                                                                     electrical stiffness,
                                                                                                                                                                                                       stiffness,
Computer
Computer Sciences,
            Sciences, University
                       University ofof California,
                                        California, Berkeley,
                                                       Berkeley, CACA (e-mail:
                                                                         (e-mail:
akgul@berkeley.edu).
akgul@berkeley.edu).                                                                                 which
                                                                                                     which happenshappens when      when designers
                                                                                                                                                 designers neglect   neglect the     the kk,e part
                                                                                                                                                                                                 part in   in the
                                                                                                                                                                                                                the
  DOI
  DOI http://dx.doi.org/10.1109/TUFFC.2014.2976
        http://dx.doi.org/10.1109/ TUFFC.2014.2976                                                   value
                                                                                                     value of    of c¢,x when
                                                                                                                           when drawingdrawing up        up mechanical
                                                                                                                                                               mechanical circuits.    circuits.

                                                                                   0885-3010 ©
                                                                                   0885–3010 © 2014
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                                                                                                    IEEE
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850
850                                           IEEE Transactions
                                              IEEE TRANSACTIONS on
                                                                ON Ultrasonics,
                                                                   ULTRASONICS, Ferroelectrics,
                                                                                FERROELECTRICS, and
                                                                                                AND Frequency CONTROL, , vol.
                                                                                                    FREQUENCY Control    VOL. 61,
                                                                                                                              61, no.
                                                                                                                                  NO. 5, MAY 2014
                                                                                                                                      5, May 2014


                                          Core Icr                                                                                                                    5




                                                                                                                                                                     (c)
                                                                                                                                                                   Nodal Points



                                                                                                                      Resonator
                                                                                                                         Disk
        —                                           5
             Port 3                                                      Port 4                     ONIN TNA   I   NOOO           TN I   DL NNN
                                      Resonator
                                       Body Terminal
                                                                                                                                                           Radial            Wine-Glass
Fig.
Fig. 1. 1. Conventional
           Conventional small-signal
                              small-signal ac   ac equivalent
                                                    equivalent circuit
                                                                  circuit for
                                                                            for a a four-port
                                                                                     four-port         .             Buried              i                 Mode                 Mode
capacitive-gap-transduced
capacitive-gap-transduced micromechanical
                                     micromechanical resonator,
                                                             resonator, such
                                                                           such as as that
                                                                                       that ofof     Via           Metal Trace PolySi         Al,O,          (d)                   ©)
Fig. 2,
Fig.    2, when
           when operating
                    operating in in the
                                     the radial-contour
                                           radial-contour mode mode of of Fig.
                                                                           Fig. 2(d).
                                                                                  2(d). Here,
                                                                                         Here,                                                                                      e
terminal
terminal 11 corresponds
                 corresponds to   to the
                                      the electrode
                                            electrode 1,  1, terminal
                                                             terminal 2  2 to
                                                                            to electrode
                                                                                 electrode 2,  2,                         (b)
terminal
terminal 3   3 to
                to electrode
                    electrode 3, 3, terminal
                                     terminal 4   4 to
                                                    to electrode
                                                        electrode 4,4, and
                                                                        and terminal
                                                                               terminal 55 to to    Fig.
                                                                                                    Fig. 2.
                                                                                                          2. Pictorial
                                                                                                              Pictorial summary
                                                                                                                        summary for for aa micromechanical
                                                                                                                                            micromechanical diskdisk resonator
                                                                                                                                                                       resonator with
                                                                                                                                                                                  with
the
the body
       body of
             of the
                 the conductive
                      conductive resonant
                                     resonant structure.
                                                  structure. The
                                                               The core
                                                                    core LCR
                                                                           LCR models
                                                                                   models the
                                                                                            the     four
                                                                                                    four input/output
                                                                                                          input/output ports
                                                                                                                          ports and
                                                                                                                                and a  a resonator
                                                                                                                                          resonator body
                                                                                                                                                     body port.
                                                                                                                                                            port. (a)
                                                                                                                                                                    (a) Layout
                                                                                                                                                                         Layout view.
                                                                                                                                                                                 view.
dynamic
dynamic behavior
            behavior of  of the
                            the resonant
                                  resonant structure,
                                              structure, where
                                                            where the
                                                                   the variable
                                                                         variable capacitor
                                                                                     capacitor      (b)
                                                                                                    (b) Cross-sectional
                                                                                                         Cross-sectional view.
                                                                                                                          view. (c)
                                                                                                                                (c¢) Perspective
                                                                                                                                      Perspective view.
                                                                                                                                                   view. (d)
                                                                                                                                                         (d) Radial-contour-mode
                                                                                                                                                               Radial-contour-mode
c¢,x includes
     includes the
                the effects
                     effects of
                              of electrical
                                  electrical stiffness.
                                               stiffness.                                           shape.
                                                                                                    shape. (e)
                                                                                                             (e) Wine-glass
                                                                                                                 Wine-glass mode
                                                                                                                             mode shape.
                                                                                                                                    shape. £§



     To
      To remedy
            remedy these  these deficiencies,
                                    deficiencies, this    this paper
                                                                  paper introduces
                                                                              introduces a    a
more
more circuit-design-friendly
            circuit-design-friendly model,         model, presented
                                                                presented in      in Fig.
                                                                                      Fig. 3,3,
that
that captures
          captures the   the influence
                               influence of    of electrical
                                                     electrical stiffness
                                                                    stiffness on   on device
                                                                                       device
and
and circuit
         circuit behavior
                     behavior using using a   a negative
                                                   negative capacitance
                                                                  capacitance exactly exactly
equal
equal in    in magnitude
                magnitude to       to thethe shunt
                                                shunt static
                                                           static electrode-to-reso-
                                                                     electrode-to-reso-
nator
nator overlap
            overlap capacitance
                          capacitance C        C,o atat each
                                                          each electrode
                                                                   electrode terminal.
                                                                                    terminal.
The
The presence
          presence of     of this
                              this negative
                                       negative circuit circuit element
                                                                    element obviously
                                                                                   obviously
presents
presents opportunities
                 opportunities to        to negate
                                             negate the    the effect
                                                                  effect of  of the
                                                                                  the shunt
                                                                                        shunt
CC,,o, which
        which has  has historically
                          historically provenproven troublesome
                                                           troublesome for       for certain
                                                                                      certain
oscillator,
oscillator, filter,filter, and
                             and sensor
                                     sensor designs.
                                                 designs. As    As will
                                                                      will bebe seen,
                                                                                   seen, rec-
                                                                                          rec-
ognition
ognition of     of the
                    the negative
                           negative C     C,o also
                                               also suggests
                                                        suggests circuit
                                                                      circuit topologies
                                                                                  topologies
for
for oscillators
       oscillators that  that should
                                 should greatly
                                             greatly enhance
                                                           enhance their  their stabilities
                                                                                   stabilities
against
against environmental
               environmental perturbations,
                                          perturbations, such       such as   as tempera-
                                                                                    tempera-
ture-induced
ture-induced drift      drift oror acceleration.
                                     acceleration.
     This
      This paper
              paper begins
                         begins in  in Section
                                         Section II    II with
                                                          with a   a simple
                                                                      simple derivation
                                                                                  derivation
for
for thethe circuit
              circuit model
                          model of    of Fig.
                                          Fig. 33 and and follows
                                                              follows in   in Sections
                                                                               Sections III III
and
and IV  IV with
              with the the complete
                             complete development
                                             development of         of element
                                                                         element expres-
                                                                                      expres-
sions
sions for  for thethe specific
                         specific casescases of   of capacitive-gap-transduced
                                                        capacitive-gap-transduced
disk
disk resonators
           resonators operating
                              operating in       in the the radial-contour
                                                                radial-contour mode     mode
and
and the  the wine-glass
                 wine-glass mode.  mode. After  After establishing
                                                           establishing proper   proper de-de-
sign
sign procedures
          procedures via     via actual
                                     actual design
                                                 design examples
                                                               examples in      in Sections
                                                                                     Sections
                                                                                                                      Port 3                                          Port 4
III
IIT andand IV, IV, Section
                      Section V     V then
                                         then confirms
                                                   confirms model model accuracy
                                                                              accuracy by   by                                           C Resonator
comparison
comparison with       with measured
                               measured data     data thatthat includes
                                                                   includes frequency
                                                                                   frequency                                                 Body Terminal
response
response matching,
                matching, as      as well
                                       well asas plots
                                                    plots of of frequency
                                                                 frequency versus versus dc-
                                                                                           dc-      Fig.
                                                                                                    Fig. 3.
                                                                                                          3. Negative-capacitance
                                                                                                             Negative-capacitance small-signal
                                                                                                                                         small-signal ac ac equivalent
                                                                                                                                                            equivalent circuit
                                                                                                                                                                         circuit for
                                                                                                                                                                                  for a a two-
                                                                                                                                                                                           two-
bias
bias versus
         versus input/output
                     input/output load      load impedance,
                                                      impedance, where    where the  the new
                                                                                          new       port
                                                                                                    port capacitive-gap-transduced
                                                                                                           capacitive-gap-transduced micromechanical
                                                                                                                                            micromechanical resonator,
                                                                                                                                                                  resonator, such
                                                                                                                                                                               such asas that
                                                                                                                                                                                           that
                                                                                                    of
                                                                                                    of Fig.
                                                                                                       Fig. 2,
                                                                                                             2, when
                                                                                                                 when operating
                                                                                                                        operating inin the
                                                                                                                                        the radial-contour
                                                                                                                                             radial-contour modemode shown
                                                                                                                                                                       shown inin Fig.
                                                                                                                                                                                   Fig. 2(d).
                                                                                                                                                                                          2(d).
equivalent
equivalent circuit circuit proves
                              proves especially
                                           especially adept adept at   at explaining
                                                                            explaining the the
                                                                                                    Here,
                                                                                                    Here, negative
                                                                                                            negative capacitors
                                                                                                                        capacitors exactly
                                                                                                                                      exactly equal
                                                                                                                                                equal toto the
                                                                                                                                                            the shunt
                                                                                                                                                                 shunt electrode-to-reso-
                                                                                                                                                                         electrode-to-reso-
behavior
behavior of      of these
                      these curves.
                                curves. Section
                                             Section VI     VI finally
                                                                  finally explores
                                                                              explores the the      nator
                                                                                                    nator static
                                                                                                            static overlap
                                                                                                                    overlap capacitors
                                                                                                                              capacitors areare used
                                                                                                                                                 used to
                                                                                                                                                       to model
                                                                                                                                                           model thethe effect
                                                                                                                                                                        effect of
                                                                                                                                                                                of electrical
                                                                                                                                                                                    electrical
impact
impact that   that use use ofof this
                                  this equivalent
                                          equivalent circuit circuit should
                                                                         should have have onon      stiffness
                                                                                                    stiffness inin a
                                                                                                                   a way
                                                                                                                      way that
                                                                                                                            that more
                                                                                                                                  more clearly
                                                                                                                                          clearly conveys
                                                                                                                                                    conveys interaction
                                                                                                                                                               interaction between
                                                                                                                                                                             between themthem
practical
practical applications.
                 applications.                                                                      and
                                                                                                    and the
                                                                                                          the static
                                                                                                               static electrode-to-resonator
                                                                                                                       electrode-to-resonator overlap
                                                                                                                                                   overlap capacitance
                                                                                                                                                             capacitance at at each
                                                                                                                                                                               each port.
                                                                                                                                                                                       port.
 Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 101 of 148 PageID #: 1626
akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
                 NEGATIVE-CAPACITANCE equivalent
                                      EQUIVALENT circuit
                                                 CIRCUIT model
                                                         MODEL                                                                                                                      851
                                                                                                                                                                                    851


                  2                                               3                                     ∂ Ci
                                                                                                        00,    C
                                                                                                               C.;oi                    2        3
                                                                                                         ar  =
                                                                                                             =  d    ((11 +} A 1r +
                                                                                                                             Ayr  } A 2r +
                                                                                                                                    Agr   T A 3r +
                                                                                                                                            Agr?   1 ),                           (3)
                                                                                                         ∂r    do                                     ),                           (3)

         Vieotv,                                                      Vistvs
                                                                                           where
                                                                                           where

                                                                                                                     22          3            44
                                                                                                              A
                                                                                                              A
                                                                                                                1 =
                                                                                                                  = a, , A
                                                                                                                         A,
                                                                                                                            2 =
                                                                                                                              = a2’ , A
                                                                                                                                      As
                                                                                                                                         3 = a,....                                (4)
                                                                                                                    do
                                                                                                                                           =                                       (4)
                                                                                                                                  2
                                                                                                                                do           d o3

                                                                                           Inserting (3)
                                                                                           Inserting   (3) into
                                                                                                           into (1),
                                                                                                                (1), taking
                                                                                                                     taking only
                                                                                                                            only the
                                                                                                                                 the first
                                                                                                                                     first two
                                                                                                                                           two terms
                                                                                                                                               terms of
                                                                                                                                                     of
         Vert,                                                        Veatv,               (3), yields
                                                                                           (3), yields
                      1
                                                Ve                                         F
                                                                                                  11CC oi 2
                                                                                                = 25 d7 ((Vii
                                                                                           F; i =
                                                                                                        o0
                                                                                                                      V Piv i ++ vvfi2 ++ AV
                                                                                                             V Pi −— 2Vp,                 AVE
                                                                                                                                             2
                                                                                                                                           1 Pir −  — 224AV1VpPiv ir +
                                                                                                                                                                     + A
                                                                                                                                                                           2
                                                                                                                                                                        1v i r )
                                                                                                                                                                       Air)

Fig.
Fig. 4.    chematic diagram
      4. Schematic  diagram showing
                             showing the
                                      the general
                                          general electrical
                                                  electrical input/output
                                                             input/output                         110.
                                                                                                     C
                                                                                                = D) Co.oi ((  − 22Vp
                                                                                                                    V Piiv;
                                                                                                                        v i +} AV
                                                                                                                                AVEr
                                                                                                                                       2
                                                                                                                                  1 Pir + + A
                                                                                                                                                 2
                                                                                                                                              1v i r +
                                                                                                                                            Apr       +  =),),
          S
configuration
configuration for
                for aa capacitive-gap-transduced
                       capacitive-gap-transduced micromechanical
                                                   micromechanical disk
                                                                      disk                        2 do
resonator.
resonator.                                                                                                                                                                (5)
                                                                                                                                                                         (5)




                                                                                           		
                                                                                           where
                                                                                           where the the last
                                                                                                           last form
                                                                                                                 form includes
                                                                                                                         includes only
                                                                                                                                     only terms
                                                                                                                                           terms that
                                                                                                                                                   that can
                                                                                                                                                          can generate
                                                                                                                                                               generate
        II.  egative- apacitance Equivalent
        II. NEGATIVE-CAPACITANCE             ircuit
                                 EQUIVALENT CIRCUIT                                        force
                                                                                           force components
                                                                                                   components at     at the
                                                                                                                          the frequency
                                                                                                                               frequency of of the
                                                                                                                                               the input
                                                                                                                                                     input voltage
                                                                                                                                                             voltage vv;.i.
          N
                          C
                                                                       C
                                                                                               ecognizing that
                                                                                           Recognizing         that at at resonance
                                                                                                                            resonance the the displacement
                                                                                                                                               displacement is    is 90°
                                                                                                                                                                     90°

                                                                                           R
     A succinct
         succinct derivation
                        derivation of   of the
                                            the equivalent
                                                   equivalent circuit
                                                                   circuit of  of Fig.
                                                                                   Fig.    phase-shifted
                                                                                           phase-shifted from   from the
                                                                                                                       the drive
                                                                                                                             drive voltage,
                                                                                                                                    voltage, so
                                                                                                                                              so rr== ℜ   sin ω ot when
                                                                                                                                                        Rsinw,t    when
    A
33 follows
    follows directly
                 directly fromfrom consideration
                                      consideration of     of the
                                                                the forces
                                                                     forces gener-
                                                                                gener-     vv;i =
                                                                                                = VV;i cos  ωot, then
                                                                                                       cosw,t,    then inserting
                                                                                                                           inserting these
                                                                                                                                       these plus
                                                                                                                                              plus the
                                                                                                                                                     the first
                                                                                                                                                          first term
                                                                                                                                                                term ofof
ated
 ated byby voltages
              voltages applied
                            applied to to terminals
                                           terminals of   of the
                                                              the disk
                                                                   disk resonator
                                                                          resonator         (4) into
                                                                                           (4)   into (5)
                                                                                                        (5) yields
                                                                                                             yields for
                                                                                                                      for the
                                                                                                                            the force
                                                                                                                                 force at
                                                                                                                                        at resonance
                                                                                                                                           resonance
device
device depicted
           depicted in    in Fig.
                              Fig. 2.2. Ass shown,
                                              shown, this
                                                        this device
                                                                device comprises
                                                                          comprises
                                       A
aa conductive
    conductive disk    disk surrounded
                               surrounded by     by electrodes
                                                      electrodes spaced
                                                                      spaced very  very                      C                      2 V     2
                                                                                                                                              VC.    C               
                                                                                                F, i =
                                                                                                F    = −
                                                                                                       {ve V Pi Seoi V
                                                                                                                      vicon   aot − vt
                                                                                                                        i cos ω                            sin ω ot  ,
                                                                                                                                       V Pi + 5i | o2i ℜint.
close
 close toto itsits edges
                    edges and and supported
                                     supported at    at its
                                                          its center
                                                                center byby a   a con-
                                                                                   con-                     
                                                                                                               d                           2     do              




                                                                                                                                                                                     			
                                                                                                                   o  [6]

ductive
ductive stem  stem above
                       above a   a uniform
                                    uniform ground
                                                 ground planeplane at at the
                                                                           the same
                                                                                  same                                                                           }     (6)          (6)
                                                                                           		
potential
potential as     as the
                     the disk.
                           disk.
     Fig.
     Fig. 4  4 presents
                 presents aa general
                                  general electrical
                                              electrical input/output
                                                             input/output con-     con-    where
                                                                                           where tt is
                                                                                                     is time.
                                                                                                         time.
figuration
figuration that   that can
                         can excite
                               excite thethe disk
                                              disk into
                                                     into either
                                                            either ofof the
                                                                         the modes
                                                                                modes         The first
                                                                                              The   first term
                                                                                                           term of  of (6)
                                                                                                                        (6) represents
                                                                                                                            represents the the force
                                                                                                                                                force atat resonance
                                                                                                                                                           resonance
shown in
shown       in Figs.
                 Figs. 2(d)
                         2(d) andand 2(e).
                                        2(e). Here,
                                                Here, aa dc-bias
                                                             dc-bias voltage
                                                                        voltage V    VpP   generated
                                                                                           generated by  by the
                                                                                                              the input
                                                                                                                    input voltage
                                                                                                                            voltage vv;,i, which
                                                                                                                                           which is,is, of
                                                                                                                                                        of course,
                                                                                                                                                           course, inin
is
is applied
    applied to    to the
                      the conductive
                            conductive structure
                                             structure (i.e.,
                                                            (i.e., at
                                                                   at terminal
                                                                       terminal 5)    5)   phase
                                                                                           phase with
                                                                                                  with vwv;i. In In transformer-based
                                                                                                                      transformer-based equivalent
                                                                                                                                               equivalent circuits,
                                                                                                                                                             circuits,
and
 and inin general
            general combinations
                         combinations of      of dc
                                                  dc V Vj;Ei and
                                                              and acac voltages
                                                                        voltages vv;i      such
                                                                                           such as
                                                                                                as those
                                                                                                    those of of Figs.
                                                                                                                 Figs. 11 and
                                                                                                                           and 3,
                                                                                                                                3, this
                                                                                                                                   this force
                                                                                                                                          force is
                                                                                                                                                 is often
                                                                                                                                                    often written
                                                                                                                                                           written asas
either
either applied
           applied or   or generated
                             generated (e.g.,
                                            (e.g., byby transistor
                                                          transistor circuit
                                                                         circuit in- in-
puts)
puts) at  at each
               each of of the
                           the electrodes.
                                 electrodes. The  The combination
                                                         combination of      of these
                                                                                 these                                      F
                                                                                                                            F; i =
                                                                                                                                 = −η eiVi cos
                                                                                                                                   —NeiV;  COs ω ot,
                                                                                                                                               Wal,                                (7)
                                                                                                                                                                                   (7)
voltages
voltages generates
               generates aa forceforce from
                                         from each
                                                 each electrode
                                                        electrode ii to to the
                                                                             the disk
                                                                                   disk
structure
structure given  given by by                                                               where
                                                                                           where

                                   1 ∂C i                                                                                           ac,C i = V κ CCc.oi
                                                                                                                                    ∂
                          Fi =
                                   2 ∂r
                                          (V Pi − v i )2,                         (1)
                                                                                  (1)                                        = V
                                                                                                                      ηNeiei = Voip,
                                                                                                                                 Pi
                                                                                                                                     ∂x = VoitPi i
                                                                                                                                                   do
                                                                                                                                                                                   (8)
                                                                                                                                                                                   (8)

where
where ∂C      i/∂r is
           0C;/0r     is the
                         the change
                               change in in port
                                             port i7 electrode-to-resonator
                                                     electrode-to-resonator                is
                                                                                           is the
                                                                                               the electromechanical
                                                                                                     electromechanical coupling    coupling factor
                                                                                                                                                 factor that  that defines
                                                                                                                                                                       defines the   the
capacitance
capacitance per     per unit
                          unit radial
                                 radial displacement
                                          displacement of     of the
                                                                  the disk,
                                                                       disk, andand        value
                                                                                           value of of the
                                                                                                        the transformer
                                                                                                               transformer turns  turns ratio
                                                                                                                                          ratio at   at port
                                                                                                                                                          port i7 in in Fig.
                                                                                                                                                                          Fig. 3. 3. In
                                                                                                                                                                                      In
VVp;Pi is
       is the
           the dcdc voltage
                      voltage applied
                                 applied across
                                             across the
                                                      the resonator-to-elec-
                                                            resonator-to-elec-             the last
                                                                                           the   last form
                                                                                                        form of of (8),
                                                                                                                    (8), κx;i is
                                                                                                                              is aa modifying
                                                                                                                                     modifying factor  factor (to (to bebe derived
                                                                                                                                                                              derived
trode
trode gap gap atat port
                     port i.4. For
                               For the
                                    the simple
                                         simple case
                                                   case inin which
                                                             which thethe radial
                                                                             radial        later)
                                                                                           later) that
                                                                                                     that applies
                                                                                                              applies whenwhen the  the displacement
                                                                                                                                          displacement amplitude   amplitude of        of
displacement
displacement of       of the
                          the disk
                                disk remains
                                      remains the the same
                                                         same over
                                                                 over the
                                                                        the span
                                                                              span         the
                                                                                           the resonator
                                                                                                 resonator variesvaries over
                                                                                                                           over thethe span
                                                                                                                                        span of  of overlap
                                                                                                                                                       overlap by   by electrode
                                                                                                                                                                           electrode
where
where the  the electrode
                electrode at   at port
                                   port ii overlaps
                                            overlaps thethe disk,
                                                             disk, ∂C0C;/0r
                                                                         i /∂r  can
                                                                                can        i.
                                                                                           i. (When
                                                                                              (When the   the displacement
                                                                                                                displacement amplitude
                                                                                                                                     amplitude is       is constant
                                                                                                                                                            constant over  over thisthis
be
be obtained
      obtained from from thethe port
                                  port ii electrode-to-resonator
                                           electrode-to-resonator capaci-  capaci-         span,
                                                                                           span, κ  k;i =
                                                                                                        = 1.)
                                                                                                            1.) Ass will
                                                                                                                      will bebe seen,
                                                                                                                                 seen, κ x;i mainly
                                                                                                                                             mainly modifiesmodifies (C         oi o).
                                                                                                                                                                                  /d
                                                                                                                                                                            (C,;/d,).
                                                                                                                  A
tance C
tance      Cyr)
            i(r) asas                                                                      Therefore,
                                                                                           Therefore, in     in general,
                                                                                                                 general, formulas
                                                                                                                               formulas derived
                                                                                                                                             derived assuming assuming a       a con-
                                                                                                                                                                                   con-
                                                                                           stant
                                                                                           stant displacement
                                                                                                    displacement amplitude
                                                                                                                         amplitude over  over a    a given
                                                                                                                                                       given electrode
                                                                                                                                                                 electrode span   span
                                                            r  -2
    cm =c,1                                 =Sii-1)                                ©
                                  −1                                       −2
                       r                  ∂C i  C                                       can
                                                                                           can be be generalized
                                                                                                        generalized to    to thethe non-constant
                                                                                                                                      non-constant case        case by  by merely
                                                                                                                                                                               merely
   C i(r ) = C oi  1 −             ⇒         = oi  1 −  ,                 (2)
                       do                  ∂r    do      do                            multiplying
                                                                                           multiplying any    any (C      /d
                                                                                                                     (C,;/d,)
                                                                                                                        oi o   )  term
                                                                                                                                  term   by
                                                                                                                                         by   κ
                                                                                                                                              k; i  calculated
                                                                                                                                                    calculated        for
                                                                                                                                                                       for   the
                                                                                                                                                                             the   cor-
                                                                                                                                                                                    cor-
                                                                                           responding
                                                                                           responding vibration
                                                                                                             vibration mode mode shape.
                                                                                                                                      shape.
where
where C C,;oi is
              is the
                 the static
                     static electrode-to-resonator
                               electrode-to-resonator overlap
                                                           overlap ca-
                                                                     ca-                       Att resonance,
                                                                                                    resonance, the    the second
                                                                                                                            second termterm of of (6)(6) is is 90°
                                                                                                                                                                90° phase-shift-
                                                                                                                                                                      phase-shift-
                                                                                                 A
pacitance
pacitance at  at port
                 port i,
                       i, dd,o is
                                is the
                                   the electrode-to-resonator
                                        electrode-to-resonator gap  gap                    ed
                                                                                           ed from
                                                                                                from the the input,
                                                                                                                input, which
                                                                                                                          which meansmeans it   it is is inin phase
                                                                                                                                                                phase with with the  the
spacing
spacing (assumed
           (assumed thethe same
                              same forfor all
                                           all ports),
                                               ports), and
                                                         and rr is
                                                                 is ra-
                                                                     ra-                   displacement.
                                                                                           displacement. This,    This, together
                                                                                                                           together withwith the  the factfact that
                                                                                                                                                                  that it  it is
                                                                                                                                                                               is also
                                                                                                                                                                                    also
dial
dial displacement.
     displacement. For For small
                             small displacements,
                                     displacements, (2)(2) Taylor
                                                            Taylor ex-
                                                                     ex-                   proportional
                                                                                           proportional to      to the
                                                                                                                     the displacement
                                                                                                                           displacement amplitudeamplitude ℜ,       ®, identifies
                                                                                                                                                                           identifies
pands
pands to
       to                                                                                  this
                                                                                           this force
                                                                                                  force component
                                                                                                           component as       as equivalent
                                                                                                                                   equivalent to     to a  a stiffness,
                                                                                                                                                               stiffness, but  but in  in
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852
852                                          IEEE Transac
                                             IEEE TRANSACTIONS  ON Ul
                                                            ons on ULTRASONICS, FERROELECTRICS,
                                                                      rason cs, F               AND Fr
                                                                                  rro l c r cs, and FREQUENCY
                                                                                                       q        on rol , vol.
                                                                                                           ncy CONTROL,  VOL. 61,
                                                                                                                              61, no.
                                                                                                                                  NO. 5, MAY 2014
                                                                                                                                      5, May 2014




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                                                                                                             e
                                                                                                                      e
                                                                                                                          t
                                                                                                                              i
                                                                                                                                                e
                                                                                                                                                        ue
                                                                                                                                                                C
                                                                                                                                                                    t
this
this case,
      case, oneone generated
                      generated via via electrical
                                         electrical means.
                                                        means. In  In particular,
                                                                       particular,                                                                           Core lcr
this
this component
       component arises   arises from
                                   from thethe increase
                                                 increase and  and decrease
                                                                      decrease in
electric
electric field
             field strength
                       strength across
                                    across thethe electrode-to-resonator
                                                      electrode-to-resonator
                                                                                   in
                                                                                                                      Poti                    r———*———                                port?
gap
gap as as the
            the gapgap shrinks
                           shrinks andand grows,
                                             grows, respectively,
                                                         respectively, during
                                                                            during                      —r_C 2                                                          Cor —M—
mechanical
mechanical resonance
                   resonance vibration.
                                   vibration. WhenWhen the   the disk
                                                                   disk sidewall
                                                                          sidewall                        lig, Ma                                 Lo Cre                a pl
gets
gets close
       close to  to the
                      the electrode,
                             electrode, thethe force
                                                 force pulling
                                                           pulling it it into
                                                                          into the
                                                                                 the                10                            o o—          000M                          °                  02
electrode
electrode grows,
               grows, and and vice
                                vice versa
                                      versa for
                                              for the
                                                   the other
                                                         other direction,
                                                                  direction, i.e.,
                                                                                i.e.,                                                                           7

it
it shrinks
   shrinks as   as the
                     the disk
                            disk sidewall
                                  sidewall moves
                                              moves away away from
                                                                 from thethe elec-
                                                                               elec-
                                                                                                            Co                                                                                Cp
trode.
trode. Thus,
         Thus, rather
                    rather thanthan acting
                                     acting to to oppose
                                                  oppose displacement,
                                                              displacement, as     as
is
is the
   the case
         case for for mechanical
                        mechanical stiffness,
                                        stiffness, thisthis force
                                                              force acts
                                                                      acts toto en-
                                                                                 en-                                                                                              °
hance
hance it,it, which
               which effectively
                          effectively makes
                                         makes it   it aa negative
                                                            negative electrical
                                                                         electrical
stiffness
stiffness at at port
                  port i,  ¢, with
                              with spring
                                     spring constant
                                               constant magnitude
                                                              magnitude equal equal
to [using
to  [using (6)]
              (6)]                                                                                                                            _Cs   2
                                                                                                                                                                        Cos
                                                                                                                                  1:17,5       Tes                      Me    Moai l
                                  2 V    2
                      kkeiei =   V + V7?i CCooi        C
                                                    ≈ V 2 Cooi ,                          (9)       30                            ®   ©                                       °                  O04
                             = vtPi +
                                         2  d22o2 ~ VEPi d3o2
                                         2)                                               9)


                                                                                                            Cos                                                                               Cos
where
where the the last
                last form
                       form assumes
                             assumes thatthat V  V;i is
                                                     is much
                                                         much smaller
                                                                 smaller than
                                                                            than
VVp;
  Pi ;  the
        the  reader
             reader     is
                        is cautioned
                           cautioned    that
                                        that    this
                                                this    condition
                                                        condition     is
                                                                      is not
                                                                         not   al-
                                                                               al-                                                                                                °
ways the
ways     the case,
               case, such
                        such asas inin micromechanical
                                       micromechanical mixlers   mixlers [18].
                                                                             [18].
For
For thethe case
             case in in which
                         which thethe dynamic
                                       dynamic stiffness
                                                     stiffness of of the
                                                                      the reso-
                                                                            reso-
nator
nator varies
          varies overover the
                           the span
                                 span ofof the
                                             the electrode-to-resonator
                                                    electrode-to-resonator                                   Resonator Body __p                                (5
overlap,      ection IV
overlap, Section         IV will
                            will show
                                   show that
                                          that the
                                                 the κ x;i factor
                                                           factor once
                                                                    once again
                                                                           again                                 Terminal
                  S
applies,
applies, andand (9) (9) becomes
                         becomes                                                                    Fig.
                                                                                                    Fig. 5.     ircuit for
                                                                                                         5. Circuit
                                                                                                                  C
                                                                                                                        for the
                                                                                                                             the device
                                                                                                                                  device ofof Fig.
                                                                                                                                              Fig. 44 explicitly
                                                                                                                                                       explicitly showing
                                                                                                                                                                    showing capacitors
                                                                                                                                                                             capacitors mod-
                                                                                                                                                                                          mod-
                                                                                                    eling
                                                                                                    eling the
                                                                                                           the mechanical
                                                                                                                 mechanical stiffness
                                                                                                                                 stiffness and
                                                                                                                                             and electrical
                                                                                                                                                  electrical stiffness
                                                                                                                                                               stiffness normally
                                                                                                                                                                          normally combined
                                                                                                                                                                                      combined
                                                  2                                                 into
                                                                                                    into c¢,.x. Here,
                                                                                                                Here, negative
                                                                                                                         negative capacitors
                                                                                                                                     capacitors modeling
                                                                                                                                                    modeling electrical
                                                                                                                                                                  electrical stiffnesses
                                                                                                                                                                              stiffnesses from
                                                                                                                                                                                           from
                                   2       C oi  11   ηnge2i
                        kke;ei =
                               = V     Co
                                   Pi  κ i
                                 Vin                  =
                                                       =        .                    (10)           ports
                                                                                                    ports 11 and
                                                                                                               and 2,2, and
                                                                                                                         and equal
                                                                                                                               equal toto −1/k
                                                                                                                                           —1/k,;e1 and
                                                                                                                                                     and −1/k
                                                                                                                                                           —1/ke,e2, respectively,
                                                                                                                                                                     respectively, are
                                                                                                                                                                                     are shown
                                                                                                                                                                                         shown
                                       d o  C oi      C oi~-                      (10)
                                                                                                    with
                                                                                                    with their
                                                                                                          their actual
                                                                                                                   actual values
                                                                                                                            values (in
                                                                                                                                     (in terms
                                                                                                                                          terms ofof CC,o and
                                                                                                                                                          and η  e).
                                                                                                                                                               7).


When
When thethe frequency
              frequency ofof vv;i matches
                                   matches one one ofof the
                                                        the mode
                                                              mode fre-
                                                                      fre-
quencies
quencies ofof the
              the disk,
                  disk, the
                         the force
                              force given
                                      given byby (6)
                                                  (6) ensues,
                                                       ensues, and
                                                                 and the
                                                                      the                           to
                                                                                                    to model
                                                                                                        model electrical
                                                                                                                    electrical stiffnesses
                                                                                                                                     stiffnesses generated
                                                                                                                                                         generated at       at the
                                                                                                                                                                                 the i¢ ports,
                                                                                                                                                                                           ports, as as
disk
disk begins
      begins toto vibrate
                   vibrate inin (essentially)
                                  (essentially) that
                                                   that mode
                                                          mode shape,
                                                                  shape,                            shown
                                                                                                    shown in  in Fig.
                                                                                                                   Fig. 5.        eflecting the
                                                                                                                           5. Reflecting          the electrical
                                                                                                                                                          electrical stiffness-based
                                                                                                                                                                           stiffness-based ca-     ca-
with
with aa resonance
         resonance frequency
                      frequency shifted
                                    shifted byby the
                                                  the electrical
                                                        electrical stiff-
                                                                    stiff-
                                                                                                                                          R
                                                                                                    pacitors
                                                                                                    pacitors through
                                                                                                                 through the     the transformers
                                                                                                                                       transformers to         to outside
                                                                                                                                                                     outside the   the core
                                                                                                                                                                                         core LCRLCR
nesses
nesses generated
         generated by  by the
                            the electrode-to-resonator
                                   electrode-to-resonator voltagevoltage                            loop
                                                                                                    loop yields
                                                                                                           yields the  the circuit
                                                                                                                              circuit of   of Fig.
                                                                                                                                                Fig. 3,  3, where
                                                                                                                                                             where the   the physical
                                                                                                                                                                                 physical shunt shunt
drops at
drops  at each
           each port
                 port ii according
                         according to  to [19]
                                           [19]                                                     electrode-to-resonator
                                                                                                    electrode-to-resonator capacitors     capacitors C         C,;oi are
                                                                                                                                                                      are nownow matched
                                                                                                                                                                                      matched by    by
                                                       n                                            series
                                                                                                    series negative
                                                                                                             negative capacitors
                                                                                                                              capacitors of      of exactly
                                                                                                                                                      exactly the   the samesame values.
                                                                                                                                                                                      values.
      f
      fo =
              _    11   kk,r _ 11
                             =
                                          kkp,m −  ∑i =1 kFeiei
                                                - Soi                                                     ote that
                                                                                                        Note      that the the disk’s
                                                                                                                                   disk’s resonance
                                                                                                                                               resonance frequency frequency dependence
                                                                                                                                                                                      dependence
          ©          π mm
                  22r\\m,      22«π               m
                                                  m m
                                                                                                        N
                                                                                                    on
                                                                                                    on dc-bias
                                                                                                        dc-bias voltage
                                                                                                                      voltage V     VpP is
                                                                                                                                         is now
                                                                                                                                              now entirely
                                                                                                                                                       entirely captured
                                                                                                                                                                     captured by      by thethe elec-
                                                                                                                                                                                                 elec-
                                               1/2                                 1/2              tromechanical
                                      n                                n                            tromechanical coupling   coupling coefficients
                                                                                                                                              coefficients η         ei. Thus,
                                                                                                                                                                   7.;.   Thus, no    no arrow
                                                                                                                                                                                            arrow is  is
                 11    [kk m         k ei 
                                      "k|”                            "|k 
                                                                                          			
              =        my,  11 − 2∑                  = f nom  1 − po ky,ei 
                                                                       ∑                 ,’         needed
                                                                                                    needed through
                                                                                                                through the     the motional
                                                                                                                                       motional capacitor,
                                                                                                                                                         capacitor, as       as needed
                                                                                                                                                                                  needed in    in the
                                                                                                                                                                                                   the
              = mr
                2π     m m          kEp            = fo!
                                                                         k
                                  i =1 m                         i =1 m                       conventional
                                                                                                    conventional circuit  circuit of  of Fig.
                                                                                                                                           Fig. 1,  1, although
                                                                                                                                                        although one      one might
                                                                                                                                                                                  might want want to to
                                                                                     (11)           draw
                                                                                                    draw arrows
                                                                                                             arrows through
                                                                                                                          through the    the η   7.eis as as reminders
                                                                                                                                                              reminders that       that they
                                                                                                                                                                                           they areare
		
                                                                                                    tunable
                                                                                                    tunable via  via thethe V      Pis. More
                                                                                                                                Vp;s.    More importantly,
                                                                                                                                                      importantly, the        the value
                                                                                                                                                                                     value of  of the
                                                                                                                                                                                                   the
where
where fom  fnom isis the
                     the nominal
                            nominal resonance
                                       resonance frequency
                                                      frequency of    of the
                                                                          the disk
                                                                               disk                 core
                                                                                                    core cc,x element
                                                                                                                 element stays   stays constant,
                                                                                                                                            constant, as      as it it should.
                                                                                                                                                                         should. The    The nega-
                                                                                                                                                                                                nega-
(i.e.,
(i.e., with
        with no  no voltages
                     voltages applied),
                                 applied), kk;r is is the
                                                      the total
                                                            total stiffness
                                                                     stiffness in-
                                                                                 in-                tive
                                                                                                    tive C C,o is
                                                                                                                is also
                                                                                                                     also a  a static
                                                                                                                                static capacitor,
                                                                                                                                            capacitor, just    just likelike thethe positive
                                                                                                                                                                                       positive C   C,o
cluding
cluding mechanical
             mechanical and   and electrical
                                    electrical components
                                                  components of      of the
                                                                         the reso-
                                                                              reso-                 of
                                                                                                    of the
                                                                                                        the physical
                                                                                                               physical shunt  shunt electrode-to-resonator
                                                                                                                                          electrode-to-resonator capacitance.        capacitance.
nator
nator at  at a a maximum
                  maximum amplitude
                                amplitude location,
                                                location, n   n is
                                                                 is the
                                                                     the number
                                                                           number                   With
                                                                                                    With thisthis circuit,
                                                                                                                     circuit, by   by mere
                                                                                                                                        mere inspection,
                                                                                                                                                   inspection, a        a designer
                                                                                                                                                                            designer can    can now
                                                                                                                                                                                                  now
of
of parallel-plate
     parallel-plate electrodes
                          electrodes overlapping
                                         overlapping the   the disk,
                                                                  disk, and
                                                                          and m my,m                immediately
                                                                                                    immediately see       see that
                                                                                                                                 that thethe electrical
                                                                                                                                                  electrical stiffness
                                                                                                                                                                    stiffness phenomenon
                                                                                                                                                                                    phenomenon
and
and kky,m are are its
                    its dynamic
                          dynamic mechanical
                                      mechanical mass   mass and  and stiffness,
                                                                         stiffness,                 presents
                                                                                                    presents the  the opportunity
                                                                                                                         opportunity to        to effectively
                                                                                                                                                     effectively cancel cancel the  the shunt
                                                                                                                                                                                           shunt C  C,o
respectively,
respectively, again  again at at the
                                  the specified
                                        specified maximum
                                                      maximum amplitudeamplitude                    in
                                                                                                    in certain
                                                                                                        certain circuit
                                                                                                                      circuit configurations—something
                                                                                                                                   configurations—something often                     often desir-
                                                                                                                                                                                                desir-
location.
location.                                                                                           able
                                                                                                    able inin filter
                                                                                                               filter applications—or
                                                                                                                         applications—or vice           vice versa,
                                                                                                                                                                versa, i.e.,i.e., the
                                                                                                                                                                                    the shunt
                                                                                                                                                                                           shunt C  C,o
    To
     To attain
         attain the the circuit
                          circuit of
                                   of Fig.
                                       Fig. 3,
                                             3, we
                                                 we start
                                                      start with
                                                               with thethe circuit
                                                                            circuit                 negates
                                                                                                    negates the  the electrical
                                                                                                                        electrical stiffness—something
                                                                                                                                         stiffness—something often               often desirable
                                                                                                                                                                                           desirable
of
of Fig.
     Fig. 11 andand first
                       first separate
                              separate cc,x into
                                               into five
                                                      five capacitors:
                                                             capacitors: cc,x =    =
                                                                                                    in
                                                                                                    in some
                                                                                                        some oscillator
                                                                                                                   oscillator applications.
                                                                                                                                    applications. These      These opportunities
                                                                                                                                                                          opportunities will      will
1/k
1/k,,m toto model
              model the  the mechanical
                               mechanical stiffness
                                                stiffness of of the
                                                                  the resonator
                                                                        resonator                   be
                                                                                                    be explored
                                                                                                        explored later  later in        ection VI.
                                                                                                                                  in Section          VI.
structure,
structure, and   and four
                       four negative
                              negative capacitors
                                          capacitors of   of the
                                                              the form
                                                                    form
                                                                                                                                                S
                                                                                                        First,
                                                                                                        First, however,
                                                                                                                   however, explicitexplicit expressions
                                                                                                                                                   expressions for        for thethe equivalent
                                                                                                                                                                                        equivalent
                                             1      C                                               circuit
                                                                                                    circuit elements
                                                                                                               elements in     in Fig.
                                                                                                                                    Fig. 3   3 for
                                                                                                                                                for aa disk
                                                                                                                                                          disk operating
                                                                                                                                                                  operating in       in its
                                                                                                                                                                                         its radial-
                                                                                                                                                                                              radial-
                              −c ei = −          = − 2ooii ,                         (12)
                                                                                     (12)           contour
                                                                                                    contour and  and wine-glass
                                                                                                                         wine-glass modes    modes are    are needed.
                                                                                                                                                                needed.
                                            k ei    η ei
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akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
                 NEGATIVE-CAPACITANCE equivalent
                                      EQUIVALENT circuit
                                                 CIRCUIT model
                                                         MODEL                                                                                                                                                    853
                                                                                                                                                                                                                  853


                   III.  egative C
                   III. NEGATIVE  Cyo Equivalent   ircuit
                                      EQUIVALENT CIRCUIT                                                                     Because
                                                                                                                             Because the  the displacement
                                                                                                                                               displacement amplitude
                                                                                                                                                                  amplitude is   is the
                                                                                                                                                                                    the same
                                                                                                                                                                                           same at at all
                                                                                                                                                                                                       all



                                    N
                                                                                       C
                for
                FOR a    apacitive-Gap-Transduced RADIAL
                     A CAPACITIVE-GAP-TRANSDUCED       adial                                                             locations
                                                                                                                         locations along
                                                                                                                                       along thethe perimeter
                                                                                                                                                      perimeter of   of aa disk
                                                                                                                                                                            disk vibrating
                                                                                                                                                                                   vibrating in  in the
                                                                                                                                                                                                      the


                                C
                                                                                               R
                              ontour Mode
                            CONTOUR            isk
                                       MODE Disk                                                                         radial-contour-mode
                                                                                                                         radial-contour-mode shape,    shape, thethe expressions
                                                                                                                                                                       expressions for  for the
                                                                                                                                                                                             the turns
                                                                                                                                                                                                   turns



                                             C
                                                                           D
                                                                                                                         ratios
                                                                                                                         ratios inin Fig.
                                                                                                                                      Fig. 3 3 are
                                                                                                                                               are quite
                                                                                                                                                     quite simple,
                                                                                                                                                             simple, requiring
                                                                                                                                                                        requiring no no integration.
                                                                                                                                                                                          integration.
       Ass shown
             shown in      in Fig.
                                 Fig. 2(d),2(d), the  the radial-contour-mode
                                                             radial-contour-mode shape           shape                   In
                                                                                                                         In addition,
                                                                                                                              addition, the the integral
                                                                                                                                                   integral formulation
                                                                                                                                                              formulation of    of (16)
                                                                                                                                                                                    (16) needed
                                                                                                                                                                                            needed to   to
          A
is
is oneone in in which
                   which all   all points
                                      points on     on the
                                                         the sidewalls
                                                               sidewalls of    of the
                                                                                   the vibrating
                                                                                         vibrating                       determine
                                                                                                                         determine the   the dynamic
                                                                                                                                               dynamic mass mass m  my,m of
                                                                                                                                                                          of aa disk
                                                                                                                                                                                 disk operating
                                                                                                                                                                                         operating in   in
disk
disk move move the    the samesame amount,  amount, with    with the the same
                                                                            same velocity.
                                                                                     velocity. Ass                       its
                                                                                                                         its mth
                                                                                                                              mth radial-contour
                                                                                                                                     radial-contour mode  mode always
                                                                                                                                                                   always yields
                                                                                                                                                                             yields thethe same
                                                                                                                                                                                             same fac-
                                                                                                                                                                                                     fac-




                                                                                                            A
such,
such, displacement
            displacement as             as a  a function
                                                  function of   of angle
                                                                     angle θ6 is is constant,
                                                                                     constant, so      so                tor
                                                                                                                         tor χ xy modifying
                                                                                                                                  modifying the   the physical
                                                                                                                                                        physical mass
                                                                                                                                                                    mass of of the
                                                                                                                                                                                the disk
                                                                                                                                                                                      disk for
                                                                                                                                                                                             for mode
                                                                                                                                                                                                  mode
κKk;i == 11 inin thethe formulations
                            formulations of           of the
                                                          the previous
                                                                 previous section.
                                                                                section. In   In par-
                                                                                                   par-                  m,
                                                                                                                         m, regardless
                                                                                                                              regardless of  of disk
                                                                                                                                                 disk radius.
                                                                                                                                                        radius. InIn other
                                                                                                                                                                       other words,
                                                                                                                                                                               words, forfor aa radial-
                                                                                                                                                                                                 radial-
ticular, (8)
ticular,         (8) with
                       with κ     x;i == 11 provides
                                                 provides the  the needed
                                                                      needed valuevalue of  of turns
                                                                                                  turns                  contour-mode
                                                                                                                         contour-mode disk    disk ofof any
                                                                                                                                                         any radius,
                                                                                                                                                               radius, thethe dynamic
                                                                                                                                                                                dynamic mass  mass ex-ex-
ratios
ratios η     7,;ei for
                    for each
                           each of   of thethe transformers
                                                   transformers in       in Fig.
                                                                             Fig. 3.3.                                   pression
                                                                                                                         pression in in (16)
                                                                                                                                          (16) reduces
                                                                                                                                                reduces to to
       With
       With knowledge
                  knowledge of          of the
                                             the transformer
                                                    transformer turns   turns ratios,
                                                                                 ratios, all all that
                                                                                                   that
remains
remains to        to specify
                      specify the     the entire
                                              entire equivalent
                                                         equivalent circuitcircuit is is specifica-
                                                                                         specifica-
                                                                                                                                                                            2
tion
tion of   of thethe core
                       core LCR.  LCR. In      In the
                                                    the circuit
                                                           circuit of  of Fig.
                                                                            Fig. 3,3, the
                                                                                        the values
                                                                                                values                                                m
                                                                                                                                                      mym = XMM tot
                                                                                                                                                          = χ   op =  xp R
                                                                                                                                                                    = χρπ Rh,h ,                                 (13)
                                                                                                                                                                                                                 (13)
for
for the the core core LCR  LCR elementselements take     take on  on the
                                                                       the actual
                                                                              actual values
                                                                                          values of    of
dynamic
dynamic mass,       mass, stiffness,
                                 stiffness, and     and damping
                                                            damping for     for the
                                                                                  the resonator
                                                                                         resonator                       where
                                                                                                                         where ρ, p, R,R, and
                                                                                                                                            and hh are
                                                                                                                                                     are the
                                                                                                                                                           the massmass density,
                                                                                                                                                                            density, radius,
                                                                                                                                                                                         radius, and  and thick-
                                                                                                                                                                                                              thick-
being
being modeledmodeled at         at the the core core LCRLCR location.
                                                                  location. Each Each of    of these
                                                                                                  these                  ness,
                                                                                                                         ness, respectively,
                                                                                                                                 respectively, of    of the
                                                                                                                                                         the disk,
                                                                                                                                                                disk, andand χ  xy == 0.763,
                                                                                                                                                                                        0.763, 0.967,
                                                                                                                                                                                                    0.967, 0.987
                                                                                                                                                                                                               0.987
can
can be   be derived
               derived by     by consideration
                                     consideration of         of the
                                                                   the total
                                                                         total kinetic
                                                                                  kinetic energy
                                                                                               energy                    for
                                                                                                                         for aa disk
                                                                                                                                 disk operating
                                                                                                                                         operating in    in its
                                                                                                                                                              its first,
                                                                                                                                                                    first, second,
                                                                                                                                                                             second, and   and third
                                                                                                                                                                                                   third radial-
                                                                                                                                                                                                            radial-
of
of thethe resonant
             resonant disk     disk structure
                                         structure and     and itsits radial
                                                                       radial velocity
                                                                                 velocity at    at the
                                                                                                     the                 contour
                                                                                                                         contour modes,
                                                                                                                                      modes, respectively.
                                                                                                                                                  respectively. Note      ote howhow the the diskdisk dynamic
                                                                                                                                                                                                        dynamic




                                                                                                                                                                                N
disk
disk edges.
          edges. Ref.      ef. [19]
                                 [19] has has actually
                                                  actually already
                                                                already correctly
                                                                             correctly derived
                                                                                             derived                     mass
                                                                                                                         mass approaches
                                                                                                                                 approaches its    its physical
                                                                                                                                                         physical staticstatic mass
                                                                                                                                                                                  mass as   as mode
                                                                                                                                                                                                 mode number
                                                                                                                                                                                                          number
                            R
expressions
expressions for          for the the core core LCR   LCR of   of a  a radial-contour-mode
                                                                        radial-contour-mode                              rises.
                                                                                                                         rises. The
                                                                                                                                  The simplicity
                                                                                                                                           simplicity of   of itsits equivalent
                                                                                                                                                                       equivalent circuit circuit modelmodel af-   af-
disk
disk resonator,
          resonator, as        as well
                                     well as   as associated
                                                    associated mathematical
                                                                      mathematical expres-   expres-                     forded
                                                                                                                         forded by  by equal
                                                                                                                                         equal displacements
                                                                                                                                                  displacements along      along its its contour
                                                                                                                                                                                           contour makes makes a     a
sions
sions describing
           describing its         its mode
                                         mode shape  shape and and resonance
                                                                       resonance frequency.
                                                                                        frequency.                       radial-contour-mode
                                                                                                                         radial-contour-mode disk         disk resonator
                                                                                                                                                                   resonator ideal ideal for for useuse inin com-
                                                                                                                                                                                                               com-
Thus,
Thus, there   there is    is no
                              no need need to     to dodo this
                                                            this here.
                                                                     here. Instead,
                                                                              Instead, Table Table II                    plex
                                                                                                                         plex mechanical
                                                                                                                                mechanical circuits,
                                                                                                                                                   circuits, such such as as that
                                                                                                                                                                               that of  of [10],
                                                                                                                                                                                              [10], which
                                                                                                                                                                                                      which em-  em-
summarizes
summarizes the           the needed
                                 needed expressions
                                                 expressions (with   (with reference
                                                                              reference to     to Fig.
                                                                                                    Fig.                 ploys
                                                                                                                         ploys large
                                                                                                                                 large arrays
                                                                                                                                           arrays of of such
                                                                                                                                                         such disks.
                                                                                                                                                                   disks.
66 for
     for variables)
           variables) while      while also    also succinctly
                                                       succinctly presenting
                                                                         presenting a      a design
                                                                                                design                         ne consequence
                                                                                                                             One     consequence of     of a a mode
                                                                                                                                                                mode shape shape withwith equalequal displace-
                                                                                                                                                                                                        displace-
                                                                                                                                O
flow
flow to   to achieve
                 achieve a      a radial-contour-mode
                                    radial-contour-mode disk               disk resonator
                                                                                  resonator like     like                ments
                                                                                                                         ments at  at all
                                                                                                                                        all points
                                                                                                                                             points on on thethe diskdisk perimeter
                                                                                                                                                                             perimeter is      is that
                                                                                                                                                                                                   that allall cur-
                                                                                                                                                                                                                cur-
that
that of   of Fig.
               Fig. 4   4 with
                            with aa specific
                                          specific operating
                                                        operating frequency
                                                                          frequency and   and with with                  rents
                                                                                                                         rents flow
                                                                                                                                 flow in  in the
                                                                                                                                              the same
                                                                                                                                                    same direction,
                                                                                                                                                             direction, i.e., i.e., either
                                                                                                                                                                                      either into into the
                                                                                                                                                                                                         the port
                                                                                                                                                                                                                port
specific
specific motional
                motional resistances
                                   resistances R           xij between
                                                         R,;;  between its    its electrode
                                                                                   electrode ter-   ter-                 or
                                                                                                                         or out
                                                                                                                             out of of the
                                                                                                                                        the port.
                                                                                                                                               port. They
                                                                                                                                                       They thus  thus sumsum and  and flowflow intointo the
                                                                                                                                                                                                           the dc-dc-
minals.
minals.                                                                                                                  bias
                                                                                                                         bias voltage
                                                                                                                                voltage source
                                                                                                                                             source in  in phase.
                                                                                                                                                            phase. This  This by  by itself
                                                                                                                                                                                        itself is is not
                                                                                                                                                                                                      not overly
                                                                                                                                                                                                             overly


                                                       T B E I.
                                                       TABLE     adial- ontour-Mode DESIGN
                                                             I. RADIAL-CONTOUR-MODE   esign Equations
                                                                                            EQUATIONS and
                                                                                                      AND Procedure  ummary.
                                                                                                          PROCEDURE SUMMARY.
                                                        A
                                                             L
                                                                       R
                                                                                   C
                                                                                                        D
                                                                                                                                                                      S
  bjective/procedure
Objective/procedure                                                            Parameter
                                                                               Parameter                          elevant design
                                                                                                                Relevant  design equations
                                                                                                                                 equations for
                                                                                                                                           for a
                                                                                                                                               a given
                                                                                                                                                 given parameter
                                                                                                                                                       parameter                                          Eq.
                                                                                                                                                                                                          Eq.
O
                                                                                                                R
                  Contour-mode
                  Contour-mode                                                 Solve for ζ¢
                                                                                olve for                        ςs JJo(s/&)
                                                                                                                         (ς /ξ)                                      ρ(2 + 2σ)              2             (14)
                      Disk                                                                                         ⋅ 0           = 11 − σ,’ ζ = 22 π f nom       R p2 + 20) ,’ ξ = | 2                    (14)
                                                                               S
                        i
                          Disk                   Electrode
                                                 Electrode                                                      ξ& : JJi(s/€)
                                                                                                                        1(ς /ξ)           0 ¢=2r om                      E
                                                                                                                                                                         E        ¢      11-0
                                                                                                                                                                                           −σ
                                                                                                                            K                E
                                                                                 esonance frequency
                                                                               Resonance  frequency
                                                                                                                fu = tt      K
                                                                                                                f nom = (R, m), mat
                                                                                                                                        a     |[E
                                                                                                                                                  [Bore Gg = S00 4 gyre     ς       :
                                                                                                                                                  , where K (R, m), mat = (R, m), mat (2 + 2σ)−1/2,       (19)
                                                                                                                                                                                                          (15)
                                                                               R
                                                                                                                                 22RR         ρ                                 π
                      R                 do                                                                      where
                                                                                                                where R    R denotes
                                                                                                                               denotes the the diskdisk radius,
                                                                                                                                                          radius, EEF and
                                                                                                                                                                      and σo are
                                                                                                                                                                             are the   oung’s
                                                                                                                                                                                 the Young’s
                                                                                                                                                                                            Y
                                                                  i2
                                                                                                                modulus
                                                                                                                modulus and    and Poisson
                                                                                                                                      Poisson ratio,ratio, and
                                                                                                                                                            and m m == mode
                                                                                                                                                                        mode number
                                                                                                                                                                               number



                            h
                                                                  =0
                                                                 0=0
                                         = i1
                                        0=0;
Given:    fnom, V
Given: fom,        Vp,P, and
                          and R   Ry;xij (=
                                          (= resistance
                                              resistance                         ore equiv.
                                                                               Core  equiv. circuit
                                                                                            circuit                                     22nph | RN rJ
                                                                                                                                          πρh ∫    rJi(gr)dr
                                                                                                                                                      2                                   wp              (16)
                                                                                                                                                                                                          (16)
                                                                                                                                                      1 (φr )dr                           ω 2ρ
                                                                               C
             terminals i¢ and
between terminals
between                         and j). j).                                    elements
                                                                               elements                         lIl,x =
                                                                                                                      = m m(R) =
                                                                                                                        my(R)                   yi0 2py                =
                                                                                                                                                                  ,, φ =               SE o EEeσ
Find:
Find: radius
         radius R  R andand electrode-to-resonator
                               electrode-to-resonator
                                                                                                                                                J 1 (φR)
                                                                                                                                                 ieR)                           (   (2%
                                                                                                                                                                                       2E
                                                                                                                                                                                           + −σ 2
                                                                                                                                                                                     2 +2σ + 1£7)   )
gap spacing do.                                                                                                                   1             1                                  k mm m  ω mm
gap           spacing     do-
                                                                                                                cCax = En(R) =
                                                                                                                            1               1
                                                                                                                                           w22 m  om.’ , rTyx = b m
                                                                                                                                                             b    R
                                                                                                                                                                        (R) =
                                                                                                                                                                      m(R)
                                                                                                                                                                           NV   km,
                                                                                                                                                                                       Q  = nom
                                                                                                                                                                                              Q
                                                                                                                                                                                                WhomM'm

1)     hoose E,
1) Choose      E, ρ,p, and
                         and σ  o byby choice
                                          choice ofof                                                                         k m(R) ~ ω     nom m
                                                                                                                                                                                       Q      Q
      C
                  material.
  structural material.
structural                                                                                                                                   RT
                                                                                                                                ε o(θi 2 − θi1)Rh
                                                                                 tatic overlap                  C Co oi =  = oll          — ORR                                                           (17)
                                                                                                                                                                                                          (17)
2)     hoose thickness
5 Choose       thickness h.     h.                                             Static overlap
                                                                               S
                  -                          .
                                                                               capacitor
                                                                                           .                        or              d
                                                                                                                                         d
      C
3) Use
3)         (15) to
     Use (15)                 the R
                       find the
                 to find                  needed to
                                      R needed      to                         Ne           |                                         C o©                                                                 8
                                                                               Electromech.                                          C oi                                                                 (18)
achieve fiom.
achieve     fnom. Use      (14) to
                    Use (14)             get ζ¢ in
                                    to get          the
                                                in the                            ectromec no                    ηNeiei = = V  Veig™
                                                                                                                                  Pi                                                                      (18)
process.                                                                       coupling
                                                                               coupling coefficient
                                                                                         coefficient                                  do
process.
                                                                               Motional                                             rx                                             lx
4)
4) Use
     Use (19)
           (19) to
                 to find
                       find the
                              the dd,o needed
                                          needed to  to                        Motional resistance,
                                                                                          resistance,           Rxij  ij =  =       Te ,ys CCryxij == cCMeiMejs
                                                                                                                                                        x η ei η ej , LLuyj  =
                                                                                                                                                                         xij =       —                    (19)
                                                                                                                                                                                                          (19)
achieve R,.                                                                    capacitance,
                                                                               capacitance, and
                                                                                              and                       ’       ηNeillej
                                                                                                                                     η
                                                                                                                                   ei ej                                       η  ei η ej
                                                                                                                                                                               MNeillej
achieve     Rx.
5)
5) (16)–(18)
     (16)—(18) yield
                   yield allall needed
                                   needed values
                                              values in in the
                                                           the                 inductance
                                                                               inductance
transformer-based
transformer-based negative   negative C     C,o equivalent
                                                equivalent
circuit.
circuit.
 Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 104 of 148 PageID #: 1629
854
854                                         IEEE Transactions
                                            IEEE TRANSACTIONS on
                                                              ON Ultrasonics,
                                                                 ULTRASONICS, Ferroelectrics,
                                                                              FERROELECTRICS, and
                                                                                              AND Frequency CONTROL, , vol.
                                                                                                  FREQUENCY Control    VOL. 61,
                                                                                                                            61, no.
                                                                                                                                NO. 5, MAY 2014
                                                                                                                                    5, May 2014


                Port 1                   Core fcr                  Port 2                     B.
                                                                                              B. General
                                                                                                 General Electrode
                                                                                                         Electrode Configurations
                                                                                                                   Configurations
           —Ar
                Catig,               L      %       re     gpl      Cy                            The
                                                                                                  The actual
                                                                                                          actual radial-contour-mode
                                                                                                                      radial-contour-mode device       device to    to be
                                                                                                                                                                        be evaluated
                                                                                                                                                                              evaluated
      1                                                                             2         in
                                                                                              in Section
                                                                                                  Section V     V was
                                                                                                                    was designed
                                                                                                                          designed to    to resonate
                                                                                                                                              resonate at    at 218218 MHz,
                                                                                                                                                                          MHz, but  but is is
                                                                                              actually
                                                                                               actually a   a two-port
                                                                                                                two-port device
                                                                                                                              device thatthat essentially
                                                                                                                                                 essentially combinescombines ports  ports
          Co                                                                 Cor
                                                                                              11 and
                                                                                                 and 22 to   to form
                                                                                                                   form an an input
                                                                                                                                input portport A   A andand ports
                                                                                                                                                                ports 3    3 and
                                                                                                                                                                               and 4  4 toto
                                                                                              form
                                                                                              form an an output
                                                                                                           output port  port B.B. This
                                                                                                                                    This electrode
                                                                                                                                            electrode configuration
                                                                                                                                                            configuration favors    favors
                                                                                              the
                                                                                              the radial-contour
                                                                                                    radial-contour mode      mode and   and suppresses
                                                                                                                                                suppresses to       to some
                                                                                                                                                                         some degree
                                                                                                                                                                                   degree
                                                                                              the
                                                                                              the wine-glass
                                                                                                    wine-glass and     and other
                                                                                                                             other modes.
                                                                                                                                       modes. The   The actual
                                                                                                                                                           actual testedtested device
                                                                                                                                                                                   device
      3                                                                                       uses
                                                                                              uses electrodes
                                                                                                     electrodes that    that dodo notnot quite
                                                                                                                                           quite spanspan halfhalf the the disk’s
                                                                                                                                                                              disk’s cir-
                                                                                                                                                                                        cir-
                                                                                              cumference,
                                                                                              cumference, each     each rather
                                                                                                                           rather spanning
                                                                                                                                      spanning only  only −65°—65° to   to +65°.
                                                                                                                                                                             465°. The The
                                                                                              values
                                                                                              values of  of the
                                                                                                              the electromechanical
                                                                                                                     electromechanical couplings couplings for      for ports
                                                                                                                                                                         ports A   A andand
                                                                                              BB of
                                                                                                  of the
                                                                                                      the fabricated
                                                                                                              fabricated two-port
                                                                                                                               two-port versionversion of   of this
                                                                                                                                                                  this device,
                                                                                                                                                                          device, plus plus
                                                                                              element
                                                                                              element valuesvalues seen seen looking
                                                                                                                               looking across
                                                                                                                                            across its  its two
                                                                                                                                                              two opposing
                                                                                                                                                                      opposing elec-  elec-
                                                                                              trodes,
                                                                                              trodes, are are listed
                                                                                                                 listed inin the
                                                                                                                              the 2-port
                                                                                                                                     2-port equivalent
                                                                                                                                                equivalent circuit circuit variables
                                                                                                                                                                               variables
                                                5                     Y
               Port 3                                                                         section
                                                                                              section in  in the
                                                                                                               the fourth
                                                                                                                      fourth column
                                                                                                                                column of    of Table
                                                                                                                                                 Table III. III.
                                     Resonator                    Port 4
                                                                                                  It
                                                                                                  It should
                                                                                                      should be    be noted
                                                                                                                        noted that
                                                                                                                                 that there
                                                                                                                                         there are are many
                                                                                                                                                         many other  other electrode
                                                                                                                                                                               electrode
                                     Body Terminal
                                                                                              configurations
                                                                                              configurations capable   capable of    of exciting
                                                                                                                                         exciting this  this mode,
                                                                                                                                                                 mode, using using any  any
Fig.
Fig. 6.6. Negative-capacitance
          Negative-capacitance small-signal
                                    small-signal acac equivalent
                                                      equivalent circuit
                                                                   circuit for
                                                                            for a a four-
                                                                                     four-
port
                                                                                              number
                                                                                              number of    of electrodes,
                                                                                                                electrodes, including
                                                                                                                                 including just  just oneone fully
                                                                                                                                                                 fully surrounding
                                                                                                                                                                          surrounding
port capacitive-gap-transduced
        capacitive-gap-transduced micromechanical
                                        micromechanical resonator,
                                                            resonator, such
                                                                         such as as that
                                                                                      that
of
of Fig.
    Fig. 2, 2, when
                when operating
                       operating in
                                  in the
                                      the wine-glass
                                            wine-glass mode
                                                        mode shown
                                                                shown in in Fig.
                                                                             Fig. 2(e).
                                                                                     2(e).    electrode
                                                                                              electrode [20],  [20], which
                                                                                                                       which is is actually
                                                                                                                                    actually the  the most
                                                                                                                                                         most effective
                                                                                                                                                                    effective way way to  to
Here,
Here, thethe polarities
               polarities of
                          of the
                             the right
                                 right side
                                         side transformers
                                               transformers are
                                                              are opposite
                                                                  opposite to  to those
                                                                                    those     excite
                                                                                              excite this
                                                                                                        this mode,
                                                                                                                mode, since
                                                                                                                          since it it suppresses
                                                                                                                                       suppresses other  other modesmodes and   and pro-
                                                                                                                                                                                       pro-
in
in Fig.
    Fig. 3.3.                                                                                 vides
                                                                                              vides thethe largest
                                                                                                               largest electromechanical
                                                                                                                          electromechanical coupling.   coupling. It,     It, however,
                                                                                                                                                                               however,
                                                                                              does
                                                                                              does notnot suppress
                                                                                                              suppress parasitic
                                                                                                                            parasitic feedthrough
                                                                                                                                           feedthrough currents  currents the    the way
                                                                                                                                                                                       way
                                                                                              aa multiple
                                                                                                 multiple electrode
                                                                                                                electrode device
                                                                                                                              device can,can, so so it
                                                                                                                                                     it is
                                                                                                                                                         is useful
                                                                                                                                                             useful mainly
                                                                                                                                                                        mainly when  when
problematic.
problematic. However,However, if    if there
                                        there is   is any
                                                        any resistance
                                                               resistance in   in series
                                                                                    series    disks
                                                                                              disks areare coupled
                                                                                                              coupled to   to form
                                                                                                                               form a   a separate
                                                                                                                                           separate input input and   and output,
                                                                                                                                                                             output, as   as
with
with the
       the dc-bias
             dc-bias voltage
                          voltage source,
                                       source, e.g., e.g., interconnect
                                                             interconnect or     or con-
                                                                                      con-    in
                                                                                              in [10].
                                                                                                  [10].
tact
tact resistance,
       resistance, currents
                          currents flowing
                                         flowing through
                                                       through this   this resistance
                                                                             resistance
manifests
manifests as   as loss
                    loss that
                           that lowers
                                   lowers the the Q   @ of
                                                         of the
                                                              the device.
                                                                    device. In In other
                                                                                    other
words,
words, radial-contour-mode
           radial-contour-mode devices      devices suffer suffer from
                                                                     from Q-loading
                                                                             @-loading                      IV.
                                                                                                            IV. Negative
                                                                                                                NEGATIVE C
                                                                                                                         Cy,o Equivalent
                                                                                                                              EQUIVALENT Circuit
                                                                                                                                           CIRCUIT
by
by not
    not only
           only parasitic
                   parasitic inputinput andand output
                                                    output interconnect
                                                                 interconnect resis-resis-                   for
                                                                                                             FOR a
                                                                                                                 A Capacitive-Gap-Transduced
                                                                                                                   CAPACITIVE-GAP-TRANSDUCED
tance,
tance, butbut also
                 also from
                        from thethe dc-bias
                                       dec-bias interconnect
                                                     interconnect line.  line. ToTo cor-
                                                                                      cor-                         Wine-Glass-Mode
                                                                                                                   WINE-GLASS-MODE Disk
                                                                                                                                      DISK
rectly
rectly model
         model this  this important
                            important behavior,
                                             behavior, the     the radial-contour-
                                                                     radial-contour-
mode
mode equivalent
        equivalent circuitcircuit of  of Fig.
                                          Fig. 3  3 reverses
                                                      reverses the  the polarities
                                                                          polarities of  of       Fig.
                                                                                                  Fig. 2(e)
                                                                                                         2(e) presents
                                                                                                                 presents the  the wine-glass
                                                                                                                                     wine-glass disk    disk [or [or more
                                                                                                                                                                      more precisely,
                                                                                                                                                                                precisely,
the
the transformers
     transformers on      on the
                               the right
                                     right side
                                              side withwith respect
                                                                respect to to those
                                                                               those on on    compound-(2,1)]
                                                                                              compound-(2,                mode shape
                                                                                                                    1)] mode        shape [12],[12], [15],
                                                                                                                                                        [15], [21],
                                                                                                                                                                  [21], inin which
                                                                                                                                                                               which the  the
the
the left.
     left. (Note
             (Note that that thethe circuit
                                       circuit could
                                                   could also also bebe drawn
                                                                          drawn with with     disk
                                                                                              disk expands
                                                                                                      expands along  along one one axis
                                                                                                                                      axis while
                                                                                                                                              while contracting
                                                                                                                                                          contracting along     along the the
all
all ports
    ports on on thethe left,
                         left, inin which
                                     which case case all all transformers
                                                              transformers would   would      orthogonal
                                                                                              orthogonal axis.   axis. As As shown,
                                                                                                                                 shown, the  the wine-glass
                                                                                                                                                     wine-glass mode      mode exhib-exhib-
have
have the
       the same
             same turnsturns polarity.)
                                 polarity.) As   As will
                                                       will be be seen,
                                                                   seen, when
                                                                            when usedused     its
                                                                                              its aa perimeter
                                                                                                      perimeter displacement
                                                                                                                       displacement that     that varies
                                                                                                                                                     varies over  over its its electrode
                                                                                                                                                                                 electrode
in
in aa multiple
       multiple port   port configuration
                              configuration with       with designated
                                                                 designated inputsinputs      lengths.
                                                                                              lengths. Thus,
                                                                                                           Thus, κ     x;i is
                                                                                                                            is not
                                                                                                                                 not equal
                                                                                                                                        equal to   to 1,  1, and
                                                                                                                                                               and determination
                                                                                                                                                                       determination
and
and outputs,
      outputs, this  this makes
                            makes the the device
                                            device appearappear inductive
                                                                     inductive when when      of
                                                                                              of values
                                                                                                  values for for the
                                                                                                                   the effective
                                                                                                                          effective electromechanical
                                                                                                                                        electromechanical coupling        coupling and   and
interacting
interacting with   with feedthrough
                            feedthrough currents—something
                                                  currents—something that             that    the
                                                                                              the electrical
                                                                                                    electrical stiffness
                                                                                                                    stiffness imposed
                                                                                                                                   imposed by    by each
                                                                                                                                                       each electrode
                                                                                                                                                                 electrode requiresrequires
could
could be be used
              used to  to advantage
                           advantage to      to effect
                                                  effect lossloss poles
                                                                    poles below
                                                                             below the the    integration.
                                                                                              integration.
passband in
passband       in certain
                    certain filters
                               filters [14].
                                          [14].                                                   The
                                                                                                  The mode
                                                                                                         mode shape shape further
                                                                                                                               further features
                                                                                                                                            features sectionssections on    on thethe disk
                                                                                                                                                                                         disk
                                                                                              edges
                                                                                              edges that
                                                                                                       that move
                                                                                                               move out  out of of phase.
                                                                                                                                    phase. In  In particular,
                                                                                                                                                    particular, sections sections over-over-
                                                                                              lapping
                                                                                              lapping electrodes
                                                                                                           electrodes 11 and      and 3  3 move
                                                                                                                                             move in     in phase,
                                                                                                                                                               phase, while while those
                                                                                                                                                                                      those
A.
A. Design
   Design Example:
          Example: 218-MHz
                   218-MHz Radial-Contour-Mode
                           Radial-Contour-Mode Disk
                                               Disk                                           overlapping
                                                                                              overlapping 22 and      and 4   4 move
                                                                                                                                  move in  in thethe opposite
                                                                                                                                                        opposite phase.   phase. TheirTheir
                                                                                              currents
                                                                                              currents are  are thus
                                                                                                                   thus similarly
                                                                                                                           similarly out-of-phase.
                                                                                                                                           out-of-phase. For         For the the case
                                                                                                                                                                                    case in in
   The
    The fourth
          fourth column
                   column of  of Table
                                  Table IIIIII presents
                                                  presents the the results
                                                                     results of of            which
                                                                                              which the the combination
                                                                                                               combination of        of all
                                                                                                                                          all electrodes
                                                                                                                                                electrodes fully    fully covers
                                                                                                                                                                              covers the  the
using
using the
       the equations
             equations of  of Table
                               Table II toto design
                                               design aa 218-MHz
                                                              218-MHz radi-radi-              disk
                                                                                              disk circumference,
                                                                                                     circumference, e.g.,     e.g., asas in
                                                                                                                                          in Fig.
                                                                                                                                               Fig. 2, 2, thethe total
                                                                                                                                                                   total current
                                                                                                                                                                             current go-  go-
al-contour-mode
al-contour-mode disk   disk with
                             with characteristics
                                     characteristics as      as presented
                                                                 presented in   in            ing
                                                                                              ing into
                                                                                                    into the
                                                                                                           the diskdisk equals
                                                                                                                           equals that that exiting,
                                                                                                                                                exiting, and   and (ideally)
                                                                                                                                                                        (ideally) none none
the
the design
     design variables
               variables section.
                            section. Given
                                        Given the  the desired
                                                         desired resonance
                                                                    resonance                 of
                                                                                              of the
                                                                                                  the current
                                                                                                         current entersenters the  the dc-bias
                                                                                                                                         dc-bias source,
                                                                                                                                                       source, V       Vp.P. This
                                                                                                                                                                               This thenthen
frequency
frequency and and thickness,
                    thickness, solution
                                   solution of  of (15)
                                                     (15) yields
                                                            yields aa needed
                                                                        needed                eliminates
                                                                                              eliminates loss  loss resulting
                                                                                                                      resulting from  from resistance
                                                                                                                                              resistance in       in series
                                                                                                                                                                      series with with thethe
radius
radius of
        of 12.1
             12.1 μm.
                   pm. With
                          With thethe dimensions
                                        dimensions indicated
                                                           indicated in  in the
                                                                             the              dc-bias
                                                                                              dc-bias voltage
                                                                                                          voltage source,
                                                                                                                       source, giving
                                                                                                                                    giving the the wine-glass
                                                                                                                                                      wine-glass disk      disk a  a Q-ad-
                                                                                                                                                                                      (-ad-
design
design variables
         variables section
                       section of of Table
                                       Table III, III, and
                                                         and assuming
                                                                assuming an    an             vantage
                                                                                              vantage over over its its radial-contour-mode
                                                                                                                         radial-contour-mode counterpart.     counterpart. Fig.      Fig. 6  6
electrode
electrode configuration
            configuration like like that
                                     that ofof Fig.
                                                Fig. 2(c),
                                                        2(c), the
                                                               the values
                                                                    values forfor             presents
                                                                                              presents the the wine-glass
                                                                                                                   wine-glass disk   disk negative-capacitance
                                                                                                                                             negative-capacitance equiva-           equiva-
the
the equivalent
     equivalent circuit
                    circuit elements
                              elements of  of Fig.
                                                Fig. 11 nownow follow
                                                                  follow from
                                                                           from               lent circuit
                                                                                              lent   circuit forfor the
                                                                                                                      the device
                                                                                                                            device of  of Fig.
                                                                                                                                           Fig. 2(c),
                                                                                                                                                   2(c), wherewhere portsports 22 and and 44
(16)—(18) and
(16)–(18)     and are
                    are summarized
                          summarized in      in thethe 4-port
                                                         4-port equivalent
                                                                   equivalent                 on
                                                                                              on the
                                                                                                  the right
                                                                                                        right sideside possess
                                                                                                                         possess transformer
                                                                                                                                      transformer polaritiespolarities that  that reflect
                                                                                                                                                                                     reflect
circuit
circuit variables
         variables section.
                      section.                                                                the
                                                                                              the stated
                                                                                                    stated current
                                                                                                               current directions.
                                                                                                                            directions.
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akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
                 NEGATIVE-CAPACITANCE equivalent
                                      EQUIVALENT circuit
                                                 CIRCUIT model
                                                         MODEL                                                                                                                       855
                                                                                                                                                                                     855


    The
    The device
           device of of Fig.
                         Fig. 2(c)
                                2(c) situates
                                       situates its
                                                  its four
                                                       four electrodes
                                                             electrodes such
                                                                           such                  the
                                                                                                 the disk.
                                                                                                      disk. For
                                                                                                            For the
                                                                                                                the wine-glass
                                                                                                                    wine-glass mode,
                                                                                                                               mode, the
                                                                                                                                      the mode
                                                                                                                                            mode shape
                                                                                                                                                 shape func-
                                                                                                                                                       func-
that
that their
        their midpoints
               midpoints overlap
                               overlap thethe disk
                                               disk atat anti-nodes,
                                                          anti-nodes, where
                                                                         where                   tion takes
                                                                                                 tion  takes on
                                                                                                             on the
                                                                                                                the approximate
                                                                                                                    approximate form
                                                                                                                                 form [21]
                                                                                                                                       [21]
the
the dynamic
      dynamic mass mass andand stiffness
                                  stiffness are
                                              are minimized.         lignment
                                                    minimized. Alignment
                                                                                                            = | od, [Sr | + 27)
                                                                                                          Ror)            ∂     ζ  nB 1  ζ  




                                                                                   A
of
of electrode
     electrode midpoints
                    midpoints with   with anti-nodes,
                                             anti-nodes, together
                                                              together with
                                                                          with                            ℜ mode(r, θ) =  J n   r +     J  r  cos nθ,
proper
proper phasing
            phasing of  of signals
                            signals applied
                                        applied to to these
                                                        these electrodes,
                                                                electrodes, is                                            ∂r  ξR   A r n  R  




                                                                                                                                                                               			
                                                                                is
key
key toto selecting
          selecting thethe mode
                             mode in  in question.
                                         question. In  In general,
                                                           general, however,
                                                                     however,                                                                            (21)




                                                                                                 		
any
any number
       number of  of electrodes
                      electrodes can  can bebe used,
                                                used, andand they
                                                               they can
                                                                     can span
                                                                          span
                                                                                                 where
                                                                                                 where
any
any angular
       angular range
                   range overover the
                                    the disk
                                          disk circumference
                                                 circumference that  that still
                                                                            still
excites
excites the the wine-glass
                 wine-glass mode. mode. Thus,
                                            Thus, forfor greatest
                                                           greatest general-
                                                                      general-                                                ρ(2 + 2σ)                  2
ity,
ity, the
      the formulation
            formulation for   for equivalent
                                   equivalent circuit
                                                  circuit elements
                                                            elements should
                                                                        should                            ζ = 2π f nomR                , ξ =                , n = 2,       (22)
                                                                                                                                  E                     1−σ
be
be applicable
     applicable to  to anan electrode
                              electrode with
                                           with anyany span
                                                         span over
                                                                over the
                                                                      the disk
                                                                           disk
perimeter.
perimeter.                                                                                       and where
                                                                                                 and   where JJ,(z)      is the
                                                                                                                             the Bessel
                                                                                                                                   Bessel function
                                                                                                                                            function of   of the
                                                                                                                                                              the first
                                                                                                                                                                   first kind,
                                                                                                                                                                          kind,
                                                                                                                  n(x) is
                                                                                                 E
                                                                                                 E and
                                                                                                    and σ o are
                                                                                                             are the       oung’s modulus
                                                                                                                   the Young’s        modulus and  and Poisson
                                                                                                                                                         Poisson ratio,
                                                                                                                                                                     ratio, re-
                                                                                                                                                                              re-




                                                                                                                          Y
A.
A. Core
   Core LCR
        LCR                                                                                      spectively,
                                                                                                 spectively, of of the
                                                                                                                     the resonator
                                                                                                                           resonator structural
                                                                                                                                          structural material,
                                                                                                                                                         material, B/A B/A =    =
                                                                                                 −4.5236
                                                                                                 —4.5236 andand n   n == 2 2 for
                                                                                                                              for the
                                                                                                                                    the wine-glass
                                                                                                                                         wine-glass mode,
                                                                                                                                                        mode, and       fnom is
                                                                                                                                                                  and f,,,      is
     Ass with
           with the the radial-contour-mode
                          radial-contour-mode version, version, the the element
                                                                          element                the
                                                                                                 the nominal
                                                                                                      nominal resonance
                                                                                                                  resonance frequency
                                                                                                                                 frequency of  of the
                                                                                                                                                    the disk
                                                                                                                                                         disk (in
                                                                                                                                                                (in this
                                                                                                                                                                    this case,
                                                                                                                                                                           case,
   A
values
 values of  of the
                the core
                      core LCR
                             LCR in in Fig.
                                       Fig. 77 are
                                                are specified
                                                     specified by  by the
                                                                       the actual
                                                                             actual              when
                                                                                                 when operating
                                                                                                        operating in   in the
                                                                                                                           the wine-glass
                                                                                                                                 wine-glass mode).
                                                                                                                                               mode).
values
 values of   of dynamic
                 dynamic mass, mass, stiffness,
                                        stiffness, and
                                                     and damping
                                                             damping for   for the
                                                                                the                 The
                                                                                                    The resonance
                                                                                                           resonance frequency
                                                                                                                           frequency fom  fnom can
                                                                                                                                                 can be be determined
                                                                                                                                                             determined by    by
resonator
 resonator being being modeled.
                          modeled. The The equivalent
                                             equivalent dynamic
                                                             dynamic mass mass at at             simultaneously solving
                                                                                                 simultaneously       solving (22)(22) with
                                                                                                                                        with [21]
                                                                                                                                               [21]


                                                                                                            fg)
aa location
    location (r,      θ) on
                  (1,0)   on aa disk
                                 disk operating
                                       operating in  in its
                                                         its wine-glass
                                                              wine-glass mode mode
                                                                                                                 ζ          
can
 can bebe obtained
             obtained by   by dividing
                               dividing the
                                          the total
                                                total kinetic
                                                        kinetic energy
                                                                   energy of of the
                                                                                the                         Ψ n   − n − q  ⋅ [Ψ n(ζ) − n − q ] = (nq − n)2,          (23)
disk
 disk byby one-half
              one-half the the square
                                square ofof the
                                             the velocity
                                                  velocity at  at that
                                                                   that location
                                                                          location                              ξ          
 [14] [22].
[14]    [22]. Doing
                  oing so,so, with
                               with reference
                                      reference to to Fig.
                                                       Fig. 7,7, yields
                                                                  yields
                                                                                                 where
                  D
                                                                                                 where

                                 KE            2 ∫0 Ja
                                                       1
                                                    ∫0 m dm ×
                                                             2π
                                                              x [[u(
                                                                        R
                                                                  v(rr′, θ0)′)]? 2                                     ww
                                                                                                                        xJ (x )     _C ζ ,                      2

                                                                                                                          Ti      Tey
                                             _ LJ
                                                                  (12)      OF                                      N=
       m     r,0)θ) =            KE,tot                                                                             Ψ n(x ) =      n −1
                                                                                                                                , q =
       mp m((r,     =                        =                                                                                                                             (24)
                                                                                                                                                                           (24)
             mT              12k)
                             (1/2)[v(r, θ)]2        ( 1/2 )[v(r, θ)]2
                                                                                          (20)
                                                                                          (20)
                                                                                                                         J (x )       2n − 2
                                                                                                                                       n
                                                                                                                                                            2

                                  2π     R                      2
                             ρh ∫l     ∫ [[3ℜ mode
                                       IN
                                                   (rs′, θ0 ′)])*r
                                              mode(T             r'dr
                                                                   ′dr'de
                                                                       ′d’θ′                     and
                                                                                                  and where
                                                                                                         where n   n denotes
                                                                                                                       denotes the the compound
                                                                                                                                          compound mode   mode in in question.
                                                                                                                                                                      question.
                        — on 0
                        =               0                                      ,
                                            [[Rr
                                              ℜ mode (r, θ0)])]?2
                                                 mode(T
                                                                               ’                 Ass previously
                                                                                                       previously mentioned,
                                                                                                                       mentioned, the  the wine-glass
                                                                                                                                             wine-glass diskdisk mode
                                                                                                                                                                  mode corre-
                                                                                                                                                                           corre-
                         -
                                                                                                 A
                                                                                                 sponds
                                                                                                 sponds to   to the
                                                                                                                 the (n,    m) =
                                                                                                                        (n,m)    = (2,
                                                                                                                                    (2,1)1) compound
                                                                                                                                             compound mode, mode, where
                                                                                                                                                                     where thethe
where v(r,
where    o(r,0)θ) == ω     ℜ(r, θ) is
                       w oR(r,0)     is the
                                         the resonance
                                                resonance radialradial velocity
                                                                         velocity                11 denotes
                                                                                                    denotes the  the fundamental
                                                                                                                       fundamental of     of this
                                                                                                                                             this mode.        lthough higher
                                                                                                                                                   mode. Although         higher




                                                                                                                                                                A
amplitude
amplitude at   at location
                   location (r,θ),
                                (7,60), ℜ(   r, θ) is
                                          R(r,0)    is the
                                                         the radial
                                                              radial displace-
                                                                        displace-                modes
                                                                                                 modes existexist for
                                                                                                                    for m m >> 1,
                                                                                                                                1, this
                                                                                                                                   this discussion
                                                                                                                                          discussion focuses
                                                                                                                                                         focuses on
                                                                                                                                                                  on the
                                                                                                                                                                       the com-
                                                                                                                                                                            com-
ment
ment amplitude
       amplitude at   at location
                           location (r,θ),
                                        (7,0), dmdm is is aa differential
                                                             differential mass
                                                                             mass                pound-(2,
                                                                                                 pound-(2,1)1) mode. mode.
element,
element, R  R isis the
                   the disk
                         disk radius,
                               radius, and and ℜ     mode(r, θ
                                                  R,,4.(r,    0)) describes
                                                                  describes thethe                    Although       solution of
                                                                                                        lthough solution          of (22)–(24)
                                                                                                                                      (22)—(24) as    as described
                                                                                                                                                          described provides
                                                                                                                                                                        provides
                                                                                                      A
mode
mode shape,
        shape, essentially
                   essentially giving
                                   giving the  the relative
                                                     relative radial
                                                                  radial ampli-
                                                                           ampli-                an
                                                                                                  an accurate
                                                                                                      accurate value
                                                                                                                   value forfor the
                                                                                                                                 the resonance
                                                                                                                                      resonance frequency
                                                                                                                                                      frequency of of the
                                                                                                                                                                      the wine-
                                                                                                                                                                           wine-
tude of
tude  of vibration
          vibration at  at aa point
                               point (r, (r,6)θ) versus
                                                 versus aa point
                                                              point (r′,
                                                                       (7,6')   on
                                                                            θ′) on               glass
                                                                                                 glass [i.e.,
                                                                                                          [i.e., compound-(2,
                                                                                                                 compound-(2,1)]     1)] mode,
                                                                                                                                           mode, it it does
                                                                                                                                                        does not
                                                                                                                                                              not readily
                                                                                                                                                                    readily im-
                                                                                                                                                                              im-
                                                                                                 part
                                                                                                 part design
                                                                                                         design insight.
                                                                                                                    insight. ToTo provide
                                                                                                                                    provide better
                                                                                                                                                better insight
                                                                                                                                                          insight toto variable
                                                                                                                                                                        variable
                                                                                                 dependencies, rearrangement
                                                                                                 dependencies,          rearrangement and    and simplification
                                                                                                                                                    simplification of   of (22)–
                                                                                                                                                                            (22)-
                                                                    0
                                                                                                  (24) yields
                                                                                                 (24)    yields the
                                                                                                                  the closed
                                                                                                                         closed form
                                                                                                                                  form
                                                                                   6=6,
       Wine-glass                                                                                                                  _       K
                                                                                                                                           K ((n,m),mat  E
                                                                                                                                               n,m),mat [E
                                                                                                                                                         [£
          Disk                                                                                                                f    =
                                                                                                                               nom -                        ,              (25)
                                                                                                                              Joom
                                                                                                                                                2R
                                                                                                                                                2R
                                                                                                                                                         ρp ’              (25)




                                                                                                 where
                                                                                                 where the
                                                                                                       the constant
                                                                                                           constant

                                                                                                                                  ς (n,m),mat
                                                                                                                    K       mat =
                                                                                                                       n,m),mat
                                                                                                                    K ((4m)     = Rh          (22 +
                                                                                                                                                  + 2σ)−112/2
                                                                                                                                                    20)"                   (26)
                                                                                                                                                                           (26)
                                                                                                                                       π

                                                                                                 is
                                                                                                 is a
                                                                                                    a dimensionless
                                                                                                      dimensionless frequency
                                                                                                                      frequency parameter
                                                                                                                                     parameter thatthat depends
                                                                                                                                                         depends upon upon
                                                                                                 the
                                                                                                 the structural
                                                                                                      structural material
                                                                                                                   material and and isis independent
                                                                                                                                          independent of   of radius.
                                                                                                                                                               radius. It   It
                                                                                                 can
                                                                                                 can be
                                                                                                      be obtained
                                                                                                         obtained byby first
                                                                                                                         first solving
                                                                                                                               solving (22)–(24)
                                                                                                                                         (22)—(24) forfor ζ{ =
                                                                                                                                                             = ζ((;,m)    mat
                                                                                                                                                                  (n,m),mat
                      Quasi-Nodal
                         Lines                  Electrode
                                                                                                 then
                                                                                                 then substituting
                                                                                                        substituting this
                                                                                                                        this value
                                                                                                                                value into
                                                                                                                                        into (26).
                                                                                                                                               (26). For
                                                                                                                                                       For polysilicon
                                                                                                                                                              polysilicon
Fig.
Fig. 7.  chematic showing
     7. Schematic    showing variables
                              variables used
                                          used in
                                                in the
                                                   the derivation
                                                       derivation of
                                                                  of the
                                                                     the nega-
                                                                         nega-
                                                                                                 structural
                                                                                                 structural material
                                                                                                             material (with
                                                                                                                          (with E E == 150
                                                                                                                                        150 GPa,
                                                                                                                                             GPa, ρ  p == 2300      kg/m3,3,
                                                                                                                                                            2300 kg/m
                                                                                                 and
                                                                                                 and σ 0 == 0.226),
                                                                                                             0.226), ζ  (2,1),poly i == 2.344,
                                                                                                                                          2.344, and
                                                                                                                                                   and K          polysi i =
         S
tive-capacitance
tive-capacitance equivalent
                   equivalent circuit
                               circuit for
                                        for aa capacitive-gap-transduced
                                               capacitive-gap-transduced disk
                                                                           disk                                        €(2,1),polySi                      K2.1)
                                                                                                                                                            (2,1),poly      =
                                                                                                                                            S
                                                                                                                                                                           S
operating
operating in
           in its
              its wine-glass
                  wine-glass mode
                             mode shape.
                                     shape. &§                                                   0.476.
                                                                                                 0.476. For
                                                                                                         For polydiamond
                                                                                                              polydiamond (with  (with E E == 1198
                                                                                                                                                1198 GPa,
                                                                                                                                                       GPa, ρp =   = 3500
                                                                                                                                                                       3500
     Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 106 of 148 PageID #: 1631
856
856                                                       IEEE Transac
                                                          IEEE TRANSACTIONS  ON Ul
                                                                         ons on ULTRASONICS, FERROELECTRICS,
                                                                                   rason cs, F               AND Fr
                                                                                               rro l c r cs, and FREQUENCY
                                                                                                                    q        on rol , vol.
                                                                                                                        ncy CONTROL,  VOL. 61,
                                                                                                                                           61, no.
                                                                                                                                               NO. 5, MAY 2014
                                                                                                                                                   5, May 2014




                                                                                       ti
                                                                                                 t
                                                                                                                   i
                                                                                                                             e
                                                                                                                                     e
                                                                                                                                         e
                                                                                                                                             t
                                                                                                                                                 i
                                                                                                                                                                       e
                                                                                                                                                                           ue
                                                                                                                                                                                       C
                                                                                                                                                                                                t
kg/m3,3, and
kg/m       and σ 0 =
                   = 0.0691
                       0.0691 [23]),
                                 [23]), ζ((2,1) polyDiamond
                                          (2,1),poly         = 2.339,
                                                      iamond =   2-339, and
                                                                         and                                                                                                        Nodal                  90




                                                                                   D
K
K (2,1),poly  iamond =
  (2,1) polyDiamond    = 0.509.
                           0.509.
                D
    With
    With knowledge
            knowledge of   of the
                               the resonance
                                    resonance frequency,
                                                   frequency, the
                                                                the expres-
                                                                     expres-
sion
sion for
       for dynamic
             dynamic stiffness
                          stiffness follows
                                       follows readily
                                                  readily from
                                                            from that
                                                                    that for
                                                                          for
mass
mass viavia the
              the relationship
                    relationship between
                                       between resonance
                                                    resonance frequency,
                                                                 frequency,
mass,
mass, andand stiffness,
               stiffness, given
                            given byby (11).
                                         (11). Use
                                                Use ofof (11)
                                                         (11) yields
                                                               yields
                                              2
                            kk m(R, θ0)) =
                               mf        -= ω nom ⋅: m
                                            Whom       m(R, θ
                                                     M(B,     ),
                                                            0),                                      (27)
                                                                                                     (27)
                                                                                                                                                                                   Core LCR
                                                                                                                                         240                 300                    location        240          300
where
where ω     nom is
          wy,      is the
                       the nominal
                               nominal radian radian resonance
                                                          resonance frequency
                                                                           frequency of      of                                                       270                                                  270
the
the disk
      disk (with
             (with no  no voltages
                             voltages applied).
                                             applied).                                                                                                 (a)                                                 (b)
    Using (20)
    Using      (20) andand (27), (27), Fig.Fig. 88 plots
                                                       plots the
                                                               the dynamic
                                                                       dynamic mass     mass                                 Fig. 8.
                                                                                                                             Fig.  8. Plot
                                                                                                                                      Plot of of dynamic
                                                                                                                                                 dynamic (a) (a) mass
                                                                                                                                                                  mass and
                                                                                                                                                                        and (b)
                                                                                                                                                                             (b) stiffness
                                                                                                                                                                                  stiffness at
                                                                                                                                                                                             at locations
                                                                                                                                                                                                locations on
                                                                                                                                                                                                           on the
                                                                                                                                                                                                               the edge
                                                                                                                                                                                                                   edge
and
and stiffness
       stiffness at  at locations
                          locations on      on thethe edge
                                                        edge ofof a a disk,
                                                                        disk, i.e.,
                                                                                 i.e., at at rr                              of
                                                                                                                             of aa disk,
                                                                                                                                   disk, i.e.,
                                                                                                                                           i.e., at
                                                                                                                                                 at rr == R,
                                                                                                                                                           R, vibrating
                                                                                                                                                                vibrating in
                                                                                                                                                                           in the
                                                                                                                                                                               the wine-glass
                                                                                                                                                                                    wine-glass mode
                                                                                                                                                                                                  mode asas a
                                                                                                                                                                                                            a function
                                                                                                                                                                                                               function
=
= R,R, vibrating
         vibrating in    in the
                              the wine-glass
                                     wine-glass mode   mode as  as a a function
                                                                         function of     of θ,6,                             of angle
                                                                                                                             of angle θ.6. The
                                                                                                                                            The circular
                                                                                                                                                   circular axis
                                                                                                                                                              axis convey
                                                                                                                                                                    convey lines
                                                                                                                                                                            lines of
                                                                                                                                                                                   of (a)
                                                                                                                                                                                      (a) equal
                                                                                                                                                                                           equal mass
                                                                                                                                                                                                  mass and
                                                                                                                                                                                                        and (b)
                                                                                                                                                                                                              (b) equal
                                                                                                                                                                                                                  equal
                                                                                                                             stiffness.
                                                                                                                             stiffness. £§
showing
showing minima
             minima in      in both
                                 both at   at mode
                                                mode shapeshape maxima,
                                                                    maxima, i.e.,   i.e., at at
anti-nodes.
anti-nodes. By     By convention,
                          convention, the      the point
                                                      point where
                                                                where the    the equiva-
                                                                                   equiva-
lent
lent mass
       mass minimizes
               minimizes is       is taken
                                      taken as   as the
                                                     the location
                                                           location governing
                                                                         governing the     the                                                                              3 2
core
core LCRLCR in  in the
                     the equivalent
                           equivalent circuit  circuit of of Fig.
                                                              Fig. 7, 7, which
                                                                           which in   in the
                                                                                           the
                                                                                                                                                             kF(R,
                                                                                                                                                               m(R, 0
                                                                                                                                                                    0)) =    K ((1)
                                                                                                                                                                        = π SK        marxχEh
                                                                                                                                                                                 2,1),mat   Eh. .                      (32)
                                                                                                                                                                                                                       (32)

coordinate
coordinate system system of     of Fig.
                                     Fig. 6  6 occurs
                                                 occurs at  at θ8 = = θ6,  core == 0°  0° for
                                                                                            for
electrode
electrode 3.   3. Off course,
                         course, there there are  are other
                                                       other minimum
                                                                minimum mass     mass lo-   lo-                                  A similar
                                                                                                                                   similar analysis
                                                                                                                                           analysis for
                                                                                                                                                    for the
                                                                                                                                                        the damper
                                                                                                                                                            damper constant
                                                                                                                                                                   constant yields
                                                                                                                                                                            yields



                                                                                                                                 A
                       O
cations,
cations, e.g.,
            e.g., θ# =  = 90°90° forfor electrode
                                          electrode 2,   2, and
                                                             and anyany of  of these
                                                                                these can  can
                                                                                                                                                                                11 2 2
also
also bebe selected
           selected as    as the
                               the core
                                      core location,
                                              location, but  but for
                                                                   for this
                                                                          this analysis,
                                                                                 analysis,                                                           bbun(R,
                                                                                                                                                       m(R, 00)) =                72KK (21)
                                                                                                                                                                                  π           matXχ NV ρ
                                                                                                                                                                                          ,1),mat       ERh ,          (33)
we
we choose
     choose θ0...         =
                          =    0°.
                               0°.    At t  this
                                            this    location,
                                                    location,    the
                                                                  the    values
                                                                         values      of
                                                                                     of thethe
                                                                                                                                                                 =
                                                                                                                                                                                Q
                                                                                                                                                                                Q
                                                                                                                                                                                                       pERh,           (33)
                   core
                                          A
elements
elements in   in the
                   the core
                          core LCR LCR become
                                            become
                                                                                                                             which
                                                                                                                             which clearly
                                                                                                                                     clearly has has a a linear
                                                                                                                                                          linear dependence
                                                                                                                                                                  dependence on on radius
                                                                                                                                                                                     radius R R that,
                                                                                                                                                                                                 that,
                                                      2π          R                                                          from
                                                                                                                             from (25),
                                                                                                                                    (25), amounts
                                                                                                                                             amounts to    to aa reciprocal
                                                                                                                                                                  reciprocal dependence
                                                                                                                                                                              dependence on    on fre-
                                                                                                                                                                                                   fre-
                                              ρp hANNE
                                                   ∫ ∫ [ℜ mode ((6     Pr2r ′1dr’
                                                                r ′, θ′)]
                                                          mode(T”             dr ′dde’θ′
          llyx =                                                                                                             quency,
                                                                                                                             quency, i.e.,
                                                                                                                                        i.e., it
                                                                                                                                               it gets
                                                                                                                                                   gets smaller
                                                                                                                                                          smaller asas frequency
                                                                                                                                                                        frequency increases.
                                                                                                                                                                                    increases. (But
                                                                                                                                                                                                  (But
               = m   R, θOcore)                       0          0
                 mym(
                    (R,    core) =
                                 -                                                        2
                                                                                                     ,
                                                                     mode (R
                                                                [PRℜ mode  22;, θ   ore)]                                    note
                                                                                                                             note that,
                                                                                                                                   that, asas will
                                                                                                                                               will be
                                                                                                                                                     be seen,
                                                                                                                                                         seen, motional
                                                                                                                                                                motional resistance
                                                                                                                                                                           resistance rises
                                                                                                                                                                                        rises linearly
                                                                                                         			
                                                                                O ccore)”                                                                                                     linearly
                                                                                                     (28)
                                                                                                     (28)                    with
                                                                                                                             with frequency,
                                                                                                                                   frequency, because
                                                                                                                                                   because thethe electrode-to-resonator
                                                                                                                                                                   electrode-to-resonator overlap
                                                                                                                                                                                              overlap
		
                                                                                                                             shrinks as
                                                                                                                             shrinks   as radius
                                                                                                                                            radius decreases.)
                                                                                                                                                     decreases.)
                                     Ea ∫ [7∫ Roa, 0) Pdra0
                                                               22mπ           R
                                                                              rR

      1
      1
        = k m(R, θ core) =
                             2
                           ω nomρh
                                   0       0
                                              [ℜ mode(r ′, θ′)]2r ′dr ′dθ′
                                                                           ,                                       s
                                                                                                                             B.
                                                                                                                             B. Static
                                                                                                                                Static Electrode-to-Resonator
                                                                                                                                       Electrode-to-Resonator Overlap
                                                                                                                                                              Overlap Capacitance
                                                                                            B)
     cx                                                                                                                                                               Capacitance
                                                                          0
                                                (R, θ core))]2
                                                           0
                                     [[Rℜ mod
              E(B,     O core)   =
                                                                                                                       			
     PO

     Ca                                   modele Ts O core
                                                                        (29)
                                                                       (29)
                                                                                                                                For
                                                                                                                                For the
                                                                                                                                    the case
                                                                                                                                         case of
                                                                                                                                               of an
                                                                                                                                                   an electrode
                                                                                                                                                      electrode spanning
                                                                                                                                                                 spanning θ6 == θ6,;ι1 to
                                                                                                                                                                                        to θ6,9,
                                                                                                                                                                                              ι2, as
                                                                                                                                                                                                  as
		
                                     E(B,
                                      km (R,y θVYOore)
                                                  core       Mmmm ((R,
                                                        ) ⋅- m     R,y θVY core )Ogre)                                       shown
                                                                                                                             shown in
                                                                                                                                    in Fig.
                                                                                                                                       Fig. 6,
                                                                                                                                             6, the
                                                                                                                                                 the static
                                                                                                                                                     static overlap
                                                                                                                                                            overlap capacitance
                                                                                                                                                                     capacitance is  is given
                                                                                                                                                                                         given by by
             rx = b m(R
                      R, , θ
                           0
                             core) =
                                   —   m          core.                    core
                                                        Q                          Q                           .
                       bo        core)        =



                                                  R                                                  (30)                                                                o(θi 2 −
                                                                                                                                                                      ε€o(0in   — θ    i1)Rh
                                                                                                                                                                                      0))R
                                         2π                              2 'dr'de’                   (  )                                                      C
                                                                                                                                                               Cooi =                        ,                         (34)
                          ρh ∫0 ∫0 R mode(r ′, θ′′)] r ′dr ′dθ′
                     WoomPhIN [ℜ                                   (r,¢ Vr
                                                               model
                     ω                                                                                                                                              =
                                                                                                                                                                                d ooO       d         b)               (34)
                    = nom                                       ,
                       QQ         [[Rr mode((R
                                   ℜ mode    Fs , θ
                                                  O core)]2
                                                    core)’
                                                                                                                             where
                                                                                                                             where ε¢,o isis the
                                                                                                                                             the permittivity
                                                                                                                                                   permittivity of of vacuum.
                                                                                                                                                                      vacuum. This This equation
                                                                                                                                                                                          equation
where
where the
       the bb,,m in
                 in (30)
                    (30) is
                          is the
                             the damping
                                  damping constant
                                             constant from
                                                      from the
                                                           the                                                               holds
                                                                                                                             holds whether
                                                                                                                                    whether the the disk
                                                                                                                                                     disk operates
                                                                                                                                                           operates inin the
                                                                                                                                                                          the radial-contour
                                                                                                                                                                               radial-contour or or
equation
equation of
          of motion
             motion describing
                       describing this
                                   this system:
                                        system:                                                                              wine-glass
                                                                                                                             wine-glass mode.
                                                                                                                                           mode. Ass will
                                                                                                                                                       will be
                                                                                                                                                            be seen,
                                                                                                                                                                seen, this
                                                                                                                                                                       this equation
                                                                                                                                                                             equation forms
                                                                                                                                                                                         forms the
                                                                                                                                                                                                the
                                                                                                                                                               A
                                                                                                                             starting
                                                                                                                             starting point
                                                                                                                                        point from
                                                                                                                                               from which
                                                                                                                                                      which the
                                                                                                                                                              the electromechanical
                                                                                                                                                                   electromechanical coupling
                                                                                                                                                                                          coupling
                             m mr +
                             mpi    + bbr
                                        mr +
                                            + kkr
                                                mr =
                                                   = F i(t).
                                                     Fit).                                           (31)
                                                                                                     (31)                    factor
                                                                                                                             factor for
                                                                                                                                     for aa capacitive
                                                                                                                                            capacitive transducer
                                                                                                                                                         transducer cancan be
                                                                                                                                                                            be derived.
                                                                                                                                                                                derived.

Using (28),
Using       (28), thethe mass
                           mass modifier
                                     modifier factor
                                                  factor in in (13)
                                                                 (13) thatthat relates
                                                                                 relates                                     C.
                                                                                                                             C. Electromechanical
                                                                                                                                Electromechanical Coupling
                                                                                                                                                  Coupling Factor
                                                                                                                                                           Factor
the
the actual
       actual physical
                   physical mass mass of of aa disk
                                                disk toto its
                                                           its dynamic
                                                                dynamic mass   mass at  at
θOcore
  core == 0° 0° on
                 on its
                      its perimeter
                           perimeter when  when vibrating
                                                   vibrating in    in its
                                                                       its wine-glass
                                                                            wine-glass                                          Ass mentioned
                                                                                                                                     mentioned in       ection II,
                                                                                                                                                   in Section    II, the
                                                                                                                                                                      the electromechanical
                                                                                                                                                                          electromechanical cou- cou-
                                                                                                                                 A
                                                                                                                                                                   S
mode
mode is   is found
               found to  to be
                             be χ xy == 0.360.
                                         0.360. Ass with
                                                       with the
                                                              the radial-contour
                                                                      radial-contour                                         pling
                                                                                                                             pling factor  7,;ei at
                                                                                                                                    factor η     at port
                                                                                                                                                     port ii determines
                                                                                                                                                             determines the the turns
                                                                                                                                                                                turns ratio
                                                                                                                                                                                       ratio of
                                                                                                                                                                                              of the
                                                                                                                                                                                                  the
                                                                      A
mode,
mode, this  this value
                    value is  is largely
                                  largely independent
                                             independent of       of radius,
                                                                       radius, thick-
                                                                                  thick-                                     transformer
                                                                                                                             transformer used
                                                                                                                                           used to to model
                                                                                                                                                       model thethe input
                                                                                                                                                                     input voltage-to-force
                                                                                                                                                                            voltage-to-force and/
                                                                                                                                                                                                and/
ness,
ness, andand material
                 material type. type.                                                                                        or
                                                                                                                             or velocity-to-current
                                                                                                                                 velocity-to-current transfer
                                                                                                                                                         transfer functions
                                                                                                                                                                     functions atat that
                                                                                                                                                                                    that port.
                                                                                                                                                                                           port. Ass
                                                                                                                                                                                                                        A
     From
     From (13), (13), the
                        the dynamic
                              dynamic mass  mass at at the
                                                        the core
                                                              core LCR LCR location
                                                                               location                                      such,
                                                                                                                             such, it
                                                                                                                                    it can
                                                                                                                                       can be
                                                                                                                                           be expressed
                                                                                                                                                 expressed as as either
                                                                                                                                                                  either
θOcore
  core == 0° 0° ofof aa disk
                         disk vibrating
                                 vibrating in  in its
                                                   its wine-glass
                                                        wine-glass mode   mode has has aa
quadratic
quadratic dependence
                  dependence on       on disk
                                           disk radius.
                                                  radius. TheThe dynamic
                                                                      dynamic stiff-stiff-
                                                                                                                                                               FF; i  F  (R, θ0 core
                                                                                                                                                                      F(R,        core)) or
                                                                                                                                                     ηNeiei =
                                                                                                                                                            = Vv. =                       or
ness
ness at at this
             this location,
                     location, on   on the
                                        the other
                                              other hand,
                                                      hand, is  is independent
                                                                     independent of      of                                                                   Vi =          VVv.
                                                                                                                                                                                i
                                                                                                                                                                                                                       (35)
radius
radius and  and depends
                    depends mainlymainly on  on thickness,
                                                  thickness, as    as can
                                                                        can easily
                                                                              easily be be                                                                     II,ri     II,                 ILn
                                                                                                                                                     ηNeiei =        = ri =                    ri
                                                                                                                                                                                                        ,
seen using
seen    using (13),(13), (25),
                            (25), (26),
                                     (26), and
                                            and (27)
                                                   (27) to
                                                         to yield
                                                              yield                                                                                          = 
                                                                                                                                                               ℜ       j ωℜ i ~ JRE,
                                                                                                                                                                R) i jk,                j ωℜ(R, θ core)
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akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
                 NEGATIVE-CAPACITANCE equivalent
                                      EQUIVALENT circuit
                                                 CIRCUIT model
                                                         MODEL                                                                                                                                   857

where
where V   V;i is
              is the
                  the magnitude
                        magnitude of    of the
                                            the ac
                                                 ac voltage
                                                     voltage applied
                                                                 applied across
                                                                             across           gain, for
                                                                                           Again,       for equivalent-circuit
                                                                                                             equivalent-circuit purposes,
                                                                                                                                       purposes, the  the resonance
                                                                                                                                                            resonance dis-
                                                                                                                                                                         dis-




                                                                                          A
the
the electrode-to-resonator
      electrode-to-resonator gap        gap at at port
                                                  port i,i, FF; i is
                                                                  is the
                                                                       the magni-
                                                                            magni-        placement
                                                                                           placement amplitude
                                                                                                             amplitude at  at the
                                                                                                                               the core
                                                                                                                                     core LCR
                                                                                                                                           LCR location
                                                                                                                                                    location θ0.,.,
                                                                                                                                                                 core, where
                                                                                                                                                                       where
tude
tude ofof the
           the total
                 total lumped
                         lumped forceforce generated
                                             generated by  by V  V;i and
                                                                      and applied
                                                                            applied       the
                                                                                           the displacement
                                                                                                  displacement amplitude
                                                                                                                       amplitude is    is greatest,
                                                                                                                                           greatest, is   is of
                                                                                                                                                              of particular
                                                                                                                                                                  particular
to
to the
    the disk
          disk sidewall
                 sidewall at  at the
                                  the core
                                        core LCR
                                               LCR location
                                                      location (R,   (R, θque),
                                                                           core), ℜRN;i   interest
                                                                                           interest and  and can
                                                                                                               can bebe found
                                                                                                                         found by by evaluating
                                                                                                                                       evaluating (40)  (40) atat θ6 =
                                                                                                                                                                     = θOy.
                                                                                                                                                                         core.
is
is the
   the ensuing
         ensuing radial
                      radial displacement
                               displacement amplitude
                                                   amplitude at     at that
                                                                        that same
                                                                               same       For
                                                                                           For thethe electrode
                                                                                                          electrode of of Fig.
                                                                                                                           Fig. 6,6, θ0...
                                                                                                                                        core == 0°0° for
                                                                                                                                                      for the
                                                                                                                                                            the wine-glass
                                                                                                                                                                  wine-glass
location,
location, and  and II;ri isis the
                               the resulting
                                     resulting current
                                                   current goinggoing intointo the
                                                                                 the      mode
                                                                                           mode shapeshape shown.
                                                                                                               shown.
electrode.
electrode. Note   ote that
                        that ideally
                               ideally oneone coupling
                                                coupling factor
                                                            factor simultane-
                                                                        simultane-              To
                                                                                                To obtain
                                                                                                     obtain an  an expression
                                                                                                                    expression for  for electromechanical
                                                                                                                                         electromechanical coupling coupling
               N
ously
ously models
        models both  both transfer
                             transfer functions.
                                         functions.                                       ηNei,
                                                                                             ei, (40)
                                                                                                  (40) can can bebe used
                                                                                                                      used to to express
                                                                                                                                   express the the resonance
                                                                                                                                                      resonance lumped
                                                                                                                                                                     lumped
      erivation of
    Derivation         of the
                            the electromechanical
                                  electromechanical coupling  coupling factor factor      force
                                                                                           force F  F; i at
                                                                                                         at port
                                                                                                             port i7 as
                                                                                                                      as aa function
                                                                                                                            function of  of input
                                                                                                                                             input voltage
                                                                                                                                                       voltage amplitude
                                                                                                                                                                  amplitude
    D
from
from the the voltage-to-force
                 voltage-to-force relationship
                                          relationship startsstarts with with thethe      V V;i as
                                                                                                as follows:
                                                                                                    follows:
general
general expression
            expression for   for force
                                  force at at resonance,
                                               resonance, whichwhich from from (1)(1)
takes
takes the
        the form
               form                                                                                 k m(R, θOcore)         (R, θOcore)
                                                                                                               core) ⋅} ℜ         core)
                                                                                               Fi = k(R,                R(R,
                                                                                                i
                                                                                               F.

                                                                                                                   Q
                                                                                                    —_—


                                              ∂C i                                                                 Q
                                  F    = V
                                  F; i =   Pi oc, V    .                           (36)
                                                                                   (36)                      ε  Rh       θi 2 ℜ        (R, θ core   ) k m(R,  R, θOcor    )
                                         Vp,
                                               ∂r Vi.i
                                                                                                                            ∫
                                                                                                  _ Vp, V      o h               mode                                core
                                                                                                  = V
                                                                                                  =          e.R         Oiz R Rodnode, R,Ocor   e) ⋅. kun(             e) ⋅. d  /
                                                                                                      Pi Vii = 2        0,           e         0)         k (RR, 0")          deθ′
                                                                                                               do       θi1    ℜ   mode   (R , θ′ )       k m  (R  , θ ′)
Because
Because the the dynamic
                  dynamic mass
                             mass and
                                    and stiffness
                                          stiffness for
                                                      for the
                                                           the wine-glass
                                                                wine-glass                             _ C   Co
                                                                                                                oi        1            θi 2 ℜ
                                                                                                                                              Rod        R, θ")′)
                                                                                                                                                    el ((R,0
                                                                                                                                           ∫
                                                                                                                                                 mode
mode
mode are are not
              not constant
                    constant over
                                over the
                                       the length
                                            length of  of (or
                                                           (or angle
                                                                angle sub-sub-                    = VVi pi
                                                                                                         Pi d,                                                       ⋅ dθ′/
                                                                                                    ViV
                                                                                                             d o (θi 2 − θi1) θi1 ℜ
                                                                                                                              o   l                   R, θ0 core
                                                                                                                                                 el ((R,     core)) 4




                                                                                                                                                                                           			
                                                                                                                                            Rodmode
tended by)
tended    by) the
                the electrode,
                     electrode, determination
                                 determination of    of the
                                                         the ∂C
                                                              dC;/0x
                                                                 i /∂x   term
                                                                        term
                                                                                                                  C
                                                                                                                  oooi
requires
requires aa double
               double integration
                         integration over
                                        over the
                                               the electrode
                                                    electrode length
                                                                  length to  to                     = V
                                                                                                    =  o Piκs  i       V
                                                                                                                  do i
first
first obtain
       obtain an an expression
                      expression for
                                   for the
                                        the resonance
                                              resonance displacement
                                                             displacement
at
at the
     the core
          core LCRLCR reference
                         reference location
                                     location as  as aa function
                                                          function of of the
                                                                           the                           eiV
                                                                                                    = ηNeiV s,i ,
excitation
excitation voltage
               voltage across
                         across the
                                 the electrode-to-resonator
                                       electrode-to-resonator gap.     gap.                                                                                                            (41)
                                                                                                                                                                                       (41)
                                                                                          		
    To
    To dodo this,
              this, referring
                      referring to
                                 to Fig.
                                      Fig. 6,
                                            6, the
                                                 the electrode
                                                       electrode is  is first
                                                                          first
sectioned
sectioned intointo infinitesimally
                     infinitesimally small
                                        small portions
                                                 portions dθ  df along
                                                                   along itsits           where (34)
                                                                                          where  (34) has
                                                                                                      has been
                                                                                                          been used
                                                                                                                used along
                                                                                                                     along with
                                                                                                                            with (29),
                                                                                                                                   (29), and
                                                                                                                                           and where
                                                                                                                                               where the
                                                                                                                                                     the
length,
length, each
           each ofof which
                      which contributes
                             contributes a   a radial
                                                radial force
                                                         force                            electromechanical
                                                                                          electromechanical coupling
                                                                                                             coupling factor
                                                                                                                      factor is
                                                                                                                              is seen
                                                                                                                                 seen toto be
                                                                                                                                            be

                                                                                                                                             C
                                                                                                                                             Cioi
                                            ε Rh dθ                                                                                  — V
                                                                                                                              η eeii =   Piκi 7 ,=                                     (42)
                                 dF = V PiVi o 2 .
                                                                                                                                       Vii
                                                                                                                                              do                                       (42)

                                              do
                                                                                   (37)
                                                                                   (37)
                                                                                          where
                                                                                          where

Each
Each such
       such force
             force induces
                      induces a a radial
                                   radial displacement
                                           displacement amplitude
                                                        amplitude                                                          11             bo ℜRR, modeog(R)
                                                                                                                                          θi 2         (R, θ′)
                                                                                                           κi =                       ∫θ 1 ℜR mode                ⋅ dθ′                (43)
                                                                                                           K;   —                                  mode      Y        .   d6’              43

at its
at its location
       location (i.e.,
                  (i.e., at
                         at θ)
                             0) given
                                 given by
                                        by                                                                          ((>
                                                                                                                      θi 2 −
                                                                                                                           - θ  i1)
                                                                                                                              0:1)        i1  node (R
                                                                                                                                                    12:, θ core))
                                                                                                                                                         0 core                        (          )



                                        Q           ε Rh dθ                               is
                                                                                          is aa factor
                                                                                                factor that that modifies
                                                                                                                      modifies the   the (easy
                                                                                                                                           (easy to to remember)
                                                                                                                                                         remember) electrome-electrome-
                   AR(R,
                   d ℜ(R, θ0)) =
                               =     k m(R, θ)
                                              V PiVi o 2 .                         (38)   chanical
                                                                                          chanical coupling
                                                                                                         coupling of        of an
                                                                                                                                an ideal
                                                                                                                                     ideal parallel-plate
                                                                                                                                              parallel-plate capacitive-gap
                                                                                                                                                                      capacitive-gap
                                                      do
                                                                                          transducer
                                                                                          transducer to        to account
                                                                                                                     account for    for a a non-constant
                                                                                                                                              non-constant resonance  resonance dis-     dis-
                                                                                          placement
                                                                                          placement (or       (or velocity)
                                                                                                                      velocity) profile
                                                                                                                                      profile over
                                                                                                                                                 over the the electrode
                                                                                                                                                                 electrode length.  length.
   Att resonance,
        resonance, thethe radial
                           radial displacement
                                    displacement amplitude
                                                      amplitude at    at                  Eq.
                                                                                          Eq. (43)
                                                                                                 (43) should
                                                                                                          should be     be evaluated
                                                                                                                              evaluated for   for each
                                                                                                                                                    each electrode
                                                                                                                                                            electrode ii overlap- overlap-
    A
each
each location
      location is
                is related
                   related to
                            to that
                                that at
                                      at another
                                          another location
                                                    location byby the
                                                                    the                   ping
                                                                                          ping the the diskdisk sidewalls
                                                                                                                     sidewalls to     to obtain
                                                                                                                                           obtain the  the turns
                                                                                                                                                               turns ratioratio η    7;ei for
                                                                                                                                                                                           for
mode
mode shape
       shape expression,
               expression, given
                              given byby (21)
                                          (21) for
                                                for the
                                                     the wine-glass
                                                          wine-glass                      each
                                                                                          each transformer
                                                                                                    transformer modeling     modeling electromechanical
                                                                                                                                              electromechanical couplings      couplings
mode.
mode. In In particular,
            particular, the
                          the radial
                                radial displacement
                                         displacement amplitude
                                                          amplitude                       through
                                                                                          through the     the electrodes.
                                                                                                                  electrodes. Doing      oing so  so for        core =
                                                                                                                                                        for θ6...        = 0° 0° reveals
                                                                                                                                                                                    reveals
                                                                                                                                      D
contribution
contribution atat location
                   location θ6 generated
                                generated by by aa force
                                                   force at
                                                          at θ′
                                                             #' is
                                                                 is                       that
                                                                                          that κ  x;i remains
                                                                                                       remains constantconstant as     as disk
                                                                                                                                           disk radius
                                                                                                                                                   radius changes,
                                                                                                                                                               changes, postingposting a      a
                                                                                          value
                                                                                          value of  of 0.724
                                                                                                         0.724 for   for the
                                                                                                                           the wine-glass
                                                                                                                                  wine-glass mode  mode shape shape for   for a a layout-
                                                                                                                                                                                    layout-
                               ℜ     (R, θ0))                                             defined
                                                                                          defined electrode
                                                                                                        electrode span     span angle
                                                                                                                                    angle of of θ0,i2 == −θ —0;i1 =  = 38.6°,
                                                                                                                                                                           38.6°, which
                                                                                                                                                                                      which
                                   p (R 0) ⋅ARR,
                                              dℜ(R, θ0).′).                        (39)
                               R mode
                   d ℜ(R, θ) =
                   dR(R,0)   = ℜ
                               R
                                 model
                                                                                   (39)   is
                                                                                          is the
                                                                                              the angle
                                                                                                    angle used  used for  for the
                                                                                                                                the measured
                                                                                                                                      measured devicesdevices to    to bebe described
                                                                                                                                                                               described
                                 mode(R, θ′)
                                                                                          later.
                                                                                          later.
                                                                                               To
                                                                                               To provide
                                                                                                    provide a       a sense
                                                                                                                       sense of   of how
                                                                                                                                      how strongly
                                                                                                                                              strongly κ    x;i changes
                                                                                                                                                                 changes with    with the the
To
To obtain
    obtain the
            the total
                total resonance
                       resonance displacement
                                     displacement amplitude
                                                       amplitude at  at a
                                                                        a
                                                                                          length
                                                                                          length of   of an
                                                                                                          an electrode
                                                                                                                electrode centeredcentered at   at θ0.core  ==   0°,
                                                                                                                                                                 0°,   Fig.
                                                                                                                                                                       Fig.    9
                                                                                                                                                                               9   plots
                                                                                                                                                                                   plots    κ
                                                                                                                                                                                            k;i
location
location θ,
          #, one
             one must
                  must sum,
                         sum, i.e.,
                                i.e., integrate,
                                       integrate, all
                                                    all displacement
                                                         displacement
                                                                                          versus
                                                                                          versus subtended
                                                                                                      subtended electrode   electrode angle,
                                                                                                                                           angle, as  as defined
                                                                                                                                                           defined by     by thethe inset
                                                                                                                                                                                        inset
contributions
contributions toto location
                    location θ6 from
                                 from forces
                                         forces at
                                                 at all
                                                      all other
                                                          other port
                                                                   port i
                                                                                          figure.
                                                                                          figure. Here,Here, κ     xk;i == 11 whenwhen the  the electrode
                                                                                                                                                   electrode angle   angle is    is infini-
                                                                                                                                                                                      infini-
electrode-to-resonator
electrode-to-resonator overlap
                           overlap locations
                                      locations θ′#' as
                                                      as follows:
                                                          follows:
                                                                                          tesimally
                                                                                          tesimally small, small, as    as expected,
                                                                                                                              expected, but  but decreases
                                                                                                                                                    decreases steadilysteadily as     as the
                                                                                                                                                                                          the
                        θ0;i 2                                                            electrode
                                                                                          electrode grows,  grows, until   until thethe electrode
                                                                                                                                           electrode angle  angle subtends
                                                                                                                                                                        subtends the      the
        R(R,0)
        ℜ        = I)
          (R, θ) =    ∫θ dAR(R,
                           ℜ(R, θ0))                                                      entire
                                                                                          entire right
                                                                                                     right halfhalf of of thethe disk,
                                                                                                                                   disk, atat which
                                                                                                                                               which pointpoint κ    x;i goes
                                                                                                                                                                          goes to  to zero.
                                                                                                                                                                                        zero.
                         i1

                             εe oRh           θi 2 ℜ
                                                    node (R
                                                          1s, θ
                                                              0))   dθ′    10
                                                                        wo (40)           This
                                                                                          This makes
                                                                                                  makes sense,
                                                                                          (ideally) not
                                                                                          (ideally)       not be
                                                                                                                sense, because
                                                                                                                  be able
                                                                                                                             because a
                                                                                                                         able to
                                                                                                                                         a semicircular
                                                                                                                                  to excite
                                                                                                                                             semicircular electrode
                                                                                                                                       excite the the wine-glass
                                                                                                                                                                  electrode should
                                                                                                                                                         wine-glass disk
                                                                                                                                                                                     should
                                                                                                                                                                             disk mode mode
                   = QV
                   =    PiVi
                     QVpV,
                                  Rh
                                dd?o2     ∫   0:2 R mode
                                            θ0i1 ℜ node (R
                                                 R mode  1:, θ
                                                             0)
                                                                    ⋅
                                                              ′) kkon   (1,6)′)
                                                                   m(R, θ
                                                                               .
                                                                                          (although
                                                                                          (although it      it can
                                                                                                                 can certainly
                                                                                                                        certainly exciteexcite thethe radial-contour
                                                                                                                                                         radial-contour mode).      mode).
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858                                       IEEE Transactions
                                          IEEE TRANSACTIONS on
                                                            ON Ultrasonics,
                                                               ULTRASONICS, Ferroelectrics,
                                                                            FERROELECTRICS, and
                                                                                            AND Frequency CONTROL, , vol.
                                                                                                FREQUENCY Control    VOL. 61,
                                                                                                                          61, no.
                                                                                                                              NO. 5, MAY 2014
                                                                                                                                  5, May 2014


D.
D. Motional
   Motional Current
            Current                                                                                                                 90°     Quasi-Nodal
                                                                                                        Wine-glass          .
                                                                                                                                                Lines

   To
   To obtain
        obtain anan expression
                     expression for
                                  for the
                                      the motional
                                          motional current
                                                    current into
                                                              into                                            Disk                                       Subtended
port
port i,
      4, integration
          integration isis also
                           also required,
                                required, because
                                           because the
                                                    the velocity
                                                         velocity
term
term ∂r/∂t
       Or/0t inin the
                   the general
                        general expression
                                 expression for
                                             for output
                                                 output current
                                                          current
at
at port
   port i
                                  d C
                                  dc;          ∂ Ci ∂
                                               oc;  orr                                                                                                                    Subtended
                       i ri = V Pi dt i = V Pi                               (44)      et                                                                            0=0   Electrode
                            =Vpi—
                                   dt =Veigy    orr ot
                                                ∂   ∂t                       (44)                                                                                            Angle
                                                                                          0.4
varies
varies with
        with angle
              angle θ.
                    #. Pursuant
                       Pursuant toto performing
                                     performing thisthis integra-
                                                          integra-
tion,
tion, the
       the current
            current flowing
                     flowing through
                              through aa differential
                                           differential slice
                                                           slice of
                                                                 of                       0.2
electrode-to-resonator
electrode-to-resonator overlap
                         overlap dθ
                                  df at
                                     at θ6 takes
                                           takes on
                                                  on the
                                                       the form
                                                            form
                                                                                          0.0             y
             ε oRhh
      di, (6)         fio, SEE RR 0)0
      di ri(θ) = j ω oV Pi
                d o2
                     ℜ(R, θ)dθ
                                                                                                0        30        60      90     120
                                                                                                              Subtended Electrode Angle (°)
                                                                                                                                            150                  180

                                                              			                      Fig.
                                                                                       Fig. 9.
                                                                                             9. Plot
                                                                                                Plot ofof electromechanical
                                                                                                          electromechanical coupling
                                                                                                                            coupling modification
                                                                                                                                     modification factor
                                                                                                                                                  factor κ
                                                                                                                                                         rk;i versus
                                                                                                                                                              versus
                  Rh
             εe oJRh                  ℜ  mode(R
                                      Rodel       , θ)
                                                1,0)
= j ω oVVpPi ——5—
= Jw                 ℜ(R, θ core) ⋅                     ⋅ dθ,                          electrode
                                                                                       electrode length.
                                                                                                   length. £p
                                       mode (R
                                             Bs, θ core) a0.
                 dz
                d o2 R(R, 0 core) ’ Rℜ mode
                                                                             (45)
                                                 Ooore)

		(45)
                                                                                       Integrating
                                                                                       Integrating over
                                                                                                     over the
                                                                                                            the angle
                                                                                                                 angle subtended
                                                                                                                         subtended by by the
                                                                                                                                           the electrode
                                                                                                                                                 electrode
where
where ω w,o is
             is the
                the frequency
                    frequency ofof vibration.
                                   vibration. Integrating
                                              Integrating this
                                                          this                         yields
                                                                                       yields for
                                                                                               for the
                                                                                                   the total
                                                                                                        total force
                                                                                                               force (in
                                                                                                                      (in quadrature
                                                                                                                           quadrature with
                                                                                                                                         with the
                                                                                                                                                the input
                                                                                                                                                     input
over
over the
     the electrode
           electrode overlap
                      overlap length
                              length yields
                                      yields                                           force
                                                                                       force at
                                                                                             at resonance)
                                                                                                 resonance) resulting
                                                                                                              resulting from
                                                                                                                         from electrical
                                                                                                                               electrical stiffness
                                                                                                                                           stiffness
                         Rh
                  εge, oRh                 θi 2 ℜ         R, θ)
                                                    mode((R,0)
i ri== j ω oV
            jwV, Pi       2 R(R,0 core
                            ℜ(R, θ ) ⋅     ∫   uetdL0)             ggθ
                                                                   d                                _           Rh
                                                                                                          ε3) oLh
                                                                                                         v2                     θi 2 ℜ
                                                                                                                                          mode(R BR,, θ
                                                                                                                                                      0)′) .
                                                                                                                     ℜ(R, θ) ⋅ Oia Rode
      = J      Pima    dd?o   (                ℜ
                                  core) Aθi1 R mode    R
                                                  node 1s, θ
                                                      (      core)
                                                           Ocore)
                                                                                       Foi B,0) = Ve: = gm RRO) - ∫J “ox (Ro)
                                                                                       Fkei(R, θ) = V P2i
                                                                                                              do 3
                                                                                                                               θi1 ℜ mode ( R, θ )
                                                                                                                                                           ⋅ dθ′/
                  C                        1          θi 2 ℜ
                                                                node (R R ,,0)
                                                                            θ)
      = j ω oV Pi Cooi ℜ(R, θ core) ⋅                 ∫                                                  {{r 42 On= 0) ∫Jo, Rope) 1 } [REO
                                                                                                      V2 C                                        R, θ0)′) . dé | R(R,6
                                                            R mode                                                       11                mode ((R,
                                                                                 dθ                            C_.oi              θ0 i 2 ℜ
                    dd,o, UR, Bor) (θOii 2 −— θ i1) θi1 ℜ    mode(R  R ,Fron)
                                                                         θ core) a0                 = V P2i o2i                            mode
                                                                                                                                                             ⋅ dθ′ ℜ(R, θ)
      = Jw Vig
      Bn                                       mh         Rodel
                                                                                                               d o (θi 2 − θi1) θi1 ℜ mode(R, θ)
                C
                Cioi
= j; ω oV Piik;
= JwoVp      κi a    ℜ(R, θ core))                                                     = kk(R,0OR
                                                                                       =   ei(R, θ)(R,0),
                                                                                                   ℜ(R, θ),
                d o RR, O core
                                                                                       		(48)               (48)
= j ω oη eiℜ(R, θOcore)
= JwoneR(R,        core),
                                                                                       where
                                                                                       where
		(46)                             (46)
                                                                                              C oi        1
                                                                                                                                {
                                                                                                                           mode(R, θ′)
                                                                                                                                                                               }
                                                                                                                    θi 2 ℜ
where (29),
where    (29), (34),
                 (34), (42),
                         (42), and
                                 and (43)
                                      (43) have
                                            have been
                                                  been used
                                                         used to
                                                               to obtain
                                                                   obtain                   kkei(R.0)
                                                                                                 of     = VVE,P2i
                                                                                               ei(R, θ) =                  hh         Ja⋅ dθ′ 			  ∫
                                                                                       (£6)      2 (θ − θ )
                                                                                            P dd?o (0 i 2 — 010)
                                                                                                              i1         ℜ mode(R, θ0))
                                                                                                                 θJo,i1 Roal®
the
the final
     final form.
             form. Note
                      Note thatthat the
                                     the value
                                          value of
                                                 of η7;ei given
                                                          given by
                                                                 by (46)
                                                                      (46)
is                                                                                     		(49)                                                 (49)
is identical
   identical to to that
                     that forfor the
                                  the voltage-to-force
                                       voltage-to-force expression
                                                           expression of of
(41), as
(41),  as it
           it should
              should be. be.                                                           is
                                                                                       is the
                                                                                          the electrical
                                                                                                electrical stiffness
                                                                                                               stiffness as  as aa function
                                                                                                                                     function of  of angular
                                                                                                                                                      angular location
                                                                                                                                                                    location
                                                                                       0. Again,
                                                                                       θ.   Again, the the location
                                                                                                             location dependence
                                                                                                                           dependence of      of (49)
                                                                                                                                                    (49) comes
                                                                                                                                                            comes aboutabout
E.
E. Electrical
   Electrical Spring
              Spring Stiffness
                     Stiffness                                                         because
                                                                                       because of   of the
                                                                                                        the variation
                                                                                                              variation of    of displacement
                                                                                                                                   displacement amplitude
                                                                                                                                                        amplitude over   over
                                                                                       the
                                                                                       the angle
                                                                                             angle subtended
                                                                                                      subtended by    by the
                                                                                                                           the electrode
                                                                                                                                  electrode in  in question.
                                                                                                                                                     question. The  The de-de-
    The
    The second
           second termterm of of (6)
                                   (6) indicates
                                         indicates thatthat the
                                                              the force
                                                                    force gener-
                                                                            gener-     pendence
                                                                                       pendence modeled
                                                                                                      modeled in    in (49)
                                                                                                                          (49) is is not,
                                                                                                                                      not, however,
                                                                                                                                             however, sufficient
                                                                                                                                                             sufficient to   to
ated
ated byby the
            the electrical
                 electrical stiffness
                                stiffness phenomenon
                                              phenomenon is     is a
                                                                   a function
                                                                      function of of   correctly
                                                                                       correctly model
                                                                                                     model the the frequency
                                                                                                                    frequency pullingpulling afforded
                                                                                                                                                afforded by   by the
                                                                                                                                                                   the elec-
                                                                                                                                                                        elec-
the
the displacement
     displacement amplitude
                          amplitude ℜ.      R. Thus,
                                                Thus, forfor aa disk
                                                                 disk vibrating
                                                                        vibrating      trical
                                                                                       trical stiffness.
                                                                                                stiffness. This
                                                                                                              This is is because
                                                                                                                          because the  the frequency
                                                                                                                                             frequency pullingpulling effi-
                                                                                                                                                                          effi-
in
in the
   the wine-glass
         wine-glass mode,mode, the  the variation
                                           variation of of displacement
                                                            displacement am-   am-     cacy
                                                                                       cacy ofof electrical
                                                                                                  electrical stiffness
                                                                                                                 stiffness alsoalso depends
                                                                                                                                      depends on   on the
                                                                                                                                                        the mechanical
                                                                                                                                                               mechanical
plitude
plitude along
           along thethe angle
                         angle subtended
                                   subtended by     by an
                                                        an electrode-to-reso-
                                                            electrode-to-reso-         stiffness
                                                                                       stiffness over
                                                                                                   over thethe electrode
                                                                                                                 electrode length,
                                                                                                                                 length, which
                                                                                                                                            which also also depends
                                                                                                                                                              depends on    on
nator
nator overlap
          overlap requires
                      requires that that integration
                                              integration be be employed
                                                                   employed to    to   angular
                                                                                       angular location.
                                                                                                   location.
obtain
obtain an  an accurate
                accurate expression
                               expression for    for the
                                                      the frequency-pulling
                                                            frequency-pulling              Indeed,
                                                                                           Indeed, fromfrom (11),
                                                                                                               (11), thethe important
                                                                                                                              important parameter
                                                                                                                                              parameter that    that gaug-
                                                                                                                                                                       gaug-
electrical
electrical spring
              spring stiffness
                        stiffness at  at that
                                           that electrode.
                                                  electrode.                           es
                                                                                       es the
                                                                                           the frequency
                                                                                                 frequency pulling
                                                                                                                 pulling efficacy
                                                                                                                             efficacy of  of the
                                                                                                                                             the electrical
                                                                                                                                                    electrical stiffness
                                                                                                                                                                    stiffness
    Using the
    Using    the second
                   second termterm of  of (6),
                                           (6), the
                                                 the differential
                                                      differential element
                                                                       element of of   is
                                                                                       is the
                                                                                           the effective
                                                                                                 effective integrated
                                                                                                               integrated ratio ratio of of the
                                                                                                                                             the electrical
                                                                                                                                                    electrical stiffness
                                                                                                                                                                    stiffness
electrical
electrical spring
              spring force
                        force over
                                 over aa differential
                                             differential angle
                                                            angle dθ′df" at
                                                                          at loca-
                                                                              loca-    to
                                                                                       to the
                                                                                            the mechanical
                                                                                                  mechanical stiffness
                                                                                                                    stiffness averaged
                                                                                                                                    averaged over over the the electrode
                                                                                                                                                                  electrode
tion
tion (R,     θ′) along
        (R,0')    along the the ithith electrode-to-resonator
                                          electrode-to-resonator overlap   overlap     length,
                                                                                       length, which
                                                                                                  which can can bebe expressed
                                                                                                                        expressed as   as
can
can bebe expressed
           expressed as  as
                                                                                                               k
                                                                                                              (feei )                     k (R, θ0)) .
                                                                                                                                I θi 2 ko(R,
                                                                                                                                        ei                 d
                                                                                                                                                           doθ

                                                                                                                           ∫θ0; kk(R,
                                                                                                                        _
                                 ε oRh dθ′/                                                                                                               .                    (50)
       F(R.) = V3, = gp gr)
      dFkei(R, θ′) = V P2i
                                    d o3
                                            ℜ(R, θ′)                                                           k
                                                                                                               Fnm
                                                                                                                        =
                                                                                                                        Bn        m(R, θ
                                                                                                                                    i1
                                                                                                                                          ⋅
                                                                                                                                       0)) ((3
                                                                                                                                             θi 2 −
                                                                                                                                                  - θ i1)
                                                                                                                                                    01)
                                                                                                                                                                               (50)

                                       °                                     (47)
                                                                             (47)
                                 εoRh                     (R, θ0)′) . /
                                                    ℜ mode(R                           The
                                                                                       The expression
                                                                                            expression for
                                                                                                         for the
                                                                                                             the total
                                                                                                                 total effective
                                                                                                                        effective electrical
                                                                                                                                  electrical stiffness
                                                                                                                                             stiffness [to
                                                                                                                                                       [to
                       = V P22 i €,lth   ℜ(R, θ) ⋅. R mode
                            pig MRO) me)
                                  do3               ℜ mode(R, θ)
                                                                    ⋅ dθ′.
                                                                                       be used
                                                                                       be used in
                                                                                                in (11)]
                                                                                                   (11)] at
                                                                                                          at port
                                                                                                             port i then
                                                                                                                     then becomes
                                                                                                                           becomes
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akgul
AKGUL et
      ET al.:
         AL.: a
              A negative-capacitance
                NEGATIVE-CAPACITANCE equivalent
                                     EQUIVALENT circuit
                                                CIRCUIT model
                                                        MODEL                                                                                                                                                                             859
                                                                                                                                                                                                                                          859


                kkeiei                                                                                                 G.
                                                                                                                       G. Design
                                                                                                                          Design Example:
                                                                                                                                 Example: 61-MHz
                                                                                                                                          61-MHz Wine-Glass-Mode
                                                                                                                                                 Wine-Glass-Mode Disk
                                                                                                                                                                 Disk
        k eeii =            ⋅ k m(R, θ0 core
                                         core))
                kk m ) : E(B,
                        m


                       C              11                                                                                   The
                                                                                                                           The sixth
                                                                                                                                  sixth column
                                                                                                                                             column of     of Table
                                                                                                                                                                Table III   III presents
                                                                                                                                                                                   presents the     the results
                                                                                                                                                                                                           results of  of
             =
             _
               V P22 i Cl,o2i                                                                                          using
                                                                                                                       using the
                                                                                                                               the equations
                                                                                                                                      equations of     of Table
                                                                                                                                                            Table II   II to
                                                                                                                                                                           to design
                                                                                                                                                                                design a     a 61.2-MHz
                                                                                                                                                                                                61.2-MHz wine-    wine-
             CTA o (0,i2 — θ0)?
                        d      (θ    −    i1)
                                              2
                                                                                                                       glass-mode
                                                                                                                       glass-mode disk    disk using
                                                                                                                                                  using the  the electrode
                                                                                                                                                                    electrode configuration
                                                                                                                                                                                       configuration of         of Fig.
                                                                                                                                                                                                                    Fig.
                                      model(R     0)′) k
                                              Fs, θ        (R, θ core)
                      θi 2     θi 2 ℜ
               ⋅ Oi 0:2 R mode                        ⋅ knm (R, Ocore) ⋅ dθ dθ′/                                       2(c)
                                                                                                                       2(c) with
                                                                                                                             with characteristics
                                                                                                                                        characteristics as       as presented
                                                                                                                                                                       presented in       in thethe design
                                                                                                                                                                                                       design vari-vari-
                   J∫ ∫ 1
                    θi1       θi1   ℜ mode  (R  , θ )     Rl
                                                          k m(R, θ)                     RCC(51)                        ables
                                                                                                                       ables section.
                                                                                                                               section. Here,Here, given
                                                                                                                                                       given the  the desired
                                                                                                                                                                          desired resonance
                                                                                                                                                                                        resonance frequencyfrequency
                                 11                                                                                    and
                                                                                                                       and thickness,
                                                                                                                             thickness, solution
                                                                                                                                               solution of     of (53)
                                                                                                                                                                     (53) yields
                                                                                                                                                                             yields aa needed needed radius radius of  of
                                                          0, ℜ         0)′J )
                                 {                                                                   }?
                                                                                                          2
             — VE2 C                                           mode(R, θ
                                                          θi 2
                       oi
                                                     ∫θ ℜ mode(R, θcore)                        θ′
                                                                                              av}
             = V Pi %!                                       Rode,
                                                                                           ⋅. d                        12.1
                                                                                                                       12.1 μm.
                                                                                                                             pm. With  With the   the dimensions
                                                                                                                                                         dimensions indicated   indicated in        in the
                                                                                                                                                                                                         the design
                                                                                                                                                                                                                 design
                    ddso2 ((0:
                            θi 2 −
                                 - θ  i1)
                                    0:1)              01i1         R   node       Ocore)
                                                                                                                       variables
                                                                                                                       variables section
                                                                                                                                      section of   of Table
                                                                                                                                                       Table III, III, the
                                                                                                                                                                         the values
                                                                                                                                                                                values for   for the
                                                                                                                                                                                                   the equivalent
                                                                                                                                                                                                          equivalent
                                2
                 2 2C Cioi = η
                             Ne:ei ,                                                                                   circuit elements
                                                                                                                       circuit   elements now     now follow
                                                                                                                                                          follow from  from (54)–(56),
                                                                                                                                                                                 (54)—(56), and      and areare sum-
                                                                                                                                                                                                                   sum-
             =
             = Vfo κ
                 Pi i 422 = C.
                      do     C oi                                                                                      marized
                                                                                                                       marized in   in the
                                                                                                                                         the 4-port
                                                                                                                                               4-port equivalent
                                                                                                                                                            equivalent circuit  circuit variables
                                                                                                                                                                                             variables section.
                                                                                                                                                                                                              section.
                                                                                                                           The
                                                                                                                           The wine-glass
                                                                                                                                  wine-glass mode     mode devicedevice to    to be be evaluated
                                                                                                                                                                                          evaluated by       by mea-
                                                                                                                                                                                                                   mea-
                                                                                                                       surement
                                                                                                                       surement in            ection V
                                                                                                                                       in Section         V is is operated
                                                                                                                                                                    operated as       as a  a two-port
                                                                                                                                                                                                two-port device  device
where (42)
where    (42) and
               and (43)
                    (43) have
                          have been
                                 been used
                                        used toto match
                                                   match (10).
                                                            (10).




                                                                                                                                                   S
                                                                                                                       that
                                                                                                                       that combines
                                                                                                                             combines ports   ports 11 with with 33 to  to form
                                                                                                                                                                             form an   an input
                                                                                                                                                                                             input portport A,  A, and
                                                                                                                                                                                                                    and
    It
    It should
       should be be noted
                     noted that
                             that all
                                    all of
                                         of the
                                            the preceding
                                                  preceding formula-
                                                                formula-
                                                                                                                       ports
                                                                                                                       ports 22 with
                                                                                                                                   with 4   4 to
                                                                                                                                               to form
                                                                                                                                                     form an  an output
                                                                                                                                                                    output port   port B.  B. In In this
                                                                                                                                                                                                      this configu-
                                                                                                                                                                                                              configu-
tions,
tions, specifically
        specifically (41)–(43),
                       (41)—(43), (46),
                                    (46), and
                                           and (51),
                                                 (51), are
                                                        are completely
                                                             completely
                                                                                                                       ration,
                                                                                                                       ration, electrodes
                                                                                                                                  electrodes on     on opposite
                                                                                                                                                         opposite sides   sides of  of the
                                                                                                                                                                                         the diskdisk areare electri-
                                                                                                                                                                                                               electri-
consistent
consistent with
              with the
                    the general
                         general formulations
                                   formulations of        ection II.
                                                     of Section   II.
                                                                                                                       cally
                                                                                                                       cally connected,
                                                                                                                               connected, one      one pairpair serving
                                                                                                                                                                    serving to     to excite
                                                                                                                                                                                        excite the   the disk,
                                                                                                                                                                                                            disk, thethe
                                                                                    S
                                                                                                                       other
                                                                                                                       other toto detect
                                                                                                                                     detect output
                                                                                                                                                 output currents.
                                                                                                                                                              currents. With    With the  the diskdisk perimeter
                                                                                                                                                                                                           perimeter
F.
F. Wine-Glass
   Wine-Glass Disk
              Disk Equivalent-Circuit
                   Equivalent-Clircuit Summary
                                       Summary                                                                         moving
                                                                                                                       moving in   in opposite
                                                                                                                                         opposite directions
                                                                                                                                                        directions over    over the  the input
                                                                                                                                                                                             input and  and output
                                                                                                                                                                                                                output
                                                                                                                       electrodes,
                                                                                                                       electrodes, currents
                                                                                                                                         currents that that go  go into
                                                                                                                                                                      into the
                                                                                                                                                                             the diskdisk at  at the
                                                                                                                                                                                                   the input
                                                                                                                                                                                                         input elec-
                                                                                                                                                                                                                   elec-
    Table
    Table IIII summarizes
                summarizes the   the equations
                                       equations needed
                                                     needed to to generate
                                                                   generate                                            trode
                                                                                                                       trode leave
                                                                                                                                leave the the disk
                                                                                                                                                disk at  at the
                                                                                                                                                              the output
                                                                                                                                                                      output electrode,
                                                                                                                                                                                    electrode, with    with ideally
                                                                                                                                                                                                                ideally
specific
specific values
           values forfor the
                         the elements
                              elements in  in the
                                               the small-signal
                                                    small-signal equiva-
                                                                     equiva-                                           none
                                                                                                                       none of of the
                                                                                                                                    the current
                                                                                                                                            current flowing
                                                                                                                                                          flowing throughthrough the     the dc-bias
                                                                                                                                                                                                 dc-bias voltage
                                                                                                                                                                                                               voltage
lent
lent circuit
      circuit ofof Fig.
                    Fig. 77 for
                             for aa wine-glass
                                     wine-glass disk
                                                   disk resonator.
                                                          resonator. Like  ike                                         source,
                                                                                                                       source, V    Vp,P, thus
                                                                                                                                           thus avoiding
                                                                                                                                                     avoiding loss    loss from
                                                                                                                                                                              from resistance
                                                                                                                                                                                         resistance in       in series
                                                                                                                                                                                                                  series
                                                                                                              L
Table
Table I,I, the
           the expressions
                expressions are are presented
                                      presented in in aa design
                                                         design flow
                                                                   flow that
                                                                         that                                          with
                                                                                                                       with the
                                                                                                                              the dc-bias
                                                                                                                                     dc-bias supplysupply voltage.
                                                                                                                                                               voltage.
achieves
achieves aa wine-glass-mode
               wine-glass-mode disk    disk resonator
                                             resonator withwith a a specific
                                                                     specific                                              Because
                                                                                                                           Because the    the wine-glass
                                                                                                                                                 wine-glass mode     mode shape  shape is    is identical
                                                                                                                                                                                                  identical along along
operating
operating frequency
              frequency and and with
                                  with specific
                                         specific motional
                                                   motional resistances
                                                                resistances                                            ports
                                                                                                                       ports 11 andand 3,  3, and
                                                                                                                                                and ports
                                                                                                                                                        ports 2    2 and
                                                                                                                                                                       and 4,  4, merging
                                                                                                                                                                                    merging of       of these
                                                                                                                                                                                                         these elec-
                                                                                                                                                                                                                   elec-
R xij between
Rj;   between its its electrode
                       electrode terminals.
                                    terminals.                                                                         trodes
                                                                                                                       trodes generates
                                                                                                                                 generates an     an electromechanical
                                                                                                                                                       electromechanical coupling        coupling turns  turns ratio
                                                                                                                                                                                                                   ratio




                                              T B E II.
                                              TABLE II. Wine-Glass
                                                        WINE-GLASS Mode   esign Equations
                                                                   MODE DESIGN  EQUATIONS and
                                                                                          AND Procedure  ummary.
                                                                                              PROCEDURE SUMMARY.
                                                 A
                                                      L
                                                                                                      D
                                                                                                                                                                              S
  bjective/procedure
Objective/procedure                                                           Parameter
                                                                              Parameter                             elevant design
                                                                                                                  Relevant  design equations
                                                                                                                                   equations for
                                                                                                                                             for a
                                                                                                                                                 a given
                                                                                                                                                   given parameter
                                                                                                                                                         parameter                                                              Eq.
                                                                                                                                                                                                                                Eq.
O
                                                                                                                  R
             Wine-glass
             Wine-glass                                                       Solve for ζ
                                                                               olve for
                                                                                                                  [8]
                                                                                                                        ζ                
                                                                                                                                                           0-0 — d= aw
                                                                                                                   Ψ n   − n − q  ⋅ [Ψ n(ζ) − n − q ] = (nq − n)2,                                                       62)
                                                                                                                                                                                                                                (52)
                Disk
                                                                              S
                   Disk              Electrode
                                     Electrode                                                                         ξ                
                                                                                                                               xJ
                                                                                                                               x],n −1(x )                ζ 2’
                                                                                                                   Ψ
                                                                                                                   (2)
                                                                                                                     n (x ) =    J.
                                                                                                                                     4(2)
                                                                                                                                           i; , q: =: m2 2 _ 9’ , .
                                                                                                                                 J n(x )                2n − 2
              R             do
                                                                                                                  ETI_
                                                                                                                  ζ = 2π f nomR
                                                                                                                                       ρp2 (2 +
                                                                                                                                               E Chu
                                                                                                                                               + 2σ20 )
                                                                                                                                                       , ξ=
                                                                                                                                                                  2
                                                                                                                                                                 1−σ     SE
                                                              i2
                                                                                esonance
                                                                              Resonance                                 _ K
                                                                                                                          KDB ((apm)mat
                                                                                                                               n, m), mat  EE
                                                                                                                                           [£       3                _ ςS (S(n,m),mat
                                                                                                                                                                            n, m), mat            .                             (53)
                                                                                                                                                                                                                                (53)
                                                                                                                  f nom =                      where K
                                                                                                                                          Ne , where             mat =                 ((22 +
                                                                                                                                                                                            + 2σ)−11/2/2
                                                                              R
                                                                                                                  Foom  =        oR                       n, m), mat
                                                                                                                                                      K ((1m),       -         ps             20)
                                                                              frequency
                                                                              frequency                                             2R                 ρ                                             π
                    h                                     '

                                                      =0
                                       core
                             = i1
                            0=0;
                                                                                                                                                                2π       R
Given:  fnom, R
Given: fom,    R,,x, and
                     and VVp.P.                                                 ore equiv.
                                                                              Core  equiv. circuit
                                                                                           circuit                                                     ρohh ∫[ Ir               2 2r ′ ddr’r ′ d6θ′
                                                                                                                                                                  R mode(r ′, θ′)]                                              (54)
                                                                                                                                                               ∫ [[Ronoac(r,                                                    (54)
                                                                              C
Find: R
Find:  R and
          and dd,.o.                                                          elements
                                                                              elements                            llyx =
                                                                                                                       = m m(R, θ
                                                                                                                         M(B,     core) =
                                                                                                                                Ocore)  -
                                                                                                                                                            0
                                                                                                                                                            0
                                                                                                                                                                     0
                                                                                                                                                                     .                     22
                                                                                                                                                                                                             ,’
                                                                                                                                                                       R mode(R, θcore
                                                                                                                                                                      [[Rimoae(R,        core)]]
6)    hoose E,
6) Choose    E, ρ,
                p, and
                     and σ
                         o byby choice
                                choice of
                                       of structural
                                          structural
                                                                                                                                  11                  11                                        kkm
                                                                                                                                                                                                  mm m           Whomm
                                                                                                                                                                                                                 ω
    C
material.
material.                                                                                                         cx ==
                                                                                                                                         = 2                ,
                                                                                                                                                               , rx = b m(R) =
                                                                                                                                                                     w=       bo   R   —        1m   m   —
                                                                                                                                                                                                              = nom m ,
                                                                                                                                                                                                                  nom   m   ,


7) Choose
7)              thickness h.
        hoose thickness      h.                                                                                   “
                                                                                                                            k  m
                                                                                                                            F(R)
                                                                                                                                   ( R )        ω
                                                                                                                                                WEnom   m
                                                                                                                                                    om Monm         "              ( )
                                                                                                                                                                                                  QQ
                                                                                                                                                                                                                     Q
                                                                                                                                                                                                                     Q
                                                                                                                                                          ζ¢  , nB
    C
8) Use
8)   Use (53)
            (53) to
                 to find
                     find the
                           the RR needed
                                    needed to
                                            to achieve
                                                achieve                                                                                     ∂  0                         nB1 1  ζ¢   .
                                                                                                                  R
                                                                                                                  Roar,     (r  ,  θ )
                                                                                                                                    0) =      aed J         er]r   + Fa         AJ        r    cos
                                                                                                                                                                                                     cos    nθ
                                                                                                                                                                                                            nf
fnom.
from:
                                                                                                                     mode
                                                                                                                                             ∂r n  ξR                A r n  R  
9) Use
9)   Use (57)
            (57) to
                 to find
                     find the
                           the dd,o needed
                                    needed toto achieve
                                                 achieve                      Static  overlap
                                                                                tatic overlap                     C= = εEolliy     o(θi 2 −       i1)Rh
                                                                                                                                           — θ0i)RR                                                                             (55)
                                                                                                                                                                                                                                (55)
R   .                                                                                                             C  ooii
                                                                                                                                          dd,o
                                                                              S
  x
Ry.                                                                           capacitor
                                                                              capacitor
10)
10) (55)(55) and
              and (56)
                   (56) yield
                         yield all
                                all needed
                                     needed values
                                              values                          Electromech.
                                                                              Electromech.                                               C                             11            θi 2 R
                                                                                                                                                                                              mode(R, θ     0)′)                (56)
in
in the
    the transformer-based
           transformer-based negative
                                   negative C C,o                                                                 η ei = V Piκi Cooi , κi =                                        ∫  Oz    R0do(R,
                                                                                                                                                                                                                  ⋅ dθ′/        (56)

      .          LL.                                                          coupling
                                                                              coupling coefficient
                                                                                         coefficient              let         Ves        ddoo fh                (θ     −  θ
                                                                                                                                                                (2i 2 - 0:1)i1 J, i1 R
                                                                                                                                                                               )    θ       mode(R
                                                                                                                                                                                          Rode       BR,, θ core) de
                                                                                                                                                                                                          core)
equivalent
equivalent circuit.
                circuit.                                                                                                      rTxx                                            llyx
                                                                              Motional
                                                                              Motional resistance,
                                                                                          resistance,             R                                         2p                                                                  (57)
                                                                                                                          = 92 , C                = cend,
                                                                                                                                                        x η ei, L
                                                                                                                                                                                                                                 57
                                                                                                                  R,x =                  C,x =                     L,x = = 2                                                    (®    )
                                                                              capacitance,
                                                                              capacitance, andand                            ηNeiei                                          ηNeiei
                                                                              inductance
                                                                              inductance
 Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 110 of 148 PageID #: 1635
860
860                                           IEEE Transactions
                                              IEEE TRANSACTIONS on
                                                                ON Ultrasonics,
                                                                   ULTRASONICS, Ferroelectrics,
                                                                                FERROELECTRICS, and
                                                                                                AND Frequency CONTROL, , vol.
                                                                                                    FREQUENCY Control    VOL. 61,
                                                                                                                              61, no.
                                                                                                                                  NO. 5, MAY 2014
                                                                                                                                      5, May 2014


                            TABLE
                            TABLE III.
                                  III. Summary
                                       SUMMARY of
                                               OF Designed
                                                  DESIGNED and
                                                           AND Simulated
                                                               SIMULATED Disk
                                                                         DISK Equivalent
                                                                              EQUIVALENT Circuit
                                                                                         CIRCUIT Element
                                                                                                 ELEMENT Values.
                                                                                                         VALUES.

                                                                             Radial-contour
                                                                             Radial-contour mode
                                                                                            mode                                Wine-glass
                                                                                                                                Wine-glass mode
                                                                                                                                           mode
Parameter
Parameter                                                Source
                                                         Source            Designed
                                                                           Designed           Simulated
                                                                                              Simulated                  Designed
                                                                                                                         Designed               Simulated
                                                                                                                                                Simulated             Units
                                                                                                                                                                      Units
Design
Design variables
         variables
 Disk
 Disk radius,
       radius, R R                                       Layout
                                                         Layout                12.10
                                                                               12.10             12.15
                                                                                                 12.15                      32.0
                                                                                                                            32.0                   32.07
                                                                                                                                                   32.07              μm
                                                                                                                                                                       pm
 Frequency, f,fo
 Frequency,                                              (11)
                                                         (11)                 218.138
                                                                              218.138           217.170
                                                                                                217.170                     61.181
                                                                                                                            61.181                 61.033
                                                                                                                                                   61.033              MHz
                                                                                                                                                                      MHz
 Nominal
 Nominal resonance
            resonance frequency,
                           frequency, fom fnom           (15),
                                                         (15), (53)
                                                               (53)           218.260
                                                                              218.260           217.288
                                                                                                217.288                     61.201
                                                                                                                            61.201                 61.055
                                                                                                                                                   61.055             MHz
                                                                                                                                                                       MHz
 Electrode
 Electrode span
              span angle,
                     angle, −θ    i1, θ
                              —0;;,   0;i2               Layout
                                                         Layout                65°
                                                                               65°               65°
                                                                                                  65°                       38.6°
                                                                                                                            38.6°                  38.6°
                                                                                                                                                   38.6°              °°
 Disk
 Disk thickness,
       thickness, hh                                     Layout
                                                         Layout                 2.1
                                                                                 2.1               2.1
                                                                                                    2.1                      2.1
                                                                                                                              2.1                    2.1
                                                                                                                                                     2.1              μm
                                                                                                                                                                       pm
 Resonator
 Resonator quality
               quality factor,
                         factor, Q @                     Measured
                                                         Measured          15 000
                                                                           15000             12 392
                                                                                             12392                      50 000
                                                                                                                        50000                  46 560
                                                                                                                                               46560
 DC
 DC bias
      bias voltage,
            voltage, V  VpP                              Measured
                                                         Measured              15
                                                                               15                15
                                                                                                  15                        14
                                                                                                                            14                     14
                                                                                                                                                   14                 V
                                                                                                                                                                      Vv
 Electrode-to-resonator
 Electrode-to-resonator gap,   gap, dd,o                 Measured
                                                         Measured              40.0
                                                                               40.0              40.56
                                                                                                 40.56                      85.0
                                                                                                                            85.0                   84.1
                                                                                                                                                   84.1               nm
                                                                                                                                                                      nm

4-Port
4-Port equivalent
        equivalent circuit
                       circuit variables
                                  variables
 Inductance
 Inductance at at θope,
                     core, lx                            (16),
                                                         (16), (54)
                                                                (54)        1695.410
                                                                            1695.410           1710.623
                                                                                               1710.623                   5395.005
                                                                                                                          5395.005               5420.964
                                                                                                                                                 5420.964             fH
                                                                                                                                                                      fH
 Capacitance
 Capacitance at  at θope;
                       core, cCsx                        (16),
                                                         (16), (54)
                                                                (54)         313.628
                                                                             313.628             313.628
                                                                                                 313.628                  1253.507
                                                                                                                          1253.507                1253.507
                                                                                                                                                  1253.507            nF
                                                                                                                                                                      nF
 Resistance
 Resistance atat θOop,
                    core, r72x                           (16),
                                                         (16), (54)
                                                                (54)         155.002
                                                                             155.002            188.464
                                                                                                188.464                     41.492
                                                                                                                            41.492                  44.664
                                                                                                                                                    44.664            nΩ
                                                                                                                                                                      nf)
 Static
 Static overlap
         overlap capacitance,
                   capacitance, C     C,o                (35)
                                                         (35                  12.762
                                                                               12.762             12.643
                                                                                                  12.643                    18.863
                                                                                                                             18.863                 19.111
                                                                                                                                                    19.111            fF
                                                                                                                                                                      fF
 Electromech.
 Electromech. coupling,
                  coupling, η7;ei                        (18),
                                                         (18), (56)
                                                                (56)        4785.600
                                                                            4785.600           4676.075
                                                                                               4676.075                   1124.270
                                                                                                                          1124.270               1151.220
                                                                                                                                                 1151.220             nC/m
                                                                                                                                                                      nC/m

2-Port
2-Port equivalent
       equivalent circuit
                    circuit variables
                             variables
 Electromech.
 Electromech. coupling,
                coupling, η   eA =
                            7.4  = η7peB                 (20)
                                                         (20                4785.600
                                                                            4785.600           4676.075
                                                                                               4676.075                   2248.540
                                                                                                                          2248.540               2302.440
                                                                                                                                                 2302.440             nC/m
                                                                                                                                                                      nC/m
 Motional
 Motional resistance,
           resistance, R Rio
                           x12                           (19),
                                                         (19), (57)
                                                                (57)        6768.1
                                                                            6768.1             8618.9
                                                                                               8618.9                     8812.9
                                                                                                                          8812.9                 8425.3
                                                                                                                                                 8425.3               Ω
                                                                                                                                                                      Q
 Motional
 Motional capacitance,
           capacitance, C   Co
                             x12                         (19),
                                                         (19), (57)
                                                                (57)            0.007
                                                                                0.007              0.007
                                                                                                   0.007                      0.006
                                                                                                                              0.006                  0.007
                                                                                                                                                     0.007            fF
                                                                                                                                                                      fF
 Motional
 Motional inductance,
           inductance, L   Lo
                            x12                          (19),
                                                         (19), (57)
                                                                (57)            0.074
                                                                                0.074              0.078
                                                                                                   0.078                      1.067
                                                                                                                              1.067                  1.023
                                                                                                                                                     1.023            H
                                                                                                                                                                      H

Parasitic
Parasitic elements
           elements
 Bond
 Bond pad
        pad capacitance,
             capacitance, C  Cjaq
                               pad                       Measured
                                                         Measured            362
                                                                             362                 300
                                                                                                 300                       186
                                                                                                                           186                     160
                                                                                                                                                   160                fF
                                                                                                                                                                      fF
 Parasitic
 Parasitic tuning
            tuning inductor,
                    inductor, L  Letune                  (59)
                                                         (59                    1.469
                                                                                 1.469              1.788
                                                                                                    1.788                   36.368
                                                                                                                             36.368                 42.479
                                                                                                                                                    42.479            μH
                                                                                                                                                                      nH
 Interconnect
 Interconnect trace
                trace resistance,
                       resistance, R  I,p                Measured
                                                         Measured               0.8
                                                                                0.8                 5
                                                                                                    5                     1080
                                                                                                                          1080                   1200
                                                                                                                                                 1200                 Ω
                                                                                                                                                                      Q
 Feedthrough
 Feedthrough capacitance,
                capacitance, C   Cyf                     Measured
                                                         Measured              —                    7.3
                                                                                                     7.3                     —                        5.9
                                                                                                                                                      5.9             fF
                                                                                                                                                                      fF

Boldface
Boldface values
         values indicate
                indicate aa change
                            change from
                                   from the
                                        the design
                                            design value
                                                   value needed
                                                         needed to
                                                                to curve
                                                                   curve fit
                                                                         fit the
                                                                             the simulation
                                                                                 simulation to
                                                                                            to the
                                                                                               the actual
                                                                                                   actual measured
                                                                                                          measured data.
                                                                                                                   data.




given
given by
      by the
         the sum
             sum of
                 of the
                    the individual
                        individual electrode
                                   electrode turns
                                             turns ratios,
                                                   ratios,                        ricated
                                                                                  ricated using
                                                                                             using aa process
                                                                                                           process flow  flow similar
                                                                                                                                  similar to   to that
                                                                                                                                                    that of  of [19],
                                                                                                                                                                  [19], butbut forfor
or
or                                                                                the
                                                                                  the case
                                                                                        case of  of radial-contour-mode
                                                                                                      radial-contour-mode devices,          devices, using  using tungsten
                                                                                                                                                                        tungsten
                                                                                  metal
                                                                                  metal in in contact
                                                                                                 contact with  with and and buried
                                                                                                                                 buried under under its   its conventional
                                                                                                                                                                 conventional
               ηNei+j
                  ei + j =
                         = η
                           Neiei +
                                 + η
                                   Nejej →
                                         - {     {
                                              ηMeaeA =
                                             ηNeeB =
                                                     = η
                                                       Mele1 +
                                                       η  e2
                                                             T η
                                                             + η
                                                     = Me2 T Med:
                                                                 e3
                                                               Tes
                                                                 e4 .
                                                                         (58)
                                                                         (58)     polysilicon
                                                                                  polysilicon interconnect;
                                                                                                    interconnect; and        and usingusing Al   Al,O3O
                                                                                                                                                     2 3      as
                                                                                                                                                              as    the
                                                                                                                                                                    the release
                                                                                                                                                                            release
                                                                                  etch-resistant
                                                                                  etch-resistant isolation
                                                                                                         isolation layer,layer, rather
                                                                                                                                    rather than  than the the usual
                                                                                                                                                                  usual Si     3N 4,
                                                                                                                                                                             SigNy,
The
The 2-port
      2-port equivalent
             equivalent circuit
                         circuit variables
                                   variables section
                                               section of
                                                        of Table
                                                           Table                  to
                                                                                  to allow
                                                                                      allow vapor
                                                                                                vapor phase
                                                                                                          phase HF    HF release;
                                                                                                                            release; all   all depicted
                                                                                                                                                depicted in      in the
                                                                                                                                                                      the cross-
                                                                                                                                                                             cross-
III
IIT provides
    provides the
              the turns
                  turns ratio
                        ratio values
                                values associated
                                         associated with
                                                      with ports
                                                           ports                  section
                                                                                  section of  of Fig.
                                                                                                   Fig. 2(a).
                                                                                                           2(a). The The metal
                                                                                                                             metal reducesreduces the   the typical
                                                                                                                                                                typical bond  bond
A
A and
   and B.
        B.                                                                        pad-to-device
                                                                                  pad-to-device interconnect
                                                                                                          interconnect resistance  resistance to      to values
                                                                                                                                                             values around around
                                                                                  55 Ω,
                                                                                     Q, which
                                                                                         which is    is much
                                                                                                         much lower lower thanthan the   the 1.21.2 kΩk of    of polysilicon-
                                                                                                                                                                   polysilicon-
                                                                                  only
                                                                                  only interconnect.
                                                                                         interconnect. The        The useuse of  of low-resistance
                                                                                                                                      low-resistance interconnectinterconnect
  V.
  V. Efficacy
     EFFICACY of
              OF the
                 THE Equivalent
                     EQUIVALENT Circuit:
                                CIRCUIT: Theory
                                         THEORY                                   becomes
                                                                                  becomes more    more important
                                                                                                           important as        as electrode-to-resonator
                                                                                                                                     electrode-to-resonator gaps               gaps
               Versus
               VERSUS Measurement
                      MEASUREMENT                                                 shrink
                                                                                  shrink to  to yield
                                                                                                   yield correspondingly
                                                                                                             correspondingly smaller        smaller motional
                                                                                                                                                           motional resis-    resis-
                                                                                  tances
                                                                                  tances that
                                                                                            that are  are more
                                                                                                            more easilyeasily loaded
                                                                                                                                   loaded by    by interconnect
                                                                                                                                                     interconnect resis-      resis-
    Because
    Because the
              the described
                   described negative
                               negative capacitance
                                          capacitance alters
                                                        alters de-
                                                               de-                tance.
                                                                                  tance. Metal
                                                                                            Metal lines  lines are are especially
                                                                                                                         especially beneficial
                                                                                                                                             beneficial for     for disks
                                                                                                                                                                       disks op- op-
vice
vice behavior
      behavior under
                 under different
                        different input/output
                                   input/output port
                                                   port load
                                                         load con-
                                                              con-                erating
                                                                                  erating in  in radial-contour
                                                                                                   radial-contour modes      modes because,because, as     as described
                                                                                                                                                                 described in      in
ditions,
ditions, the
          the described
               described negative
                          negative capacitive
                                     capacitive circuit
                                                 circuit model
                                                          model is
                                                                 is               Section
                                                                                   Section III,III, their
                                                                                                      their currents
                                                                                                                currents enter  enter or   or leave
                                                                                                                                                leave both both input input and and
perhaps
perhaps best
          best confirmed
                confirmed byby                                                    output
                                                                                  output electrodes
                                                                                             electrodes in       in phase,
                                                                                                                      phase, so    so they
                                                                                                                                        they are  are subject
                                                                                                                                                         subject to      to resis-
                                                                                                                                                                              resis-
                                                                                  tive
                                                                                  tive loading
                                                                                        loading from   from dc-bias
                                                                                                               dec-bias lines,
                                                                                                                             lines, as  as well
                                                                                                                                             well as as from
                                                                                                                                                          from the   the input/
                                                                                                                                                                            input/
    1)
    1) comparison
       comparison with
                    with measured
                          measured S  Ss;21 plots
                                            plots asas aa function
                                                          function ofof           output
                                                                                  output lines.
                                                                                             lines.
       dc-bias
       dc-bias and
               and port
                    port loading;
                          loading; and
                                    and                                               Fig.
                                                                                      Fig. 1010 presents
                                                                                                   presents scanning
                                                                                                                  scanning electronelectron micrographs
                                                                                                                                                  micrographs (SEMs)      (SEMs)
    2)
    2) comparison
       comparison with
                     with measured
                           measured plotsplots ofof resonance
                                                      resonance fre-
                                                                   fre-           of
                                                                                  of aa fabricated
                                                                                          fabricated 218-MHz 218-MHz radial-contour-mode
                                                                                                                              radial-contour-mode disk                disk withwith
       quency
       quency as
               as a
                  a function
                    function ofof dc-bias
                                  dc-bias andand port
                                                   port loading.
                                                          loading.                40
                                                                                  40 nmnm gaps
                                                                                             gaps and  and submerged
                                                                                                               submerged metal      metal interconnect;
                                                                                                                                                interconnect; Fig.        Fig. 11  11
                                                                                  presents
                                                                                  presents the   the samesame for   for a  a 61-MHz
                                                                                                                               61-MHz wine-glasswine-glass disk       disk withwith
A.
A. Fabrication
   Fabrication Process
               Process                                                            80
                                                                                   80 nm
                                                                                       nm gaps,
                                                                                            gaps, large large enough
                                                                                                                 enough to     to notnot require
                                                                                                                                            require metal metal lines. lines. ForFor
                                                                                  this
                                                                                  this reason,
                                                                                         reason, the   the wine-glass
                                                                                                              wine-glass disks    disks did  did notnot employ
                                                                                                                                                             employ buried  buried
   Pursuant
   Pursuant toto obtaining
                  obtaining such
                            such plots,
                                   plots, disks
                                          disks designed
                                                designed to
                                                          to                      metal
                                                                                  metal interconnect,
                                                                                            interconnect, and        and were
                                                                                                                            were fabricated
                                                                                                                                       fabricated using   using a      a process
                                                                                                                                                                           process
operate
operate in
         in radial-contour
            radial-contour and
                           and wine-glass
                                wine-glass modes
                                            modes were
                                                   were fab-
                                                        fab-                      identical to
                                                                                  identical      to that
                                                                                                     that of of [19].
                                                                                                                   [19].
 Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 111 of 148 PageID #: 1636
akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
                 NEGATIVE-CAPACITANCE equivalent
                                      EQUIVALENT circuit
                                                 CIRCUIT model
                                                         MODEL                                                                                                             861
                                                                                                                                                                           861


                                                                                 Network                            Vacuum     Probe Station                        Network
                                                                                 Analyzer    c                                                                      Analyzer
                              pe                  [E Polysili                     Port 1         oax                                                                  Port 2
                              "pciBiast™                ResonatorJ
                                                                                                         Calibration en
                                                                                                            Plane      !
                   [Tegells
                  ~ Input




 2e] VET] [elo g Sits
~~ Trace:
                                pe         SS            en          PRCLE

Fig.
Fig. 10.
     10. Scanning
         Scanning electron
                    electron micrograph
                             micrograph of
                                        of the
                                           the fabricated
                                               fabricated 218-MHz
                                                          218-MHz radial-
                                                                  radial-
                                                                                                                                                                      [}XxX
contour-mode
contour-mode disk.
               disk.                                                                                                                                        ry

                                                                                                                                                         44.66nQ   188.4nH



B.
B. Measurement
   Measurement and
               and Simulation
                   Simulation Circuits
                              Circuits

    The
    The measurement
          measurement circuit circuit andand corresponding
                                               corresponding simula-
                                                                  simula-
tion
tion circuits
       circuits used
                   used to to compare
                               compare measured
                                            measured and and predicted
                                                               predicted
frequency
frequency characteristics
              characteristics for for the
                                       the radial-contour-mode
                                             radial-contour-mode and    and
wine-glass
wine-glass modemode devices
                        devices areare presented
                                         presented inin Fig.
                                                          Fig. 12.
                                                                12. Dur-
                                                                      Dur-
ing
ing measurement,
     measurement, the    the die
                              die containing
                                   containing each
                                                 each device
                                                       device sits
                                                                sits atop
                                                                      atop
the
the chuck
      chuck of of aa Lake
                      Lake Shore
                              Shore FWPX
                                       FWPX probeprobe station
                                                          station (Lake
                                                                     (Lake
Shore
Shore Cryotronics
        Cryotronics Inc.,Inc., Westerville,
                                Westerville, OH)OH) that
                                                      that maintains
                                                             maintains a   a
100-μTorr
100-p Torr vacuum
              vacuum environment
                          environment while while providing
                                                   providing electrical
                                                                electrical
probe
probe access
        access to to devices
                     devices andand electrical
                                     electrical feedthroughs
                                                 feedthroughs to   to con-
                                                                       con-
nect
nect them
       them to  to outside
                    outside measurement
                               measurement instrumentation.
                                                 instrumentation. An     An

                                                                                                  Rea       -Co         Ix          I            -Co      Rpg
                                                                                                 1.2kQ    19.11fF    44.66nQ     5.42pH        19.11fF   1.2kQ




                                                                               Fig.
                                                                               Fig. 12.
                                                                                     12. (a)
                                                                                           (a) Schematic
                                                                                               Schematic description
                                                                                                           description of of the
                                                                                                                              the measurement
                                                                                                                                    measurement system
                                                                                                                                                     system used
                                                                                                                                                               used to
                                                                                                                                                                     to
                                Polysilicon
                                                                               test
                                                                               test the
                                                                                    the disk
                                                                                          disk resonators
                                                                                               resonators ofof this
                                                                                                                this work,
                                                                                                                     work, (b)
                                                                                                                             (b) schematic
                                                                                                                                   schematic diagram
                                                                                                                                               diagram of of the
                                                                                                                                                             the elec-
                                                                                                                                                                  elec-
                                 Resonator
                                                                               trode
                                                                               trode configuration
                                                                                       configuration ofof the
                                                                                                          the contour-mode
                                                                                                                contour-mode devicedevice and
                                                                                                                                           and (c)
                                                                                                                                                 (c) the
                                                                                                                                                     the wine-glass-
                                                                                                                                                          wine-glass-
                                                                               mode
                                                                               mode device;
                                                                                       device; and
                                                                                                and the
                                                                                                     the electrical
                                                                                                          electrical equivalent
                                                                                                                       equivalent system
                                                                                                                                     system circuit
                                                                                                                                              circuit used
                                                                                                                                                       used toto com-
                                                                                                                                                                  com-
                                                                               pare
                                                                               pare measurement
                                                                                     measurement with with theory
                                                                                                             theory for
                                                                                                                      for (d)
                                                                                                                          (d) the
                                                                                                                                the contour-mode
                                                                                                                                     contour-mode resonator
                                                                                                                                                      resonator andand
                                                                               (e) the
                                                                               (e) the wine-glass-mode
                                                                                        wine-glass-mode resonator.
                                                                                                            resonator. &§



                                                                               Agilent
                                                                               Agilent E5071C
                                                                                         E5071C network
                                                                                                    network analyzer
                                                                                                                 analyzer (Agilent
                                                                                                                            (Agilent Technologies
                                                                                                                                        Technologies
                                                                               Inc.,
                                                                               Inc., Santa
                                                                                     Santa Clara,
                                                                                              Clara, CA)CA) allows
                                                                                                               allows software-emulated
                                                                                                                         software-emulated place-
                                                                                                                                               place-
                                                                               ment
                                                                               ment ofof potentially
                                                                                         potentially large
                                                                                                        large resistors
                                                                                                                resistors RRgS and
                                                                                                                               and RRy,L as
                                                                                                                                         as port
                                                                                                                                            port im-
                                                                                                                                                  im-
Fig.
Fig. 11.
     11. Scanning
         Scanning electron
                  electron micrograph
                           micrograph of
                                      of the
                                         the fabricated
                                             fabricated 61-MHz
                                                        61-MHz wine-
                                                               wine-           pedances
                                                                               pedances toto gauge
                                                                                              gauge thethe effect
                                                                                                            effect ofof termination
                                                                                                                        termination resistance
                                                                                                                                       resistance on
                                                                                                                                                   on
glass-mode
glass-mode disk.
            disk.                                                              frequency
                                                                               frequency tuning
                                                                                           tuning range.
                                                                                                     range. Standard
                                                                                                              Standard SOLTSOLT calibration
                                                                                                                                   calibration onon aa
  Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 112 of 148 PageID #: 1637
862
862                                                     IEEE Transactions
                                                        IEEE TRANSACTIONS on
                                                                          ON Ultrasonics,
                                                                             ULTRASONICS, Ferroelectrics,
                                                                                          FERROELECTRICS, and
                                                                                                          AND Frequency CONTROL, , vol.
                                                                                                              FREQUENCY Control    VOL. 61,
                                                                                                                                        61, no.
                                                                                                                                            NO. 5, MAY 2014
                                                                                                                                                5, May 2014


CS5
CS5 substrate
        substrate moves     moves the      the measurement
                                                    measurement plane             plane to     to the  the tips
                                                                                                              tips           .35                                                   Q=12,192
of
of the
    the GSG GSG probes probes used     used for   for RF RF input  input and    and output
                                                                                         output to       to the the
                                                                                                                                                                                                 Q=13,631
device
device bond bond pads  pads as     as seenseen in   in Fig.
                                                          Fig. 12,   12, and and nullsnulls the   the signal
                                                                                                          signal
line-to-shield
line-to-shield capacitors capacitors of          of the
                                                      the coaxial
                                                                coaxial cables  cables and    and probes probes              -45
to
to eliminate
    eliminate frequency frequency cutoff       cutoff concerns
                                                             concerns for        for measurements
                                                                                         measurements
that
that use use large
                 large source source and       and load  load resistors.
                                                                     resistors. Shunt      Shunt induc-  induc-
                                                                                                                       ~~ -55
tors
tors cancan also also be   be simulated
                                  simulated by           by the   the E5071CE5071C to        to resonate
                                                                                                      resonate         om
out
out bond-pad
       bond-pad capacitance,capacitance, allowing       allowing observation  observation of            of per-
                                                                                                              per-     Z
formance
formance that    that might might ensue   ensue under under fully    fully on-chip
                                                                                on-chip integrated
                                                                                                 integrated            4.65
environments
environments with          with no     no bond bond pads.   pads. All     All measured
                                                                                   measured results      results
are
are obtained
      obtained using     using two-port
                                     two-port direct     direct measurement
                                                                        measurement with             with the   the
network analyzer,
network         analyzer, connected connected as            as shown
                                                                  shown in        in Fig.
                                                                                        Fig. 12(a).12(a). As     As          -75
shown in
shown       in Fig.
                  Fig. 12(d)12(d) and     and Fig. Fig. 12(e), 12(e), each   each of    of the
                                                                                             the circuits
                                                                                                        circuits
used
used for for simulation
                simulation includes     includes not      not only  only the   the base base devicedevice as      as
                                                                                                                             -85
modeled
modeled by      by two-port
                      two-port versions   versions of        of Fig.
                                                                  Fig. 3    3 oror Fig.
                                                                                      Fig. 7,   7, butbut alsoalso
                                                                                                                               216.98                217.08               217.18                217.28                217.38
measured
measured values   values of     of parasitic
                                       parasitic interconnect
                                                           interconnect resistance,    resistance, and         and
                                                                                                                                                                   Frequency (MHz)
bond-pad
bond-pad capacitance.
                  capacitance.
                                                                                                                       Fig.
                                                                                                                       Fig. 13.
                                                                                                                            13. Measured
                                                                                                                                Measured and and simulated
                                                                                                                                                  simulated (dashed
                                                                                                                                                               (dashed lines)
                                                                                                                                                                         lines) SSy;21 plots
                                                                                                                                                                                       plots for
                                                                                                                                                                                              for the
                                                                                                                                                                                                   the radial-
                                                                                                                                                                                                        radial-
    Columns
    Columns 55 and        and 77 of     of Table
                                              Table III   III summarize
                                                                  summarize the           the device
                                                                                                  device di-     di-
                                                                                                                       contour-mode
                                                                                                                       contour-mode disk
                                                                                                                                       disk with
                                                                                                                                              with 50
                                                                                                                                                    50 Ω© source
                                                                                                                                                           source and
                                                                                                                                                                    and load
                                                                                                                                                                         load termination
                                                                                                                                                                               termination resistors
                                                                                                                                                                                                 resistors for
                                                                                                                                                                                                             for
mensions
mensions and     and parameters
                           parameters used         used to     to generate
                                                                     generate the       the simulation
                                                                                                simulation             varying
                                                                                                                       varying values
                                                                                                                                values of
                                                                                                                                       of dc-bias
                                                                                                                                           dc-bias voltage
                                                                                                                                                     voltage V VpP without
                                                                                                                                                                   without using
                                                                                                                                                                             using L    tune.
                                                                                                                                                                                      Liye.
circuits of
circuits      of Figs.
                    Figs. 12(d)12(d) and     and 12(e)12(e) as     as covered
                                                                          covered in       in the
                                                                                                the design
                                                                                                         design
sections,
sections, Sections
                 Sections III       III and and IV.  IV. For   For each  each device,device, the      the first
                                                                                                              first
column
column presents
              presents direct   direct design  design values, values, obtained obtained using      using the   the     tour-mode
                                                                                                                       tour-mode disk      disk forfor varying
                                                                                                                                                           varying values  values of     of dc-bias
                                                                                                                                                                                               dc-bias voltage
                                                                                                                                                                                                            voltage V        Vp.P.
procedures
procedures of        of Table
                           Table II and      and TableTable II;      II; andand the   the columns
                                                                                              columns to          to   Here,
                                                                                                                       Here, thethe simulated
                                                                                                                                         simulated plots    plots notnot only only match
                                                                                                                                                                                       match measuredmeasured values   values
the
the right
     right of   of these
                     these (to  (to be   be referred
                                               referred to       to as as the
                                                                            the second
                                                                                    second columns) columns)           at
                                                                                                                       at the
                                                                                                                            the peaks,
                                                                                                                                   peaks, but    but also also match
                                                                                                                                                                   match measured
                                                                                                                                                                                measured curves       curves over  over the  the
the
the actual
       actual values values simulated
                                    simulated to           to match
                                                                  match measured  measured curves.      curves.        whole
                                                                                                                       whole frequency
                                                                                                                                 frequency range    range shown,shown, from    from the  the slopes
                                                                                                                                                                                                 slopes of  of the
                                                                                                                                                                                                                 the series
                                                                                                                                                                                                                         series
The
The values
        values in     in thethe second
                                     second columns  columns comprise     comprise a          a combina-
                                                                                                   combina-            resonant
                                                                                                                       resonant peaks  peaks to   to thethe locations
                                                                                                                                                               locations and      and depths
                                                                                                                                                                                           depths of     of the
                                                                                                                                                                                                             the parallel
                                                                                                                                                                                                                    parallel
tion
tion ofof direct
            direct design design values, values, i.e.,  i.e., the the values
                                                                           values used   used in    in layout
                                                                                                         layout        resonant
                                                                                                                       resonant zeros.  zeros. BothBoth theorytheory and    and measurement
                                                                                                                                                                                     measurement indicate       indicate aa
and
and targeted
      targeted in       in fabrication,
                              fabrication, and         and valuesvalues (in    (in boldface)
                                                                                      boldface) either    either       series
                                                                                                                       series resonance
                                                                                                                                 resonance frequencyfrequency and        and motional
                                                                                                                                                                                 motional resistance resistance at      at V  VpP
directly
directly measured
               measured or           or extracted
                                            extracted from        from sets    sets of   of data
                                                                                               data using   using      =
                                                                                                                       = 1515 V V of of 217.17
                                                                                                                                          217.17 MHz  MHz and    and 8.6  8.6 kΩ,k(2, respectively.
                                                                                                                                                                                          respectively.
methods
methods to      to bebe described
                           described in          in full
                                                     full detail.
                                                              detail. The     The latter
                                                                                      latter is     is needed
                                                                                                        needed             One
                                                                                                                           One interesting
                                                                                                                                     interesting differencedifference between  between these      these curves
                                                                                                                                                                                                             curves and     and
for
for elusive
     elusive dimensions,
                    dimensions, such           such as   as the the electrode-to-resonator
                                                                         electrode-to-resonator                        those
                                                                                                                       those forfor more
                                                                                                                                       more common
                                                                                                                                                 common resonators,
                                                                                                                                                                  resonators, e.g.,      e.g., quartz
                                                                                                                                                                                                  quartz crystals,
                                                                                                                                                                                                               crystals, is     is
gap
gap spacing;
      spacing; if       if it
                            it is
                                is less
                                      less thanthan 100   100 nm,  nm, it    it is
                                                                                 is very
                                                                                      very difficult
                                                                                                difficult to      to   the
                                                                                                                       the location
                                                                                                                             location of     of the
                                                                                                                                                  the parallel
                                                                                                                                                          parallel resonance
                                                                                                                                                                          resonance peak,      peak, whichwhich is    is now
                                                                                                                                                                                                                           now
determine
determine with     with the  the needed
                                      needed accuracyaccuracy using        using SEM   SEM photos  photos or      or   below
                                                                                                                       below the  the series
                                                                                                                                          series resonance
                                                                                                                                                     resonance frequency, frequency, rather     rather than than above.
                                                                                                                                                                                                                      above.
capacitance
capacitance measurements.
                      measurements. Gap                Gap spacingspacing is        is thus
                                                                                         thus often often de-   de-    This
                                                                                                                       This thethe casecase because
                                                                                                                                               because the      the current
                                                                                                                                                                       current exitingexiting the     the output
                                                                                                                                                                                                            output elec-  elec-
termined
termined indirectly
                 indirectly from       from frequency
                                                   frequency versus       versus dc-biasdc-bias curves   curves        trode
                                                                                                                       trode of  of a  a radial-contour-mode
                                                                                                                                           radial-contour-mode disk                disk is   is opposite
                                                                                                                                                                                                  opposite in     in phase
                                                                                                                                                                                                                        phase
using
using a   a procedure
              procedure that       that (as    (as will
                                                      will be   be seen)
                                                                       seen) can   can yieldyield errone-
                                                                                                        errone-        to
                                                                                                                       to that
                                                                                                                           that entering
                                                                                                                                    entering its     its input,
                                                                                                                                                            input, meaning
                                                                                                                                                                         meaning that      that current
                                                                                                                                                                                                     current entering
                                                                                                                                                                                                                   entering
ous
ous results
      results if    if one
                        one doesdoes not    not utilize
                                                    utilize the    the negative-capacitance
                                                                           negative-capacitance                        the
                                                                                                                       the input
                                                                                                                             input incitesincites current
                                                                                                                                                       current entering
                                                                                                                                                                      entering the      the output.
                                                                                                                                                                                                 output. This  This is    is toto
equivalent
equivalent circuit  circuit of    of Figs.
                                        Figs. 3    3 oror 7.  7.                                                       be
                                                                                                                       be contrasted
                                                                                                                            contrasted with     with a     a typical
                                                                                                                                                              typical two-terminal
                                                                                                                                                                             two-terminal quartz        quartz crystal,
                                                                                                                                                                                                                    crystal,
    The circuits
    The      circuits of     of Figs.
                                  Figs. 12(d)   12(d) and   and 12(e) 12(e) differ differ in  in not not onlyonly      for
                                                                                                                       for which
                                                                                                                             which currentcurrent enteringentering the     the inputinput terminal
                                                                                                                                                                                                 terminal exits   exits via  via
their
their element
         element values,  values, but     but alsoalso in   in thethe polarity
                                                                           polarity of      of thethe trans-
                                                                                                          trans-       the
                                                                                                                       the output
                                                                                                                             output terminal,
                                                                                                                                            terminal, i.e.,    i.e., current
                                                                                                                                                                        current goes   goes through
                                                                                                                                                                                                  through a       a quartz
                                                                                                                                                                                                                      quartz
formers
formers at     at their
                     their output
                                output ports.     ports. As      As mentioned
                                                                         mentioned in            in Section
                                                                                                        Section        crystal.
                                                                                                                       crystal. As    As a  a result,
                                                                                                                                                result, as    as shown
                                                                                                                                                                    shown in      in Fig.
                                                                                                                                                                                       Fig. 14,   14, thethe frequency
                                                                                                                                                                                                                frequency
III,
III, for
      for the the radial
                      radial mode,   mode, because because the         the disk disk moves moves in      in thethe     at
                                                                                                                       at which
                                                                                                                           which the    the feedthrough
                                                                                                                                               feedthrough current      current is     is opposite
                                                                                                                                                                                            opposite in      in phase
                                                                                                                                                                                                                  phase to     to
same
same direction
         direction over     over all   all electrodes,
                                             electrodes, if          if current
                                                                         current flows    flows into  into one one     the
                                                                                                                       the radial-contour
                                                                                                                             radial-contour disk’s       disk’s output
                                                                                                                                                                     output current current occurs  occurs belowbelow the    the
electrode,
electrode, it     it flows
                      flows into into all   all ofof them.
                                                       them. This    This can   can be  be modeled
                                                                                              modeled by         by    series
                                                                                                                       series resonance,
                                                                                                                                 resonance, where     where the    the phase
                                                                                                                                                                           phase is     is −90°
                                                                                                                                                                                             —90° relative
                                                                                                                                                                                                        relative to    to thethe
either
either a   a circuit
              circuit like  like thatthat of   of Fig.
                                                    Fig. 3,   3, where
                                                                   where the     the polarity
                                                                                         polarity of       of the
                                                                                                               the     input
                                                                                                                       input voltage,
                                                                                                                                 voltage, and     and thus, thus, 180° 180° from from the    the 90° 90° feedthrough
                                                                                                                                                                                                            feedthrough
output
output transformer
            transformer is            is flipped
                                           flipped relative
                                                          relative to       to that
                                                                                  that of   of thethe input,
                                                                                                          input,       current.
                                                                                                                       current. BecauseBecause the    the parallel
                                                                                                                                                              parallel resonance
                                                                                                                                                                               resonance peak       peak arises
                                                                                                                                                                                                             arises from  from
or
or by
    by merely
          merely situating
                        situating the       the output
                                                   output transformer
                                                                    transformer on           on the the samesame       cancellation
                                                                                                                       cancellation of        of motional
                                                                                                                                                   motional and        and feedthrough
                                                                                                                                                                                feedthrough currents      currents that    that
side
side asas thethe input,
                     input, as     as is  is done
                                               done in     in Fig.
                                                                 Fig. 12(d).12(d). For    For the  the wine-
                                                                                                           wine-       add
                                                                                                                       add out-of-phase,
                                                                                                                              out-of-phase, this        this peakpeak occursoccurs below  below the    the series
                                                                                                                                                                                                              series reso-reso-
glass
glass mode,
         mode, becausebecause the       the disk disk moves
                                                          moves in        in the
                                                                               the opposite
                                                                                       opposite direc-     direc-      nance
                                                                                                                       nance peakpeak for   for aa radial-contour-mode
                                                                                                                                                      radial-contour-mode disk.                disk.
tion
tion at at the
             the input
                     input electrodes
                                 electrodes versus      versus the      the output
                                                                                output electrodes,
                                                                                                electrodes,                Fig.
                                                                                                                           Fig. 15  15 presents
                                                                                                                                           presents similar similar measured
                                                                                                                                                                           measured and         and simulated
                                                                                                                                                                                                         simulated S         So;21
when
when current
          current goes    goes into  into an    an input
                                                      input electrode,
                                                                    electrode, it         it goes
                                                                                              goes out    out of  of   curves
                                                                                                                       curves for  for thethe wine-glass
                                                                                                                                                 wine-glass mode      mode disk   disk for  for varying
                                                                                                                                                                                                   varying valuesvalues of     of
an
an output
    output terminal,
                  terminal, and        and thus,thus, the  the output
                                                                    output transformer
                                                                                    transformer situ-        situ-     dc-bias
                                                                                                                       dc-bias voltage
                                                                                                                                    voltage V       Vp.P. Again,
                                                                                                                                                             Again, the   the curves
                                                                                                                                                                                   curves are    are well
                                                                                                                                                                                                        well predicted
                                                                                                                                                                                                                 predicted
ated on
ated    on thethe other
                      other side  side of    of the
                                                  the input
                                                          input in      in Fig.
                                                                              Fig. 12(e).
                                                                                       12(e).                          by the
                                                                                                                       by   the equivalent
                                                                                                                                    equivalent circuit   circuit of    of Fig.
                                                                                                                                                                            Fig. 12(e).
                                                                                                                                                                                     12(e). Both   Both theory
                                                                                                                                                                                                             theory and     and
                                                                                                                       measurement
                                                                                                                       measurement indicate     indicate a       a series
                                                                                                                                                                      series resonance
                                                                                                                                                                                   resonance frequency  frequency and       and
C.
C. Frequency
   Frequency Response
             Response Versus
                      Versus DC-Bias
                             DC-Bias                                                                                   motional
                                                                                                                       motional resistance
                                                                                                                                        resistance at       at V  VpP =  = 14 14 V  V of of 61.03
                                                                                                                                                                                               61.03 MHz  MHz and   and 8.4  8.4
                                                                                                                       kΩ,
                                                                                                                       kQ, respectively.
                                                                                                                              respectively. Here,    Here, the   the parallel
                                                                                                                                                                         parallel resonance
                                                                                                                                                                                         resonance peak     peak occurs
                                                                                                                                                                                                                      occurs
   Fig.
   Fig. 13
         13 presents
             presents measured
                      measured and
                                 and simulated
                                      simulated S Sy;21 plots
                                                        plots [us-
                                                              [us-                                                     above
                                                                                                                       above the  the series
                                                                                                                                           series resonance,
                                                                                                                                                      resonance, just        just as  as in  in a  a quartz
                                                                                                                                                                                                       quartz crystal.
                                                                                                                                                                                                                    crystal.
ing
ing the
     the Fig.
          Fig. 12(d)
                12(d) circuit
                      circuit sans
                              sans L tune] for
                                    Ly,    for the
                                               the radial-con-
                                                      radial-con-                                                      This
                                                                                                                       This makes
                                                                                                                                makes perfect perfect sense  sense because,
                                                                                                                                                                         because, as       as described
                                                                                                                                                                                                  described in       in Sec-
                                                                                                                                                                                                                           Sec-
        Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 113 of 148 PageID #: 1638
 akgul
 AKGUL et
       ET al.:
          AL.: aA negative-capacitance
                  NEGATIVE-CAPACITANCE equivalent
                                       EQUIVALENT circuit
                                                  CIRCUIT model
                                                          MODEL                                                                                                                                                          863
                                                                                                                                                                                                                         863


                                                                                                                                                                                                        Rg
                                                                                                                                                                                                         = 100 kQ
                                                                                                                                                                                                     pel        1,884




  oo -60                                                          o 60
  z                                                               z
   by                                                              S
  “ 80                                                            9 go

                                                     f ( (MHz )                                                   f (MHz)
        -100                             !                             -100               =




                                                                                                                            Sy (dB)
             216.36     216.86    217.36            217.86                   216.36   216.86           217.36   217.86
                                         I                                                I

           180                           |                             180                |
                                         I                                                I
                                         I                                                I

            90                           )                                  90            1        !                                  -55                                 |                  f

                                             180°                                                  [
   cg        0                                                     g         0                     '                                  -65                                           Ra=50Q
 F<                                                               FS
  o
                                   [OR       SE
                                                                  o
                                                                        R         _—_——
                                                                                                   }
                                                                                                   }
                                                                                                                                                                                    Q=10,373
           90                                                               90                -                                       -75                     \
                                                                                                  \                                                               \ 4
           180                                                         180                         |
                                                                                                                                      -85
                                 (@)                                                              (b)                                   216.92               217.07               217.22                        217.37
 Fig.
 Fig. 14.
      14. Simulated
           Simulated magnitude
                       magnitude andand phase
                                         phase curves
                                                 curves contrasting
                                                         contrasting parallel
                                                                       parallel reso-
                                                                                 reso-                                                                                  Frequency (MHz)
 nance
 nance peak
         peak formation
               formation forfor the
                                the case
                                     case of
                                           of (a)
                                              (a) aa quartz
                                                      quartz crystal,
                                                              crystal, with
                                                                        with circuit
                                                                               circuit                                       Fig.
                                                                                                                             Fig. 16.
                                                                                                                                  16. Measured
                                                                                                                                       Measured andand simulated
                                                                                                                                                          simulated (dashed
                                                                                                                                                                     (dashed lines)
                                                                                                                                                                                lines) SSy;21 plots
                                                                                                                                                                                              plots for
                                                                                                                                                                                                     for the
                                                                                                                                                                                                         the radial-
                                                                                                                                                                                                              radial-
 shown; and
 shown;   and (b)
               (b) aa radial
                      radial contour-mode
                              contour-mode disk
                                              disk resonator.
                                                    resonator. &§                                                            contour-mode
                                                                                                                             contour-mode diskdisk for
                                                                                                                                                     for varying
                                                                                                                                                          varying values
                                                                                                                                                                   values ofof termination
                                                                                                                                                                                termination resistance
                                                                                                                                                                                                  resistance R RgQ ==
                                                                                                                             R QA =
                                                                                                                             Roy   = R  QB with
                                                                                                                                      Rgp   with L  tuneis engaged
                                                                                                                                                  Lies      engaged to
                                                                                                                                                                     to null
                                                                                                                                                                        null C   padis, all
                                                                                                                                                                               Cp,q;8,  all measured
                                                                                                                                                                                              measured under
                                                                                                                                                                                                          under the
                                                                                                                                                                                                                  the
                                                                                                                             conditions
                                                                                                                             conditions ofof Table
                                                                                                                                             Table III.
                                                                                                                                                     III.
 tion
 tion III,
       III, current
             current flows
                       flows through
                              through a  a wine-glass
                                            wine-glass disk
                                                        disk resonator
                                                              resonator
 into
 into the
       the input
            input electrode
                    electrode andand out
                                      out the
                                           the output
                                                output electrode,   just
                                                        electrode, just
 as
 as in
     in aa quartz
            quartz crystal,
                     crystal, soso the
                                    the relative
                                         relative output
                                                   output current-to-
                                                            current-to-                                                      nating
                                                                                                                             nating port port resistance
                                                                                                                                                  resistance R        QA and
                                                                                                                                                                    Rgy      and R    RgpQB in in series
                                                                                                                                                                                                    series with with the  the
 feedthrough
 feedthrough phasing
                 phasing is is the
                               the same.
                                     same.                                                                                   measured
                                                                                                                             measured device   device and  and with
                                                                                                                                                                  with L    Li,tune    engaged
                                                                                                                                                                                       engaged        to
                                                                                                                                                                                                      to    null
                                                                                                                                                                                                             null     shunt
                                                                                                                                                                                                                      shunt
                                                                                                                             bond-pad
                                                                                                                             bond-pad capacitance
                                                                                                                                              capacitance at      at the
                                                                                                                                                                       the device
                                                                                                                                                                               device terminals.
                                                                                                                                                                                            terminals. Here,   Here, the  the
 D.
 D. Frequency
    Frequency Response
              Response Versus
                       Versus Resonator
                              Resonator Port
                                        Port Resistance
                                             Resistance                                                                      buried-metal
                                                                                                                             buried-metal interconnect
                                                                                                                                                    interconnect described
                                                                                                                                                                         described in       in Section
                                                                                                                                                                                                Section V-A    V-A sup- sup-
                                                                                                                             presses
                                                                                                                             presses Q    () loading
                                                                                                                                              loading by   by parasitic
                                                                                                                                                                parasitic resistance
                                                                                                                                                                                 resistance R      RpP from
                                                                                                                                                                                                        from the   the dc-dc-
    Fig.
    Fig. 16
          16 presents
             presents measured
                      measured and
                                and simulated
                                     simulated S Sy;21 plots
                                                       plots for
                                                              for                                                            bias
                                                                                                                             bias line
                                                                                                                                     line to to allow
                                                                                                                                                   allow a   a more
                                                                                                                                                                 more accurate
                                                                                                                                                                           accurate determination
                                                                                                                                                                                             determination of          of Q
 the
 the radial-contour-mode
      radial-contour-mode disk
                           disk for
                                for varying
                                    varying values
                                             values of of termi-
                                                          termi-                                                             when
                                                                                                                             when the  the input/output
                                                                                                                                               input/output termination
                                                                                                                                                                      termination resistors   resistors are   are small.
                                                                                                                                                                                                                     small.
                                                                                                                             Comparison
                                                                                                                             Comparison of         of measured
                                                                                                                                                        measured and    and simulated
                                                                                                                                                                                  simulated plots   plots usingusing the  the
                                                                                                                             equivalent
                                                                                                                             equivalent circuit circuit of  of Fig.
                                                                                                                                                                 Fig. 12(d)
                                                                                                                                                                          12(d) reveals
                                                                                                                                                                                     reveals excellent
                                                                                                                                                                                                   excellent agree-  agree-
                                                                                                                             ment.
                                                                                                                             ment.
                              V,=14V                                                                                             Fig.
                                                                                                                                 Fig. 17 17 presents
                                                                                                                                              presents measured
                                                                                                                                                            measured and      and simulated
                                                                                                                                                                                     simulated S       Sy;21 plots,
                                                                                                                                                                                                              plots, thisthis
                                                                                                                             time
                                                                                                                             time forfor the
                                                                                                                                           the wine-glass
                                                                                                                                                 wine-glass mode  mode disk, disk, again
                                                                                                                                                                                      again for for varying
                                                                                                                                                                                                      varying values values
                             Q=33,908 >
                                                                                                                             of
                                                                                                                             of port
                                                                                                                                 port resistance
                                                                                                                                         resistance values values R    RyQA and and R   RgpQB inin series
                                                                                                                                                                                                     series withwith the  the
                                                                                                                             measured
                                                                                                                             measured device  device and  and with
                                                                                                                                                                with L   Li,,.
                                                                                                                                                                            tune   engaged.
                                                                                                                                                                                    engaged.        For
                                                                                                                                                                                                    For    this
                                                                                                                                                                                                           this    device,
                                                                                                                                                                                                                    device,
                                                                                                                             the
                                                                                                                             the dc-bias
                                                                                                                                   dc-bias line  line trace
                                                                                                                                                         trace parasitic
                                                                                                                                                                  parasitic R      RpP has
                                                                                                                                                                                         has no  no effect
                                                                                                                                                                                                      effect because
                                                                                                                                                                                                                 because
                                                                                                                             the
                                                                                                                             the polarity
                                                                                                                                   polarity of    of motion
                                                                                                                                                       motion at   at the
                                                                                                                                                                        the input
                                                                                                                                                                                input port port is is opposite
                                                                                                                                                                                                       opposite that    that
S,, (dB)




                                                                                                                             of
                                                                                                                             of the
                                                                                                                                 the output
                                                                                                                                        output port  port forfor this
                                                                                                                                                                   this mode
                                                                                                                                                                           mode of    of vibration,
                                                                                                                                                                                           vibration, so      so current
                                                                                                                                                                                                                   current
                                                                                                                             flows
                                                                                                                             flows into
                                                                                                                                      into thethe input
                                                                                                                                                     input portport andand out out the the output
                                                                                                                                                                                              output port, port, i.e.,
                                                                                                                                                                                                                     i.e., it
                                                                                                                                                                                                                            it
                                                                                                                             flows
                                                                                                                             flows through
                                                                                                                                      through the     the device.
                                                                                                                                                            device. Thus,Thus, ideallyideally none none of   of itit flows
                                                                                                                                                                                                                       flows
                                                                                                                             through
                                                                                                                             through R     Rp,P, so
                                                                                                                                                  so nono power
                                                                                                                                                           power dissipates
                                                                                                                                                                      dissipates in     in the
                                                                                                                                                                                             the resistor,
                                                                                                                                                                                                   resistor, and  and the the
                                                                                                                             Q@ of
                                                                                                                                of the
                                                                                                                                    the device
                                                                                                                                           device is   is independent
                                                                                                                                                          independent of        of RRp.P. Again,
                                                                                                                                                                                           Again, the  the simulated
                                                                                                                                                                                                               simulated
                -100                                                                                                         plots
                                                                                                                             plots using
                                                                                                                                      using the the equivalent
                                                                                                                                                       equivalent circuit
                                                                                                                                                                        circuit of   of Fig.
                                                                                                                                                                                          Fig. 12(e)
                                                                                                                                                                                                  12(e) agree
                                                                                                                                                                                                            agree quitequite
                                                                                                                             well
                                                                                                                             well with
                                                                                                                                    with the the measured
                                                                                                                                                    measured plots. plots.
                 -110
                     61.00                                        61.05                                          61.10       E.
                                                                                                                             E. Frequency
                                                                                                                                Frequency Versus
                                                                                                                                           Versus DC-Bias,
                                                                                                                                                   DC-Bias, Termination
                                                                                                                                                             Termination Resistance,
                                                                                                                                                                         Resistance,
                                                       Frequency (MHz)                                                       and
                                                                                                                             and Electrode-to-Resonator
                                                                                                                                 FElectrode-to-Resonator Gap
                                                                                                                                                          Gap Spacing
                                                                                                                                                              Spacing
 Fig.
 Fig. 15.
        15. Measured
             Measured and  and simulated
                                 simulated (dashed
                                              (dashed lines)
                                                         lines) SSy;21 plots
                                                                       plots for
                                                                              for the
                                                                                   the wine-
                                                                                         wine-
 glass-mode
 glass-mode diskdisk with
                      with 5050 Ω€2 source
                                    source and
                                             and load
                                                   load termination
                                                        termination resistors
                                                                         resistors for
                                                                                    for vary-
                                                                                         vary-                                  The
                                                                                                                                The dependence
                                                                                                                                     dependence of  of resonance
                                                                                                                                                        resonance frequency
                                                                                                                                                                   frequency onon dc-bias
                                                                                                                                                                                   dc-bias volt-
                                                                                                                                                                                             volt-
 ing
 ing values
       values ofof dc-bias
                    dc-bias voltage
                               voltage V  VpP without
                                               without using
                                                          using L    tune. (Note
                                                                  Li...     (Note that
                                                                                    that thethe
 depths
                                                                                                                             age
                                                                                                                             age VVpP and
                                                                                                                                      and electrode-to-resonator
                                                                                                                                            electrode-to-resonator gapgap spacing
                                                                                                                                                                            spacing dd,o is
                                                                                                                                                                                          is well
                                                                                                                                                                                              well
 depths of of the
              the measured
                    measured parallel
                                 parallel resonance
                                            resonance peaks
                                                        peaks are
                                                                are notnot as
                                                                            as deep
                                                                               deep as as pre-
                                                                                           pre-
 dicted
 dicted by by theory
               theory only
                         only because
                                because of of measurement
                                               measurement instrument
                                                                instrument limitations,
                                                                                 limitations,                                known
                                                                                                                             known for for capacitive-gap-transduced
                                                                                                                                            capacitive-gap-transduced micromechanical
                                                                                                                                                                             micromechanical
 i.e.,
 i.e., because
       because of of its
                     its insufficient
                          insufficient noise
                                        noise floor.)
                                                floor.)                                                                      resonators.
                                                                                                                             resonators. What
                                                                                                                                           What isis less
                                                                                                                                                       less apparent
                                                                                                                                                            apparent isis that
                                                                                                                                                                          that the
                                                                                                                                                                                 the frequency
                                                                                                                                                                                      frequency
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864
864                                         IEEE Transactions
                                            IEEE TRANSACTIONS on
                                                              ON Ultrasonics,
                                                                 ULTRASONICS, Ferroelectrics,
                                                                              FERROELECTRICS, and
                                                                                              AND Frequency CONTROL, , vol.
                                                                                                  FREQUENCY Control    VOL. 61,
                                                                                                                            61, no.
                                                                                                                                NO. 5, MAY 2014
                                                                                                                                    5, May 2014


                                                    Ry =100 kQ                                                                217.30
                                                                                                                                                                       Rg= 100 kQ
                                                                                                                              217.28




                                                                                                  Resonance Frequency (MHz)
                                                                                                                              217.26


                                                                                                                              217.24


                                                                                                                              217.22
      Sy (dB)




                                                                                                                              217.20


                                                                                                                              217.18




                                                     \
                                                                                                                                               Bias Voltage (V)
                               Q = 32,551                NS
                -100                                      \.                                  Fig.
                                                                                              Fig. 18.
                                                                                                    18. Measured
                                                                                                         Measured plots
                                                                                                                      plots ofof resonance
                                                                                                                                  resonance frequency
                                                                                                                                               frequency versus
                                                                                                                                                             versus dc-bias
                                                                                                                                                                       dc-bias after
                                                                                                                                                                                  after the
                                                                                                                                                                                         the
                                                          [1]
                                                          []
                                                                                              parasitic
                                                                                              parasitic capacitance
                                                                                                          capacitance C     pad is
                                                                                                                          Cj,q   is tuned
                                                                                                                                    tuned out
                                                                                                                                            out for
                                                                                                                                                 for varying
                                                                                                                                                      varying values
                                                                                                                                                                  values of of source
                                                                                                                                                                               source and
                                                                                                                                                                                        and
                -110                                      >                                   load
                                                                                              load resistances
                                                                                                    resistances denoted
                                                                                                                  denoted by   by RREQ as
                                                                                                                                       as third
                                                                                                                                           third variable
                                                                                                                                                   variable forfor the
                                                                                                                                                                    the radial-contour-
                                                                                                                                                                          radial-contour-
                       60.99   61.02         61.05     61.08                   61.11          mode
                                                                                              mode disk.
                                                                                                      disk. Solid
                                                                                                             Solid curves
                                                                                                                    curves indicate
                                                                                                                              indicate simulated
                                                                                                                                         simulated plotsplots that
                                                                                                                                                                that fit
                                                                                                                                                                       fit the
                                                                                                                                                                           the measured
                                                                                                                                                                                 measured
                                       Frequency (MHz)                                        data
                                                                                              data point
                                                                                                    point using
                                                                                                            using the
                                                                                                                   the equivalent
                                                                                                                         equivalent circuit
                                                                                                                                       circuit of
                                                                                                                                                of Fig.
                                                                                                                                                    Fig. 12(d).
                                                                                                                                                           12(d). ’>Y
Fig.
Fig. 17.
      17. Measured
           Measured and   and simulated
                               simulated (dashed
                                            (dashed lines)
                                                       lines) S
                                                              Sy;21 plots
                                                                    plots for
                                                                           for the
                                                                                the wine-
                                                                                     wine-
glass-mode
glass-mode diskdisk for
                      for varying
                           varying values
                                    values ofof termination
                                                 termination resistance
                                                                 resistance R RgQ == R RyQA
=
= RRpQB with
         with L   tuneis engaged
                Lies      engaged to
                                   to null
                                       null C  padis, all
                                             Cpq;8,   all measured
                                                          measured under
                                                                       under the
                                                                               the condi-
                                                                                    condi-
                                                                                              spectively.
                                                                                              spectively. As   As shown,
                                                                                                                      shown, thethe efficacy
                                                                                                                                       efficacy of of thethe electrical
                                                                                                                                                                 electrical stiff-
                                                                                                                                                                                stiff-
tions
tions of
       of Table
           Table III.
                   III. (Again,
                         (Again, the
                                  the measurement
                                       measurement instrumentation
                                                          instrumentation noisenoise floor
                                                                                      floor
limits
limits the
        the depth
             depth of  of the
                           the measured
                               measured parallel
                                           parallel resonance
                                                      resonance peakpeak for
                                                                          for the
                                                                                the RRgQ ==
                                                                                              ness
                                                                                              ness isis strongly
                                                                                                         strongly dependent
                                                                                                                       dependent upon upon the the relative
                                                                                                                                                      relative values
                                                                                                                                                                    values of of C C,;oi
50
50 Ω   case.) £p
    2 case.)                                                                                  and
                                                                                              and R  Rg,Qi, where
                                                                                                             where large
                                                                                                                       large frequency
                                                                                                                               frequency shiftsshifts areare observed
                                                                                                                                                                observed when  when
                                                                                              the
                                                                                              the product
                                                                                                    product R     RC;QiCoi is
                                                                                                                            is small,
                                                                                                                                small, butbut the
                                                                                                                                                the frequency
                                                                                                                                                        frequency shifts shifts are
                                                                                                                                                                                  are
                                                                                              much
                                                                                              much smaller
                                                                                                        smaller overover the
                                                                                                                           the same
                                                                                                                                 same range
                                                                                                                                          range of  of V VpP when
                                                                                                                                                                when R      QiCoi is
                                                                                                                                                                          RC;        is
versus
versus dc-bias
           dc-bias curve
                      curve for  for a a given
                                          given capacitive-gap-transduced
                                                    capacitive-gap-transduced                 large.
                                                                                              large. Specifically,
                                                                                                        Specifically, fromfrom Fig.
                                                                                                                                  Fig. 18,
                                                                                                                                         18, the
                                                                                                                                              the contour
                                                                                                                                                    contour mode   mode devices
                                                                                                                                                                            devices
micromechanical
micromechanical resonator  resonator is      is also
                                                 also a a function
                                                           function of   of the
                                                                            the termi-
                                                                                  termi-      with
                                                                                              with 40 40 nm
                                                                                                          nm gapsgaps reduce
                                                                                                                        reduce their
                                                                                                                                  their frequency
                                                                                                                                          frequency tuning tuning range
                                                                                                                                                                      range fromfrom
nation
nation resistances,
           resistances, R        QA, R
                              Roa,         QB, and
                                        Rop,      and R    pC, in
                                                         Rc,     in Figs.
                                                                     Figs. 12(d)
                                                                             12(d) andand     493
                                                                                              493 ppm
                                                                                                    ppm to   to 124
                                                                                                                  124 ppm
                                                                                                                        ppm over
                                                                                                                               over a   a dc-bias
                                                                                                                                           dc-bias sweepsweep between
                                                                                                                                                                    between 55 V    V
12(e)
12(e) in in series
             series with
                      with all all ports
                                    ports of   of the
                                                   the device.
                                                         device. MoreMore generally,
                                                                             generally,       to
                                                                                              to 10
                                                                                                  10 V V when
                                                                                                           when theirtheir termination
                                                                                                                            termination resistance
                                                                                                                                               resistance increases
                                                                                                                                                                 increases from from
it
it is
   is aa function
           function of   of the
                             the termination
                                     termination impedance,
                                                          impedance, to     to include
                                                                                 include      50
                                                                                              50 Ω© to to 100
                                                                                                            100 kΩ,
                                                                                                                  kS2, which
                                                                                                                         which represents
                                                                                                                                   represents a    a 3.97×
                                                                                                                                                        3.97x improvement
                                                                                                                                                                   improvement
reactive
reactive components,
             components, i.e.,     i.e., capacitance
                                           capacitance and      and inductance,
                                                                       inductance, as   as    in
                                                                                              in frequency
                                                                                                  frequency stability
                                                                                                                    stability against
                                                                                                                                 against biasbias voltage
                                                                                                                                                      voltage fluctuations.
                                                                                                                                                                    fluctuations.
well.
well. A A lack
            lack ofof understanding
                        understanding of          of how
                                                      how termination
                                                              termination imped- imped-       Similarly,
                                                                                              Similarly, from from Fig.Fig. 19,
                                                                                                                              19, larger
                                                                                                                                    larger gapped
                                                                                                                                               gapped wine-glass
                                                                                                                                                             wine-glass mode  mode
ance
ance influences
        influences frequency
                        frequency dependence
                                          dependence on        on electrode-to-res-
                                                                    electrode-to-res-         resonators
                                                                                              resonators improve
                                                                                                               improve their
                                                                                                                           their frequency
                                                                                                                                    frequency stability
                                                                                                                                                   stability by    by a a smaller,
                                                                                                                                                                           smaller,
onator
onator dc-bias
           dc-bias voltage
                       voltage can  can in  in fact
                                                fact bebe responsible
                                                             responsible for  for incor-
                                                                                   incor-     but
                                                                                              but still
                                                                                                    still significant,
                                                                                                           significant, 2.57×
                                                                                                                            2.57x from
                                                                                                                                     from 319319 ppm
                                                                                                                                                   ppm to    to 124
                                                                                                                                                                  124 ppm
                                                                                                                                                                       ppm mea-mea-
rect
rect experimental
       experimental determination
                             determination of         of electrode-to-resonator
                                                           electrode-to-resonator             sured
                                                                                              sured overover a  a dc-bias
                                                                                                                   dc-bias sweep
                                                                                                                              sweep between
                                                                                                                                         between 5     5 VV andand 14 14 V V when
                                                                                                                                                                               when
gap
gap spacing
      spacing for  for capacitive-gap-transduced
                         capacitive-gap-transduced devices.           devices.                the
                                                                                              the termination
                                                                                                   termination resistance
                                                                                                                       resistance sweeps
                                                                                                                                      sweeps fromfrom 50   50 Ω to  to 100
                                                                                                                                                                        100 kΩ.
                                                                                                                                                                              k€2.
    Pursuant
    Pursuant to    to first
                        first exploring
                                 exploring the    the ideal
                                                         ideal case
                                                                  case inin which
                                                                            which the  the
resonator
resonator devicedevice is  is loaded
                                loaded only  only by  by pure
                                                            pure resistance,
                                                                    resistance, with with
no
no reactance,
     reactance, the  the first
                            first setset ofof measurements
                                                measurements employs    employs Figs.
                                                                                    Figs.
12(d) and
12(d)     and 12(e)
                12(e) schemes
                          schemes that   that include
                                                  include the the tuning
                                                                     tuning inductor
                                                                               inductor
                                                                                                                              81.054                        Ro= 100 kQ
L tune, given
Line,     given byby
                                                                                                        =                                                               = 50 kQ
                                                11
                               L
                                                                                                        I
                                 tune =
                               Line   =                 2
                                                          ,                         (59)                S 61.048                                                                    Af=124 ppm
                                          C pad 2π ff,)?
                                          Chaar(     o)                             59)
                                                                                                              >
                                                                                                              Q
                                                                                                              c
                                                                                                              [7]

                                                                                                         =
to
 to null
     null out
           out any any non-device
                           non-device capacitance
                                           capacitance in    in shunt
                                                                 shunt withwith the the                 2 61.042
                                                                                                              [9



                                                                                                              8c
terminals,
 terminals, e.g., e.g., duedue to to bond
                                      bond pads.
                                               pads. Here,
                                                         Here, measurements
                                                                  measurements                                ©
                                                                                                              c
indicate
 indicate thatthat the the influence
                              influence of  of termination
                                               termination resistance
                                                                  resistance R     Rg;Qi                      2                                                                            Af=319 ppm
                                                                                                        2 61.036
at
 at port
      port i¢ on on dc-bias
                        dc-bias frequency
                                    frequency dependence
                                                    dependence is      is aa strong
                                                                               strong
function
 function of  of the
                   the sizesize of
                                 of the
                                     the electrode-to-resonator
                                           electrode-to-resonator overlap    overlap
capacitance
 capacitance C       C,;oi at
                            at that
                                that port.
                                       port. ToTo illustrate,
                                                     illustrate, Figs.
                                                                    Figs. 18  18 and
                                                                                   and                                        61.030
19
 19 present
     present measured
                  measured plots   plots ofof resonance
                                               resonance frequency
                                                               frequency versusversus                                                  0   5                      10                  15
                                                                                                                                               Bias Voltage (V)
dc-bias
 dc-bias voltage
           voltage V      Vp,P, also
                                also as
                                      as aa function
                                             function of  of the
                                                             the time
                                                                   time constant
                                                                           constant
                                                                                              Fig.
                                                                                              Fig. 19.
                                                                                                    19. Measured
                                                                                                         Measured plots
                                                                                                                      plots ofof resonance
                                                                                                                                  resonance frequency
                                                                                                                                                frequency versus
                                                                                                                                                              versus dc-bias
                                                                                                                                                                        dc-bias after
                                                                                                                                                                                 after the
                                                                                                                                                                                        the
τ7 == R   QiCoi formed
        RC;          formed by    by the
                                      the product
                                             product of   of the
                                                              the electrode-to-
                                                                    electrode-to-
                                                                                              parasitic
                                                                                              parasitic capacitance
                                                                                                          capacitance C     pad is
                                                                                                                          Cj,q   is tuned
                                                                                                                                     tuned out
                                                                                                                                             out for
                                                                                                                                                   for varying
                                                                                                                                                        varying values
                                                                                                                                                                   values ofof source
                                                                                                                                                                               source and
                                                                                                                                                                                       and
resonator
 resonator overlap
                overlap capacitance
                              capacitance C     C,;oi and
                                                      and termination
                                                             termination resis- resis-        load
                                                                                              load resistances
                                                                                                    resistances denoted
                                                                                                                  denoted by  by R R)Q as
                                                                                                                                       as third
                                                                                                                                           third variable
                                                                                                                                                   variable for
                                                                                                                                                              for the
                                                                                                                                                                   the wine-glass-mode
                                                                                                                                                                        wine-glass-mode
tance
 tance R  Ro;Qi applied
                 applied to    to each
                                   each I/OI/O port
                                                  port ofof Fig.
                                                             Fig. 12,12, for
                                                                           for disks
                                                                                 disks        disk.
                                                                                              disk. Solid
                                                                                                     Solid curves
                                                                                                             curves indicate
                                                                                                                     indicate simulated
                                                                                                                                   simulated plots
                                                                                                                                                 plots that
                                                                                                                                                         that fit
                                                                                                                                                                fit the
                                                                                                                                                                    the measured
                                                                                                                                                                          measured data
                                                                                                                                                                                      data
vibrating
 vibrating in  in the
                    the radial-contour
                            radial-contour and   and wine-glass
                                                       wine-glass modes, modes, re-  re-      point
                                                                                              point using
                                                                                                      using the
                                                                                                             the equivalent
                                                                                                                  equivalent circuit
                                                                                                                                 circuit of
                                                                                                                                          of Fig.
                                                                                                                                              Fig. 12(e).
                                                                                                                                                     12(e). ’>Y
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akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
                 NEGATIVE-CAPACITANCE equivalent
                                      EQUIVALENT circuit
                                                 CIRCUIT model
                                                         MODEL                                                                                                                                      865
                                                                                                                                                                                                    865


    The
    The mechanism
            mechanism behind     behind this   this dependence
                                                       dependence on          on R  RC;QiCoi is   is                            70 +
not
not immediately
       immediately apparent  apparent in      in the
                                                   the circuit
                                                          circuit of    of Fig.
                                                                             Fig. 5, 5, but
                                                                                          but is  is                            65 A




                                                                                                           Predicted Gap (nm)
quite
quite easyeasy to  to seesee in in thethe negative-capacitance
                                             negative-capacitance circuit           circuit of   of                             60 +
Figs.
Figs. 12(d)
          12(d) and  and 12(e)
                             12(e) with with C                                                                                  55 +
                                                    pad tuned
                                                  C,,q     tuned out.   out. In  In particu-
                                                                                      particu-
                                                                                                                                50
lar,
lar, because
      because this   this circuit
                             circuit models
                                          models the   the electrical
                                                               electrical stiffness
                                                                                 stiffness by   by
                                                                                                                                45 +
the
the −C —C,;oi capacitor,
                capacitor, the    the efficacy
                                          efficacy of   of the
                                                             the electrical
                                                                     electrical stiffness
                                                                                      stiffness
depends
depends upon  upon the   the degree
                                degree of    of cancellation
                                                  cancellation of        of −C—C,;oi by by C  C;.oi.
                                                                                                                                35
When
When R     Rg;Qi isis small,
                        small, it   it effectively
                                         effectively shorts shorts the    the shunt
                                                                                 shunt elec-elec-                                            50Q         20kQ         50kQ       75kQ
trode-to-resonator
trode-to-resonator overlap     overlap capacitor
                                             capacitor C         oi, leaving
                                                               C,;,    leaving the  the series
                                                                                           series                                                          Termination Impedance
−C
—C,;oi free
         free toto influence
                     influence resonance
                                       resonance frequency
                                                        frequency via      via changes
                                                                                  changes in     in                                                                    (a)
VVpP that
      that in in turn
                    turn change
                             change the    the transformer
                                                 transformer turns       turns ratios
                                                                                   ratios η    7;ei.                            52,500   -
As
As R Rg;Qi increases,
            increases, the   the current
                                    current into into thethe parallel
                                                                parallel combination
                                                                               combination                                      45,000   +




                                                                                                            Predicted R, (Q)
of
of RRg;Qi and
           and C   CG;oi prefers
                         prefers to    to pass
                                            pass through
                                                    through C       CG;oi instead
                                                                           instead of   of R Ry;Qi,                             37,500   +
effectively
effectively activating
                  activating C       C,;oi and
                                            and allowing
                                                    allowing it     it toto cancel
                                                                              cancel −C    —C,,,oi,
                                                                                                                                30,000   +                                                 528.6%
negating
negating the   the electrical
                       electrical stiffness
                                        stiffness in  in the
                                                           the process.
                                                                   process. When   When the   the
                                                                                                                                22,500   +
impedance
impedance of       of R Rg;Qi is
                               is considerably
                                   considerably larger    larger than  than thatthat of  of C   oi,
                                                                                              Cy;                                              0.01%                              219.1%
                                                                                                                                15,000   +
complete
complete cancellation
               cancellation of       of electrical
                                          electrical stiffness
                                                          stiffness ensues,
                                                                          ensues, and  and thethe
                                                                                                                                 7,500
resonance
resonance frequency
                 frequency is      is nono longer
                                             longer dependent
                                                         dependent upon       upon dc-bias
                                                                                        dc-bias                                                    50Q     20kQ         50kQ      75kQ     100kQ
voltage
voltage V     Vp,P, electrode-to-resonator
                      electrode-to-resonator gap              gap spacing,
                                                                        spacing, or     or anyany                                                               Termination Impedance
other parameter
other     parameter in      in (10).
                                 (10).                                                                                                                                 (b)
    The
    The efficacy
            efficacy of   of the
                              the negative-capacitance
                                     negative-capacitance equivalent        equivalent cir-   cir-     Fig. 20.
                                                                                                       Fig.   20. Plots
                                                                                                                   Plots of
                                                                                                                          of (a)
                                                                                                                             (a) extracted
                                                                                                                                  extracted gapgap and
                                                                                                                                                    and (b)
                                                                                                                                                          (b) the
                                                                                                                                                               the corresponding
                                                                                                                                                                    corresponding motional
                                                                                                                                                                                       motional
cuit
cuit in in predicting
            predicting this   this dependency
                                        dependency on        on R  Ry;Qi is is clearly
                                                                                clearly seen seen      resistance
                                                                                                       resistance versus
                                                                                                                     versus termination
                                                                                                                             termination impedance
                                                                                                                                             impedance using
                                                                                                                                                           using for
                                                                                                                                                                  for extraction
                                                                                                                                                                      extraction the the circuit
                                                                                                                                                                                         circuit
by
by the
    the accuracy
           accuracy to     to which
                                which simulation
                                           simulation of      of the
                                                                  the circuits
                                                                          circuits of  of Figs.
                                                                                            Figs.      of Fig.
                                                                                                       of  Fig. 12(d)
                                                                                                                  12(d) (black
                                                                                                                         (black curves
                                                                                                                                  curves with
                                                                                                                                           with square
                                                                                                                                                  square markers)
                                                                                                                                                           markers) andand the
                                                                                                                                                                             the same
                                                                                                                                                                                   same circuit
                                                                                                                                                                                         circuit
                                                                                                       sans
                                                                                                       sans thethe negative
                                                                                                                    negative capacitance
                                                                                                                               capacitance (red
                                                                                                                                              (red curves
                                                                                                                                                     curves with
                                                                                                                                                              with triangle
                                                                                                                                                                    triangle markers).
                                                                                                                                                                                markers). Per-
                                                                                                                                                                                            Per-
12(d) and
12(d)     and 12(e)
                  12(e) matchmatch the    the measured
                                                 measured curves    curves in    in Figs.
                                                                                      Figs. 18  18     cent
                                                                                                       cent discrepancy
                                                                                                              discrepancy between
                                                                                                                             between thethe curves
                                                                                                                                             curves isis also
                                                                                                                                                         also provided
                                                                                                                                                               provided for
                                                                                                                                                                          for each
                                                                                                                                                                                each extracted
                                                                                                                                                                                      extracted
and
and 19,19, respectively.
             respectively.                                                                             point.
                                                                                                       point. ’>Y


F.
F. Electrode-to-Resonator
   Electrode-to-Resonator Gap
                          Gap Extraction
                              Extraction
                                                                                                       ing
                                                                                                       ing from
                                                                                                            from electrical
                                                                                                                   electrical stiffness.
                                                                                                                                stiffness. Here,
                                                                                                                                            Here, the
                                                                                                                                                   the discrepancy
                                                                                                                                                        discrepancy between
                                                                                                                                                                         between
    With
    With aa better better understanding
                              understanding of           of parameters
                                                              parameters (especially
                                                                                  (especially          results
                                                                                                       results yielded
                                                                                                                 yielded by by each
                                                                                                                                each circuit
                                                                                                                                       circuit increases
                                                                                                                                                increases with
                                                                                                                                                             with termination
                                                                                                                                                                    termination
load
load resistances)
        resistances) that     that influence
                                        influence the    the frequency
                                                                 frequency versus versus dc-   dc-     resistance,
                                                                                                       resistance, with
                                                                                                                      with errors
                                                                                                                              errors for
                                                                                                                                       for method
                                                                                                                                            method 22 rising
                                                                                                                                                          rising to
                                                                                                                                                                  to 58.3%
                                                                                                                                                                       58.3% for
                                                                                                                                                                               for
bias
bias V  VpP curve,
              curve, one  one cancan now now extract
                                                 extract the   the average
                                                                     average electrode-
                                                                                   electrode-          gap   spacing    and    an  astonishing    529%     for
                                                                                                       gap spacing and an astonishing 529% for motional resis-  motional    resis-
to-resonator
to-resonator gap      gap spacing
                              spacing at     at a a given
                                                     given port port more
                                                                        more accurately
                                                                                  accurately           tance
                                                                                                       tance when
                                                                                                               when thethe termination
                                                                                                                             termination resistance
                                                                                                                                             resistance isis 100
                                                                                                                                                              100 kΩ.
                                                                                                                                                                  k2. Plots
                                                                                                                                                                        Plots for
                                                                                                                                                                               for
than previous
than     previous work    work [14]. [14]. In In particular,
                                                   particular, by      by fitting
                                                                             fitting values
                                                                                         values        devices    with   different    gaps   reveals  that    errors
                                                                                                       devices with different gaps reveals that errors are larger     are  larger
of
of electrode-to-resonator
    electrode-to-resonator gap               gap spacing
                                                    spacing (for   (for each
                                                                           each set set ofof re-
                                                                                               re-     when
                                                                                                       when thethe gap
                                                                                                                    gap isis small,
                                                                                                                              small, emphasizing
                                                                                                                                       emphasizing the the importance
                                                                                                                                                             importance of  of in-
                                                                                                                                                                               in-
sistances
sistances R      Rp4QA    and
                          and      R
                                   RgpQB     used)
                                             used)      so
                                                        so    that
                                                              that    simulated
                                                                       simulated        curves
                                                                                         curves        cluding
                                                                                                       cluding negative
                                                                                                                  negative capacitance
                                                                                                                               capacitance whenwhen designing
                                                                                                                                                       designing mechanical
                                                                                                                                                                     mechanical
using the
using     the Fig.Fig. 12(d)
                          12(d) and   and Fig.Fig. 12(e)
                                                       12(e) circuits
                                                                 circuits match
                                                                              match those those        circuits
                                                                                                       circuits composed
                                                                                                                  composed of   of devices
                                                                                                                                   devices with
                                                                                                                                              with aggressively
                                                                                                                                                    aggressively small
                                                                                                                                                                     small gaps.
                                                                                                                                                                            gaps.
of
of measured
    measured data     data at  at all
                                    all values
                                          values of  of V  Vp,P, one
                                                                  one obtains
                                                                         obtains very very ac- ac-
curate
curate estimates
            estimates of     of the
                                  the average
                                         average electrode-to-resonator
                                                       electrode-to-resonator gap             gap
spacing
spacing for    for each
                     each device.
                              device. Note   Note that that lacklack of of knowledge
                                                                             knowledge of        of
                                                                                                       G.
                                                                                                       G. Effect
                                                                                                          Effect of
                                                                                                                 of Parasitic
                                                                                                                    Parasitic Trace
                                                                                                                              Trace and
                                                                                                                                    and Bond-Pad
                                                                                                                                        Bond-Pad Capacitance
                                                                                                                                                 Capacitance
the
the influence
      influence of     of the
                            the R  Rg;Qi s   on
                                             on   the
                                                  the    efficacy
                                                         efficacy      of
                                                                       of   electrical
                                                                            electrical      stiff-
                                                                                            stiff-
ness
ness cancan leadlead to to very
                             very incorrect
                                       incorrect estimates
                                                       estimates for    for gap
                                                                              gap spacing,
                                                                                      spacing,             Of
                                                                                                           Of course,
                                                                                                                 course, in  in any
                                                                                                                                 any practical
                                                                                                                                          practical circuitcircuit not  not using
                                                                                                                                                                                using L     tune,
                                                                                                                                                                                          Lie,
especially
especially when   when the  the gapgap is  is very
                                               very small.
                                                        small.                                         bond-pad
                                                                                                       bond-pad and   and interconnect
                                                                                                                              interconnect capacitance
                                                                                                                                                    capacitance will     will change
                                                                                                                                                                                 change the  the
    The
    The preceding
             preceding procedure
                               procedure yields   yields for  for the
                                                                    the wine-glass
                                                                          wine-glass disk    disk      load
                                                                                                       load condition
                                                                                                              condition from from thethe pure
                                                                                                                                           pure resistance
                                                                                                                                                    resistance considered
                                                                                                                                                                      considered in     in Sec-
                                                                                                                                                                                            Sec-
an
an average
     average electrode-to-resonator
                    electrode-to-resonator gap             gap spacing
                                                                   spacing of   of 84.1
                                                                                     84.1 nm,nm,       tions
                                                                                                       tions V-D
                                                                                                               V-D and and V-E V-E to  to a  a more
                                                                                                                                                 more general
                                                                                                                                                            general impedance
                                                                                                                                                                         impedance that     that
and
and forfor the
             the radial-contour
                    radial-contour more       more disk disk 40.56
                                                                 40.56 nm. nm. These
                                                                                  These val- val-      includes
                                                                                                       includes reactance
                                                                                                                    reactance from  from the  the bond-pad
                                                                                                                                                     bond-pad capacitance
                                                                                                                                                                      capacitance C          pad,
                                                                                                                                                                                           Cp,q,
ues
ues are
      are in in fact
                  fact the
                         the ones
                                ones usedused for for all
                                                        all simulations
                                                              simulations in     in this
                                                                                      this sec-
                                                                                             sec-      shown in
                                                                                                       shown     in Figs.
                                                                                                                    Figs. 12(d)
                                                                                                                             12(d) andand 12(e).
                                                                                                                                              12(e). This
                                                                                                                                                        This extra
                                                                                                                                                                 extra capacitance
                                                                                                                                                                          capacitance not    not
tion,
tion, i.e.,
         i.e., Figs.
                 Figs. 18  18 and
                                and 19   19 had
                                              had to  to bebe measured
                                                                 measured before before any   any      only
                                                                                                       only steals
                                                                                                              steals current
                                                                                                                       current fromfrom the the resistor
                                                                                                                                                   resistor R       Qi, but
                                                                                                                                                                 Rg;,   but also
                                                                                                                                                                               also changes
                                                                                                                                                                                       changes
of
of the
    the simulations
           simulations could    could be   be generated.
                                                 generated.                                            the
                                                                                                       the shunt
                                                                                                             shunt capacitor
                                                                                                                      capacitor value value so   so that
                                                                                                                                                      that the the −C —C,;oi inin the
                                                                                                                                                                                    the series
                                                                                                                                                                                          series
    To
    To convey
          convey the   the degree
                              degree to    to which
                                                which ignoring
                                                           ignoring the   the influence
                                                                                influence of     of    arm
                                                                                                       arm cannot
                                                                                                              cannot be  be cancelled
                                                                                                                              cancelled completely,
                                                                                                                                              completely, even     even if if RRg;Qi becomes
                                                                                                                                                                                      becomes
R
Rg;Qi on
       on electrical
              electrical stiffness
                               stiffness impacts
                                               impacts extracted
                                                               extracted parameters,
                                                                               parameters,             infinite.
                                                                                                       infinite. AsAs a a result,
                                                                                                                           result, thethe frequency
                                                                                                                                             frequency versus  versus V    VpP dependence
                                                                                                                                                                                 dependence
Fig.
Fig. 20 20 plots
              plots the the gap gap and and corresponding
                                                 corresponding motional   motional resis-  resis-      cannot
                                                                                                       cannot be  be nulled.
                                                                                                                      nulled.
tance
tance R   R,x versus
                versus termination
                            termination impedance impedance for      for the
                                                                           the 40-nm-gap
                                                                                 40-nm-gap                 For
                                                                                                           For the
                                                                                                                 the simpler
                                                                                                                       simpler case case of of only
                                                                                                                                                 only one one electrode
                                                                                                                                                                  electrode in    in the
                                                                                                                                                                                      the Fig.
                                                                                                                                                                                            Fig.
radial-contour-mode
radial-contour-mode device           device using using extraction
                                                             extraction based  based on   on 1)  1)    12(d)
                                                                                                       12(d) circuit
                                                                                                                circuit for
                                                                                                                          for the
                                                                                                                                the radial-mode
                                                                                                                                      radial-mode disk       disk loaded
                                                                                                                                                                     loaded by   by the
                                                                                                                                                                                      the par-
                                                                                                                                                                                            par-
the negative-capacitance
the   negative-capacitance circuit           circuit of  of Fig.
                                                              Fig. 12(d);
                                                                      12(d); and and 2)  2) the
                                                                                              the      allel
                                                                                                       allel combination
                                                                                                              combination of      of R   QA and
                                                                                                                                       Roy      and C   Cf,L == Cpad C4, , the
                                                                                                                                                                             the resonance
                                                                                                                                                                                    resonance
same
same circuit,
          circuit, but  but without
                                without the     the negative
                                                        negative capacitance
                                                                        capacitance and      and       frequency
                                                                                                       frequency is  is found
                                                                                                                         found by  by equating
                                                                                                                                        equating the   the total
                                                                                                                                                               total reactance
                                                                                                                                                                       reactance around around
without
without otherwise
               otherwise accounting
                                 accounting for      for thethe change
                                                                   change in   in c¢,x result-
                                                                                        result-        the
                                                                                                       the LCR
                                                                                                             LCR loop
                                                                                                                    loop to to zero,
                                                                                                                                zero, i.e.,
                                                                                                                                         i.e.,
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866
866                                      IEEE Transac
                                         IEEE TRANSACTIONS  ON Ul
                                                        ons on ULTRASONICS, FERROELECTRICS,
                                                                  rason cs, F               AND Fr
                                                                              rro l c r cs, and FREQUENCY
                                                                                                   q        on rol , vol.
                                                                                                       ncy CONTROL,  VOL. 61,
                                                                                                                          61, no.
                                                                                                                              NO. 5, MAY 2014
                                                                                                                                  5, May 2014




                                                         ti
                                                                        t
                                                                                     i
                                                                                                 e
                                                                                                                                 e
                                                                                                                                              e
                                                                                                                                                        t
                                                                                                                                                                i
                                                                                                                                                                                   e
                                                                                                                                                                                        ue
                                                                                                                                                                                                           C
                                                                                                                                                                                                                       t
        η 2 1 + ω o2RQA
                      2
                         C L(C oA +
                                  + CCy)L) + jw             1
     j naaeA 1+ wiR34C1(Cos                  j ω ol x − jC1      = 0,
      ω oC oA 1
      wWCoa   14+ ωwiRACoy
                    2  2
                    oRQA(C oA + + CCp)?
                                     L)
                                        2            CT   ols
                                                          ω oc x                                                                                  -10




                                                                                     			
                                                                                                                                     (dB)
                                                                  (60)
		
                                                                                                                                     Ken

                                                                                                                                              NY
                                                                                                                                                    o
which
which reduces
      reduces to
              to




                                                                                                                                     Ke er!
                                                                            11/2
                                                                              /2                                                                  -30
                  1        ηnae2A c 11++ ω 2 2
                                              oRQAC L(Cos
                                            wiRH,C   (C oA + + C      
                                                                Cy)L)                                                                                                                                                           0,=0q,~10xaq,
          ωo =           1 − C c x            2 2                 2 
                 l xc x 
                             Cou oA ’ 1 1++ ω oRQA(C ooaA +
                                             wiRHA(C       + C  L) 
                                                              cp)?     
                                                                                                                                                  -40
                                                        1/2




                                                                               			
                  1                       ω o/ωQz )2  2
                               kKeaeA 11++ ((wo/wq,)”                                                                                                   0.01                 0.1                   1                       10             100                 1000
            =             1 − k                           ,                                                                                                                                              yl wg
                 l xc x                   ω o/ωQp)2 
                                bnm 11++ ((Wo/wgp)?)                                             Fig.
                                                                                                 Fig. 21.
                                                                                                      21. Plot
                                                                                                          Plot of
                                                                                                                of kkge,eff
                                                                                                                      ¢f//kkeeA in
                                                                                                                                 in decibels
                                                                                                                                     decibels versus
                                                                                                                                               versus the
                                                                                                                                                       the log
                                                                                                                                                           log of
                                                                                                                                                                of resonance
                                                                                                                                                                   resonance frequency
                                                                                                                                                                             frequency
                                                                             (61)
                                                                             (61)                normalized
                                                                                                 normalized toto ωwg,Qp for
                                                                                                                          for the
                                                                                                                              the case
                                                                                                                                    case in
                                                                                                                                          in which
                                                                                                                                             which ω   Qz =
                                                                                                                                                     wg,  = 10ω   Qp. £p
                                                                                                                                                             10wg,.
		
where
where

                       11                             11                                                                                                                                         CL
     wo,Qz =
     ω     =                        and ω
                                    and wp,  = 5A                -.                                                                                                          kKee,eff
                                                                                                                                                                                  ef == k               .                                                            (66)
                                          Qp =                                                                                                                                            eA
                                                                                                                                                                                        borg
                                                                                                                                                                                             C oA + C L                                                              (66)
      ©        RQA C L(C oA +
               RoNJCr(Coy     C1)L)
                            + C           @ 7 R QA(C oA +
                                               RoaCos    + C
                                                           C1)L)

                                                                                           			
                                                            (62)
                                                             (62)
                                                                                                   ote that
                                                                                                 Note   that if if CC, == 0,0, oror C  oA ≫
                                                                                                                                     C,4    > C C(I, , the
                                                                                                                                                       the effective
                                                                                                                                                             effective electri-
                                                                                                                                                                         electri-
		
                                                                                                 N
                                                                                                                                                                     L
                                                                                                                                                                                                                            L
    The
    The frequencies
           frequencies ω     Qz and
                           wg,  and ω   Qp can
                                      wg,  can bebe interpreted
                                                     interpreted loosely
                                                                    loosely                      cal
                                                                                                 cal stiffness
                                                                                                      stiffness would
                                                                                                                   would disappear.
                                                                                                                             disappear. Thus,Thus, the  the presence
                                                                                                                                                              presence of  of CCr,




                                                                                                                                                                                                                                                                        L
as
as zero
    zero andand pole
                   pole locations
                         locations that
                                     that govern
                                            govern thethe frequency
                                                            frequency de-de-                     prevents
                                                                                                 prevents a  a large
                                                                                                                 large RRgQ from
                                                                                                                               from nulling
                                                                                                                                      nulling thethe dc-bias
                                                                                                                                                        dc-bias dependence
                                                                                                                                                                   dependence
pendence
pendence of     of the
                   the electrical
                        electrical stiffness
                                    stiffness magnitude.
                                               magnitude. In   In particu-
                                                                   particu-                      of
                                                                                                 of the
                                                                                                    the resonance
                                                                                                         resonance frequency.
                                                                                                                        frequency. Overall,verall, when
                                                                                                                                                      when extra
                                                                                                                                                              extra shunt
                                                                                                                                                                     shunt ca-ca-




                                                                                                                                                                                                       O
lar,
lar, the
      the expression
             expression for for electrical
                                electrical stiffness
                                             stiffness magnitude
                                                         magnitude as  as a a                    pacitance
                                                                                                 pacitance loads
                                                                                                               loads the
                                                                                                                       the device
                                                                                                                             device terminals,
                                                                                                                                       terminals, the  the degree
                                                                                                                                                             degree toto which
                                                                                                                                                                          which
function
function of   of device
                  device resonance
                           resonance frequency
                                        frequency is is easily
                                                         easily extracted
                                                                 extracted                       negative
                                                                                                 negative C  C,o series
                                                                                                                  series arm
                                                                                                                          arm capacitance
                                                                                                                                  capacitance cancels
                                                                                                                                                  cancels reduces
                                                                                                                                                              reduces consid-
                                                                                                                                                                         consid-
from (61)
from    (61) to to be
                    be                                                                           erably,
                                                                                                 erably, asas shown
                                                                                                               shown in  in Figs.
                                                                                                                              Figs. 2222 and
                                                                                                                                           and 23,
                                                                                                                                                 23, which
                                                                                                                                                       which present
                                                                                                                                                                 present mea-
                                                                                                                                                                            mea-
                                                                                                 sured
                                                                                                 sured curves
                                                                                                         curves of  of frequency
                                                                                                                        frequency versusversus dc-bias
                                                                                                                                                  dc-bias withwith bond-pad
                                                                                                                                                                     bond-pad
                                                ω o/ωQz )2 )
                                         11++ ((wo/wq,)”                                         capacitance
                                                                                                 capacitance present,
                                                                                                                  present, i.e.,
                                                                                                                               i.e., without
                                                                                                                                     without useuse of of the
                                                                                                                                                           the L  tunes.
                                                                                                                                                                Lips.
                        kKe e.eff
                              cf =- k eA
                                    Kea                    .                 (63)
                                                                             (63)
                                                ω o/ωQp)2
                                         11++ ((wo/wgp)®

Plotting
Plotting (63) (63) on
                    on aa Bode
                           Bode plot-like
                                   plot-like graph
                                                graph for for the
                                                                the case
                                                                      case ω
                                                                                                                                                                    VI.
                                                                                                                                                                    VI. Impact
                                                                                                                                                                        IMPACT on  pplications
                                                                                                                                                                               ON APPLICATIONS
                                                                              Qz =
                                                                            wg,   =
                                                                                                                                                                                                               A
10ω
10wqy,
     Qp    yields
           yields   Fig.
                    Fig.  21,
                          21,   where
                                where     the
                                          the   frequencies
                                                frequencies        ω
                                                                   wg,
                                                                     Qz  and
                                                                         and   ω
                                                                               wg,
                                                                                 Qp
clearly
clearly delineate
            delineate thethe start
                                start and
                                        and stop
                                               stop points,
                                                        points, respectively,
                                                                    respectively,
                                                                                                    From
                                                                                                    From aa practical
                                                                                                            practical circuit
                                                                                                                        circuit perspective,
                                                                                                                                perspective, the
                                                                                                                                              the use
                                                                                                                                                  use of
                                                                                                                                                      of small
                                                                                                                                                          small
where
where the the electrical
                electrical stiffness
                             stiffness magnitude
                                          magnitude drops  drops at  at aa rate
                                                                           rate ofof
                                                                                                 source
                                                                                                 source and
                                                                                                        and load
                                                                                                             load resistances
                                                                                                                    resistances equates
                                                                                                                                 equates toto the
                                                                                                                                              the use
                                                                                                                                                  use of
                                                                                                                                                       of volt-
                                                                                                                                                           volt-
40
40 dB/dec
    dB/dec towardtoward aa final
                              final value
                                      value attained
                                              attained when when ω    w,o exceeds
                                                                          exceeds
ωQz, i.e.,
wQs    1.e., when
              when thethe RRoyQAC CyoA product
                                        product is   is large.
                                                         large.                                                                        217.29
    For useful
    For    useful insight,
                   insight, oneone can
                                     can take
                                           take (61)
                                                   (61) toto extremes
                                                               extremes where
                                                                            where                                                                                                                              1; = 300fF x 50kQ
ω
wg,
  Qz  and
      and     ω
              wg,
                Qp  are
                    are  both
                         both    very
                                 very   small
                                         small   or
                                                  or   both
                                                       both    very
                                                                very   large.
                                                                       large.  For
                                                                                For                                                    217.27 4
the latter,
the  latter, where
                where ω  w,o ≪< ω wg,Q, (61)
                                        (61) reduces
                                               reduces to   to
                                                                                                     Resonance Frequency (MHz)




                                                                                                                                                                                                                                     Af= 317            ppm
                                                                                                                                       217.25                                                                                                      PP
                                                       11/2

                                         { el} ,                             (64)
                                                         /2
                               11    k eA
                        ωo =
                        Ww.= —11 1 −                                         (64)
                         ©    l xc x
                             Je,     kkum                                                                                              217.23



                                                                                                                                       217.21               4
which
which isis the
            the familiar
                  familiar equation
                              equation for  for the
                                                  the case
                                                        case inin which
                                                                   which fre-
                                                                            fre-
quency
quency pulling
           pulling via via electrical
                             electrical stiffness
                                             stiffness is is at
                                                              at maximum
                                                                   maximum                                                                                                                       1, = 300fF x 20kQ
                                                                                                                                       217.19 4                                                                                                    Af= 464 ppm
strength.
strength. This
             This isis consistent
                        consistent with
                                     with the  the data
                                                    data in in Figs.
                                                                Figs. 1818 and
                                                                            and
                                                                                                                                                                                                 1, = 300fF x 50Q
19,
19, because
    because aa large
                   large ω wgQ implies
                               implies a   a small
                                              small R  RgyCy4C
                                                         QA oA     product.
                                                                   product.
   Onn the
        the other
              other hand,
                      hand, when
                               when R     QACoA is
                                        RgjCyy       is large,
                                                        large, ω wgQ is
                                                                     is small,
                                                                         small,                                                                             0            3                   6                     9            12        15
      O
and
and ωw,o >> ωwg.Q. When
                   When ω   w,o ≫
                                > ω wy),Q, (61)
                                            (61) reduces
                                                   reduces to to                                                                                                                       Bias Voltage (V)

                                                                                                 Fig.
                                                                                                 Fig. 22.
                                                                                                      22. Measured
                                                                                                           Measured plotsplots of
                                                                                                                                of resonance
                                                                                                                                   resonance frequency
                                                                                                                                                frequency versus
                                                                                                                                                            versus dc-bias,
                                                                                                                                                                      dc-bias, with
                                                                                                                                                                                  with ter-
                                                                                                                                                                                        ter-
                                                                                                 mination
                                                                                                 mination impedance
                                                                                                             impedance time         constants τ7;i =
                                                                                                                             time constants         = R  QiCpad as
                                                                                                                                                       R;iCpaq     as aa third
                                                                                                                                                                          third variable
                                                                                                                                                                                   variable

                                 1 − koaeA     CyL J ,
                                                                1/2
                  w,o == al
                  ω
                           1
                                  {  k         C
                                                                }            (65)
                                                                             (65)                without
                                                                                                 without using
                                                                                                           using L   tune, for
                                                                                                                   Liye,   for the
                                                                                                                                the radial-contour-mode
                                                                                                                                     radial-contour-mode disk.         olid curves
                                                                                                                                                              disk. Solid     curves indi-
                                                                                                                                                                                       indi-
                                                                                                                                                                                                                                               S
                          l xc x     k     C
                                     kym Coa    + C
                                             oA + CyL ’
                                                                                                 cate
                                                                                                 cate the
                                                                                                      the theoretical
                                                                                                           theoretical expectation
                                                                                                                          expectation fromfrom the
                                                                                                                                                the simulation
                                                                                                                                                     simulation of of the
                                                                                                                                                                      the circuit
                                                                                                                                                                            circuit model
                                                                                                                                                                                     model
                                                                                                 presented
                                                                                                 presented inin Fig.
                                                                                                                Fig. 12(d).
                                                                                                                       12(d). The
                                                                                                                                The identical
                                                                                                                                      identical least-square
                                                                                                                                                least-square curve
                                                                                                                                                                curve fitted
                                                                                                                                                                        fitted electrode-
                                                                                                                                                                                electrode-
                                                                                                 to-resonator
                                                                                                 to-resonator gapgap spacing
                                                                                                                       spacing ofof 40.56
                                                                                                                                     40.56 nm
                                                                                                                                            nm is
                                                                                                                                                is used
                                                                                                                                                   used for
                                                                                                                                                         for all
                                                                                                                                                             all simulated
                                                                                                                                                                  simulated plots
                                                                                                                                                                                plots that
                                                                                                                                                                                       that
where
where the
       the magnitude
           magnitude of
                     of the
                        the effective
                            effective electrical
                                      electrical stiffness
                                                 stiffness can
                                                           can                                   match
                                                                                                 match very
                                                                                                         very well
                                                                                                               well to
                                                                                                                     to the
                                                                                                                         the measured
                                                                                                                              measured datadata points
                                                                                                                                                points for
                                                                                                                                                        for different
                                                                                                                                                            different source
                                                                                                                                                                        source andand load
                                                                                                                                                                                       load
be
be extracted
   extracted as
              as                                                                                 termination
                                                                                                 termination resistors.
                                                                                                                resistors. >
  Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 117 of 148 PageID #: 1642
akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
                 NEGATIVE-CAPACITANCE equivalent
                                      EQUIVALENT circuit
                                                 CIRCUIT model
                                                         MODEL                                                                                                                                   867
                                                                                                                                                                                                 867


                                                                                                           defined
                                                                                                           defined relative
                                                                                                                         relative toto the
                                                                                                                                        the impedance
                                                                                                                                               impedance presented
                                                                                                                                                                 presented by      by the
                                                                                                                                                                                        the shunt
                                                                                                                                                                                              shunt
                                61.053
                                                                                                           CC,;oi at
                                                                                                                  at the
                                                                                                                       the resonator
                                                                                                                            resonator I/O I/O terminals,
                                                                                                                                                 terminals, i.e., i.e., the
                                                                                                                                                                         the resistance
                                                                                                                                                                                resistance pre- pre-
                                                                                                           sented
                                                                                                           sented by    by the
                                                                                                                            the drive/sense
                                                                                                                                  drive/sense circuitcircuit loading
                                                                                                                                                               loading each  each I/OI/O port
                                                                                                                                                                                            port is is
    Resonance Frequency (MHz)




                                61.048
                                                            1, = 160fF x 50kQ                              considered
                                                                                                           considered high   high when
                                                                                                                                    when it  it isis at
                                                                                                                                                      at least
                                                                                                                                                          least 55 times
                                                                                                                                                                      times larger
                                                                                                                                                                                larger thanthan 1/ 1/
                                                                                                           (sC
                                                                                                           (sCy;).oi). This
                                                                                                                        This suggests
                                                                                                                               suggests that
                                                                                                                                           that to   to maximize
                                                                                                                                                         maximize frequency
                                                                                                                                                                         frequency stability
                                                                                                                                                                                          stability
                                                              /        Af = 248 ppm
                                                                                                           against
                                                                                                           against environmental
                                                                                                                          environmental variations,
                                                                                                                                               variations, aa Pierce Pierce oscillator
                                                                                                                                                                                 oscillator [25] [25]
                                61.043                                                                     configuration
                                                                                                           configuration would   would be be a a better
                                                                                                                                                   better choice
                                                                                                                                                             choice thanthan thethe commonly
                                                                                                                                                                                       commonly
                                                                                                           used
                                                                                                           used transresistance
                                                                                                                     transresistance sustaining
                                                                                                                                           sustaining amplifier.
                                                                                                                                                             amplifier.
                                                                                                                 On
                                                                                                                 On the the other
                                                                                                                             other hand,
                                                                                                                                      hand, if  if frequency
                                                                                                                                                     frequency tuningtuning is    is important,
                                                                                                                                                                                      important,
                                61.038
                                                                                                           and
                                                                                                           and slight
                                                                                                                    slight instabilities
                                                                                                                             instabilities resulting
                                                                                                                                               resulting from  from environmental
                                                                                                                                                                        environmental per-      per-
                                                                                     Af = 302        ppm
                                               1, = 160fF x 50Q                                 PP         turbations
                                                                                                           turbations can    can bebe tolerated,
                                                                                                                                       tolerated, a      a low-impedance
                                                                                                                                                            low-impedance input,     input, low-low-
                                                                                                           impedance
                                                                                                           impedance output   output sustaining
                                                                                                                                         sustaining amplifier
                                                                                                                                                           amplifier is    is most
                                                                                                                                                                                most suitable,
                                                                                                                                                                                          suitable,
                                           6                                    15                         such
                                                                                                           such as   as aa transresistance
                                                                                                                            transresistance amplifier
                                                                                                                                                    amplifier as as used
                                                                                                                                                                       used in in [15].
                                                                                                                                                                                    [15].
                                         Bias Voltage (V)

Fig.
Fig. 23.
      23. Measured
            Measured plotsplots ofof resonance
                                      resonance frequency
                                                   frequency versus
                                                                versus dc-bias,
                                                                          dc-bias, with
                                                                                    with ter-
                                                                                            ter-
mination
mination impedance
              impedance time  time constants
                                      constants τ7;i == R
                                                                                                           B.
                                                                                                           B. Device
                                                                                                              Device Design
                                                                                                                     Design Insights
                                                                                                                            Insights
                                                            QiCpad as
                                                          R;iCpaq      as aa third
                                                                              third variable
                                                                                      variable
without
without using
            using L   tune, for
                    Li,      for the
                                  the wine-glass-mode
                                        wine-glass-mode disk.disk. Solid
                                                                     Solid curves
                                                                             curves indicate
                                                                                      indicate
the
the theoretical
     theoretical expectation
                     expectation from from the
                                             the simulation
                                                 simulation of  of the
                                                                    the circuit
                                                                         circuit model
                                                                                  model pre-
                                                                                           pre-                For
                                                                                                               For thethe case
                                                                                                                            case inin which
                                                                                                                                        which frequency
                                                                                                                                                  frequency stability
                                                                                                                                                                 stability is is of of most
                                                                                                                                                                                         most
sented
sented in in Fig.
              Fig. 12(e).
                     12(e). TheThe identical
                                      identical least-square
                                                 least-square curvecurve fitted
                                                                           fitted electrode-
                                                                                   electrode-              interest,
                                                                                                           interest, the the negative-capacitance
                                                                                                                               negative-capacitance equivalentequivalent circuit
                                                                                                                                                                               circuit of-    of-
to-resonator
to-resonator gap  gap spacing
                        spacing of  of 84.1
                                       84.1 nmnm is
                                                  is used
                                                     used for
                                                            for all
                                                                 all simulated
                                                                      simulated plots
                                                                                   plots that
                                                                                          that
match
match very
         very well
                well to
                      to the
                          the measured
                                measured datadata points
                                                   points for
                                                           for different
                                                                different source
                                                                            source and
                                                                                     and load
                                                                                          load
                                                                                                           fers
                                                                                                           fers aa very
                                                                                                                    very important
                                                                                                                           important insight:
                                                                                                                                          insight: thethe highest
                                                                                                                                                           highest stability
                                                                                                                                                                       stability against
                                                                                                                                                                                     against
termination
termination resistors.
                 resistors.                                                                                changes
                                                                                                           changes in  in bias
                                                                                                                           bias voltage
                                                                                                                                 voltage or or overlap
                                                                                                                                                overlap capacitance
                                                                                                                                                           capacitance comes comes when  when
                                                                                                           the
                                                                                                           the negative
                                                                                                                 negative C     ois can
                                                                                                                              C,;s   can cancel
                                                                                                                                          cancel the the positive
                                                                                                                                                          positive ones.
                                                                                                                                                                       ones. From
                                                                                                                                                                                From Sec-  Sec-
                                                                                                           tion
                                                                                                           tion V-G,
                                                                                                                  V-G, terminal
                                                                                                                          terminal loadload capacitance
                                                                                                                                              capacitance C     Cf;Li can
                                                                                                                                                                      can limit
                                                                                                                                                                            limit thethe de- de-
age
age drive
      drive and
              and current
                    current sensing.
                               sensing. Conversely,
                                         Conversely, the the use
                                                              use ofof large
                                                                       large                               gree
                                                                                                           gree toto which
                                                                                                                       which electrical
                                                                                                                                electrical stiffness
                                                                                                                                               stiffness can
                                                                                                                                                           can be be negated,
                                                                                                                                                                       negated, i.e., i.e., to to
source
source andand load
                 load resistances
                       resistances equates
                                       equates toto the
                                                     the use
                                                           use of
                                                                of current
                                                                    current                                which
                                                                                                           which stability
                                                                                                                     stability cancan bebe maximized.
                                                                                                                                             maximized. Indeed,
                                                                                                                                                              Indeed, if   if CC,;oi can
                                                                                                                                                                                      can be  be
drive
drive and
        and voltage
               voltage sensing.
                          sensing. From
                                     From thethe results
                                                  results ofof Section
                                                               Section V, V,                               made
                                                                                                           made muchmuch greater
                                                                                                                             greater than
                                                                                                                                        than anyany load
                                                                                                                                                      load capacitance
                                                                                                                                                             capacitance on    on a  a given
                                                                                                                                                                                        given
voltage
voltage drive
           drive makes
                   makes mostmost sense
                                    sense where
                                           where frequency
                                                    frequency tuning
                                                                  tuning isis                              terminal,
                                                                                                           terminal, thisthis ensures
                                                                                                                               ensures maximum
                                                                                                                                           maximum stability.
                                                                                                                                                          stability.
needed,
needed, suchsuch asas for
                       for aa tunable
                               tunable filter
                                         filter passband
                                                passband application,
                                                              application,                                     This
                                                                                                               This simple
                                                                                                                       simple fact
                                                                                                                                 fact now
                                                                                                                                       now reveals
                                                                                                                                              reveals several
                                                                                                                                                         several methods
                                                                                                                                                                    methods by    by which
                                                                                                                                                                                       which
or
or aa voltage-controlled
       voltage-controlled oscillator.
                                oscillator. OnOn the
                                                  the other
                                                       other hand,
                                                                hand, cur-
                                                                        cur-                               the
                                                                                                           the frequency
                                                                                                                frequency stability
                                                                                                                               stability of of aa capacitive-gap-transduced
                                                                                                                                                   capacitive-gap-transduced res-           res-
rent
rent drive
       drive isis most
                  most appropriate
                          appropriate whenwhen frequency
                                                 frequency stability
                                                               stability isis                              onator
                                                                                                           onator can can bebe maximized:
                                                                                                                                maximized:
paramount.
paramount.

                                                                                                               1) Utilize
                                                                                                               1) Utilize solid
                                                                                                                              solid dielectric
                                                                                                                                       dielectric gaps,
                                                                                                                                                    gaps, as  as demonstrated
                                                                                                                                                                   demonstrated in     in [26]
                                                                                                                                                                                           [26]
A.
A. Reference
   Reference Oscillator
             Oscillator Design
                        Design Insights
                               Insights
                                                                                                                  and
                                                                                                                  and [27].
                                                                                                                          [27]. Here,
                                                                                                                                   Here, simply
                                                                                                                                            simply raising
                                                                                                                                                      raising the the gap
                                                                                                                                                                        gap permittivity
                                                                                                                                                                                permittivity
                                                                                                                  raises
                                                                                                                  raises C   Cy;oi so
                                                                                                                                    so that
                                                                                                                                        that itit dominates
                                                                                                                                                   dominates over   over terminal
                                                                                                                                                                            terminal para-
                                                                                                                                                                                         para-
    One
    One example
           example application
                         application for    for which
                                                  which the the choice
                                                                  choice of   of drive
                                                                                   drive
                                                                                                                  sites.
                                                                                                                  sites.
and
and sense
       sense type
                type could
                        could makemake a    a big
                                                big difference
                                                       difference is  is that
                                                                          that of    of a a
                                                                                                               2)
                                                                                                               2) Utilize
                                                                                                                  Utilize large
                                                                                                                              large arrays
                                                                                                                                       arrays of of resonators,
                                                                                                                                                     resonators, perhaps
                                                                                                                                                                       perhaps mechani-
                                                                                                                                                                                    mechani-
reference
reference oscillator
              oscillator that that must
                                      must be  be stable
                                                     stable against
                                                              against a    a variety
                                                                                variety
                                                                                                                  cally
                                                                                                                  cally coupled
                                                                                                                           coupled into into array
                                                                                                                                               array composites
                                                                                                                                                       composites like   like those
                                                                                                                                                                                those of
                                                                                                                                                                                       of [28]
                                                                                                                                                                                           [28]
of
of environmental
    environmental perturbations.
                            perturbations. These    These include
                                                              include accelera-
                                                                            accelera-
                                                                                                                  and [29].
                                                                                                                  and     [29]. Again,
                                                                                                                                   Again, thethe use
                                                                                                                                                   use ofof many
                                                                                                                                                               many devices
                                                                                                                                                                        devices increases
                                                                                                                                                                                    increases
tion,
tion, power
        power supply
                  supply noise,
                             noise, drift,
                                        drift, and
                                                 and undue
                                                         undue charging
                                                                  charging (e.g.,  (e.g.,
                                                                                                                  the
                                                                                                                  the total
                                                                                                                        total input
                                                                                                                                  input or or output
                                                                                                                                               output C   C,;oi so
                                                                                                                                                                so that
                                                                                                                                                                    that it it swamps
                                                                                                                                                                                swamps ter-ter-
due
due to to radiation),
           radiation), all   all ofof which
                                        which can can induce
                                                          induce instability
                                                                    instability in      in
                                                                                                                  minal
                                                                                                                  minal loadload capacitance.
                                                                                                                                     capacitance.
the
the oscillator’s
      oscillator’s frequency.
                       frequency. Interestingly,
                                         Interestingly, the    the most
                                                                     most signifi-
                                                                                signifi-
                                                                                                               3)
                                                                                                               3) Integrate
                                                                                                                  Integrate resonators
                                                                                                                                  resonators alongside
                                                                                                                                                  alongside transistors,
                                                                                                                                                                  transistors, removing
                                                                                                                                                                                   removing
cant
cant mechanism
        mechanism for    for frequency
                               frequency instability
                                               instability caused
                                                                caused by   by these
                                                                                   these
                                                                                                                  large
                                                                                                                  large board-level
                                                                                                                           board-level capacitors
                                                                                                                                              capacitors to   to again
                                                                                                                                                                   again allow
                                                                                                                                                                             allow intrinsic
                                                                                                                                                                                     intrinsic
particular
particular perturbations
                perturbations ends     ends up up being
                                                     being instability
                                                              instability in     in the
                                                                                      the
                                                                                                                  resonator
                                                                                                                  resonator input/output
                                                                                                                                   input / output capacitance
                                                                                                                                                       capacitance to     to swamp
                                                                                                                                                                               swamp para-
                                                                                                                                                                                         para-
electrical
electrical stiffness.
               stiffness. For For instance,
                                      instance, theoretical
                                                      theoretical analysis
                                                                        analysis of      of
                                                                                                                  sitics.
                                                                                                                  sitics.
micromechanical
micromechanical wine-glasswine-glass disk   disk resonators
                                                     resonators reveals
                                                                      reveals that  that
acceleration-induced
acceleration-induced changes      changes in     in electrode-to-resonator
                                                        electrode-to-resonator
gap
gap spacing
      spacing or   or overlap
                       overlap area  area that
                                            that in  in turn
                                                          turn induce
                                                                 induce shifts
                                                                             shifts in  in                 Note
                                                                                                           Note that
                                                                                                                   that all
                                                                                                                         all of
                                                                                                                              of these
                                                                                                                                  these methods
                                                                                                                                           methods increase
                                                                                                                                                         increase C  C,;oi without
                                                                                                                                                                           without com-
                                                                                                                                                                                      com-
electrical
electrical stiffness
              stiffness dominate
                            dominate among  among sources
                                                        sources that
                                                                   that shift
                                                                            shift fre-fre-                 promising the
                                                                                                           promising     the (C(C,/C,;)     ratio that
                                                                                                                                   x/Coi) ratio      that governs
                                                                                                                                                            governs transducer
                                                                                                                                                                        transducer elec-
                                                                                                                                                                                       elec-
quency
quency during
           during accelerations
                     accelerations [24].   [24]. InIn addition,
                                                       addition, noise
                                                                     noise or  or drift
                                                                                    drift                  tromechanical
                                                                                                           tromechanical coupling
                                                                                                                                coupling efficiency.
                                                                                                                                              efficiency. Methods
                                                                                                                                                              Methods 11 and   and 3, 3, inin
on
on the
    the power
          power supply
                    supply manifests
                                manifests as   as fluctuations
                                                    fluctuations on   on thethe reso-
                                                                                   reso-                   fact, improve
                                                                                                           fact,  improve the the (C(C,/C,;)     ratio.
                                                                                                                                       x/Coi) ratio.
nator
nator dc-bias
         dc-bias V   VpP that
                           that obviously
                                   obviously destabilize
                                                    destabilize the the electrical
                                                                           electrical                          Needless
                                                                                                               Needless to  to say,
                                                                                                                                 say, design
                                                                                                                                        design insights
                                                                                                                                                   insights like
                                                                                                                                                               like these
                                                                                                                                                                       these facilitated
                                                                                                                                                                               facilitated
stiffness,
stiffness, and
             and thereby,
                    thereby, resonance
                                  resonance frequency.
                                                   frequency.                                              by
                                                                                                           by the
                                                                                                                the negative-capacitance
                                                                                                                      negative-capacitance equivalent equivalent circuit
                                                                                                                                                                      circuit are
                                                                                                                                                                                are quite
                                                                                                                                                                                      quite
    As
    As revealed
         revealed by  by the
                           the negative-capacitance
                                 negative-capacitance equivalent  equivalent cir-     cir-                 invaluable.
                                                                                                           invaluable. There
                                                                                                                           There are are sure
                                                                                                                                            sure to to bebe many
                                                                                                                                                             many otherother examples,
                                                                                                                                                                               examples,
cuit
cuit and
       and verified
             verified by by thethe measurements
                                     measurements in        in Figs.
                                                                Figs. 18 18 andand 19, 19,                 from oscillators,
                                                                                                           from    oscillators, to to filters,
                                                                                                                                       filters, toto mixlers
                                                                                                                                                       mixlers [18],
                                                                                                                                                                  [18], where
                                                                                                                                                                          where explicit
                                                                                                                                                                                   explicit
frequency
frequency dependence
               dependence on      on electrical
                                       electrical stiffness
                                                      stiffness can
                                                                  can essentially
                                                                         essentially                       representation
                                                                                                           representation of    of the
                                                                                                                                    the negative
                                                                                                                                          negative capacitance
                                                                                                                                                        capacitance in    in a
                                                                                                                                                                             a microme-
                                                                                                                                                                                microme-
be
be nulled
     nulled by by using
                    using aa high-impedance
                                 high-impedance input,      input, high-imped-
                                                                      high-imped-                          chanical
                                                                                                           chanical resonator’s
                                                                                                                       resonator’s equivalent
                                                                                                                                       equivalent circuit
                                                                                                                                                        circuit proves
                                                                                                                                                                 proves instrumental
                                                                                                                                                                            instrumental
ance
ance output
        output sustaining
                   sustaining amplifier.
                                    amplifier. Here,Here, high-impedance
                                                             high-impedance is           is                to
                                                                                                           to maximizing
                                                                                                               maximizing performance.
                                                                                                                                performance.
  Case 1:21-cv-01417-JPM Document 101-2 Filed 08/30/22 Page 118 of 148 PageID #: 1643
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868                                                           IEEE
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                                                                                   ULTRASONICS, Ferroelectrics,  AND Frequency CONTROL, , vol.
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                                                                                                                                                   NO. 5, MAY 2014
                                                                                                                                                       5, May 2014


                                           VII.
                                           VII. Conclusions
                                                CONCLUSIONS                                                                         [14]
                                                                                                                                     14 F.
                                                                                                                                         F. D.D. Bannon
                                                                                                                                                    Bannon III,      III, J.  J. R. R. Clark,
                                                                                                                                                                                           Clark, and     and C.     C. T.-C.
                                                                                                                                                                                                                            T.-C. Nguyen,
                                                                                                                                                                                                                                       Nguyen, “High   “High fre- fre-
                                                                                                                                         quency
                                                                                                                                         quency micromechanical
                                                                                                                                                      micromechanical filters,”          filters,” IEEE    IEEE J.       J. Solid-State
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    By
    By explicitly
          explicitly modeling
                         modeling electrical
                                         electrical stiffness
                                                        stiffness in in a a capac-
                                                                              capac-                                                [15]	Y.-W.
                                                                                                                                         Y.-W. Lin,  Lin, S.  S. Lee,
                                                                                                                                                                    Lee, S.-S. S.-S. X.   X. Y.  Y. Li, Li, Z.   Z. Ren,
                                                                                                                                                                                                                       Ren, and  and C.   C. T.-C.
                                                                                                                                                                                                                                                T.-C. Nguyen,
                                                                                                                                                                                                                                                           Nguyen,
itive-gap-transduced
itive-gap-transduced micromechanical
                                micromechanical resonator    resonator via     via a    a                                                “Series-resonant
                                                                                                                                         “Series-resonant VHF           VHF micromechanical
                                                                                                                                                                                    micromechanical resonator            resonator referencereference oscilla-
                                                                                                                                                                                                                                                            oscilla-
                                                                                                                                         tors,”
                                                                                                                                         tors,” IEEEIEEE J.    J. Solid-State
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negative
negative capacitance,
              capacitance, the   the equivalent
                                        equivalent circuit
                                                         circuit ofof this
                                                                        this workwork                                                    Dec.
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provides
provides design
              design insights
                         insights thatthat explain
                                               explain certain
                                                            certain previously
                                                                       previously                                                   [16]
                                                                                                                                     16 K.
                                                                                                                                         K. Wang
                                                                                                                                              Wang and   and C.   C. T.-C.
                                                                                                                                                                         T.-C. Nguyen,
                                                                                                                                                                                     Nguyen, “High-order“High-order medium        medium frequency
                                                                                                                                                                                                                                                 frequency mi-    mi-
unexplained
unexplained measuredmeasured behavior,
                                  behavior, such  such as as the
                                                              the reduction
                                                                    reduction in      in                                                 cromechanical
                                                                                                                                         cromechanical electronic  electronic filters,”  filters,” IEEE/ASME
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efficacy
efficacy of of electrical
                electrical stiffness
                              stiffness whenwhen the the resistances
                                                           resistances loading
                                                                            loading                                                 [17]
                                                                                                                                     17 H.
                                                                                                                                         H. Nathanson,
                                                                                                                                              Nathanson, W.          W. E.    E. Newell,
                                                                                                                                                                                     Newell, R.       R. A.   A. Wickstrom,
                                                                                                                                                                                                                     Wickstrom, and         and J.  J. R.R. Davis
                                                                                                                                                                                                                                                              Davis
aa resonator’s
   resonator’s input/output
                     input/output ports   ports areare large,
                                                         large, which
                                                                 which in    in turn
                                                                                  turn                                                   Jr.,
                                                                                                                                         Jr., “The
                                                                                                                                                “The resonant
                                                                                                                                                         resonant gate      gate transistor,”
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led toto incorrect
           incorrect experimental
                         experimental extraction
                                               extraction of   of electrode-to-
                                                                   electrode-to-                                                         ED-14,
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                                                                                                                                                             117-133, Mar.      Mar. 1967.  1967.
                                                                                                                                    [18]	A.-C.
                                                                                                                                     18 A.-C. Wong  Wong and    and C.    C. T.-C.
                                                                                                                                                                                T.-C. Nguyen, Nguyen, “Micromechanical
                                                                                                                                                                                                                  “Micromechanical mixer-filters    mixer-filters
resonator
res onator gap gap spacings.
                     spacings. The  The equivalent
                                           equivalent circuit
                                                           circuit further
                                                                     further pro- pro-                                                   (“mixlers”),”
                                                                                                                                         (“mixlers”),” IEEE/ASMEIEEE/ASME J.                 J. Microelectromech.
                                                                                                                                                                                                   Microelectromech. Sys.,              Sys., vol.
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vides
vides designers
         designers withwith needed
                               needed visual
                                           visual cuescues that
                                                             that enable
                                                                   enable them  them                                                     pp. 100–112,
                                                                                                                                         pp.    100-112, Feb.   Feb. 2004. 2004.
to
to more
    more intelligently
              intelligently choose
                                 choose circuit
                                             circuit topologies
                                                         topologies to   to maxi-
                                                                               maxi-                                                [19]
                                                                                                                                     19 J.
                                                                                                                                         J. Wang,
                                                                                                                                             Wang, Z.      Z. Ren,
                                                                                                                                                                 Ren, and    and C.    C. T.-C.
                                                                                                                                                                                              T.-C. Nguyen,  Nguyen, “1.156-GHz “1.156-GHz self-aligned
                                                                                                                                                                                                                                                     self-aligned
                                                                                                                                         vibrating
                                                                                                                                         vibrating micromechanical
                                                                                                                                                          micromechanical disk                disk resonator,”
                                                                                                                                                                                                        resonator,” IEEE         IEEE Trans.  Trans. Ultrason.
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mize
mize thethe performance
              performance of    of resonator
                                     resonator applications,
                                                     applications, especially
                                                                        especially                                                       Ferroelectr.
                                                                                                                                         Ferroelectr. Freq.   Freq. Control,
                                                                                                                                                                         Control, vol.     vol. 51, 51, no. no. 12,  12, pp.pp. 1607–1628,
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                                                                                                                                                                                                                                                               2004.
where
where frequency
           frequency stability
                          stability is  is paramount.
                                            paramount. These,  These, together
                                                                           together                                                 [20]
                                                                                                                                     20 J.
                                                                                                                                         J. Wang,
                                                                                                                                             Wang, Y.    Y. Xie,
                                                                                                                                                               Xie, and  and C.   C. T.-C.
                                                                                                                                                                                        T.-C. Nguyen,Nguyen, “Frequency  “Frequency tolerance tolerance of    of RFRF
with
with more
        more accurate
                 accurate methods
                              methods for   for determining
                                                 determining elementelement val-   val-                                                  micromechanical
                                                                                                                                         micromechanical disk             disk resonators
                                                                                                                                                                                    resonators in            in nanocrystalline
                                                                                                                                                                                                                    nanocrystalline diamond      diamond and     and
                                                                                                                                         polysilicon
                                                                                                                                         polysilicon structural
                                                                                                                                                             structural materials,”
                                                                                                                                                                                  materials,” in            in Tech.
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ues,
ues, where
       where integration
                 integration is   is employed
                                      employed to     to account
                                                          account for for varying
                                                                            varying                                                      Devices
                                                                                                                                         Devices Meeting,
                                                                                                                                                       Meeting, 2005,    2005, pp.   pp. 291–294.
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resonator
res onator mass mass andand stiffness
                               stiffness over over a  a given
                                                         given electrode
                                                                 electrode and     and                                              [21]
                                                                                                                                     21 M.
                                                                                                                                         M. Onoe,
                                                                                                                                              Onoe, “Contour
                                                                                                                                                         “Contour vibrations vibrations of         of isotropic
                                                                                                                                                                                                        isotropic circular   circular plates,”
                                                                                                                                                                                                                                          plates,” J.   J. Acoust.
                                                                                                                                                                                                                                                            Acoust.
where
where a    a single
              single coupling
                        coupling coefficient
                                       coefficient models
                                                        models bothboth electri-
                                                                             electri-                                                    Soc.
                                                                                                                                         Soc. Am.,
                                                                                                                                                 Am., vol.vol. 28, 28, no. no. 6, 6, pp.
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cal
cal and
     and mechanical
            mechanical aspects
                             aspects of  of aa capacitive-gap
                                                capacitive-gap transducer,
                                                                      transducer,                                                        Wiley,
                                                                                                                                         Wiley, 1983.1983.
make
make the  the described
                described negative-capacitance
                               negative-capacitance equivalent  equivalent cir-     cir-                                            [23]
                                                                                                                                     23 M.
                                                                                                                                         M. Akgul,
                                                                                                                                              Akgul, R.    R. Schneider,
                                                                                                                                                                 Schneider, Z.          Z. Ren,
                                                                                                                                                                                              Ren, G.    G. Chandler,
                                                                                                                                                                                                                Chandler, V.        V. Yeh,
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cuit
cuit a a nice
          nice tool
                 tool for
                       for design
                            design of  of more
                                           more complex
                                                    complex micromechani-
                                                                micromechani-                                                            Nguyen,
                                                                                                                                         Nguyen, “Hot   “Hot filament
                                                                                                                                                                   filament CVD       CVD conductive
                                                                                                                                                                                                   conductive microcrystalline
                                                                                                                                                                                                                             microcrystalline diamond     diamond
                                                                                                                                         for
                                                                                                                                         for high
                                                                                                                                               high Q,  Q, high
                                                                                                                                                              high acoustic
                                                                                                                                                                         acoustic velocity  velocity micromechanical
                                                                                                                                                                                                               micromechanical resonators,”     resonators,” in      in
cal
cal circuits
     circuits to  to come.
                      come.
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                                                                                                                                              and TimeTime Forum,
                                                                                                                                                                Forum, 2011,    2011, pp.   pp. 1–6. 1-6.
                                                                                                                                    [24]
                                                                                                                                     24 B.
                                                                                                                                         B. Kim,
                                                                                                                                              Kim, M.   M. Akgul,
                                                                                                                                                                Akgul, Y.      Y. Lin,Lin, W.-C.W.-C. Li,       Li, Z.  Z. Ren,
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                                                 References
                                                 REFERENCES                                                                              “Acceleration
                                                                                                                                         “Acceleration sensitivitysensitivity of          of small-gap
                                                                                                                                                                                                small-gap capacitive    capacitive micromechanical
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                                                                                                                                                                                                                Frequency Control    Control Symp.,Symp., 2010,2010,
                                                                                                                                         pp.
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                                                                                                                                               273-278.
[1] B.
     B. E.E. Boser
                Boser and    and R.   R. T. T. Howe,
                                                   Howe, “Surface
                                                               “Surface micromachined
                                                                                  micromachined accelerom-      accelerom-          [25]	S.
                                                                                                                                     25 S. Lee,
                                                                                                                                             Lee, M.   M. U. U. Demirci,
                                                                                                                                                                    Demirci, and        and C.    C. T.-C.
                                                                                                                                                                                                         T.-C. Nguyen, Nguyen, “A       “A 10-MHz
                                                                                                                                                                                                                                               10-MHz micro- micro-
     eters,”
     eters,” IEEEIEEE J.     J. Solid-State
                                  Solid-State Circuits, Circuits, vol.  vol. 31, 31, no.no. 3, 3, pp.
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                                                                                                                                         mechanical resonator resonator Pierce     Pierce referencereference oscillator,”
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          Kulah, J.      J. Chae,
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                                                   Yazdi, and  and K.    K. Najafi,
                                                                                Najafi, “Noise  “Noise analysis
                                                                                                            analysis and    and          1094–1097.
                                                                                                                                         1094-1097.
     characterization
     characterization of             of aa sigma-delta
                                                sigma-delta capacitive  capacitive microaccelerometer,”
                                                                                              microaccelerometer,”                  [26]	Y.-W.
                                                                                                                                     26 Y.-W. Lin,  Lin, S.-S.
                                                                                                                                                             S.-S. Li,  Li, Y. Y. Xie,
                                                                                                                                                                                     Xie, Z.   Z. Ren,
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                                                                                                                                                                                                                                Nguyen, “Vibrating
                                                                                                                                                                                                                                                “Vibrating mi-    mi-
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     IEEE J.    J. Solid-State
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                                                                                                                                                                                                                                    capacitive transducer
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[3]	S.
     S. E.
         E. Alper,
               Alper, K.      K. Azgin,
                                    Azgin, and     and T.  T. Akin,
                                                                Akin, “A      “A high-performance
                                                                                     high-performance silicon-        silicon-           gaps,”
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     on-insulator MEMS       MEMS gyroscopegyroscope operating operating at         at atmospheric
                                                                                          atmospheric pressure,”  pressure,”             pp. 128–134.
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     Sens.
     Sens. Actuators
               Actuators A,        A, vol.
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                                                                                                                                     27 D. Weinstein
                                                                                                                                               Weinstein and       and S.     S. Bhave,
                                                                                                                                                                                    Bhave, “Internal “Internal dielectric   dielectric transduction
                                                                                                                                                                                                                                              transduction in        in
[4] M.
     M. F. F. Zaman,
                Zaman, A.       A. Sharma,
                                      Sharma, Z.       Z. Hao,
                                                            Hao, and   and F.  F. Ayazi,
                                                                                     Ayazi, “A     “A mode-matched
                                                                                                        mode-matched                     bulk-mode
                                                                                                                                         bulk-mode resonators,”
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                                                                                                                                                                                                                                                                   pp.
     silicon-yaw
     silicon-yaw tuning-fork
                          tuning-fork gyroscope  gyroscope with     with subdegree-per-hour
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     viation
     viation bias bias stability,”
                            stability,” J.      J. Microelectromech.
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                                                                                                                             pp.    [28]
                                                                                                                                     28 M.
                                                                                                                                         M. Demirci
                                                                                                                                              Demirci and     and C.-C.C.-C. Nguyen,
                                                                                                                                                                                  Nguyen, “Mechanically
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     1526–1536,
     1526-1536, Dec.      Dec. 2008.2008.                                                                                                microresonator
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[5]	R.
     R. G.G. Azevedo,
                Azevedo, D.        D. G. G. Jones,
                                                Jones, A.   A. V. V. Jog,Jog, B.  B. Jamshidi,
                                                                                         Jamshidi, D.      D. R.  R. Myers,
                                                                                                                      Myers,             croelectromech.
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     L.
     L. Chen,
         Chen, X.    X. Fu, Fu, M. M. Mehregany,
                                          Mehregany, and        and M.   M. B.  B. J. J. P.P. A.A. Wijesundara,
                                                                                                     Wijesundara, “A          “A    [29]	L.
                                                                                                                                     29 L. Wu,
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     SiC
     SiC MEMSMEMS resonant  resonant strain   strain sensorsensor for    for harsh
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     tions,”
     tions,” IEEE IEEE Sens.  Sens. J.,  J., vol.
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                                                                                568-576, Apr.     Apr. 2007.2007.                        ity
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[6]	A.
     A. Hajjam,
          Hajjam, J.      J. Pandiyan,
                                Pandiyan, A.        A. Rahafrooz,
                                                          Rahafrooz, and        and S.   S. Pourkamali,
                                                                                              Pourkamali, “MEMS      “MEMS               Control
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     resonant
     resonant sensorssensors for    for detection
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                                                                 gasoline vapor,” vapor,” in     in Proc.
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     sors
     sors Conf.,
             Conf., 2010, 2010, pp.  pp. 1538–1541.
                                            1538-1541.
[7] Z.
     Z. J.
         J. Yao,
              Yao, S.   S. Chen,
                              Chen, S.    S. Eshelman,
                                                Eshelman, D.         D. Denniston,
                                                                           Denniston, and         and C. C. Goldsmith,
                                                                                                               Goldsmith,
     “Micromachined
     “Micromachined low-loss        low-loss microwave
                                                     microwave switches,” switches,” J.        J. Microelectromech.
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     Syst.,
     Syst., vol.
               vol. 8, 8, no.no. 2, 2, pp.
                                         pp. 129–134,
                                                 129-134, Jun.    Jun. 1999. 1999.
[8] H.
     H. J.J. DeDe Los Los Santos,
                                Santos, G.      G. T. T. H. H. Fischer,
                                                                  Fischer, and     and J.    J. T.T. van
                                                                                                       van Beek,Beek, “RF  “RF
     MEMS
     MEMS for      for ubiquitous
                          ubiquitous wireless    wireless connectivity:
                                                                connectivity: Part          Part 1—Fabrication,”
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     IEEE
     IEEE Microw.
                Microw. Mag.,    Mag., vol. vol. 5,  5, no.
                                                          no. 4,4, pp.pp. 36–49,
                                                                              36-49, Dec.   Dec. 2004.
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[9]	C.
     C. T.-C.
          T.-C. Nguyen,
                     Nguyen, “MEMS    “MEMS technology technology for        for timing
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     trol,”
     trol,” IEEE
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                251-270, 2007.    2007.                                                                                                                        second
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[10]	S.-S.
     S.-S. Li,Li, Y.-W.
                    Y.-W. Lin,    Lin, Z.  Z. Ren,
                                                 Ren, and  and C.  C. T.-C.
                                                                          T.-C. Nguyen,
                                                                                     Nguyen, “An      “An MSI MSI micro-
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     mechanical
     mechanical differential
                           differential disk-array
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     Int.
     Int. Conf.
             Conf. on  on Solid-State
                               Solid-State Sensors  Sensors &       & Actuators,
                                                                        Actuators, 2007,      2007, pp. pp. 307–311.
                                                                                                               307-311.                                             His
                                                                                                                                                                     His research
                                                                                                                                                                           research focuses
                                                                                                                                                                                          focuses on  on design,
                                                                                                                                                                                                            design, microfabrica-
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[11] P.
     P. W.
         W. Tuinenga,
               Tuinenga, SPICE:     SPICE: A        A Guide
                                                         Guide to   to Circuit
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                PSpice, 3rd     3rd ed.,
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[12] Z.
     Z. Hao,
          Hao, S.   S. Pourkamali,
                          Pourkamali, and           and F.  F. Ayazi,
                                                                  Ayazi, “VHF    “VHF single-crystal
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     modeling,”
     modeling,” IEEE/ASME IEEE/ASME J.                J. Microelectromech.
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     pp. 1043–1053,
     pp.    1043-1053, Dec.       Dec. 2004.
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[13]
 13 H.
     H. A.A. C. C. Tilmans,
                      Tilmans, “Equivalent
                                         “Equivalent circuit    circuit representation
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     chanical transducers:
                    transducers: I.          I. Lumped-parameter
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     Microeng.,
     Microeng., vol.    vol. 6,  6, no.
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                                                          157-176, 1996.    1996.                                                   ited
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akgul
AKGUL et
      ET al.:
         AL.: aA negative-capacitance
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                                      EQUIVALENT circuit
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                             Lingqi Wu
                            Lingqi      Wu (S’11)
                                              (S’11) received
                                                       received thethe B.S.
                                                                        B.S. degree
                                                                                degree inin me-
                                                                                             me-                                              Clark T.-C.
                                                                                                                                              Clark        T.-C. Nguyen Nguyen (S’90–M’95–SM’01–F’07)
                                                                                                                                                                                        (S'90-M’95-SM’01-F’07)
                            chanical
                             chanical engineering
                                         engineering in  in 2007
                                                             2007 andand the
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                                                                                                                                              received the    the B.S.,
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                            in
                             in instrument
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                                                                     technology in    in 2009,
                                                                                           2009,                                              the
                                                                                                                                              the University
                                                                                                                                                      University of       of California,
                                                                                                                                                                               California, BerkeleyBerkeley in    in 1989,
                                                                                                                                                                                                                       1989,
                            both
                             both from
                                     from Tsinghua
                                             Tsinghua University,
                                                           University, Beijing,
                                                                            Beijing, China.
                                                                                         China.                                               1991,
                                                                                                                                              1991, and and 1994,1994, respectively,
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                            His
                             His M.S.
                                  M.S. work
                                          work focused
                                                  focused on on design
                                                                  design andand fabrication
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                                                                                                                                                         1995, he       joined the
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                                                                                                                                              of Michigan,
                                                                                                                                                  Michigan, Ann      Ann Arbor,
                                                                                                                                                                              Arbor, wherewhere he    he was
                                                                                                                                                                                                           was aa Profes-
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                                                              University of    of California,
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                                                                                                                                                                                                            University of    of
Berkeley,
Berkeley, majoring
            majoring in in microelectromechanical
                            microelectromechanical systems.  systems.                                     California,
                                                                                                          California, Berkeley,
                                                                                                                            Berkeley, where where he   he isis presently
                                                                                                                                                                presently a     a Professor
                                                                                                                                                                                   Professor and    and aa Co-Director
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     Lingqi’s
     Lingqi’s research
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                                                                                                          mechanical technologies,
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                                                                                                          architectures,
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                                                                                                                                          integrated circuit circuit design
                                                                                                                                                                          design and  and technology.
                                                                                                                                                                                              technology. In      In 2001,
                                                                                                                                                                                                                       2001,
                                                                                                          Prof.
                                                                                                          Prof. Nguyen
                                                                                                                    Nguyen foundedfounded Discera
                                                                                                                                                Discera Inc.,  Inc., aa company
                                                                                                                                                                            company aimed   aimed at    at commercial-
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                            Zeying Ren
                            Zeying        Ren (M’04)
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                                                                                                          by hishis research
                                                                                                                      research in    in past
                                                                                                                                          past years.
                                                                                                                                                  years. He    He served
                                                                                                                                                                     served as   as Vice
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                                                                                                                                                                                                                       Chief
                            versity,
                            versity, Tianjin,
                                        Tianjin, China,
                                                     China, in  in 1987
                                                                     1987 andand 1990,
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                                            the Chinese
                                                  Chinese Academy
                                                                Academy of     of Science,
                                                                                    Science, Bei- Bei-    Clock (CSAC),
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                            jing, China.
                            jing,   China. She  She waswas aa Research
                                                                  Research Scholar
                                                                                 Scholar in    in the
                                                                                                   the    Micromechanical Technology
                                                                                                          Micromechanical              Technology (HERMIT),(HERMIT), Micro      Micro Gas Gas Analyzers
                                                                                                                                                                                                  Analyzers (MGA), (MGA),
                            Department
                            Department of      of Electrical
                                                   Electrical and and Computer
                                                                         Computer Engineer-
                                                                                          Engineer-       Radio
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                            ing, Northwestern
                                   Northwestern University,
                                                         University, Evanston,
                                                                          Evanston, IL,     IL, from
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                            1998
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                                         2000. From
                                                  From 2001 2001 to  to 2002,
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joined the
joined  the Solid
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                    State Electronics
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                                             Laboratory as     as an
                                                                   an Engineer
                                                                        Engineer in    in Research
                                                                                           Research             Prof.
                                                                                                                Prof. Nguyen
                                                                                                                          Nguyen won   won the the Cady
                                                                                                                                                      Cady Award Award in    in 2006
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                           Electrical Engineering
                                          Engineering and    and Computer
                                                                    Computer Science,
                                                                                    Science, Uni-Uni-     students,
                                                                                                          students, has    has garnered
                                                                                                                                  garnered more  more than  than ten  ten best
                                                                                                                                                                             best paper
                                                                                                                                                                                      paper awards
                                                                                                                                                                                                 awards from  from IEEE
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versity
versity of
         of Michigan,
             Michigan, Ann
                         Ann Arbor.
                                Arbor. In  In 2008,
                                               2008, she      joined Prof.
                                                        she joined      Prof. Clark
                                                                                Clark Nguyen’s
                                                                                           Nguyen’s       conferences
                                                                                                          conferences and            journals focused
                                                                                                                              and journals        focused on     on frequency
                                                                                                                                                                      frequency controlcontrol and  and MEMS.
                                                                                                                                                                                                           MEMS. From  From
research
research group
            group asas aa process
                           process engineer
                                        engineer at   at the
                                                           the University
                                                                  University of    of California,
                                                                                         California,      2007
                                                                                                          2007 to  to 2009,
                                                                                                                        2009, he he served
                                                                                                                                      served as  as aa Distinguished
                                                                                                                                                          Distinguished Lecturer  Lecturer for   for the
                                                                                                                                                                                                       the IEEE
                                                                                                                                                                                                             IEEE Solid-
                                                                                                                                                                                                                      Solid-
Berkeley,
Berkeley, where
            where she
                    she presently
                         presently conducts
                                       conducts MEMS MEMS fabrication
                                                                 fabrication at   at the
                                                                                       the Marvell
                                                                                             Marvell      State
                                                                                                          State Circuits
                                                                                                                    Circuits Society.
                                                                                                                                   Society. Prof.
                                                                                                                                                Prof. Nguyen
                                                                                                                                                          Nguyen was     was thethe Technical
                                                                                                                                                                                       Technical ProgramProgram Chair Chair
Nanofabrication
Nanofabrication Laboratory.
                     Laboratory.                                                                          of
                                                                                                          of the
                                                                                                               the 2010
                                                                                                                      2010 IEEE IEEE International
                                                                                                                                          International Frequency Frequency Control  Control Symposium
                                                                                                                                                                                                  Symposium and      and aa
                                                                                                          Co-General
                                                                                                          Co-General Chair    Chair of  of the
                                                                                                                                            the 2011
                                                                                                                                                   2011 Combined
                                                                                                                                                             Combined IEEE     IEEE International
                                                                                                                                                                                         International FrequencyFrequency
                                                                                                          Control
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                                                                                                                                                                                                Time Forum. Forum. FromFrom
                                                                                                          2008
                                                                                                          2008 to  to 2013,
                                                                                                                        2013, he  he served
                                                                                                                                       served as  as Vice
                                                                                                                                                        Vice President
                                                                                                                                                                  President of    of Frequency
                                                                                                                                                                                       Frequency Control Control in  in the
                                                                                                                                                                                                                          the
                                                                                                          IEEE
                                                                                                          IEEE Ultrasonics,
                                                                                                                     Ultrasonics, Ferroelectrics,
                                                                                                                                         Ferroelectrics, and      and Frequency
                                                                                                                                                                         Frequency Control Control Society,
                                                                                                                                                                                                          Society, and
                                                                                                                                                                                                                     and is   is
                                                                                                          presently
                                                                                                          presently President-Elect
                                                                                                                          President-Elect of        of the
                                                                                                                                                        the society.
                                                                                                                                                                society.
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                         Exhibit A16
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M. U. Demirci and C. T.-C. Nguyen, “Higher-mode free-free beam micromechanical resonators,” Proceedings, 2003 IEEE Int.
Frequency Control Symposium, Tampa, Florida, May 5-8, 2003, pp. 810-818.

      Higher-Mode Free-Free Beam Micromechanical
                      Resonators
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Abstract - Polysilicon free-free beam micromechanical resonators
based on MEMS technology operating in second and third-mode                              9.3µm                    Node Points
flexural vibrations have been demonstrated at frequencies as high
as 102 MHz with Q’s on the order of 11,500. Via strategic place-
ment of electrodes, and careful determination of the exact support                       3.5µm
beam attachment locations that minimize anchor loss, these new                                                      20.3µm
resonators actually exhibit higher Q in the second mode than in
the fundamental at the same frequency. Experiments to gauge the                             1.2µm                            Anchor
effect of variations in support beam dimensions and attachment
locations on free- free beam microresonator performance show
that an offset of only 0.6 µm in the support beam attachment loca-                                                         Free-Free
tion results in a 7X degradation in the Q. In addition, measured         Electrodes                     Support Beam         Beam
temperature coefficients for second-mode free-free beam µresona-
tors are on the order of −13.1 ppm/oC, which is on par with that for    Fig. 1: SEM of a 101 MHz second-mode free-free beam µresonator.
fundamental mode resonance.
Keywords - anchor loss, free- free beam, higher- mode, microme-                       Anchor                 Ws
                                                                                                                              A'
chanical resonator, motional resistance, quality factor, RF MEMS
                          I. INTRODUCTION                                 Electrodes           B                                     B'
   Vibrating micromechanical resonators are emerging as attrac-
tive candidates for on-chip versions of the high-Q mechanical
passive components (e.g, quartz crystals, SAW resonators) used              io                     Lr
in transceivers for wireless communications [1]. Acute interest
in these devices arises from their tiny sizes, their zero DC power                     We                            Ls
consumption, and their use of IC-compatible fabrication technol-
ogies to enable on-chip integration of high-Q frequency selective                                                           Anchor
components with transistor electronics [2]-[4]. To date, flexural-                                                    vi
mode free-free beam micromechanical resonators with frequen-
cies up to 92 MHz and Q’s exceeding 7,000 have been demon-                                     Wr                             z
strated with performance suitable for IF filter applications [5].
                                                                                 VP       A                                         y
However the need for further size reduction to attain even higher                                          Flexural-mode
                                                                                  Support Beam               Node Point                 x
frequencies can conjure up scaling-induced problems [6], such
as higher motional impedance and greater susceptibility to con-         Fig. 2: Perspective-view schematic of a second-mode free-free beam
taminants. To avoid these limitations, a method for raising fre-             µresonator in a typical bias and excitation configuration.
quency without the need for excessive scaling is desired.
   Pursuant to reducing the amount of size reduction needed for        then verifies the model experimentally in Section IV. In addition
increasing frequency, this work investigates higher-mode opera-        to plots verifying performance, Section IV also includes mea-
tion of vertical free-free beam micromechanical resonators. With       surements to gauge the effects of dimensional fabrication toler-
larger dimensions than previous fundamental-mode counterparts          ances on the performance of this precise design, as well as
at the same frequency, and with slightly higher Q’s (as will be        frequency versus temperature data to evaluate thermal stability
seen), these higher-mode free-free beam resonators provide sev-        of this device.
eral key advantages over the former, including (1) lower series
motional resistance Rx ; (2) higher dynamic range and power                      II. RESONATOR STRUCTURE AND OPERATION
handling; and (3) multiple ports that permit the 0o input-to-out-         Figure 1 presents the scanning electron micrograph (SEM) of
put phase-shift often preferred for high impedance microme-            the 101 MHz, second-mode, free-free beam device of this work.
chanical oscillators and invertible bandpass mixer-filters             Figure 2 presents the perspective view schematic of the device in
targeted for wireless applications. This paper first develops a        a typical electrical bias and excitation configuration. As seen in
complete model for design and simulation of higher-mode free-          the figure, the device is comprised of a 2 µm thick, free-free
free beam micromechanical resonators in Sections II and III,           beam suspended 1000 Å above capacitive transducer elec-
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                                                                                                                          Torsional
                                                                                                                           Support
                                                       Node                                                                                     Free-Free
                                                       Points                                                                                     Beam
         Fixed
          End

                                                                                              Node
                                                                                              Points



                                           Torsional
                      Free-Free             Support                                                                           Node
                                                                               Fixed                                          Points
                        Beam                                                    End
     Fig. 3: The flexural vibration mode shape of a second-mode free-      Fig. 5: The flexural vibration mode shape of a third-mode free-free
          free beam µresonator as simulated via ANSYS.                          beam µresonator as simulated via ANSYS.
 z                Support Beam
         y                                                               sional-mode quarter wavelength support beams at points inter-
                  Electrode                                              secting its four nodal lines. The ANSYS simulated mode shape
             x                                                           of the device is shown in Fig. 5. The device has three electrodes
                                                             Ws          underneath that can be phased accordingly in order to preferen-
         io                                                              tially excite the third vibration mode.
                              Lr
                        We2                                                III. HIGHER-MODE FREE-FREE BEAM RESONATOR DESIGN
                                                                  VP        The procedure for designing the higher-mode devices of this
                 We1                                                     work involves: (1) selection of resonator beam dimensions for a
                                                                         desired center frequency; (2) determination of the support beam
                                                                         dimensions and free-free beam attachment locations that mini-
                                              vi                         mize anchor loss-induced Q degradation; and (3) proper elec-
                 Ls                                                      trode placement to excite higher modes and to achieve the
                        Wr                         Flexural-mode         desired input-to-output phase difference. Each step of this proce-
                                                     Node Point          dure is now discussed below.
     Anchor
     Fig. 4: Perspective-view schematic of a third-mode free-free beam   A. Resonator Beam Design
          µresonator.in a preferred bias and excitation configuration.      As with all micromechanical resonators, the center frequency
                                                                         of this free-free beam device is determined by its structural
trodes by three support beams designed with dimensions corre-            material properties and by its dimensions: width Wr, thickness h,
sponding to a torsional quarter wavelength of the resonator              and the length Lr, all of which are indicated in Fig. 2. For practi-
center frequency and attached at precise nodal locations. Two            cal designs, the beam thickness h is set by fabrication process
separate electrodes are placed under the device at locations             limitations, and Wr has only a second-order influence on fre-
specifically chosen to excite its second flexural vibration              quency, leaving beam length Lr as the key design parameter to
mode, shown in Fig. 3. To operate this device, a DC bias VP is           set the resonance frequency. For the case of large Lr-to-Wr and
applied to the beam and an AC drive voltage vi is applied to             Lr-to-h ratios, the frequency of the nth vibration mode of a free-
one of the electrodes. These voltages then collectively create a         free beam can be determined using the Euler-Bernoulli equation,
time-varying electrostatic excitation force between the elec-            given by [7]
trode and the beam, in the vertical direction, and at the fre-
                                                                                                         1                              h
quency of the AC drive voltage if VP > vi. When the AC drive                              f nom = ----------------- ( β n L r ) 2 E
                                                                                                                                  --- -----2-               (1)
frequency matches the beam resonance frequency, the force                                         2π 12                           ρ   L   r
causes the beam to vibrate, which then results in a DC biased
                                                                         where E and ρ are the Young’s modulus and density of the struc-
time-varying capacitance at the output electrode, which in turn          tural material, respectively, h and Lr are as indicated in Fig. 2,
produces an output current io. It is also possible to excite the         and βn is the mode coefficient given by the nth root of the equa-
fundamental vibration mode of this device using the same elec-           tion [7]
trical configuration, but applying an AC drive voltage at the
frequency of the fundamental mode.                                                         cos ( β n L r ) cosh ( β n L r ) = 1 .                           (2)
  Figure 4 presents the perspective view schematic of a third-           For the first three modes β1Lr, β2Lr and β3Lr are 4.73, 7.853, and
mode free-free beam µresonator, also realized in this work. This         10.996, respectively.
device is similar to the second mode one except it is larger in            Again, the above closed-form Euler-Bernoulli equation is
beam length for the same frequency and is supported by four tor-         accurate only for lower frequency resonators with large Lr-to-Wr
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and Lr-to-h ratios. For upper VHF frequency designs, for which                               Static Beam                                                                                Node Points
Lr begins to approach h, Euler-Bernoulli theory loses its accu-                                                                              Mode Shape
                                                                                             Shape
racy, since it ignores the effects of shearing displacements and
rotary inertia. When these effects are important, more complex
frequency equations based on Timoshenko theory provide much
better accuracy [5]. Thus, the dimensions required to achieve a                             Electrode 1
resonance frequency fnom for a free-free beam with uniform                                                                                                                                       Electrode 2
cross-section operating in a symmetric mode (i.e., odd numbered
mode, such as the fundamental or the third mode) are best
obtained by solving the Timoshenko-derived equation [9]                                                                 y
                          β β         α2 + g2
                                                       - tanh α
                      tan --- + ---  -----------------       --- = 0               (3)                                     L11                 L12                 L21                   L22
                          2 α β2 – g 2                        2                                          0                                                                                             Lr

where                                                                                      Fig. 6: Cross-section of a second-mode free-free beam resonator, illus-
                                                                                                trating electrode placement, mode-shape, and node locations.
                                                     ρ
                              g 2 = ( 2πf o ) 2 L r2 --- ,                           (4)
                                                     E                                                         1000.0
                                                                                                                                            third mode                                        Data
                                                                                                                900.0
        α2    g2                                E 2 4L r hW r
                                                                   2                                                                                                                        h=2µm
                     +  1 + ------- +  1 + ------- + -------------------
                               E
            = ----- −                                                        - ,    (5)                        800.0                                                                       Wr=6µm
                             κG                 κG




                                                                                             Frequency [MHz]
        β2     2                                                g 2 Ir
                                                                                                                                                                                           E=150GPa
                                                                                                                700.0
                                                                                                                                            second mode                                   ρ=2300kg/m3
                                  E                               Wr h 3                                        600.0
                     G = -------------------- and I r = -------------                (6)
                         2( 1 + ν)                         12                                                   500.0
                                                                                                                                                      fundamental mode
                                                                                                                400.0
where G and ν are the shear modulus of elasticity and Poisson’s
ratio, respectively, of the structural material, Ir is the bending                                              300.0
moment of inertia, and κ is the shear-deflection coefficient. For a                                             200.0
rectangular cross-section, κ is 2/3. For antimetric modes (i.e.,                                                100.0
even numbered mode, such as the second or the fourth mode) the
                                                                                                                  0.0
frequency equation is [9]
                                                                                                                        10                 15                         20                    25           30
                          β α β2 – g2 
                                                      - tanh α
                      tan --- – ---  -----------------      --- = 0                 (7)                                      Resonator Beam Length (Lr) [µm]
                          2 β  α 2 + g 2                   2
                                                                                            Fig. 7: Simulated plots of frequency versus beam length for free-free
   The variable fnom represents the mechanical resonance fre-                                    beams operating in the fundamental, second, and third modes.
quency for the case of zero DC bias (i.e., VP=0) applied to the
resonator body. As described in the past literature [10], the reso-                        mode resonator (i.e, n=2); Ne is the total number of electrodes;
nance frequency of a capacitively-transduced beam is a function                            where the dependence of electrode-to-resonator gap spacing on y
of the DC-bias voltage VP applied to the resonator body, which                             (due to the DC-bias force) has been neglected [8]; and where it
effectively introduces an electrical spring stiffness that subtracts                       has been assumed that all electrodes, whether or not they hold
from the mechanical stiffness of the beam. The resonance fre-                              AC signals, are at DC ground.
quency fo of a free-free beam device including the effect of DC-                              The nth vibration mode shape of a free-free beam resonator
bias-derived electrical stiffness is given by                                              can be described by [7]
                                           ke                  1⁄2                                     Z mode ( y ) = cosh β n y + cos β n y – ξ [ sinh β n y + sin β n y ]                                  (11)
                          f o = f nom 1 – ------                                     (8)
                                          km
                                                                                           where
where <ke/km> is a parameter representing the effective electri-                                                                   cosh β n L r – cos β n L r
cal-to-mechanical stiffness ratio integrated over the electrodes,                                                              ξ = --------------------------------------------------                        (12)
                                                                                                                                    sinh β n L r – sin β n L r
given by
                                      Ne                                                   and where Zmode(y) is the z-directed displacement at location y.
                         k                  L i2 V 2 ε W                                   (See Fig. 2 for axis definitions.)
                        -----e- =    ∑∫
                                                     P o r
                                                                   - ( dy )
                                                 -------------------                 (9)
                        km                  L i1 d o3 k m ( y )                               Figure 7 presents simulated plots, using the above formula-
                                    i=1                                                    tions, of frequency versus beam length for free-free beam reso-
where εo is the permittivity in vacuum; do is the electrode-to-res-                        nators operating in the fundamental, second, and third modes. As
onator gap spacing; km(y) is the mechanical stiffness as a func-                           shown, at 100 MHz, operation in the third-mode allows the use
tion of location y on the µresonator beam [8], given by                                    of a 2.33X larger beam length than would be required for a beam
                                                                                           operating in the fundamental-mode, underscoring the advantages
                        k m ( y ) = [ 2πf nom ] 2 m r ( y )                         (10)   of higher-mode operation.
where mr(y) is the equivalent mass at a location y, to be given                            B. Support Structure Design
later; Li1 and Li2 are the start and end locations, respectively, of                          In order to maximize the Q of a given resonator design, the
the ith electrode of the device as illustrated in Fig. 6 for a second-                     couplings of resonator vibrations through its supports to its
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anchors, and finally, to substrate, must be minimized. To allevi-                                                                                   Resonator Beam
ate anchor losses due to translational motion of the resonator           (a)
beam, the higher-mode free-free beams of this work are sup-
ported by torsional-mode beams attached at node points of the
mode shape, where ideally no translational motion occurs. These
node locations, shown in Fig. 6 for a second-mode free-free
beam resonator, are specified via evaluation of (11).
                                                                                                                                                                               Electrode
   Although the attachment of support beams at nodal locations           Electrode
                                                                                                     vi                   ii                   ii                io
greatly reduces anchor losses due to translational motion of the
resonator beam itself, attachment alone cannot eliminate further
losses emanating from torsional motion of the support beams.
Losses from torsional motion are strategically prevented by                                                          Rx         Cx          Lx
                                                                         (b)
using support beam lengths corresponding to a quarter wave-
length of the operating frequency [5]. In principle, the use of                              +
quarter-wavelength support dimensions effectively transforms
the infinite acoustic impedance seen at the anchors to zero                                 vi                                  ii                                        io=ii
impedance at the resonator attachment locations. In effect, the                              –
resonator beam effectively “sees” no supports, and operates as if
virtually levitated, with ideally no losses through its supports.
The quarter-wavelength condition is met by choosing the dimen-          Fig. 8: (a) Cross-sectional view of a free-free beam µresonator
                                                                             vibrating in its second mode, indicating the directions of
sions of the torsional support beam to satisfy [12][13]                      motion above electrodes; and (b) its LCR equivalent circuit.
                                1 Gγ
                        L s = ------- --------                (13)                                                                                           Resonator Beam
                              4f o ρJ s                                  (a)
where Js is the polar moment of inertia, given by
                             ( h 2 + W s2 )
                       J s = ------------------------         (14)
                                      12
                                                                                                                                                                               Electrode
and γ is the torsion constant. For a rectangular cross-section with     Electrode
                                                                                                    vi                  ii                   ii                io
h/Ws = 1.75, γ is given by [13]
                                                                                                                                                                           io=−ii
                       γ = 0.214hW s3 .                       (15)
                                                                         (b)                                       Rx          Cx
                                                                                                                                          Lx
                                                                                                                                                                                 ii
   In practice, the utility of the above anchor-isolating design
strategies is subject to the finite precision to which support                            1:1                                                                      1:1
beams can be located and dimensioned. Section IV will present            +
measurements to quantify the degree to which finite process tol-         vi                                                     ii
erances compromise the effectiveness of the above strategies.
C. Electrode Design and Equivalent Circuit                                –
   In order to excite the correct mode of a higher-mode free-free
beam device, electrodes are situated underneath the resonator           Fig. 9: (a) Cross-sectional view of a free-free beam µresonator
and centered between each adjacent node pair, as illustrated for a           vibrating in its fundamental mode, indicating the direction of
                                                                             motion above electrodes; and (b) its LCR equivalent circuit.
vibrating second-mode device in Fig. 6. During second mode
resonance, shown in Fig. 8(a), the two underlying electrodes
couple electrostatically to resonator beam locations that move                                   k re m re               mre              η2
                                                                                                               - , L x = --------
                                                                                        Rx = -------------------                  , C   = ------e-                                    (16)
in opposite directions, allowing the input and output signals of                                  Qη e2                   η e2        x   k re
the device to be in phase at resonance (i.e., the output current io
is equal to the input current ii), thereby allowing the use of the    where kre and mre are the equivalent stiffness and mass at the
simple LCR equivalent circuit model shown in Fig. 8(b). When          centers of the electrodes obtained by evaluating [8]
the device is operated in its fundamental mode as in Fig. 9(a),
                                                                                                      Lr
the portions of the resonator located above the two electrodes
                                                                                    ρW r h ∫ [ Z mode ( y′ ) ] 2 ( dy′ )
move in the same direction causing input and output signals to                                       0
be out-of-phase (i.e., the output current io as defined is equal to     m r ( y ) = -----------------------------------------------------------------
                                                                                                                                                    - , k r ( y ) = ω o2 mr ( y )     (17)
                                                                                                      [ Z mode ( y ) ] 2
the inverse of input current –ii) at resonance. To model this
condition an inversely coupled transformer is added to the LCR        at y’s corresponding the centers of the electrodes; and ηe is the
circuit, as shown in Fig. 9(b).                                       electromechanical coupling factor, given by
   The values of the circuit elements can be determined by
appropriate impedance analyses. For the case of identical, purely                                            V P2 ( ε o W r ) 2 k re Z mode ( y )
symmetrical electrodes, each centered between nodal points of                   ηe =              ∫ ∫ --------------------------
                                                                                                                 d o4
                                                                                                                               - ------------- ----------------------- dy'dy
                                                                                                                                 k r ( y' ) Z mode ( y' )
                                                                                                                                                                                      (18)
the free-free beam, such an analysis yields [8]                                                L OU T L IN
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  (a)                 AA' cross-section                                                                                                    Anchors
                                                                                                         9.3µm
 Silicon     Electrodes                      Free-Free Beam
                                  do
 Nitride
                                                                                                         3.3µm                  28.4µm

                                                                             4.3µm
   Isolation Oxide
                                                                                                           1.2µm
   Silicon Substrate
                                                                                                                                     6µm
  (b)                 BB' cross-section
                                                                          Electrodes                                                  Ground Plane
    Support Beam        Free-Free Beam             Interconnect/
      Material              Material        do
                                                   Ground Plane
                                                                         Fig. 11:SEM of a fabricated 102 MHz third-mode free-free beam
                                                 2µm                          µresonator.

                                                                                                                              Design/Performance
                                                                                              -57                                             180
                                                                                                                              Lr=20.3µm, Wr=6µm
   Isolation Oxide                                                                                                            h=2.1µm, do=1030Å
                                                                                                                              We=3.5µm, VP=40V135
   Silicon Substrate                                                                          -60                                fo=101.3MHz
                                                                                                                                              90
                                                                                                                              Q=11,500, mode=2


                                                                          Transmission [dB]
  Fig. 10:Final cross-sections for a second-mode free-free beam




                                                                                                                                                       Phase [degree]
                                                                                                     Phase
       µresonator along the (a) AA' and (b) BB' lines defined in                              -63
                                                                                                                                               45
       Fig. 2.
                                                                                                                                               0
where LIN and LOUT are the regions specifying the start and end                               -66
coordinates of the input and output electrodes along the y-axis                                     Transmission                               -45
(similar to Fig. 6), respectively; and where the dependence of the
                                                                                                                                               -90
electrode-to-resonator gap spacing on y (due to the DC-bias                                   -69
force) has been neglected [8].                                                                                                                 -135
   The third-mode free-free beam resonator has an advantage
over the second mode in greater phase flexibility. In particular,                             -72                                               -180
since it has three electrodes, a third-mode resonator can achieve                               101.31           101.34      101.37        101.40
0o and 180o phase shifted outputs simultaneously. For example,                                                     Frequency [MHz]
when either one of the side electrodes is chosen as the input elec-      Fig. 12:Frequency response spectrum of a 101 MHz second-mode
trode, the output current at the middle electrode will have 0o                free-free beam µresonator.
phase while the output current at the other side electrode will
have 180o phase relative to the input voltage. The second-mode         made shortly, it should be noted that the resonators of Table I are
free-free beam has only two electrodes, so its input-to-output         not all from the same wafer. In particular, the 80 MHz resonators
phase difference is fixed at 0o, unless the input electrode is split   came from one wafer, while the 100 MHz resonators came from
(which would be detrimental, since it would decrease the elec-         another. These two wafers were fabricated alongside in the same
trode overlap area, hence, increase Rx).                               run, so their sacrificial-oxide layer and structural polysilicon
                                                                       film depositions were done simultaneously in the same LPCVD
                  IV. EXPERIMENTAL RESULTS                             tube. However, they were released using different etchant proce-
   Fundamental, second-, and third-mode free-free beam µme-            dures, which might explain how they ended up with different
chanical resonators with resonance frequencies ranging from            extracted [8] electrode-to-resonator gap spacings.
60 MHz to 100 MHz were designed and fabricated in POCl3                   For measurement and characterization, each resonator die was
doped polysilicon using a small-gap surface-micromachining             mounted on a printed circuit board and placed in a custom-built
process similar to those used for previous fundamental-mode            vacuum chamber. Electrical access to the circuit board was
free-free beams [5], except that dimples were not used in this         established via DC and coaxial feedthroughs through a metal
process. Final cross sections for a second-mode free-free beam         block that served as one of the vacuum chamber walls. A turbo-
µresonator along two different lines indicated in Fig. 2 are           molecular vacuum pump provided operating pressures down to
shown in Fig. 10 Figures 11 and 1 present SEM’s of fabricated          50µTorr, where viscous gas damping [14] is greatly suppressed,
101 MHz third-mode and a 102 MHz second-mode free-free                 allowing resonators under test to exhibit their maximum Q’s.
beam µresonators, respectively. Table I summarizes design and          Devices were measured using an HP8751A Network Analyzer
layout data (as well as measured data to be discussed) for funda-      and S-parameter test set.
mental, second-mode, and third-mode free-free beam resonators             Figure 12 presents the second mode frequency characteristics
for comparison purposes.                                               for the device of Fig. 1, measured using the excitation configura-
   Since resonator design and performance comparisons will be          tion of Fig. 2. The Q of the device is 11,500 at 101.3 MHz, and
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                                                  Table I: Higher-mode Free-free Beam Design And Performance Summary

                               Row                                                                                                 Vibration Mode
                                                   Parameter                    Source                                                                                  Unit
                               No.                                                           Fundamental                       Second        Second        Third
                                1                Target Frequency               design           80                              80            100          100         MHz
                                2           Resonator Beam Length, Lr           layout          14.3                            23.7          20.3          28.4        µm
                                3           Resonator Beam Width, Wr            layout            6                               6              6            6         µm
                                4            Support Beam Length, Ls            layout          12.3                            12.3            9.3          9.3        µm
                                5            Support Beam Width, Ws             layout           1.2                             1.2            1.2          1.2        µm
   Designed/Fabricated/Given




                                6              Node Location 1, Ln1             layout           3.3                             3.2            2.7          2.7        µm
                                7              Node Location 2, Ln2             layout          11.0                            11.9          10.1          10.0        µm
                                8              Node Location 3, Ln3             layout           —                              20.5           17.6         18.3        µm
                                9              Node Location 4, Ln4             layout           —                               —              —           25.7        µm
                               10         Polysilicon Film Thickness, h       measured           2.1                             2.1            2.1          2.1        µm
                               11       Effective Resonator Thickness, heff    adjusted         2.06                            2.06          1.98          2.01        µm
                               12               Electrode Width, We             layout           3.7                             4.6            3.5          —          µm
                               13           Side Electrode Width, We1           layout           —                               —              —            3.3        µm
                               14          Middle Electrode Width, We2          layout           —                               —              —            4.3        µm
                               15    Physical Resonator-to-Electrode Gap, do  measured          1030                            1030          1030          1030         Å
                               16              Young’s Modulus, E             measured           150                            150            150          150         GPa
                               17                 Poisson Ratio, ν                [11]         0.226                           0.226          0.226        0.226         —
                               18             Measured Frequency, fo          measured          79.0                            78.5         101.3         102.1        MHz
   Measured




                               19          Measured Quality Factor, Q         measured         13,240                          15,050        11,500        4,590         —
                               20         VP used in measurement, VPm         measured           16                              16             40           40          V
                               21        Measured Series Resistance, Rx       measured           45                              27             42           92         kΩ
                               22      Timoshenko Frequency, fo (VP=VPm)      Eq. (3)-(8)      79.25                           78.49         101.24        102.15       MHz
                               23      Timoshenko Frequency, fo (VP=0V)       Eq. (3)-(8)      79.31                           78.54         101.33        102.25       MHz
   Analytical




                               24    Euler-Bernoulli Frequency, fo (VP=VPm)     Eq. (1)        83.56                           83.86         109.84        111.69       MHz
                               25     Euler-Bernoulli Frequency, fo (VP=0V)     Eq. (1)        83.62                           83.92         109.94        111.80       MHz
                               26        Calculated Series Resistance, Rx    Eq. (16)-(18)      39.7                            32.6          42.2          92.5        kΩ
                               27         Adjusted/Extrapolated Gap, do      Eq. (8)-(10)        750                            750           1030          925          Å

as expected, its input-to-output phase difference at resonance is                                                    -60                              Design/Performance
0o. The device has also been measured operating in its funda-                                                                                         Lr=20.3µm, Wr=6µm
mental mode yielding a Q of 9,850 at 39.2 MHz as shown in                                                                                             h=2.1µm, do=1030Å
Fig. 13. As predicted in Section III and verified in Fig. 13, when                                                   -66                              We=3.5µm, VP=36V -135
operating in its fundamental mode this device has a 180o input-                                                                                           fo=39.2MHz
to-output phase difference, caused by placement of the input and                                                                                       Q=9,850, mode=1
                                                                                                 Transmission [dB]




                                                                                                                                                                               Phase [degree]
output electrodes under portions of the beam that move in phase                                                      -72
during resonance. (To obtain an accurate phase response, the                                                                                                           -180
phase due to board parasitics was first measured with the resona-
tor’s input shorted to its output, then subtracted from the phase                                                          Phase
                                                                                                                     -78
response measured with the device present.)
                                                                                                                                                                       -225
   Figure 14 presents the measured frequency response of the
                                                                                                                     -84
third-mode resonator of Fig. 11, showing a Q of 4,980, and hav-
ing an input-to-output phase difference at resonance of 180o.                                                                      Transmission
The inverting phase shift is obtained by driving the resonator at
                                                                                                                     -90                                                -270
one of its end electrodes, and sensing at the other end electrode,
                                                                                                                       39.20     39.22        39.24    39.25        39.27
which is positioned under a portion of the resonator beam that
moves in phase with that over the drive electrode, as seen in the                                                                        Frequency [MHz]
excitation configuration of Fig. 4. This drive configuration also                                Fig. 13:Fundamental-mode frequency response spectrum of a
has the advantage of being able to excite all three modes of this                                     101 MHz second-mode free-free beam µresonator.
third-mode-designed device. In its first and second modes, this
device yields Q’s of 10,000 at 22 MHz (first mode) and 9,790 at                                53 MHz (second mode), respectively.
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                       -64                               Design/Performance
                                                                        -140                                          14000
                                                         Lr=28.4µm, Wr=6µm
                                  Phase                  h=2.1µm, do=1030Å                                            13000
                       -66                               We1=3.3µm, VP=40V
                                                            fo=102.1MHz -160                                          12000




                                                                                                 Quality Factor (Q)
                                                          Q=4,590, mode=3
   Transmission [dB]




                                                                               Phase [degree]
                                                                                                                      11000
                       -68

                                                                        -180                                          10000
                       -70   Transmission                                                                              9000

                                                                        -200                                           8000
                       -72
                                                                                                                       7000

                       -74                                              -220                                           6000
                         102.05           102.10      102.15        102.20                                                    2      3         4           5            6
                                            Frequency [MHz]
                                                                                                                                  Number of support beams
  Fig. 14:Frequency spectrum of a 102 MHz third-mode free-free
       beam µresonator.                                                                                                             Design Summary
                                                                                                                         Lr=23.7µm, Wr=6µm, h=2.1µm, do=1030Å
    Table I compares the measured free-free beam resonator data                                                             Ls=12.3µm, Ws=1.2µm, We=4.6µm,
in Figs. 12 and 14 with theoretical predictions calculated using
the equations of Section III, showing very good agreement for                                           Fig. 15:Measured Q vs. number of supports for second-mode free-
motional resistances and for Timoshenko-derived frequencies.                                                 free beam microresonators with three, four, and five supports
The two 100 MHz resonators of the table are most suited for a                                                attached at the nodal locations.
comparison of second and third-mode performances at the same                                    proper support beam location in setting the ultimate Q of a free-
frequency. Comparing these devices, the third mode Rx is seen to                                free beam resonator, Fig. 16(a) presents a measured plot of Q
be higher than that for the second mode, even though the                                        versus support beam-to-resonator attachment location L A
extracted gap do for the third-mode device is smaller. This rea-                                (defined in Fig. 16(b)) for several 82 MHz fundamental-mode
son for this stems from (1) the lower Q of the third-mode, for                                  free-free beam µmechanical resonators with varying LA’s. The
reasons to be discussed; and (2) the electrode bias and excitation                              SEM of one of the resonators used for this measurement is
configuration used to measure the third-mode device. In particu-                                shown in Fig. 16(c). A strong dependence on the attachment
lar, the middle electrode of the third-mode device was not used                                 location is seen, where the Q is maximized at 14,000 when the
to excite or sense the device, which reduced the total available                                support beam center coincides with the theoretical nodal loca-
drive/sense electrode area below what was possible.                                             tion, and where attachment at a location just 0.6 µm away from
    The ~80 MHz devices of Table I allow comparison of funda-                                   the theoretical node results in a 7X decrease in the Q. Fortu-
mental and second-mode resonator performance at the same fre-                                   nately, since all structural geometries are determined in a single
quency. Here, the Rx for the second-mode 80 MHz design is seen                                  masking step for the vertical free-free beam designs of this work,
to be 1.67X lower than that for the fundamental-mode 80 MHz                                     support beam attachments at nodal locations can be very pre-
design, which verifies the prediction that the larger electrode                                 cisely specified via CAD layout, greatly facilitating the ability to
area afforded by the second mode device helps to drive down the                                 achieve high Q. Not only is Q maximized when the support
Rx. The higher Q of the second-mode device also contributes to                                  beams are attached exactly at the node locations, but the mea-
its lower Rx.                                                                                   sured resonance frequency of the resonator matches Timoshenko
A. Q Versus Number of Supports                                                                  theory only for this case, further stressing the importance of
    The observance of slightly higher Q in the second mode                                      exact support beam attachment.
design than the fundamental seems to be tied to the use of fewer
support beams in the former, which suggests that vibrational                                    C. Dependence of Q on Quarter-Wavelength Support Design
energy losses to the substrate can be minimized by using fewer                                     As discussed in Section III, the beams supporting each of the
supports, hence, providing fewer energy-loss paths. To verify the                               resonators measured thus far were not only attached to the nodal
dependence of Q on number of attached supports, Fig. 15 pre-                                    points of their respective free-free beams, but were also designed
sents a plot of measured Q’s for 79.9 MHz second-mode free-                                     with beam lengths corresponding to a quarter wavelength of the
free beam resonators with three, four and five supports attached                                operating frequency, with the intent of better isolating the reso-
at nodal locations. Here, the Q clearly decreases with an increas-                              nator from energy losses through torsional vibrations. To investi-
ing number of supports, suggesting that free-free beam resona-                                  gate the degree to which quarter wavelength support design is
tors with the highest Q are best achieved with fewer supports.                                  really needed, Fig. 17 presents a measured plot of Q versus sup-
B. Dependence of Q on Support Beam Attachment Location                                          port beam length (Ls, defined in Fig. 2) for several 60 MHz fun-
    The high Q’s of the free-free beam devices of this work arise                               damental-mode free-free beam µmechanical resonators with
largely due precise placement of support beams at nodal loca-                                   varying Ls’s. As expected, quarter-wavelength design does yield
tions to eliminate anchor losses. To quantify the importance of                                 the highest Q. However, devices with support beam lengths
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 (a) 16000                                                                                                                              18000                                          68
                                                                                     86                                                                   Quality Factor
                                                      Quality Factor                                                                    16000
                       14000                                                                                                                                                           66




                                                                                                                   Quality Factor (Q)
                                                                                     85
                                                                                                                                        14000




                                                                                                                                                                                            Frequency [MHz]
                       12000
  Quality Factor (Q)




                                                                                            Frequency [MHz]
                                                                                                                                        12000                                          64
                       10000                                                         84
                       8000                                                                                                             10000                   Quarter wavelength
                                                                                                                                                                                       62
                                                                                                                                                                   (Ls=16.5µm)
                       6000                                            Frequency     83
                                                                                                                                        8000
                                                                                                                                                                                       60
                       4000                                                                                                             6000
                                                                                     82                                                             Frequency
                       2000
                                                                                                                                        4000                                           58
                                         Theoretical Frequency
                          0                                                           81                                                        0         5        10      15     20
                               2.7     2.9      3.1     3.3      3.5      3.7      3.9                                                          Support Beam Length (LS) [µm]
                                         Support Beam Attachment                                                                                     Design Summary
                                            Location (L A ) [µm]                                                                          Lr=16.5µm, Wr=8µm, h=2.1µm, do=1150Å
                                                                                                                                              Ws=1.0µm, We=4.1µm, mode=1
                           Node                         Mode Shape
  (b)                                                                              Static
                           Point                                                   State                        Fig. 17:Measured plots of quality factor and resonance frequency
                                                                                                                     vs. support beam length (Ls) for 60 MHz fundamental-mode
                                                                                                                     free-free beam µresonators.
                                                                                      Node
                                                 Support Beam                         Point
                                 LA          Attachment Locations          LA

                               Torsional Mode                 Ground Plane/                                    Torsional Mode                                       Ls=4.5µm
  (c)                                                                                                          Support Beam
                                Support Beam                  Sense Electrode                                                                                                   Anchor

                                                          6µm
                                                                                Electrode                                                                         16.5µm

                                                               14.3µm
                                     12.3µm

                                                                                                                  Free-Free Beam                                                Electrode
                                                              1.2µm
                                     Free-Free
                                     Beam                                                                       Fig. 18:SEM of a 60 MHz free-free beam with short support
                                                              Anchor                                                 beams.

 Fig. 16:(a) Measured Q versus support beam attachment location                                               ature measurements for second- and fundamental-mode free-free
      (LA) for 82 MHz fundamental-mode free-free beam µresona-                                                beam µmechanical resonators. The temperature dependencies
      tors with varying LA’s; (b) cross-sectional view of a fundamen-                                         for these resonators are similar, with extracted TCf ’s (tempera-
      tal-mode free-free beam µresonator indicating support beam                                              ture coefficients of frequency) of −13.1 ppm/oC in the second
      attachment locations (LA); and (c) SEM of one of the 82 MHz                                             mode and −12.9 ppm/oC in the fundamental mode. It should be
      fundamental-mode free-free beam µresonators used for this
      measurement.                                                                                            noted that the linear dependence of frequency on temperature
                                                                                                              observed in Fig. 19 should be easier to compensate out than the
shorter than quarter-wavelength, such as depicted in Fig. 18, still                                           nonlinear characteristics often seen in macroscopic resonator
retain more than 87% of the maximum Q value attained with                                                     counterparts, perhaps, giving the free-free beam µmechanical
quarter-wavelength supports. Given that devices with shorter                                                  resonators of this work an advantage in applications where tem-
support beams can sustain much higher DC-bias voltages with-                                                  perature-compensation of thermal dependencies is sufficient.
out pulling in, and thus, can potentially achieve much smaller
series motional resistances Rx, the fact that only a small reduc-                                             E. Operation in Air
tion in Q is experienced when quarter-wavelength support                                                         Up to this point, all of the measured curves shown in this
dimensions are not used encourages the use of short support                                                   paper were done so under 50µTorr vacuum, with the intent of
beams in future free-free beam resonator designs.                                                             eliminating viscous gas damping mechanism so as to accentuate
                                                                                                              Q-limiting mechanisms associated with support beam design.
D. Temperature Dependence                                                                                     However, due their high stiffness, the VHF free-free beam reso-
  Figure 19 presents a plot comparing the frequency vs. temper-                                               nators of this work operate with internal energies per cycle much
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                  0                                                                             -70
                                                                                                                  Q = 1,657     Measured
                -200
                                                                                                -75                               Under
                                       TCf=−12.9 ppm/oC                                                                        Atmospheric
                -400
                                                                                                -80                             Pressure
  ∆f/fo [ppm]




                                                                           Transmission [dB]
                -600
                                                                                                -85
                -800
                       TCf=−13.1 ppm/oC                                                         -90
           -1000
                                                                                                                           Design/Performance
                                                                                                -95                        Lr=16.5µm, Wr=8µm
           -1200              Second-mode
                                                                                                                           h=2.1µm, do=1150Å
                              Fundamental-mode                                                                             Ls=4.4µm, VP=65V,
           -1400                                                                               -100
                                                                                                                              fo=63.29MHz
                300     320    340   360      380   400    420                                                              Q=1,657, mode=1
                              Temperature [oK]                                                 -105
                                                                                                  62.88   63.08        63.28        63.48       63.68
  Fig. 19:Measured frequency vs. temperature plots for second- and
       fundamental-mode free-free beam resonators.                                                                Frequency [MHz]
                                                                          Fig. 20: Frequency characteristic of a 63 MHz fundamental-mode free-
higher than the energy losses per cycle afforded by viscous gas                free beam µresonator measured under atmospheric pressure.
damping. As such, the resonators of this work actually do not
require vacuum to attain reasonably high Q’s. To illustrate,                  Vibrating Micromechanical Signal Processors,” Dig. of Papers,
                                                                              Topical Mtg on Silicon Monolithic IC’s in RF Systems, Sept. 12-
Fig. 20 presents the frequency characteristic for a 63 MHz fun-               14, 2001, pp. 23-32.
damental-mode free-free beam micromechanical resonator mea-              [2] J. H. Smith, S. Montague, J. J. Sniegowski, J. R. Murray, et al.,
sured under atmospheric pressure, yet still showing a Q of 1,657,             “Embedded micromechanical devices for the monolithic integra-
which is still plenty for use in IF communication applications.               tion of MEMS with CMOS,” Tech. Digest, IEEE Int. Electron
This removal of the requirement for vacuum by stiff micron-                   Devices Meeting (IEDM), Washington, D.C., Dec. 10-13, 1995,
scale (as opposed to nano-scale) micromechanical resonators has               pp. 609-612.
enormous implications, as it allows a substantial reduction in the       [3] A. E. Franke, D. Bilic, D. T. Chang, P. T. Jones, T.-J. King, R. T.
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                                                                              Conf. on Solid-State Sensors & Actuators (Transducers’01),
been demonstrated at frequencies around 100 MHz. Of the two                   Munich, Germany, June 10-14, 2001, pp. 992-995.
designs, the second-mode is perhaps the optimal for free-free            [5] K. Wang, Ark-Chew Wong, and C. T.-C. Nguyen, “VHF Free-
beam µresonators, since its larger device size gives it better lin-           Free Beam High-Q Micromechanical Resonators,” IEEE/ASME
earity and lower Rx than a fundamental-mode design at the same                J. Microelectromech. Syst., vol. 8, no. 4, pp. 534-557, Dec. 1999.
frequency, and its Q is larger and Rx smaller than a third-mode          [6] J. R. Vig and Y. Kim, “Noise in microelectromechanical system
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higher-mode free-free beam µresonators have a usage advantage                 46, no. 6, pp. 1558-1565, Nov. 1999.
over fundamental-mode counterparts in that they can provide 0o           [7] S. Timoshenko, Vibration Problems in Engineering, 4th ed. New
and 180o input-to-output phase flexibility, and thus, can enable              York: Wiley, 1974.
applications (e.g., oscillators, inverting filters) where phase flex-    [8] F. D. Bannon III, John R. Clark, and C. T.-C. Nguyen, “High-Q
                                                                              HF Microelectromechanical Filters,” IEEE J. Solid-State Circuits,
ibility can be beneficial. In addition, with the availability of short        vol. 35, no. 4, pp. 512-526, April 2000.
support beam design (which were shown in this paper to be                [9] W. Flugge, Handbook of Engineering Mechanics. New York:
almost as good as quarter-wavelength designs), second-mode                    Mc-Graw-Hill, 1962.
free-free beam resonators should now be designable with much             [10] H. Nathanson, W. E. Newell, R. A. Wickstrom, and J. R. Davis,
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IF, if not RF, wireless applications.                                         Devices, vol. ED-14, pp. 117-133, Mar. 1967.
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tion support. This work was supported by DARPA Grant No.                      Wiley, 1983.
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                                                                              ory and Problems, 3rd ed. Melbourne, FL: Krieger, 1958.
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[1] C. T.-C. Nguyen, “Transceiver Front-End Architectures Using               161, pp. 1320-1326, Sept. 1968.
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                         Exhibit A17
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               RF Channel-Select Micromechanical Disk
                   Filters—Part II: Demonstration
                          Mehmet Akgul, Member, IEEE, Alper Ozgurluk , Student Member, IEEE,
                                                 and Clark T.-C. Nguyen , Fellow, IEEE


    Abstract— This Part II of a two-paper sequence presents
fabrication and measurement results for a micromechanical disk-
based RF channel-select filter designed using the theory and
procedure of Part I. Successful demonstration of an actual filter
required several practical additions to an ideal design, including
the introduction of a 39-nm-gap capacitive transducer, voltage-
controlled frequency tuning electrodes, and a stress relieving
coupled array design, all of which combine to enable a 0.1%
bandwidth 223.4-MHz channel-select filter with only 2.7 dB of
in-band insertion loss and 50-dB rejection of out-of-band inter-
ferers. This amount of rejection is more than 23 dB better than
a previous capacitive-gap transduced filter design that did not
benefit from sub-50-nm gaps. It also comes in tandem with a
20-dB shape factor of 2.7 realized by a hierarchical mechanical
circuit design utilizing 206 micromechanical circuit elements, all
contained in an area footprint of only 600 µm × 420 µm. The
key to such low insertion loss for this tiny percent bandwidth is
 Q’s > 8800 supplied by polysilicon disk resonators employing
for the first time capacitive transducer gaps small enough to
generate coupling strengths of C x /Co ∼ 0.1%, which is a 6.1×                Fig. 1. Schematic description of the demonstrated second-order differen-
                                                                              tial filter, showing the electrical drive and sense measurement setup and
improvement over previous efforts. The filter structure utilizes
                                                                              emphasizing key features that make possible practical implementation of this
electrical tuning to correct frequency mismatches due to process              mechanical circuit.
variations, where a dc tuning voltage of 12.1 V improves the
filter insertion loss by 1.8 dB and yields the desired equiripple
passband shape. Measured filter performance, both in- and                        1) structural film stress, especially in-plane stress that
out-of-channel, compares well with predictions of an electrical                      might push resonators into their substrate-anchored
equivalent circuit that captures not only the ideal filter response,                 electrodes;
but also parasitic nonidealities that distort somewhat the filter
response.                                                                        2) parasitic trace resistance that might contribute significant
                                                                                     insertion loss and increase input to output feedthrough;
  Index Terms— Bandpass filter, coupling, feedthrough, fre-
                                                                                 3) finite fabrication tolerances that introduce frequency
quency tuning, insertion loss, MEMS resonator, microfabrication,
RF channel selection, small gap, spurious mode, stress control.                      variations, most importantly frequency mismatches
                                                                                     between identically designed resonators.
                                                                                 Pursuant to elucidating, understanding, and alleviating the
                         I. I NTRODUCTION
                                                                              impact of these and other nonidealities, this Part II paper

H      AVING presented a complete design procedure for fil-
       ters utilizing capacitive-gap transduced micromechanical
disk resonators in Part I of this two-part paper, Part II now
                                                                              demonstrates an actual polysilicon surface-micromachined fil-
                                                                              ter designed using the methods of Part I and summarized
                                                                              in Tables I and II. The demonstrated 223.4-MHz second-
turns to practical implementation issues. In particular, unlike               order Chebyshev filter, shown in Fig. 1, employs 206 reso-
the ideal filter covered in Part I, a real filter suffers nonide-             nant micromechanical elements to realize a channel-selecting
alities that if not circumvented can significantly compromise                 0.1% bandwidth while achieving only 2.7 dB of in-band
performance. Among the most important practical considera-                    insertion loss together with 50 dB of out-of-channel stopband
tions for the present design are as follows:                                  rejection [1]. This amount of rejection is 23 dB better than
  Manuscript received August 24, 2018; accepted November 20, 2018. Date       that of previous capacitive-gap transduced channel-select filter
of publication November 26, 2018; date of current version January 14, 2019.   efforts [2], and comes in tandem with a 20-dB shape factor
This work was supported in part by the Defense Advanced Research              of 2.7 commensurate with its use of two array-composite
Projects Agency’s (DARPA’s) Chip-Scale Spectrum Analyzer Program.
(Corresponding author: Clark T.-C. Nguyen.)                                   resonators. Capacitive transducer gaps scaled down to 39 nm
  M. Akgul is with Google Inc., Mountain View, CA 94043 USA.                  and a bias voltage of 14 V achieve sufficient single-resonator
  A. Ozgurluk and C. T.-C. Nguyen are with the Electrical Engineering and     transducer coupling strengths of C x /Co = 0.1% and a
Computer Sciences Department, University of California, Berkeley, CA 94720
USA (e-mail: ctnguyen@berkeley.edu).                                          low filter termination impedance of only 590 . As shown
  Digital Object Identifier 10.1109/TUFFC.2018.2883296                        in Fig. 1, the filter comprises 96 disks mechanically coupled
                      0885-3010 © 2018 IEEE. Personal use is permitted, but republication/redistribution requires IEEE permission.
                           See http://www.ieee.org/publications_standards/publications/rights/index.html for more information.
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                                                             TABLE I
                                       F ILTER P HYSICAL D ESIGN AND P ERFORMANCE S UMMARY
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                                                              TABLE II
                                                  F ILTER C IRCUIT D ESIGN S UMMARY




by 110 beams. The clearly discernable mechanically coupled          band rejection. Indeed, small gaps have greatly enhanced the
resonator arrays implement a design hierarchy reminiscent of        electromechanical coupling coefficients of the single disks
complex VLSI transistor circuits, but here used to achieve a        of [4] and [5].
complex MSI mechanical filter circuit [3].                             Unfortunately, going from a single resonator to an ensemble
   This paper begins by addressing each of the three practical      of mechanically linked ones introduces a yield loss mecha-
considerations enumerated above and describing defensive            nism that intensifies as gaps become smaller. In particular,
design solutions. These include electrodeless buffer devices        differences in substrate and structural material thermal expan-
that alleviate postfabrication stress to prevent undue disk-to-     sion coefficients generate strains when the temperature drops
electrode contact in Section II; thick conductive interconnect      from the structural material deposition temperature to room
layers that greatly reduce parasitic resistance, thereby reducing   temperature that effectively move certain resonators in the
insertion loss and increasing isolation, in Sections III and IV;    network relative to their electrodes. If strains are large enough,
and non input–output (I/O) devices specifically tasked to pro-      resonators can actually push into their electrodes, shorting the
vide voltage-controlled electrical stiffness frequency tuning to    two in a way that would debilitate the whole filter. Clearly, the
compensate for finite fabrication tolerances in Section V. After    problem becomes worse as electrode-to-resonator gap spacing
summarizing the demonstrated filter design in Section VI, this      shrinks.
paper proceeds to describe the fabrication process flow in             Fig. 2 illustrates the problem for the case of a linear array
Section VII, and then presents measurements that match well         of five identical 224-MHz polysilicon contour mode disk res-
to theoretical predictions in Section VIII.                         onators, each 3 μm thick with 12.1-μm radius, all coupled via
                                                                    half-wavelength extensional-mode beams. The 2-μm-diameter
                                                                    center stem anchors suspend each disk 0.5 μm above the
      II. D EFENSIVE D ESIGN AGAINST F ILM S TRESS                  substrate. Here, a stationary finite-element analysis (FEA)
   Part I of this study emphasized the importance of small          reveals that the strain in a string of half-wavelength coupled
electrode-to-resonator gaps that amplify the I/O electro-           disks under the typical (for polysilicon over silicon) 50 MPa of
mechanical coupling and directly contribute to large stop-          in-plane compressive stress translates to the end disks, leaving
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                                                                                  Fig. 3. Plot of FEA static analysis results for maximum static displacement
                                                                                  under four different structural film stress scenarios for the structure of Fig. 2.



Fig. 2. (a) Cross section of a linear disk array-composite under no stress.
(b) Same cross section but now with stress induced by faster thermal              displacements at the end disks increase much more abruptly
contraction of the substrate relative to the structure as the temperature falls   with increasing stress. An important takeaway from Fig. 3 is
from deposition to room temperature, where stem anchors moving with the           that a five-disk linear array (such as used in the demonstrated
structure exert stress on the array-composite structure. (c) Finite-element
stationary analysis result for a 1×5 polysilicon disk resonator array-composite   filter) cannot safely support 40-nm electrode-to-disk gaps if
under 50-MPa compressive stress. Each disk is substrate anchored at the center    post fabrication residual stress values rise above 1.5 GPa.
by a stem post 2 μm in diameter and connected to the adjacent disk by             Fortunately, well-designed deposition recipes provide stress
λ/2-long beams. The color-map legend indicates displacement in nanometers.
The x- and z-directed arrows in the zoomed-ins indicate lateral and vertical      levels below 200 MPa for the majority of useful micromachin-
displacements.                                                                    able materials, where 50 MPa is typical for properly annealed
                                                                                  polysilicon.
the inner disks relatively strain free. For the specific case of                      Interestingly, according to FEA simulation, the use of just
Fig. 2, the outer edges of the end disks move 5.1 nm along                        two buffer devices as in Fig. 3 is just as effective for much
the string axis, which is 2× larger than the maximum 2.6 nm                       larger arrays, as well. For example, a nine-disk array with two
experienced by the inner disks. This is fortuitous, indeed, and                   buffer devices incurs less than 1-nm increase in inner disk
suggests that gap-closing strains alleviate by merely employing                   movement over a five-disk one.
electrodeless buffer disks at the ends of any string of coupled                       The area penalty incurred when employing stress-relieving
disks. These buffering end disks absorb most of the strain,                       electrodeless buffer disks at the boundaries of each of the four
allowing the inner disks to sport electrodes spaced very close                    arrays is clear from Fig. 1, where the penalty amounts to a
to them with reasonable resilience against stress.                                50% increase in disk footprint over the electroded 4 × 4 array.
   To further quantify the permissible set of array lengths                       The penalty for doing this manifests in not only area, but also
as a function of residual stress, Fig. 3 plots the maximum                        electromechanical coupling, which reduces from the 0.128%
displacement experienced by each disk in five-disk linear                         it would have been without the buffer disks, to 0.074% with
array of Fig. 2 under four different residual stress conditions,                  the buffer disks, as predicted by (40) from Part I for the filter
with some much larger than the normal ∼50 MPa. The plot                           design presented in Table I. As will be seen in Section VIII,
more clearly illustrates how the inner disks experience very                      these encumbrances are well worth the yield enhancement
similar displacements that gradually increase with stress, while                  afforded via these buffer disks.
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                                                                                Fig. 5. Schematic description of dominant electrical feedthrough paths in a
Fig. 4.     Simulated frequency response spectra for a 225-MHz two-pole,        simple two-resonator filter.
i.e., two-resonator, 0.5-dB ripple, Chebyshev filter with 0.1% bandwidth, for
small and large values of pad capacitance.



                    III. I MPACT OF PARASITICS
                                                                                issue here is the need for an inductor, which whether on or off
   As with any microscale on-chip device, parasitic resistance
                                                                                chip, incurs undesirable cost increase. Still, this solution
and capacitance can impact the performance of a micro-
                                                                                makes good sense if that one inductor can resonate the shunt
mechanical filter, and their influence increases as frequency
                                                                                capacitance of many filters all at once, such as would be
increases. Of the two, resistance is perhaps the most control-
                                                                                possible for an RF channel-selecting bank of filters [6]. If only
lable, which is fortunate, since resistance can often serve as
                                                                                one filter, however, the use of an inductor to resonate out shunt
an effective knob with which to control capacitive parasitics.
                                                                                capacitance is not cost effective.
   The capacitive parasitics that most impact filter performance
                                                                                   Equation (1) suggests that an alternative solution that avoids
are shunt capacitance at the input and output terminals; and
                                                                                the need for an inductor is simply to increase the intrinsic Co
feedthrough capacitors that offer an alternative signal path for
                                                                                of the resonator relative to C p . Indeed, once Co dominates
input signals thereby competing with the filter path.
                                                                                over C p , the parasitic has much less influence. Perhaps the
                                                                                most effective way to do this is to decrease the electrode-to-
A. Shunt Parasitic Capacitance                                                  resonator gap spacing, since this raises C x faster than Co , rais-
   Part I described the importance of electromechanical cou-                    ing the overall (C x /Co ) while increasing immunity against C p .
pling (C x /Co ) to avoid passband distortion, where (C x /Co )                    If reducing gap spacing is not an option, however, then the
should be greater than the intended percent bandwidth by a                      next best solution is as shown in Fig. 1, where the use of
factor governed by the filter order, which in turn depends upon                 disk array composites increase the intrinsic Co and the C x at
the number of resonators used. Note that (39) from Part I for                   the same rate, keeping (C x /Co ) constant, while attenuating the
(C x /Co ) accounts for only the intrinsic electrode-to-resonator               effect of C p via (1). In the specific prototype demonstrated
overlap Co and not any parasitic capacitance. If additional                     here, ignoring for now the effect of buffer disks, the use
capacitance C p from parasitic sources adds to the intrinsic                    of 16 I/O disks in each quadrant array generates 800 fF of
value, the value of (C x /Co ) changes by the factor                            intrinsic Co , which now limits the reduction in (C x /Co ) to
                                                                            only 1.1×, yielding a (C x /Co )eff of 0.089%.
                  Cx              1         Cx
                          =                                   (1)                  Finally, another reasonable strategy to reduce C p is to
                  Co eff     1 + C p /Co Co                                     float the substrate, which would work best if the substrate
which could entail a significant reduction if Co is small                       were nonconductive. The prototype filter demonstrated here
compared with C p . For example, the 12.1-μm-radius disks                       actually takes this approach, i.e., does not ground the substrate.
used in the prototype of this work have shunt Co ’s of 47.4 fF.                 However, its substrate is not undoped, but rather lightly doped
If a single resonator were used as an input device, biased as                   with a resistivity of 8–12 ·cm. Although this does reduce
in Table I, then an 80 μm × 80 μm bond pad that alone                           shunt capacitance, it also introduces additional feedthrough,
adds 97.7 fF of shunt capacitance through the 500-nm nitride                    which can both distort the passband and reduce the stopband
and 2-μm oxide layers would reduce (C x /Co ) by 3×, from                       rejection. Use of a high resistance substrate would likely
0.1% to 0.034%. Fig. 4 illustrates via simulation the 4.8 dB                    have fared better. Obviously, this approach all but precludes
of additional passband distortion imposed by this bond pad                      integration over bulk CMOS. If integration over CMOS were
capacitance. This much distortion is generally not acceptable.                  available and desired, though, other approaches to suppressing
   One method to obviate shunt capacitance, whether parasitic                   shunt capacitance arise in tandem, such as ground plane
or intrinsic, is to resonate it out via an inductor. The obvious                bootstrapping.
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B. Feedthrough Parasitics
   Fig. 5 depicts the parasitic resistors and capacitors that most
impact the performance of a simple two-resonator filter. These
include the following:
   1) the physical resistors Rbias from the actual dc-bias
      voltage supply to the disk-to-electrode interfaces;
   2) the resistance Rλ/4 between the disks, mainly
      through the coupling beam;
   3) the electrode-to-resonator overlap capacitors, Co ; and
   4) the feedthrough path from input electrode to out-
      put electrode, which comprises the series combination
      of substrate capacitors Csub ’s, plus series resistance,
      as well as direct overhead capacitance C f between the
      electrodes.
Of particular concern are parasitic elements that permit electri-
                                                                     Fig. 6. Circuits for the parasitic paths of Fig. 5 hooked around the circuit for a
cal feedthrough of signals from input to output that effectively     properly terminated two-resonator filter with input source v in and output v out .
bypass the filter transfer function. Here, electrical feedthrough
can generate significant passband distortion and reduce out-
of-band rejection, thereby compromising the filter’s ability to      A. Case: Single-Ended Filter
eliminate out-of-channel blockers.
                                                                        Pursuant to this, Fig. 6 inserts the simple parasitic path
   Of the paths available for feedthrough in Fig. 5, three stand
                                                                     circuit of Fig. 5 into a properly terminated drive and sense
out as most troublesome.
                                                                     circuit with input source v in and output v out . From this circuit,
   1) Through-Structure Feedthrough (Path 1) starting at the         depending on the values of internal parasitic resistors Rbias
      input electrode, going through the input electrode-to-         and Rλ/4 , the amount of source signal v in traversing the
      disk capacitor, through the structure resistance (domi-        feedthrough path and appearing at the output becomes a strong
      nated by the coupling beam’s Rλ/4 ), and finally through       function of the value of R Q .
      the disk-to-output electrode overlap capacitor to the
      output electrode.
   2) Through-Substrate External Feedthrough (Path 2)                B. Suppressing Series External Feedthrough (Paths 2 and 3)
      going through the input electrode-to-substrate capac-             Simple inspection of circuit in Fig. 6 reveals that the
      itor, through the substrate resistance, and finally out        purely series feedthrough paths, i.e., paths 2 and 3, experience
      the substrate-to-output electrode capacitor to the output      greater attenuation with smaller values of R Q . In particular,
      electrode. Note that in a practical research design that       the transfer function for the overhead feedthrough path (path 3)
      allows interrogation via probe, or in a situation where        from v in to v out takes the form
      MEMS and other function dies connect via wire-bonds,
                                                                                             v out      j ω RQ C f
      bond pads can greatly increase the electrode-to-substrate                                    =                  .                            (2)
      capacitance.                                                                           v in    1 + j 2ω R Q C f
   3) Overhead External Feedthrough (Path 3) going from              Here, reducing R Q from 5 k to 50  would decrease the
      input to output through direct parasitic feedthrough           feedthrough level by 39.9 dB at 223 MHz for the case where
      capacitance, perhaps going over the structure itself. This     C f is 10 fF.
      component can be particularly important in situations             For the through substrate feedthrough path (path 2),
      where probe station probe tips or bond wires access the        the expression relating the voltage seen at v out to that at v in
      filter.                                                        takes the form
Insight on methods to suppress these feedthrough paths fol-                           v out           j ω R Q Csub
lows most readily from inspection and simulation of the                                     =                           .                          (3)
                                                                                      v in    2 + j ω(2R Q + Rsub )Csub
equivalent circuit modeling the filter and its parasitic elements.
                                                                        Again, a need to reduce R Q manifests, where reducing R Q
                                                                     from 5 k to 50  would decrease the feedthrough level
      IV. F ILTER E LECTRICAL E QUIVALENT C IRCUIT
                                                                     by 33.12 dB at 223 MHz for typical Csub and Rsub values
                W ITH PARASITIC E LEMENTS
                                                                     of 530.5 fF and 374.98 , respectively.
   Of course, the entire filter is more complex than the simple         Beyond this, consideration of the external feedthrough
two-resonator illustration of Fig. 5, as it contains arrays of       path 2 suggests that the magnitude of unwanted current in
disks and a fully differential structure. Unfortunately, com-        an asymmetric structure is best suppressed by shrinking bond
plexity like this can hide significant insight. In the interest      pads and increasing the isolation dielectric layer thickness
of gleaning maximum insight, it is instructive to tackle first       (see Fig. 13) to reduce capacitance from the I/O ports to the
the much simpler equivalent circuit of the two-resonator filter      substrate; and by raising the substrate resistance, perhaps by
in Fig. 5.                                                           using an undoped silicon substrate.
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                                                                                Fig. 8. (a) Schematic describing the current divider formed by dc-bias trace
                                                                                parasitic resistance and static electrode-disk overlap capacitors, where (b) very
                                                                                low trace resistance creates a sink for parasitic feedthrough current i f and
                                                                                increases filter rejection as desired. In contrast, (c) high trace resistance cannot
                                                                                effectively shunt electrical feedthrough, allowing it to leak to the output.


Fig. 7. Through structure feedthrough at 223 MHz versus the value of R Q for    source and the disk resonator effectively repels current, direct-
typical values of structural parasitic elements: Rbias = 5.85 , Rλ/4 = 10 ,
and Co = 648 fF (for a disk array).                                             ing it toward the output port instead of the dc-bias sink, as
                                                                                shown in Fig. 8(c), where it can mask the desired motional cur-
                                                                                rent of the device and limit the ultimate filter stopband rejec-
C. Suppressing Through-Structure Feedthrough (Path 1)                           tion. This justifies the added fabrication process complexity
                                                                                to achieve 3-μm-thick phosphorus doped polysilicon intercon-
    In Fig. 6, signals feeding through the structure itself first
                                                                                nect traces in this study, which are considerably thicker than
proceed through the input capacitance, then through a resistive
                                                                                the 300 nm of [2], so much more conductive. The 3-μm-thick
voltage divider comprised of the R Q , Rbias , and Rλ/4 resistors.
                                                                                interconnect of this work provides a sheet resistance on the
The element values of the resistors in this voltage divider
                                                                                order of 0.8 /, which is considerably smaller than the
largely determine how much signal shunts to ac ground
                                                                                21.3 / of previous 300-nm-thick traces. As will be seen,
(realized by dc-bias sources) and how much makes it to the
                                                                                this greatly improves the stopband rejection of the demon-
output. Assuming R Q is much larger than Rbias and Rλ/4 ,
                                                                                strated filter.
the expression relating the voltage seen at v out to that at v in is
                                                                                   Low parasitic trace resistance minimizes not only parasitic
 v out                                                                          feedthrough, but also parasitic Q loading of constituent res-
 v in ⎧                           ⎫⎧          ⎫                                 onators by resistive traces, thereby reducing insertion loss.
       ⎨ j ω R C 1 + Rλ/4 ⎬ ⎨ 1 ⎬                   j ω R Q Co                  Low interconnect resistance becomes especially important
               bias o       Rbias
   ≈                                                               .            as electrode-to-resonator gaps shrink to yield correspond-
       ⎩ 1 + j ω R Q Co 2 + Rλ/4 ⎭ ⎩ 1+ Rλ/4 ⎭ 1+ j ω R Q Co
                            Rbias       Rbias                                   ingly small resonator motional resistances that are more eas-
                                                                         (4)    ily loaded by the interconnect resistance. Disks operating
                                                                                in radial contour modes further derive more benefit than
   Equation (4) reveals that for cases where through-structure                  wine-glass counterparts from reduced parasitic trace resis-
feedthrough dominates over external paths, there is a worst                     tances, since the resonant motional currents for the former
case value of R Q where the transfer function of (4) peaks                      enter or leave both input and output electrodes in phase
(which of course is bad). Fig. 7 plots (4) at 223 MHz versus                    [7]. This makes them more susceptible to resistive loading
the value of R Q for typical values of structural parasitic                     from dc-bias lines, as well as from I/O lines, both of which
elements: Rbias = 5.85 , Rλ/4 = 10 , and Co = 648 fF                          degrade the resonator Q, with detrimental impact to filter
(for the demonstrated disk array). Here, the worst case value                   insertion loss.
of R Q is 1101 , at which the feedthrough level peaks to                          As mentioned, raising the structure resistance also reduces
−62.9 dB at 223 MHz. From the plot, when through-structure                      parasitic current feeding through the structure. In fact, making
feedthrough dominates over other paths, it is best to pick either               the coupling beams nonconductive, as done in [8], would
small or large values of R Q . This is fortuitous given that most               greatly suppress parasitic feedthrough. The benefits of doing
practical IF and RF applications prefer impedances on the                       this, however, need to outweigh its added process complexity.
smaller side, in the 50- to 500- range.
   Equation (4) further suggests that feedthrough plummets
when interconnect resistance, e.g., Rbias , is minimized while                  D. Case: Balanced Differential Filter
structure resistance, e.g., Rλ/4 , is maximized. As shown in                       Interestingly, the parasitic feedthrough that plagues the
Fig. 8(b), the Rbias resistors associated with dc-bias intercon-                single-ended filter example of Section IV-C attenuates dra-
nects effectively shunt to ground currents that would otherwise                 matically when the filter takes on a balanced topology with
feedthrough to the output. The smaller the value of Rbias , the                 differential I/O, as in Fig. 1. Here, balanced differential
larger the amount of current that takes the path toward the                     operation generates largely offsetting feedthrough currents at
dc-bias pads, and the less the parasitic current that reaches the               each output node that result in orders of magnitude reduction
output. In contrast, a high Rbias resistance between the dc-bias                in feedthrough versus the single-ended case.
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                                                                                   Fig. 10. Single-ended filter response alongside various feedthrough com-
                                                                                   ponents. (a) Ideal single-ended filter response with individual parasitic
                                                                                   feedthrough components. (b) Full filter responses as a function of the different
                                                                                   feedthrough mechanisms.
Fig. 9. Electrical equivalent circuit for a second-order differential microme-
chanical disk filter. This circuit improves upon the version presented in Part I
of this paper by introducing parasitic electrical feedthrough models as marked
in the highlighted rectangular areas. Here, the three dominant feedthrough         and condenses their equivalent circuits to that used for single
paths comprise feedthrough via coupling beams, via the substrate parasitic
capacitances, and via overhead capacitance. The “t” and “c” added to certain       resonators, but with element values augmented by the number
feedthrough element subscripts stand for “through” and “cross”, respectively.      of resonators used per the theory of Part I.
                                                                                      The efficacy by which balanced differential operation sup-
                                                                                   presses feedthrough is perhaps best gauged by comparison
   The degree of improvement is very clear upon simulation                         with the single-ended case. To this end, Fig. 10 uses the
of the equivalent circuit for the entire filter. To this end,                      top half of the circuit in Fig. 9 with values from the
Fig. 9 modifies the equivalent circuit of Fig. 24 from Part I to                   “Adjusted/Simulated” column of Tables I and II to simu-
explicitly include the most problematic parasitic paths, shown                     late the resulting single-ended filter response alongside the
boxed in Fig. 9. Here, resistors Rλ/4 model the resistance                         various feedthrough components described in this section.
across each of the quarter-wavelength coupling beams con-                          Fig. 10(a) specifically compares the ideal single-ended filter
necting left and right disk array composites in the top and                        response with individual parasitic feedthrough components,
bottom halves of the hierarchical structure. Meanwhile, resis-                     while Fig. 10(b) plots full filter responses as a function of
tors Rλ model resistive paths across the full-wavelength beams                     the different feedthrough mechanisms. The plot in Fig. 10(b)
coupling top and bottom array composites. Finally, resistors                       for the case where all feedthrough paths are present posts a
Rbias model the equivalent interconnect resistance from the                        rather meager stopband rejection of only −7.5 dB.
stems to the bias bond pads of the combined resonators in                             For comparison, Fig. 11 presents similar simulations, but
each of the four half-wavelength-coupled array composites.                         for the entire balanced differential filter circuit of Fig. 9,
   Due to their complex structure, parasitic contributions from                    applying a differential input and taking a differential output.
the disk array composites are distributed in nature, so are most                   The difference is night and day, where cancelation of parasitic
correctly modeled via circuit networks that mimic the intercon-                    feedthrough now permits a stopband rejection of −52.2 dB,
nection of all resistors and capacitors in their structures. Doing                 which is 44.7 dB better than the single-ended case.
so reveals that use of a 3-μm-thick doped polysilicon structure                       Clearly, the degree to which the Fig. 9 filter structure
together with 3-μm-thick doped polysilicon interconnect, such                      is truly symmetric dictates the achievable stopband rejec-
as demonstrated here, yields total parasitic resistance contribu-                  tion. Ultimately, despite layout symmetry, practical fabrication
tions from each array composite that are negligible compared                       mismatch limits the degree of symmetry attainable. With
with the resistance of the λ/4 and λ beams that couple them.                       stopband rejection as the gauge, Section VIII will show that
To unclutter the visual circuit, the model of Fig. 9 ignores the                   the fabrication process herein, together with voltage-controlled
distributed parasitic resistance of the disk array composites                      frequency tuning, allows for excellent symmetry.
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                                                                                      anced differential filter. In addition, an LNA following the
                                                                                      filter would need to have a differential input. As a whole,
                                                                                      however, balanced differential operation beyond the filter
                                                                                      will benefit an RF front-end from both noise and linearity
                                                                                      perspectives.

                                                                                                V. E LECTRICAL S TIFFNESS T UNING OF
                                                                                                      F REQUENCY M ISMATCHES
                                                                                         Small percent bandwidth filters present challenges in not
                                                                                      only insertion loss, but also yield and repeatability. Indeed,
                                                                                      the smaller the percent bandwidth, the smaller is the allowable
                                                                                      mismatch between resonators. For example, as illustrated by
                                                                                      the simulations of Fig. 12, 0.1% bandwidth requires resonator-
                                                                                      to-resonator frequency matching better than 50 ppm to limit
                                                                                      mismatch-derived passband ripple to less than 0.5 dB over the
                                                                                      designed 0.5 dB. So far, single disk resonators (such as used
                                                                                      in the arrays of this work) post frequency standard deviations
                                                                                      on the order of σ f,Single = 316 ppm [9], which is clearly
                                                                                      short of the requirement. For this reason, only a small number
                                                                                      of the mechanical filters fabricated in [2] actually exhibited
                                                                                      acceptable passband distortion. Yields of course must be much
                                                                                      higher for high volume production.
                                                                                         Reference [9] showed that mechanically coupled array com-
                                                                                      posites of resonators attain better matching than any one of
Fig. 11. Differential filter response alongside various feedthrough compo-                                                    √
nents. (a) Ideal differential filter response with individual parasitic feedthrough   their constituents by a factor equal to Ntot , where Ntot is the
components. (b) Full filter responses as a function of different feedthrough          total number of resonators in the array. Thus, the 48 resonators
mechanisms, showing superior performance relative to the single-ended case            (including non-I/O ones) used in each differential array com-
of Fig. 10(b).
                                                                                      posite pair of Fig. 1 should improve the 316 ppm standard
                                                                                      deviation by 6.9× to 45.7 ppm. This means that about 73%
                                                                                      of fabricated filters using the design of Fig. 1 should exhibit
                                                                                      acceptable passband distortion (defined here as <0.5 dB), with
                                                                                      no need for tuning. However, for the more desirable 95% yield,
                                                                                      the standard deviation would need to be about 25 ppm.
                                                                                         Ultimately, achieving 95% of 0.1% channel-select filters
                                                                                      with less than 0.5-dB passband distortion requires tuning.
                                                                                      The filter of Fig. 1 achieves this by dedicating some of the
                                                                                      resonators in each of its mechanically coupled arrays exclu-
                                                                                      sively for frequency tuning via voltage-controlled electrical
                                                                                      stiffness [10]. In this approach, application of a voltage across
                                                                                      an electrode-to-resonator gap generates an electric field that
                                                                                      varies as gap spacing changes, i.e., as the resonator displaces,
                                                                                      in turn, causing the electric force between electrode and
                                                                                      resonator to vary in-phase with the change in gap spacing.
                                                                                      Any force proportional to and in phase with displacement is,
                                                                                      of course, a stiffness, in this case taking the form
                                                                                                                   V P2 j ∂C
                                                                                                                               2
                                                                                                         ηej
                                                                                                          2
                                                                                                                          ∂x   j       εo Aoj V P2 j
                                                                                                 kej =         =                   =        3
                                                                                                                                                       (5)
                                                                                                         Coj          Coj                  doj
Fig. 12. Simulated frequency response spectra for a 225-MHz three-pole,               where kej is the electrical stiffness generated at port j , and
i.e., three-resonator, 0.5-dB ripple, Chebyshev filter with 0.1% bandwidth, for       ηej , Coj , Aoj , V P j = V P − V j , and doj are the electro-
different amounts of resonator-to-resonator mismatching. For each mismatch
case, adjacent resonators experience the indicated frequency deviation in             mechanical coupling factor, overlap capacitance, overlap area,
opposite directions to simulate the worst-case mismatch scenario.                     voltage drop, and spacing, respectively, across the electrode-
                                                                                      to-resonator gap of that port.
  It is worth noting that use of a balanced differential filter at                       Although in the demonstrated design of Fig. 1, only four
an RF front-end might incur some changes from conventional                            resonators out of the 48 in each differential array composite
hookups. For example, a balun might now be necessary to                               possess tuning electrodes, any resonator with a voltage across
go from a single-ended antenna to the input of this bal-                              its electrode-to-resonator gap contributes to the total effective
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electrical stiffness. This includes the 28 I/O resonators in each      the array-composite frequency from ωoinom , while a negative
differential array composite. Taking this into consideration,          one raises its frequency. In other words, the bias and tuning
the total frequency-pulling strength of the electrical stiffness       scheme of Fig. 1 provides both upward and downward tuning.
imposed on the i th differential array composite of Fig. 1 using          In addition to standard deviation advantages already men-
identical disks and electrodes takes the form                          tioned, the use of disk array composites provides a flexibil-
                                                                      ity in electrode usage not available with single resonators.
                      2Ntot km − ke1 − ke2 − · · · − kej
           ωoi =                                                       In particular, the ability to dedicate some disks for tuning
                                  2Ntot m m                            and others for I/O effectively allows frequency tuning without
                              2Ne                                    simultaneously affecting I/O transducer efficiency, i.e., without
                                  j =0 k ej
                 = ωoim 1 −                                   (6)      affecting device impedance. This decoupling of tuning and I/O
                                2Ntot km                               impedance is an important advantage that allows translation
where ωoi is the radian resonance frequency of the i th differ-        of a bandpass filter’s center frequency while maintaining a
ential array composite including electrical effects; Ntot is the       constant bandwidth—something not easily achievable by the
total number of disk resonators in a quadrant of the differential      majority of tunable LC and piezoelectric resonator filters that
array-composite, which then has 2Ntot disks; Ne is the total           employ varactors for tuning [11], [12].
number of electrode-equipped resonators in a quadrant; km and             The main drawback to separation of tuning and I/O res-
m m are the purely mechanical stiffness and mass, respectively,        onators is the compromise in transducer strength. Specifically,
of each single disk in the array, and ωoim is the purely               the impact of converting an I/O resonator to a tuning one is not
mechanical radian resonance frequency, i.e., with no voltages          just the loss of an I/O electrode, but also the addition of the
applied, given by                                                      stiffness of a non-I/O resonator to the total array-composite
                                                                     stiffness, which then further degrades the electromechani-
                          2Ntot km        km                           cal coupling (C x /Co ). When also factoring in the need for
                ωoim =               =       .               (7)
                          2Ntot m m      mm                            stress buffering devices, the (C x /Co )prac of a practical array-
   Again, only a subset of the electrodes serve as frequency           composite equipped with buffer and tuning electrodes reduces
                                                                       from that of an ideal array (where all resonators participate in
tuners; the rest connect to the input–output ports. Assuming an
                                                                       I/O) by the factor
applied voltage scheme as in Fig. 1, where the movable struc-
ture holds a voltage V P , all I/O electrodes are at dc ground, and                   (C x /Co )prac         Nio
                                                                                                      =                             (11)
all tuning electrodes at VT , and further assuming that all disks                     (C x /Co )ideal   Nio + Nb + Nt
and electrodes are identical (so dropping the j subscripts),
                                                                       where Nb is the number of buffer resonators used. Clearly,
whether they be I/O or tuning, (6) becomes
                                                                      to retain maximum electromechanical coupling, one should
                     Nio V P2 ∂C        Nt (V P − VT )2 ( ∂C
                                   2                                   limit the number of tuning electrodes to as few as needed to
                                                          ∂x )
                                                               2
                               ∂x
 ωoi = ωoim 1 −                      −                                 overcome the absolute and mismatch frequency tolerances of
                      Ntot km Co              Ntot km Co
                                                                      the prescribed manufacturing process.
                     Ne εo Ao 2          Nt εo Ao                         To this end, the normalized frequency excursion f pro-
      = ωoim 1 −            3
                                  VP −              VT (VT − 2V P )
                     Ntot do km         Ntot do3 km                    vided by reasonably sized tuning voltages is important. The
                                                                 (8)   expression for this follows readily from algebraic manipulation
                                                                       of (9) and takes the form
where Nio is the number of I/O electrodes in a quadrant
                                                                                    ωoinom − ωoi   Nt εo Ao
and Nt is the number of tuning electrodes in a quadrant.                      f =                ≈              VT (VT − 2V P ). (12)
To better isolate the influence of the tuning voltage VT , it is                       ωoinom      Ntot 2do3 km
often useful to define a nominal resonance frequency equal             To ensure sufficient tuning range to correct for worst case
to the frequency of a differential array without the influence         fabrication mismatch scenarios, a filter designer should choose
of tuning electrodes. For the case of Fig. 1, where without            variables in Table I to satisfy
VT ’s all electrode-to-resonator gaps sustain V P , the nominal                                        σsingle
resonance frequency of array composite i is                                                      f ≥ √                            (13)
                                                                                                      2N tot
                                  Ne εo Ao 2
             ωoinom ≈ ωoim 1 −                V              (9)       where σsingle is the frequency standard deviation for single
                                  Ntot 2do3 km P                       constituent√resonators in the given manufacturing process, and
which holds when the electrical stiffness due to V P is much           where the 2Ntot term accounts for the reduction in resonance
smaller than the pure mechanical stiffness of the array Ntot km .      frequency standard deviation when arraying [9].
The tuned resonance frequency then takes the form                         As illustrated in Fig. 1, each quadrant in each differential
                                                                       array-composite in the filter demonstrated herein dedicates
                            Nt εo Ao
      ωoi ≈ ωoinom 1 −                   VT (VT − 2V P )       (10)    Nt = 2 of its Ntot = 24 resonators for frequency tuning
                            Ntot 2do3 km                               and Nb = 8 for stress buffering. Using (12), this resonator
which again holds when the amount of frequency tuning is               utilization scheme with values from Table I yields a frequency
very small, e.g., less than 1%, which will be the case, here.          pull of 30.2 ppm for a 4 V change in VT , This is sufficient to
From (10), provided VT > 0, a positive VT − 2V P reduces               reduce the 45.7-ppm frequency standard deviation expected for
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                                                                                    curves using the circuit in Fig. 9 to the measured ones (more
                                                                                    on this in Section VIII).

                                                                                             VII. D ISK F ILTER FABRICATION P ROCESS
                                                                                       Pursuant to verifying the overall design strategy detailed in
                                                                                    Part I of this study, the polysilicon vibrating disk filters of
                                                                                    this work were fabricated using a five mask process similar
                                                                                    to that of [13] with the cross sections of major process steps
                                                                                    presented in Fig. 13. Given the degrading impact of stress and
                                                                                    electrical parasitics outlined in Sections II–IV, the fabrication
                                                                                    process employs modifications to the conventional polysilicon
                                                                                    surface-micromachining process of [13] to mitigate these
                                                                                    effects. In particular, it does the following.
                                                                                       1) Increases the thickness of the doped polysilicon
                                                                                           interconnect to reduce interconnect resistance from
                                                                                           21.3 / at the conventional 300-nm-thick to 0.8 /
                                                                                           at the new 3-μm-thick.
                                                                                       2) Employs a generous amount of chemical mechanical
                                                                                           polishing (CMP) to eliminate topography during align-
Fig. 13. Cross sections describing disk filter fabrication process flow after
(a) patterning interconnect and depositing bottom sacrificial oxide, (b) deposit-
                                                                                           ment and lithography steps to reduce variance.
ing structural polysilicon over the stem opening followed by structural layer       The process flow now follows.
etch using an oxide hard mask and sidewall sacrificial oxide deposition,
(c) opening electrode anchors then filling with doped polysilicon and pat-
terning to form electrodes, and (d) fully released resonator.                       A. Fabrication Process Flow Description
                                                                                       The process starts on 6 blank Si wafers with successive
                                                                                    LPCVD depositions of 2-μm LTO and 500-nm low-stress
a 48-resonator array-composite down to the 25 ppm needed to                         silicon nitride at 450 °C and 835 °C, respectively, to serve
constrain mismatch-induced ripple to less than 0.5 dB over a                        as electrical isolation layers; followed by 3 μm of LPCVD
designed 0.5 dB for 95% of fabricated 0.1% bandwidth filters.                       polysilicon deposited at 590 °C for 8 h, then doped via POCl3
                                                                                    at 1000 °C. Lithography via a first mask and subsequent deep-
      VI. D ESIGN PARAMETERS FOR THE FABRICATED                                     reactive ion etching using an SF6 chemistry then delineates
               224 MH Z , 0.1% BANDWIDTH                                            the interconnect layer, which again due to its much greater
                C HANNEL -S ELECT F ILTER                                           thickness than previous processes, offers 0.8 / sheet resis-
   The “Design” columns of Tables I and II present                                  tance. A 3.5-μm-thick HTO layer is then blanket deposited
the result of applying the step-by-step filter design pro-                          via LPCVD at 920 °C to not only cover the polysilicon, but
cedure and equations derived in Part I of this paper                                also to uniformly fill spaces between polysilicon interconnect
toward realization of a 224-MHz differential coupled disk                           traces. The CMP step that follows grinds away oxide until it
resonator filter using the topology of Fig. 1 with a                                selectively stops on the polysilicon traces, leaving a flat surface
bandwidth B = 224 kHz (i.e., 0.1%) and sub-1-k                                     composed of oxide and polysilicon interconnect regions. This
termination resistors. The resulting mechanical circuit                             CMP step eliminates the high topography created by the
employs 96 resonators among 206 resonant elements. The                              3-μm-thick interconnect routing, and in doing so, facilitates
design assumes fabrication via the polysilicon surface-                             subsequent lithography and etch steps, as well as prevents rip-
micromachining process flow described in Section VII with a                         ples in the structural resonator film to follow. Next, a blanket
minimum resolvable critical dimension of wc,min = 1 μm. It                          500-nm-thick LTO film deposited via LPCVD at 450 °C serves
also assumes material properties from past experience, specif-                      as a bottom sacrificial oxide layer (underlying eventual disks)
ically E = 158 GPa, ρ = 2300 kg/m3, and σ = 0.226, for the                          with a uniform thickness over the flattened wafer surface,
Young’s modulus, density, and Poisson ratio, respectively.                          as depicted in Fig. 13(a). Circular stem openings with 2 μm
   The end result of the design procedure comprises not only                        diameter are then lithographically defined and etched into the
all relevant geometric dimensions, but also the resulting ele-                      oxide film with the polysilicon interconnect serving as the
ment values for the electrical equivalent model of Fig. 9 sum-                      etch stop.
marized in Table II. In each table, the variables under the                            LPCVD deposition of 3-μm-thick structural polysilicon at
column labeled “Design” indicate the initial design goals                           590 °C (followed by POCl3 doping at 1000 °C) then covers
assumed during device layout, while values under the column                         the wafer and refills the stem openings etched in the previous
labeled “Measured” provide the actual measured data obtained                        step to form the anchor posts of the disk resonators. These
either directly from measured plots or curve-fit to data sets                       mechanical anchors support the disk resonators at their very
from the fabricated filter structure. The “Adjusted/Simulated”                      centers, which correspond to the contour mode vibration nodal
column provides values used in simulation and shows in                              points, while also connecting the electrically conductive disk
boldface parameters introduced or adjusted to match simulated                       structures to the underlying interconnect layer. A following
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LPCVD deposition at 450 °C of 1.2-μm-thick oxide then
establishes a hard mask layer to be used when etching the
thick structural polysilicon. Following a lithography step to
delineate the disk structures and coupling beams that form
the mechanical filter, RIE using an Ar:CHF3 :CF4 chemistry
transfers the filter structure pattern into the oxide hard mask.
Any photoresist remaining above the oxide is then removed
to avoid polymer formation and photoresist redeposition on
the etch sidewall during the following structural polysilicon
etch step.
   The next step—etching the structural material—is vital
to many aspects of device performance, from its resonance
frequency to its Q to its repeatability. Indeed, etch under-
cut and smoothness both impact the resonance frequency
and its repeatability. The smoothness and straightness of
etched structural sidewalls further determine whether or not
the desired mode shape ensues, which if not, degrades the
achievable Q, especially if the resulting mode shape exhibits
vertical motion that pumps energy through the anchor to the
substrate. To ensure adequate smoothness and a sidewall angle
as close to 90° as possible, exhaustive etch recipe charac-
terization yielded an optimal Lam TCP 9400SE polysilicon
RIE etch recipe using gas flow rates of 140 sccm of HBr,
14 sccm of Cl2 , and 5 sccm of O2 at 12-mTorr pressure with
                                                                    Fig. 14. SEM image of a fabricated and released second-order differential
250- and 75-W RF and wafer bias powers, respectively. This          filter described schematically in Fig. 1. Zoomed-in view of one of the
recipe etches polysilicon at a rate of 220 nm/min with a            constituent disk resonator building blocks (left inset). Tiny (39 nm) capacitive
polysilicon to oxide etch selectivity of 16:1 and reduces           actuation gap between the disk resonator and its electrode (right inset).
the sidewall roughness compared with higher Cl2 flow rate
recipes. The high selectivity between the oxide hard mask           structure with the final resonator cross section presented
and the structural polysilicon film further enables the desired     in Fig. 13(d). Fig. 14 presents the SEM image of a fabri-
vertical sidewalls and transfers the layout lateral dimensions to   cated and released second-order differential filter that physi-
the structural polysilicon film with reduced uncertainty. The       cally realizes the mechanical circuit schematically illustrated
efficacy of this recipe derives in part from the tendency of        in Fig. 1. The insets in Fig. 14 focus in on a con-
an HBr/Cl2 -based etch chemistry to form sidewall polymer           stituent disk resonator and coupling beams linking it to other
residues containing halogens and silicon oxide [14] that protect    devices in the filter network; and on the tiny capacitive
sidewalls during etching. This barrier, however, should not         actuation gap formed between the disk resonator and the
be present during subsequent high temperature deposition            electrode.
steps. Removal of sidewall polymer residue entails immer-
sion of wafers into a 50:1 hydrofluoric acid bath for 30 s,                           VIII. M EASUREMENT R ESULTS
followed by rinsing in DI water, and finally immersion for             Immediately after fabrication, filters without buffer disks
10 min in DuPont EKC-270 postetch residue remover heated            were shorted to their electrodes, and thus, nonfunctional. The
to 70 °C.                                                           fact that only filters with buffer disks worked, whether single-
   After structural polysilicon patterning comes arguably the       ended or differential, confirms the importance and efficacy of
most critical step of the fabrication process: Deposition of        the buffer-based stress-relief strategy of Section II.
the sidewall sacrificial oxide layer that defines the 39-nm            Fabricated differential filters were tested via a four-port
capacitive actuation gap between the disk and the surround-         direct measurement setup mimicking the circuit of Fig. 1 using
ing electrodes. Here, LPCVD deposition of high temperature          an Agilent E5071C network analyzer with the measurement
oxide (HTO) using 40 sccm of DCS and 100 sccm of N2 O               plane moved to the I/O bond pads using standard SOLT cali-
flow with 600-mTorr process pressure at 920 °C coats a              bration, i.e., the instrument compensates out parasitic elements
uniform, conformal, and pinhole-free layer of HTO over the          up to the pads. (Since I/O shunt capacitance dominates among
vertical disk sidewalls, as illustrated in Fig. 13(b). Electrode    parasitics, this essentially amounts to applying an E5071C-
anchor openings are then lithographically patterned and etched      simulated tuning inductance.) All measurements used 0 dBm,
into the bottom oxide sacrificial layer, followed by a blanket      i.e., 0.225 Vrms signal amplitude, source power settings on
LPCVD deposition of 3-μm-thick polysilicon and subsequent           all four ports of the network analyzer. During testing, the
POCl3 doping at 1000 °C. The final lithography and dry etch         released MEMS die resides on a board emplaced into in a
steps then define the electrodes, as shown in Fig. 13(c).           custom-made vacuum bell jar that provides a 30-μTorr vacuum
   Completed wafers are diced and the resulting dies released       environment as well as ports to allow wired connection to
(when needed) in 49 wt.% liquid HF that frees the filter            outside measurement instrumentation. Inside the bell jar, wire
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                                                                                tuning pads that connect to non-I/O electrodes purposed for
                                                                                voltage-controlled electrical stiffness tuning, such as described
                                                                                in Section V.

                                                                                A. Verification of λ/2 Coupled Array-Composite Operation
                                                                                   To demonstrate the benefits accrued by elevating the design
                                                                                hierarchy from single disk resonators to λ/2 coupled array
                                                                                composites, Fig. 16(a) compares the measured two-port fre-
                                                                                quency spectrum obtained from a single disk resonator shown
                                                                                in (b) with that of a 30-resonator array-composite device
Fig. 15. Vacuum measurement setup using 50- RF feedthroughs with
matching electrical lengths that connect the network analyzer directly to the
                                                                                shown in (c). Here, both the single disk resonator and those
wire-bonded micromechanical filter for balanced differential measurement.       used in the 5 × 6 array have radii of 12.1 μm, which sets
                                                                                their center frequencies at 223.4 MHz. As shown, the array
                                                                                composite retains the high Q > 8000 of the single disk
                                                                                resonator while reducing its motional resistance by 9× from
                                                                                10 644 to 1180  for the same bias voltage of V P = 14 V. Note
                                                                                that these are two-port measurements where the dc-bias goes
                                                                                to the suspended structure while one electrode receives the
                                                                                input signal and the other the output signal [15]. The array in
                                                                                this case has the capacitive transduction area of nine devices,
                                                                                which is smaller than the 14 for each array-composite quadrant
                                                                                of the filter in Fig. 14, so its motional resistance is significantly
                                                                                higher.
                                                                                   Nevertheless, the measured improvement in Rx agrees well
                                                                                with the theoretical expectation derived in Part I of this
                                                                                paper that the improvement factor should be proportional to
                                                                                Ntot /Nio
                                                                                        2 . Here, N
                                                                                                     tot = 30 is the total number disks used in the
                                                                                array composite, including stress-buffer devices in the array
                                                                                perimeter; and Nio = 18 is the number of resonators with
                                                                                surrounding I/O electrodes. These numbers predict a 10.8×
                                                                                Rx reduction. The slight difference between the measured
                                                                                9× Rx improvement and the theoretical expectation likely
                                                                                derives from phase mismatches between arrayed resonators
                                                                                that prevent the total summed motional current from attaining
                                                                                the ideal value that would otherwise be delivered to the
                                                                                output node if all resonators vibrated in perfect phase [16].
                                                                                In addition, although the half- and full-wavelength coupling
Fig. 16.    (a) Comparison of two-port measured frequency spectra for a         used should ideally be strong, finite fabrication tolerances
single disk resonator and a 30-resonator array-composite, with SEM images       can weaken their coupling strengths, so Rx reduction due to
in (b) and (c).
                                                                                vibration localization [17] could still be in play.
                                                                                   Phase deviations or vibration localization notwithstanding,
bonds connect the MEMS die to balanced 50- pc-board                            the presented disk array-composite mechanical circuit serves
traces that lead to 50- coaxial cable fixtures. These fixtures                 as a good example of enhanced functionality via a building
then permit direct coaxial cable connection to the network                      block approach, where the array composite displays strong
analyzer’s 50- inputs, as shown in Fig. 15.                                    agreement between the measurement results and the predicted
   Again, the mechanical filter requires a 590- termination,                   reduction in Rx while maintaining the high Q and single
so the 50- measurement system impedance must be trans-                         vibration frequency of a single disk device.
formed to 590  for correct filter operation. Here, the network
analyzer’s fixture simulator functionality comes in handy,
where the network analyzer simulates 590- ports from                           B. Terminated and Electrically Tuned Filter Spectrum
signals measured at its 50- ports without the need for any                       Fig. 17(a) presents the measured filter spectrum as driven
external processing.                                                            and sensed directly by the 50- ports of the network analyzer
   In addition to source power applied differentially to the                    without using its impedance simulation capability. Without
I/O ports with instrument-simulated 590- source impedances,                    the designed 590- termination, the measured spectrum is
Fig. 1 indicates other electrical inputs to the device under test.              not one expected for a properly designed filter, but rather
These include a dc-bias voltage of V P = 14 V applied to the                    one with the jagged passband and small stopband rejection
conductive filter structure through the underlying dc-ground                    shown. As with any filter, whether its resonators are LCRs,
plane; as well as dc voltages applied to the indicated frequency                waveguides, or mechanical resonators, the response does not
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                                                                                  Fig. 18. Measured return loss, i.e., S11 , data from the positive-input electrode
                                                                                  of the differential filter under identical measurement conditions to those of
                                                                                  Fig. 17 with 50- termination.
Fig. 17. Comparison of (a) unterminated (i.e., with 50- termination) and
(b) 590- terminated measured filter spectra (solid lines) together with
electrical equivalent circuit simulation results for both cases shown as dashed
lines.                                                                            GSM maximum in-band power specification of −26 dBm.
                                                                                  As the zoomed-in inset in Fig. 17 indicates, the filter does
                                                                                  not suffer any distortion at −7.2 dBm drive power due to
take on the designed response unless terminated by the                            Duffing nonlinearity. Here, array-composite design is key to
designed impedances.                                                              raising power handling ability so that the passband distortion
   Fig. 17(b) presents the measured, tuned, and terminated fil-                   under strong inputs that plagued a previous capacitive-gap
ter spectrum with an inset zoomed-in on the passband showing                      transduced filter implementation [18] does not occur. Since
it centered at 223.4 MHz with 229 kHz, i.e., 0.1%, bandwidth                      filter linearity and power handling ability continues to
and only 2.7-dB insertion loss. Here, 590- network analyzer-                     improve with increasing array size [19], [20], this hierarchical
simulated impedances terminate the filter as schematically                        design provides enough design flexibility to accommodate
described in Fig. 1, with a dc-bias voltage of 14 V applied to                    wide dynamic range needs.
the resonator body and 12.1 V to tuning electrodes to correct                         The dashed curve in Fig. 17(b) is the theoretical
the filter passband. Small gaps combined with the symmetric                       SPICE-simulated prediction via the circuit of Fig. 9 using the
and differential design lead to 50-dB out-of-channel rejection                    element values of Table II. To maximize simulation accuracy,
and a 20-dB shape factor of 2.7. This amount of rejection                         the simulations do the following.
is 23 dB better than a previous capacitive gap transduced                             1) Use the negative-capacitance model [7] for each electri-
differential filter design [2] that did not benefit from 39-nm                           cal port to accurately capture electrical stiffness effects,
electrode-to-resonator gaps and low parasitic resistance traces.                         which in turn provide precise filter pole locations for
The 39-nm capacitive transducer gaps of this work generate a                             arbitrary port termination impedances.
single-resonator coupling strength of C x /Co = 0.13%, which                          2) Capture the dominant feedthrough paths accurately,
is 6.4× improvement over previous efforts [2]. However, the                              as elaborated in Section IV.
array-composite value (with buffer and tuning disks included)                     The match between measurement and simulation is remarkable
shrinks to 0.07%, which is just on the edge of the requirement                    and confirms the accuracy of the filter theory and design
for an undistorted equiripple passband.                                           procedure herein.
   The results presented in succeeding figures, i.e.,
Fig. 17–Fig. 24, are measured with 0-dBm output power
setting applied to all four ports of the network analyzer that                    C. Measured Group Delay
corresponds to 0.225 Vrms signal amplitude applied to the                            Fig. 19(a) presents the measured phase response of the
I/O electrodes of the filter. Since the device under test is not                  terminated filter, along with its group delay [21] in (b)
impedance matched to the 50- terminals of the network                            obtained by taking the derivative of (a). To avoid undue
analyzer, a portion of the applied 0-dBm power reflects back                      distortion or intersymbol interference in digital communication
to the source as indicated by the return loss, i.e., S11 , data                   systems, an ideal filter would have constant group delay,
presented in Fig. 18 obtained from the positive-input port                        or linear phase. Any real filter, of course, has nonconstant
of the filter with Z o = 50- termination. Here, the in-band                      group delay.
return loss of 0.9 dB indicates that 81% of the 0 dBm, i.e.,                         To sufficiently suppress the increase in bit-error rate insti-
1 mW, applied from the network analyzer port reflects back,                       gated by group delay-induced distortion, the group delay
and the actual power going through the filter network is                          variation across the usable filter passband should be less than
190 μW, i.e., −7.2 dBm, which is considerably above the                           the period of the fastest processed signal. As a rule of thumb,
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                                                                                    Fig. 21. Measured terminated spectrum over 100-MHz span showing no
                                                                                    strong spurious modes.
Fig. 19.      (a) Phase response and (b) corresponding group delay of the
differential filter, where the solid curves indicate measured data obtained under
measurement conditions identical to Fig. 17, and dashed lines indicate simu-
lated responses obtained from the electrical equivalent circuit of Fig. 9 using
the circuit element values listed in Table II.




Fig. 20. Terminated filter spectrum indicating usable bandwidth and guard           Fig. 22. Mode shapes with (a) full symmetry and (b) 1% mismatch between
bands, where the “Usable Bandwidth” region maintains group delay variations         the disk radii at the top and bottom half.
below 1 μs.


the group delay should be much less than the reciprocal of the                      cies in the stopband. Suppression of spurious modes often
filter bandwidth. How much less depends upon the application,                       requires creative solutions that are not easily designable and
but one reasonable rule of thumb is that it be 1/5 the reciprocal                   that often result in unique geometries, e.g., the polygons of
bandwidth. With a bandwidth of 229 kHz, this means that the                         FBAR filter design [22]. Interestingly, the micromechanical
variation in group delay for the demonstrated filter should be                      filter design herein suffers much less from these issues,
on the order of 1 μs.                                                               as shown in Fig. 21, which presents the terminated spectrum
    Fig. 19(b) shows that the demonstrated filter satisfies this                    for the filter in Fig. 14 over a 100-MHz wide span, showing
1-μs criterion over a usable bandwidth of 128 kHz, which                            no strong spurious modes.
Fig. 20 plots on a zoomed-in scale. The measured phase                                  The spurious mode advantage evident here arises from
and group delay response presented as the solid curves                              two important features of the present filter design: 1) fully
in Fig. 19 are in good agreement with the theoretical expecta-                      balanced differential design, with geometric and electrical
tion plotted as dashed lines obtained by the simulation of the                      symmetry and 2) the availability of frequency tuning via
equivalent circuit in Fig. 9 using the circuit element values                       voltage-controllable electrical stiffnesses. Both of these fea-
listed in Table II.                                                                 tures used in tandem are instrumental to result of Fig. 21.
                                                                                        In a similar way that a symmetric and differentially bal-
D. Spurious Modes                                                                   anced mechanical and electrical design suppresses electrical
  Among the most troubling considerations in practical filter                       feedthrough, it also suppresses the spurious vibration mode
design are spurious modes, i.e., peaks of response at frequen-                      shapes that might otherwise arise in a complex mechanical
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                                                                                Fig. 24. Measured comparison of terminated filter passband spectra for
                                                                                varying tuning cases.
Fig. 23. (a) SEM image and (b) measured 590- terminated frequency
response of a single-ended version of a disk-array filter, emphasizing the
importance of differential design to suppress feedthrough and spurious modes.
                                                                                Fig. 24 emphasizes the importance of electrical tuning for this
                                                                                tiny percent bandwidth filter by demonstrating how proper tun-
network fabricated with finite production precision. As for the                 ing with 12.1 V improves the passband shape and minimizes
case of parasitic electrical feedthrough, if the filter structure is            insertion loss compared to insufficient tuning with 5 V and
perfectly symmetric, the mechanical mode shape of Fig. 22(a)                    no applied tuning voltage. Here, 2.3-dB better insertion loss
is undisturbed and only the desired mode ensues. Conversely,                    comes about only after voltage-controlled frequency tuning of
any asymmetry introduces mode shape distortion, as finite-                      the array-composite resonator frequencies.
element simulated in Fig. 22(b). This distortion effectively                       The optimum tuning voltage was determined empirically
generates additional modes, i.e., unwanted spurs.                               by varying VT and simultaneously monitoring the resulting
   Perhaps the best testament to the importance of a fully                      change in filter frequency response on a network analyzer,
balanced structure for spurious mode suppression comes from                     until symmetric passband ripple heights were observed
straight comparison of a single-ended design with the fully                     around the filter center frequency, which is the expected
balanced design of Fig. 14. With this in mind, Fig. 23(b)                       equiripple passband shape of a Chebyshev filter. The tuning
presents the measured frequency response of the filter struc-                   voltage that yields symmetrically positioned passband ripple
ture of Fig. 23(a), which comprises just the top half of                        peaks with equal height also achieves the minimum insertion
the Fig. 14 design, so is not symmetric, not differentially                     loss as expected from the closer-to-ideal filter response. This
balanced, and takes as input and output single-ended signals.                   observation is in-line with previous efforts on electrical tuning
The measured response clearly suffers numerous deficiencies,                    of kilohertz frequency capacitive comb-actuated filters [23],
including feedthrough that reduces the stopband rejection to                    [24], where positioning passband resonant peaks equidistant
only 15 dB (down from the passband level) and spurious                          around the filter center frequency via electrical tuning min-
modes only 10 dB below the passband level. There is no                          imized insertion loss and yielded the desired filter response.
comparison between this spectrum and that of the symmetric                      Automatic tuning techniques using intelligent transistor
differentially balanced design of Fig. 14.                                      circuitry would certainly be beneficial in the future filter
   Clearly, symmetry and balance are key to the much bet-                       implementations, not only as a low-cost postfabrication tuning
ter performance of Figs. 17(b) than 23(b). Indeed, just                         method, but also for real-time adaptive compensation of fre-
the use of a symmetric and fully balanced design affords                        quency drift over time due to aging or temperature variations.
much better performance than that of a single-ended design.
However, improvements in performance to the degree seen                                                 IX. C ONCLUSION
in Fig. 17(b) require not only symmetric design, but also the                      The combined 2.7-dB passband insertion loss and 50-dB
means to perfect the symmetry after fabrication. This is where                  stopband rejection of the demonstrated 206-element 0.1%
voltage-controlled frequency tuning provided by electrical                      bandwidth 223.4-MHz differential micromechanical disk filter
stiffness plays an important role.                                              represents a landmark for capacitive-gap transduced microme-
                                                                                chanical resonator technology. This demonstration proves that
E. Electrical Stiffness Tuning Strategy                                         the mere introduction of small gaps of around 39 nm goes
  Indeed, postfabrication voltage-controlled frequency tuning                   a long way toward moving this technology from a research
was instrumental to “fixing” not only feedthrough and spurious                  curiosity to practical performance specs commensurate with
mode issues, but also the shape of the filter passband response.                the needs of actual RF channel-selecting receiver front-ends.
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                         In 2006, he joined the Department of Electrical          MEMS. From 2007 to 2009, he served as a Distinguished Lecturer for
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communication products based upon MEMS technology, with an initial focus          General Chair of the 2017 IEEE International Micro Electro Mechani-
on the very vibrating micro-mechanical resonators pioneered by his research       cal Systems Conference. From 2008 to 2013, he served as Vice Pres-
in past years. He served as Vice President and Chief Technology Officer           ident of Frequency Control in the IEEE Ultrasonics, Ferroelectrics, and
of Discera until mid-2002, at which point he joined the Defense Advanced          Frequency Control Society, after which he became the society President
Research Projects Agency (DARPA) on an IPA, where he served for four              from 2016 to 2017. He is currently the Junior Past-President of the
years as the Program Manager of 10 different MEMS-centric programs in the         society.
